Case 21-03076-sgj Doc 139 Filed 03/23/22   Entered 03/23/22 22:37:03    Page 1 of 170




 Michelle Hartmann                          Debra A. Dandeneau (Admitted pro hac vice)
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 Counsel for Scott Ellington

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
   In re:
                                                     Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                 Reorganized Debtor.                 Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                 Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                 Defendants.
      Case 21-03076-sgj Doc 139 Filed 03/23/22            Entered 03/23/22 22:37:03      Page 2 of 170




                                 APPENDIX IN SUPPORT OF
                         DEFENDANT ELLINGTON’S MOTION TO DISMISS

             Scott Ellington (“Ellington”), defendant in the above-captioned adversary proceeding,

      hereby files this Appendix in support of Defendant Ellington’s Motion to Dismiss and the related

      Memorandum of Law in Support of Defendant Ellington’s Motion to Dismiss, and respectfully

      requests that the Court take judicial notice of the documents contained herein.

Exhibit                                    Document                                         App. Page(s)
          Declaration of Blaire Cahn in Support of Defendant Ellington’s Motion App. 1-3
  A
          to Dismiss, dated March 23, 2022
  1       Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. App. 4-70
          (As Modified) [Bankr. No. 19-34054-sg11, Dkt. 1808]
  2       Claimant Trust Agreement [Bankr. No. 19-34054-sg11, Dkt. 1811-2]               App. 71-108

  3       Litigation Sub-Trust Agreement [Bankr. No. 19-34054-sg11, Dkt. 1811-4]         App. 109-131

  4       Fourth Amended and Restated Agreement of Limited Partnership of HCMLP App. 132-168
          [Adv. Proc. No. 21-03003-sgj, Dkt. 109-8]



       Dated: March 23, 2022

       By: /s/ Michelle Hartmann

       Michelle Hartmann                                   Debra A. Dandeneau
       State Bar No. 24032402                              Blaire Cahn
       BAKER & MCKENZIE LLP                                BAKER & MCKENZIE LLP
       1900 North Pearl, Suite 1500                        452 Fifth Ave
       Dallas, Texas 75201                                 New York, NY 10018
       Telephone: 214-978-3000                             Telephone: 212-626-4875
       Facsimile: 214-978-3099                             Email: debra.dandeneau@bakermckenzie.com
       Email: michelle.hartmann@bakermckenzie.com          Email: blaire.cahn@bakermckenzie.com
                                                           (Admitted pro hac vice)

                                                           Counsel for Scott Ellington




                                                      2
Case 21-03076-sgj Doc 139 Filed 03/23/22     Entered 03/23/22 22:37:03     Page 3 of 170




                                      EXHIBIT A

    Declaration of Blaire Cahn in Support of Defendant Ellington’s Motion to Dismiss,
                                  dated March 23, 2022




                                                                            App. 001
Case 21-03076-sgj Doc 139 Filed 03/23/22   Entered 03/23/22 22:37:03   Page 4 of 170




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
   In re:
                                                     Chapter 11
   HIGHLAND CAPITAL MANAGEMENT, L.P.,
                 Reorganized Debtor.                 Case No. 19-34054-sgj11
   MARC S. KIRSCHNER, AS LITIGATION TRUSTEE
   OF THE LITIGATION SUB-TRUST,
                 Plaintiff,
            v.
   JAMES D. DONDERO; MARK A. OKADA; SCOTT
   ELLINGTON; ISAAC LEVENTON; GRANT JAMES
   SCOTT III; FRANK WATERHOUSE; STRAND
   ADVISORS, INC.; NEXPOINT ADVISORS, L.P.;
   HIGHLAND CAPITAL MANAGEMENT FUND
   ADVISORS, L.P.; DUGABOY INVESTMENT TRUST
   AND NANCY DONDERO, AS TRUSTEE OF
   DUGABOY INVESTMENT TRUST; GET GOOD
   TRUST AND GRANT JAMES SCOTT III, AS
   TRUSTEE OF GET GOOD TRUST; HUNTER
   MOUNTAIN INVESTMENT TRUST; MARK & Adv. Pro. No. 21-03076-sgj
   PAMELA OKADA FAMILY TRUST – EXEMPT
   TRUST #1 AND LAWRENCE TONOMURA AS
   TRUSTEE OF MARK & PAMELA OKADA FAMILY
   TRUST – EXEMPT TRUST #1; MARK & PAMELA
   OKADA FAMILY TRUST – EXEMPT TRUST #2
   AND LAWRENCE TONOMURA IN HIS CAPACITY
   AS TRUSTEE OF MARK & PAMELA OKADA
   FAMILY TRUST – EXEMPT TRUST #2; CLO
   HOLDCO, LTD.; CHARITABLE DAF HOLDCO,
   LTD.; CHARITABLE DAF FUND, LP.; HIGHLAND
   DALLAS FOUNDATION; RAND PE FUND I, LP,
   SERIES 1; MASSAND CAPITAL, LLC; MASSAND
   CAPITAL, INC.; SAS ASSET RECOVERY, LTD.;
   AND CPCM, LLC,
                 Defendants.




                                                                        App. 002
Case 21-03076-sgj Doc 139 Filed 03/23/22         Entered 03/23/22 22:37:03       Page 5 of 170




                      DECLARATION OF BLAIRE CAHN
         IN SUPPORT OF DEFENDANT ELLINGTON’S MOTION TO DISMISS

   1. I, Blaire Cahn, pursuant to 28 U.S.C. § 1746(a), under penalty of perjury, declare that the

following is true and correct:

   2. I am a partner in the law firm of Baker & McKenzie LLP, counsel to Scott Ellington,

defendant in the above-captioned adversary proceeding.

   3. I submit this declaration to provide the Court with certain documents referenced in the

Memorandum of Law in Support of Defendant Ellington’s Motion to Dismiss, filed on March 23,

2022.

   4. Attached hereto as Exhibit 1 is a true and correct copy of the Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P. (As Modified) [Bankr. No. 19-34054-sg11,

Dkt. 1808].

   5. Attached hereto as Exhibit 2 is a true and correct copy of the Claimant Trust Agreement

[Bankr. No. 19-34054-sg11, Dkt. 1811-2].

   6. Attached hereto as Exhibit 3 is a true and correct copy of the Litigation Sub-Trust

Agreement [Bankr. No. 19-34054-sg11, Dkt. 1811-4].

   7. Attached hereto as Exhibit 4 is a true and correct copy of the Fourth Amended and Restated

Agreement of Limited Partnership of HCMLP [Adv. Proc. No. 21-03003-sgj, Dkt. 109-8].

        Executed on March 23, 2022 in New York, New York.

                                                   By: /s/ Blaire Cahn
                                                   Blaire Cahn
                                                   State Bar No. 4737276
                                                   BAKER & MCKENZIE LLP
                                                   452 Fifth Ave
                                                   New York, NY 10018
                                                   Telephone: 212-626-4875
                                                   Email: blaire.cahn@bakermckenzie.com
                                                   (Admitted pro hac vice)



                                                                                   App. 003
Case 21-03076-sgj Doc 139 Filed 03/23/22   Entered 03/23/22 22:37:03   Page 6 of 170




                                     EXHIBIT 1

      Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
                                   (As Modified)




                                                                         App. 004
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
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                                 03/23/22
                                    01/22/21Entered
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                                                    03/23/22
                                                      01/22/21
                                                             22:37:03
                                                               18:59:39Page
                                                                         Page
                                                                            7 of
                                                                               1 170
                                                                                 of 66
                                                                                  Docket #1808 Date Filed: 01/22/2021




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )
                                                              )

           FIFTH AMENDED PLAN OF REORGANIZATION OF HIGHLAND
                  CAPITAL MANAGEMENT, L.P. (AS MODIFIED)

 PACHULSKI STANG ZIEHL & JONES LLP                         HAYWARD & ASSOCIATES PLLC
 Jeffrey N. Pomerantz (CA Bar No.143717)                   Melissa S. Hayward (TX Bar No. 24044908)
 Ira D. Kharasch (CA Bar No. 109084)                       Zachery Z. Annable (TX Bar No. 24053075)
 Gregory V. Demo (NY Bar No. 5371992)                      10501 N. Central Expy, Ste. 106
 10100 Santa Monica Boulevard, 13th Floor                  Dallas, TX 75231
 Los Angeles, CA 90067                                     Telephone: (972) 755-7100
 Telephone: (310) 277-6910                                 Facsimile: (972) 755-7110
 Facsimile: (310) 201-0760                                 Email: MHayward@HaywardFirm.com
 Email: jpomerantz@pszjlaw.com                                     ZAnnable@HaywardFirm.com:
         ikharasch@pszjlaw.com
         gdemo@pszjlaw.com

                            Counsel for the Debtor and Debtor-in-Possession




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                    01/22/21Entered
                                              Entered
                                                    03/23/22
                                                      01/22/21
                                                             22:37:03
                                                               18:59:39Page
                                                                         Page
                                                                            8 of
                                                                               2 170
                                                                                 of 66




 ARTICLE I. RULES OF INTERPRETATION, COMPUTATION OF TIME,
               GOVERNING LAW AND DEFINED TERMS .............................................. 1

         A.       Rules of Interpretation, Computation of Time and Governing Law ..................... 1

         B.       Defined Terms ...................................................................................................... 2

 ARTICLE II. ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS................. 16

         A.       Administrative Expense Claims.......................................................................... 16

         B.       Professional Fee Claims ...................................................................................... 17

         C.       Priority Tax Claims ............................................................................................. 18

 ARTICLE III. CLASSIFICATION AND TREATMENT OF CLASSIFIED CLAIMS
                AND EQUITY INTERESTS ......................................................................... 18

         A.       Summary ............................................................................................................. 18

         B.       Summary of Classification and Treatment of Classified Claims and
                  Equity Interests ................................................................................................... 19

         C.       Elimination of Vacant Classes ............................................................................ 19

         D.       Impaired/Voting Classes ..................................................................................... 19

         E.       Unimpaired/Non-Voting Classes ........................................................................ 19

         F.       Impaired/Non-Voting Classes ............................................................................. 19

         G.       Cramdown ........................................................................................................... 19

         H.       Classification and Treatment of Claims and Equity Interests ............................. 20

         I.       Special Provision Governing Unimpaired Claims .............................................. 24

         J.       Subordinated Claims ........................................................................................... 25

 ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ..................................... 25

         A.       Summary ............................................................................................................. 25

         B.       The Claimant Trust ............................................................................................. 26

         1.       Creation and Governance of the Claimant Trust and Litigation Sub-
                  Trust. ................................................................................................................... 26

         2.       Claimant Trust Oversight Committee ................................................................. 27



                                                               - ii -
                                                                                                                            App. 006
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1808
                           Filed
                              Filed
                                 03/23/22
                                    01/22/21Entered
                                              Entered
                                                    03/23/22
                                                      01/22/21
                                                             22:37:03
                                                               18:59:39Page
                                                                         Page
                                                                            9 of
                                                                               3 170
                                                                                 of 66



                                                                                                                              Page

       3.     Purpose of the Claimant Trust. ........................................................................... 27

       4.     Purpose of the Litigation Sub-Trust.................................................................... 28

       5.     Claimant Trust Agreement and Litigation Sub-Trust Agreement. ...................... 28

       6.     Compensation and Duties of Trustees. ............................................................... 29

       7.     Cooperation of Debtor and Reorganized Debtor. .............................................. 30

       8.     United States Federal Income Tax Treatment of the Claimant Trust. ................ 30

       9.     Tax Reporting...................................................................................................... 30

       10.    Claimant Trust Assets. ........................................................................................ 31

       11.    Claimant Trust Expenses. ................................................................................... 31

       12.    Trust Distributions to Claimant Trust Beneficiaries. ......................................... 31

       13.    Cash Investments. ............................................................................................... 31

       14.    Dissolution of the Claimant Trust and Litigation Sub-Trust. ............................. 32

       C.     The Reorganized Debtor ..................................................................................... 32

       1.     Corporate Existence............................................................................................ 32

       2.     Cancellation of Equity Interests and Release ..................................................... 33

       3.     Issuance of New Partnership Interests ............................................................... 33

       4.     Management of the Reorganized Debtor ............................................................ 33

       5.     Vesting of Assets in the Reorganized Debtor ...................................................... 34

       6.     Purpose of the Reorganized Debtor .................................................................... 34

       7.     Distribution of Proceeds from the Reorganized Debtor Assets; Transfer
              of Reorganized Debtor Assets ............................................................................. 34

       D.     Company Action ................................................................................................. 34

       E.     Release of Liens, Claims and Equity Interests.................................................... 35

       F.     Cancellation of Notes, Certificates and Instruments........................................... 36

       G.     Cancellation of Existing Instruments Governing Security Interests ................... 36


                                                        - iii -
                                                                                                                  App. 007
Case
Case19-34054-sgj11
     21-03076-sgj Doc
                   Doc139
                       1808
                          Filed
                              Filed
                                 03/23/22
                                    01/22/21Entered
                                               Entered
                                                    03/23/22
                                                       01/22/21
                                                             22:37:03
                                                                18:59:39Page
                                                                          Page
                                                                             10 of
                                                                                4 of
                                                                                   170
                                                                                     66



                                                                                                                                           Page

           H.        Control Provisions .............................................................................................. 36

           I.        Treatment of Vacant Classes .............................................................................. 36

           J.        Plan Documents .................................................................................................. 36

           K.        Highland Capital Management, L.P. Retirement Plan and Trust ....................... 37

 ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED
              LEASES ......................................................................................................... 37

           A.        Assumption, Assignment, or Rejection of Executory Contracts and
                     Unexpired Leases ................................................................................................ 37

           B.        Claims Based on Rejection of Executory Contracts or Unexpired
                     Leases .................................................................................................................. 38

           C.        Cure of Defaults for Assumed or Assigned Executory Contracts and
                     Unexpired Leases ................................................................................................ 39

 ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS ............................................. 39

           A.        Dates of Distributions ......................................................................................... 39

           B.        Distribution Agent .............................................................................................. 40

           C.        Cash Distributions............................................................................................... 41

           D.        Disputed Claims Reserve .................................................................................... 41

           E.        Distributions from the Disputed Claims Reserve ............................................... 41

           F.        Rounding of Payments ........................................................................................ 41

           G.        De Minimis Distribution ..................................................................................... 41

           H.        Distributions on Account of Allowed Claims ..................................................... 42

           I.        General Distribution Procedures ......................................................................... 42

           J.        Address for Delivery of Distributions................................................................. 42

           K.        Undeliverable Distributions and Unclaimed Property ........................................ 42

           L.        Withholding Taxes .............................................................................................. 43

           M.        Setoffs ................................................................................................................. 43



                                                                 - iv -
                                                                                                                              App. 008
Case
Case19-34054-sgj11
     21-03076-sgj Doc
                   Doc139
                       1808
                          Filed
                              Filed
                                 03/23/22
                                    01/22/21Entered
                                               Entered
                                                    03/23/22
                                                       01/22/21
                                                             22:37:03
                                                                18:59:39Page
                                                                          Page
                                                                             11 of
                                                                                5 of
                                                                                   170
                                                                                     66



                                                                                                                                      Page

         N.      Surrender of Cancelled Instruments or Securities .............................................. 43

         O.      Lost, Stolen, Mutilated or Destroyed Securities ................................................. 43

 ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT,
               UNLIQUIDATED AND DISPUTED CLAIMS ............................................ 44

         A.      Filing of Proofs of Claim .................................................................................... 44

         B.      Disputed Claims .................................................................................................. 44

         C.      Procedures Regarding Disputed Claims or Disputed Equity Interests ............... 44

         D.      Allowance of Claims and Equity Interests.......................................................... 44

         1.      Allowance of Claims ........................................................................................... 45

         2.      Estimation ........................................................................................................... 45

         3.      Disallowance of Claims ...................................................................................... 45

 ARTICLE VIII. EFFECTIVENESS OF THIS PLAN ............................................................... 46

         A.      Conditions Precedent to the Effective Date ........................................................ 46

         B.      Waiver of Conditions .......................................................................................... 47

         C.      Effect of Non-Occurrence of Conditions to EffectivenessError! Bookmark not defined.

         D.      Dissolution of the Committee ............................................................................. 47

 ARTICLE IX. EXCULPATION, INJUNCTION AND RELATED PROVISIONS ................. 48

         A.      General ................................................................................................................ 48

         B.      Discharge of Claims ............................................................................................ 48

         C.      Exculpation ......................................................................................................... 48

         D.      Releases by the Debtor........................................................................................ 49

         E.      Preservation of Rights of Action......................................................................... 50

         1.      Maintenance of Causes of Action ....................................................................... 50

         2.      Preservation of All Causes of Action Not Expressly Settled or Released ........... 50

         F.      Injunction ............................................................................................................ 51


                                                             -v-
                                                                                                                         App. 009
Case
Case19-34054-sgj11
     21-03076-sgj Doc
                   Doc139
                       1808
                          Filed
                              Filed
                                 03/23/22
                                    01/22/21Entered
                                               Entered
                                                    03/23/22
                                                       01/22/21
                                                             22:37:03
                                                                18:59:39Page
                                                                          Page
                                                                             12 of
                                                                                6 of
                                                                                   170
                                                                                     66



                                                                                                                                     Page

         G.       Term of Injunctions or Stays............................................................................... 52

         H.       Continuance of January 9 Order ......................................................................... 52

 ARTICLE X. BINDING NATURE OF PLAN .......................................................................... 52

 ARTICLE XI. RETENTION OF JURISDICTION .................................................................... 53

 ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................. 55

         A.       Payment of Statutory Fees and Filing of Reports ............................................... 55

         B.       Modification of Plan ........................................................................................... 55

         C.       Revocation of Plan .............................................................................................. 55

         D.       Obligations Not Changed .................................................................................... 56

         E.       Entire Agreement ................................................................................................ 56

         F.       Closing of Chapter 11 Case ................................................................................ 56

         G.       Successors and Assigns....................................................................................... 56

         H.       Reservation of Rights .......................................................................................... 56

         I.       Further Assurances.............................................................................................. 57

         J.       Severability ......................................................................................................... 57

         K.       Service of Documents ......................................................................................... 57

         L.       Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of
                  the Bankruptcy Code........................................................................................... 58

         M.       Governing Law ................................................................................................... 59

         N.       Tax Reporting and Compliance .......................................................................... 59

         O.       Exhibits and Schedules ....................................................................................... 59

         P.       Controlling Document ........................................................................................ 59




                                                             - vi -
                                                                                                                         App. 010
Case
Case19-34054-sgj11
     21-03076-sgj Doc
                   Doc139
                       1808
                          Filed
                              Filed
                                 03/23/22
                                    01/22/21Entered
                                               Entered
                                                    03/23/22
                                                       01/22/21
                                                             22:37:03
                                                                18:59:39Page
                                                                          Page
                                                                             13 of
                                                                                7 of
                                                                                   170
                                                                                     66




                 DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION


         HIGHLAND CAPITAL MANAGEMENT, L.P., as debtor and debtor-in-possession in
 the above-captioned case (the “Debtor”), proposes the following chapter 11 plan of
 reorganization (the “Plan”) for, among other things, the resolution of the outstanding Claims
 against, and Equity Interests in, the Debtor. Unless otherwise noted, capitalized terms used in
 this Plan have the meanings set forth in Article I of this Plan. The Debtor is the proponent of this
 Plan within the meaning of section 1129 of the Bankruptcy Code.

         Reference is made to the Disclosure Statement (as such term is defined herein and
 distributed contemporaneously herewith) for a discussion of the Debtor’s history, business,
 results of operations, historical financial information, projections and assets, and for a summary
 and analysis of this Plan and the treatment provided for herein. There also are other agreements
 and documents that may be Filed with the Bankruptcy Court that are referenced in this Plan or
 the Disclosure Statement as Exhibits and Plan Documents. All such Exhibits and Plan
 Documents are incorporated into and are a part of this Plan as if set forth in full herein. Subject
 to the other provisions of this Plan, and in accordance with the requirements set forth in
 section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019, the Debtor reserves the right to
 alter, amend, modify, revoke, or withdraw this Plan prior to the Effective Date.

         If this Plan cannot be confirmed, for any reason, then subject to the terms set forth herein,
 this Plan may be revoked.

                                   ARTICLE I.
                  RULES OF INTERPRETATION, COMPUTATION OF TIME,
                        GOVERNING LAW AND DEFINED TERMS

 A.     Rules of Interpretation, Computation of Time and Governing Law

         For purposes hereof: (a) in the appropriate context, each term, whether stated in the
 singular or the plural, shall include both the singular and the plural, and pronouns stated in the
 masculine, feminine or neuter gender shall include the masculine, feminine and the neuter
 gender; (b) any reference herein to a contract, lease, instrument, release, indenture or other
 agreement or document being in a particular form or on particular terms and conditions means
 that the referenced document, as previously amended, modified or supplemented, if applicable,
 shall be substantially in that form or substantially on those terms and conditions; (c) any
 reference herein to an existing document or exhibit having been Filed or to be Filed shall mean
 that document or exhibit, as it may thereafter be amended, modified or supplemented in
 accordance with its terms; (d) unless otherwise specified, all references herein to “Articles,”
 “Sections,” “Exhibits” and “Plan Documents” are references to Articles, Sections, Exhibits and
 Plan Documents hereof or hereto; (e) unless otherwise stated, the words “herein,” “hereof,”
 “hereunder” and “hereto” refer to this Plan in its entirety rather than to a particular portion of this
 Plan; (f) captions and headings to Articles and Sections are inserted for convenience of reference
 only and are not intended to be a part of or to affect the interpretation hereof; (g) any reference to
 an Entity as a Holder of a Claim or Equity Interest includes such Entity’s successors and assigns;




                                                                                         App. 011
Case
Case19-34054-sgj11
     21-03076-sgj Doc
                   Doc139
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                                 03/23/22
                                    01/22/21Entered
                                               Entered
                                                    03/23/22
                                                       01/22/21
                                                             22:37:03
                                                                18:59:39Page
                                                                          Page
                                                                             14 of
                                                                                8 of
                                                                                   170
                                                                                     66




 (h) the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (i) any
 term used in capitalized form herein that is not otherwise defined but that is used in the
 Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the
 Bankruptcy Code or the Bankruptcy Rules, as the case may be; and (j) “$” or “dollars” means
 Dollars in lawful currency of the United States of America. The provisions of Bankruptcy
 Rule 9006(a) shall apply in computing any period of time prescribed or allowed herein.

 B.     Defined Terms

       Unless the context otherwise requires, the following terms shall have the following
 meanings when used in capitalized form herein:

             1. “Acis” means collectively Acis Capital Management, L.P. and Acis Capital
 Management GP, LLP.

                2. “Administrative Expense Claim” means any Claim for costs and expenses of
 administration of the Chapter 11 Case that is Allowed pursuant to sections 503(b), 507(a)(2),
 507(b) or 1114(2) of the Bankruptcy Code, including, without limitation, (a) the actual and
 necessary costs and expenses incurred after the Petition Date and through the Effective Date of
 preserving the Estate and operating the business of the Debtor; and (b) all fees and charges
 assessed against the Estate pursuant to sections 1911 through 1930 of chapter 123 of title 28 of
 the United States Code, and that have not already been paid by the Debtor during the Chapter 11
 Case and a Professional Fee Claim.

                3. “Administrative Expense Claims Bar Date” means, with respect to any
 Administrative Expense Claim (other than a Professional Fee Claim) becoming due on or prior to
 the Effective Date, 5:00 p.m. (prevailing Central Time) on such date that is forty-five days after
 the Effective Date.

               4. “Administrative Expense Claims Objection Deadline” means, with respect to
 any Administrative Expense Claim, the later of (a) ninety (90) days after the Effective Date and
 (b) sixty (60) days after the timely Filing of the applicable request for payment of such
 Administrative Expense Claim; provided, however, that the Administrative Expense Claims
 Objection Deadline may be extended by the Bankruptcy Court upon a motion by the Claimant
 Trustee.

                 5. “Affiliate” of any Person means any Entity that, with respect to such Person,
 either (i) is an “affiliate” as defined in section 101(2) of the Bankruptcy Code, or (ii) is an
 “affiliate” as defined in Rule 405 of the Securities Act of 1933, or (iii) directly or indirectly,
 through one or more intermediaries, controls, is controlled by, or is under common control with,
 such Person. For the purposes of this definition, the term “control” (including, without
 limitation, the terms “controlled by” and “under common control with”) means the possession,
 directly or indirectly, of the power to direct or cause the direction in any respect of the
 management or policies of a Person, whether through the ownership of voting securities, by
 contract, or otherwise.

                6. “Allowed” means, with respect to any Claim, except as otherwise provided in
 the Plan: (a) any Claim that is evidenced by a Proof of Claim that has been timely Filed by the
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                                                                18:59:39Page
                                                                          Page
                                                                             15 of
                                                                                9 of
                                                                                   170
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 Bar Date, or that is not required to be evidenced by a Filed Proof of Claim under the Bankruptcy
 Code or a Final Order; (b) a Claim that is listed in the Schedules as not contingent, not
 unliquidated, and not disputed and for which no Proof of Claim has been timely filed; (c) a
 Claim Allowed pursuant to the Plan or an order of the Bankruptcy Court that is not stayed
 pending appeal; or (d) a Claim that is not Disputed (including for which a Proof of Claim has
 been timely filed in a liquidated and noncontingent amount that has not been objected to by the
 Claims Objection Deadline or as to which any such objection has been overruled by Final
 Order); provided, however, that with respect to a Claim described in clauses (a) and (b) above,
 such Claim shall be considered Allowed only if and to the extent that, with respect to such
 Claim, no objection to the allowance thereof has been interposed within the applicable period of
 time fixed by the Plan, the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or
 such an objection is so interposed and the Claim shall have been Allowed as set forth above.

                7. “Allowed Claim or Equity Interest” means a Claim or an Equity Interest of the
 type that has been Allowed.

                 8. “Assets” means all of the rights, titles, and interest of the Debtor, Reorganized
 Debtor, or Claimant Trust, in and to property of whatever type or nature, including, without
 limitation, real, personal, mixed, intellectual, tangible, and intangible property, the Debtor’s
 books and records, and the Causes of Action.

                 9. “Available Cash” means any Cash in excess of the amount needed for the
 Claimant Trust and Reorganized Debtor to maintain business operations as determined in the
 sole discretion of the Claimant Trustee.

                10. “Avoidance Actions” means any and all avoidance, recovery, subordination or
 other actions or remedies that may be brought by and on behalf of the Debtor or its Estate under
 the Bankruptcy Code or applicable nonbankruptcy law, including, without limitation, actions or
 remedies arising under sections 502, 510, 544, 545, and 547-553 of the Bankruptcy Code or
 under similar state or federal statutes and common law, including fraudulent transfer laws

                11. “Ballot” means the form(s) distributed to holders of Impaired Claims or
 Equity Interests entitled to vote on the Plan on which to indicate their acceptance or rejection of
 the Plan.

               12. “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
 §§ 101-1532, as amended from time to time and as applicable to the Chapter 11 Case.

               13. “Bankruptcy Court” means the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, or any other court having jurisdiction over the
 Chapter 11 Case.

                 14. “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the
 Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
 Northern District of Texas, Dallas Division, in each case as amended from time to time and as
 applicable to the Chapter 11 Case.


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                                                                            1610
                                                                              of 170
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                 15. “Bar Date” means the applicable deadlines set by the Bankruptcy Court for
  the filing of Proofs of Claim against the Debtor as set forth in the Bar Date Order, which
  deadlines may be or have been extended for certain Claimants by order of the Bankruptcy Court.

                16. “Bar Date Order” means the Order (I) Establishing Bar Dates for Filing
  Proofs of Claim and (II) Approving the Form and Manner of Notice Thereof [D.I. 488].

                 17. “Business Day” means any day, other than a Saturday, Sunday or “legal
  holiday” (as defined in Bankruptcy Rule 9006(a)).

                 18. “Cash” means the legal tender of the United States of America or the
  equivalent thereof.

                  19. “Causes of Action” means any action, claim, cross-claim, third-party claim,
  cause of action, controversy, demand, right, Lien, indemnity, contribution, guaranty, suit,
  obligation, liability, debt, damage, judgment, account, defense, remedy, offset, power, privilege,
  license and franchise of any kind or character whatsoever, in each case whether known,
  unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected,
  liquidated or unliquidated, disputed or undisputed, foreseen or unforeseen, direct or indirect,
  choate or inchoate, secured or unsecured, assertable directly or derivatively (including, without
  limitation, under alter ego theories), whether arising before, on, or after the Petition Date, in
  contract or in tort, in law or in equity or pursuant to any other theory of law. For the avoidance
  of doubt, Cause of Action includes, without limitation,: (a) any right of setoff, counterclaim or
  recoupment and any claim for breach of contract or for breach of duties imposed by law or in
  equity; (b) the right to object to Claims or Equity Interests; (c) any claim pursuant to section 362
  or chapter 5 of the Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress
  and usury, and any other defenses set forth in section 558 of the Bankruptcy Code; (e) any claims
  under any state or foreign law, including, without limitation, any fraudulent transfer or similar
  claims; (f) the Avoidance Actions, and (g) the Estate Claims. The Causes of Action include,
  without limitation, the Causes of Action belonging to the Debtor’s Estate listed on the schedule
  of Causes of Action to be filed with the Plan Supplement.

                  20. “CEO/CRO” means James P. Seery, Jr., the Debtor’s chief executive officer
  and chief restructuring officer.

                  21. “Chapter 11 Case” means the Debtor’s case under chapter 11 of the
  Bankruptcy Code commenced on the Petition Date in the Delaware Bankruptcy Court and
  transferred to the Bankruptcy Court on December 4, 2019, and styled In re Highland Capital
  Management, L.P., Case No. 19-34054-sgj-11.

                22. “Claim” means any “claim” against the Debtor as defined in section 101(5) of
  the Bankruptcy Code.

               23. “Claims Objection Deadline” means the date that is 180 days after the
  Confirmation Date; provided, however, the Claims Objection Deadline may be extended by the
  Bankruptcy Court upon a motion by the Claimant Trustee.


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 Case19-34054-sgj11
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                                                               18:59:39Page
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                                                                            1711
                                                                              of 170
                                                                                 of 66




                24. “Claimant Trust” means the trust established for the benefit of the Claimant
  Trust Beneficiaries on the Effective Date in accordance with the terms of this Plan and the
  Claimant Trust Agreement.

               25. “Claimant Trust Agreement” means the agreement Filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Claimant Trust.

                  26. “Claimant Trust Assets” means (i) other than the Reorganized Debtor Assets
  (which are expressly excluded from this definition), all other Assets of the Estate, including, but
  not limited to, all Causes of Action, Available Cash, any proceeds realized or received from such
  Assets, all rights of setoff, recoupment, and other defenses with respect, relating to, or arising
  from such Assets, (ii) any Assets transferred by the Reorganized Debtor to the Claimant Trust on
  or after the Effective Date, (iii) the limited partnership interests in the Reorganized Debtor, and
  (iv) the ownership interests in New GP LLC. For the avoidance of doubt, any Causes of Action
  that, for any reason, are not capable of being transferred to the Claimant Trust shall constitute
  Reorganized Debtor Assets.

                  27. “Claimant Trust Beneficiaries” means the Holders of Allowed General
  Unsecured Claims, Holders of Allowed Subordinated Claims, including, upon Allowance,
  Disputed General Unsecured Claims and Disputed Subordinated Claims that become Allowed
  following the Effective Date, and, only upon certification by the Claimant Trustee that the
  Holders of such Claims have been paid indefeasibly in full plus, to the extent all Allowed
  unsecured Claims, excluding Subordinated Claims, have been paid in full, post-petition interest
  from the Petition Date at the Federal Judgment Rate in accordance with the terms and conditions
  set forth in the Claimant Trust Agreement and all Disputed Claims in Class 8 and Class 9 have
  been resolved, Holders of Allowed Class B/C Limited Partnership Interests, and Holders of
  Allowed Class A Limited Partnership Interests.

                 28. “Claimant Trustee” means James P. Seery, Jr., the Debtor’s chief executive
  officer and chief restructuring officer, or such other Person identified in the Plan Supplement
  who will act as the trustee of the Claimant Trust in accordance with the Plan, the Confirmation
  Order, and Claimant Trust Agreement or any replacement trustee pursuant to (and in accordance
  with) the Claimant Trust Agreement. The Claimant Trustee shall be responsible for, among
  other things, monetizing the Estate’s investment assets, resolving Claims (other than those
  Claims assigned to the Litigation Sub-Trust for resolution), and, as the sole officer of New GP
  LLC, winding down the Reorganized Debtor’s business operations.

                 29. “Claimant Trust Expenses” means all reasonable legal and other reasonable
  professional fees, costs, and expenses incurred by the Trustees on account of administration of
  the Claimant Trust, including any reasonable administrative fees and expenses, reasonable
  attorneys’ fees and expenses, reasonable insurance costs, taxes, reasonable escrow expenses, and
  other expenses.

                 30. “Claimant Trust Interests” means the non-transferable interests in the
  Claimant Trust that are issued to the Claimant Trust Beneficiaries pursuant to this Plan;
  provided, however, Holders of Class A Limited Partnership Interests, Class B Limited
  Partnership Interests, and Class C Limited Partnership Interests will not be deemed to hold

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 Case19-34054-sgj11
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                                                               18:59:39Page
                                                                         Page
                                                                            1812
                                                                              of 170
                                                                                 of 66




  Claimant Trust Interests unless and until the Contingent Claimant Trust Interests distributed to
  such Holders vest in accordance with the terms of this Plan and the Claimant Trust Agreement.

                 31. “Claimant Trust Oversight Committee” means the committee of five Persons
  established pursuant to ARTICLE IV of this Plan to oversee the Claimant Trustee’s performance
  of its duties and otherwise serve the functions described in this Plan and the Claimant Trust
  Agreement.

               32. “Class” means a category of Holders of Claims or Equity Interests as set forth
  in ARTICLE III hereof pursuant to section 1122(a) of the Bankruptcy Code.

                 33. “Class A Limited Partnership Interest” means the Class A Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by The Dugaboy Investment
  Trust, Mark and Pamela Okada Family Trust – Exempt Trust 2, Mark and Pamela Okada –
  Exempt Descendants’ Trust, and Mark Kiyoshi Okada, and the General Partner Interest.

                  34. “Class B Limited Partnership Interest” means the Class B Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                35. “Class B/C Limited Partnership Interests” means, collectively, the Class B
  Limited Partnership and Class C Limited Partnership Interests.

                  36. “Class C Limited Partnership Interest” means the Class C Limited Partnership
  Interests as defined in the Limited Partnership Agreement held by Hunter Mountain Investment
  Trust.

                 37. “Committee” means the Official Committee of Unsecured Creditors
  appointed by the U.S. Trustee pursuant to 11 U.S.C. § 1102(a)(1) on October 29, 2019 [D.I. 65],
  consisting of (i) the Redeemer Committee of Highland Crusader Fund, (ii) Meta-e Discovery,
  (iii) UBS, and (iv) Acis.

                 38. “Confirmation Date” means the date on which the clerk of the Bankruptcy
  Court enters the Confirmation Order on the docket of the Bankruptcy Court.

                 39. “Confirmation Hearing” means the hearing held by the Bankruptcy Court
  pursuant to section 1128 of the Bankruptcy Code to consider confirmation of this Plan, as such
  hearing may be adjourned or continued from time to time.

                 40. “Confirmation Order” means the order of the Bankruptcy Court confirming
  this Plan pursuant to section 1129 of the Bankruptcy Code.

                41. “Convenience Claim” means any prepetition, liquidated, and unsecured
  Claim against the Debtor that as of the Confirmation Date is less than or equal to $1,000,000 or
  any General Unsecured Claim that makes the Convenience Class Election. For the avoidance of
  doubt, the Reduced Employee Claims will be Convenience Claims.


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                                                                         Page
                                                                            1913
                                                                              of 170
                                                                                 of 66




                 42. “Convenience Claim Pool” means the $13,150,000 in Cash that shall be
  available upon the Effective Date for distribution to Holders of Convenience Claims under the
  Plan as set forth herein. Any Cash remaining in the Convenience Claim Pool after all
  distributions on account of Convenience Claims have been made will be transferred to the
  Claimant Trust and administered as a Claimant Trust Asset.

                  43. “Convenience Class Election” means the option provided to each Holder of a
  General Unsecured Claim that is a liquidated Claim as of the Confirmation Date on their Ballot
  to elect to reduce their claim to $1,000,000 and receive the treatment provided to Convenience
  Claims.

                  44. “Contingent Claimant Trust Interests” means the contingent Claimant Trust
  Interests to be distributed to Holders of Class A Limited Partnership Interests, Holders of Class B
  Limited Partnership Interests, and Holders of Class C Limited Partnership Interests in
  accordance with this Plan, the rights of which shall not vest, and consequently convert to
  Claimant Trust Interests, unless and until the Claimant Trustee Files a certification that all
  holders of Allowed General Unsecured Claims have been paid indefeasibly in full, plus, to the
  extent all Allowed unsecured Claims, excluding Subordinated Claims, have been paid in full, all
  accrued and unpaid post-petition interest from the Petition Date at the Federal Judgment Rate
  and all Disputed Claims in Class 8 and Class 9 have been resolved. As set forth in the Claimant
  Trust Agreement, the Contingent Claimant Trust Interests distributed to the Holders of Class A
  Limited Partnership Interests will be subordinated to the Contingent Claimant Trust Interests
  distributed to the Holders of Class B/C Limited Partnership Interests.

                 45. “Debtor” means Highland Capital Management, L.P. in its capacity as debtor
  and debtor in possession in the Chapter 11 Case.

                  46. “Delaware Bankruptcy Court” means the United States Bankruptcy Court for
  the District of Delaware.

                 47. “Disclosure Statement” means that certain Disclosure Statement for Debtor’s
  Fifth Amended Chapter 11 Plan of Reorganization, as amended, supplemented, or modified from
  time to time, which describes this Plan, including all exhibits and schedules thereto and
  references therein that relate to this Plan.

                 48. “Disputed” means with respect to any Claim or Equity Interest, any Claim or
  Equity Interest that is not yet Allowed.

                 49. “Disputed Claims Reserve” means the appropriate reserve(s) or account(s) to
  be established on the Initial Distribution Date and maintained by the Claimant Trustee for
  distributions on account of Disputed Claims that may subsequently become an Allowed Claim.

                50. “Disputed Claims Reserve Amount” means, for purposes of determining the
  Disputed Claims Reserve, the Cash that would have otherwise been distributed to a Holder of a
  Disputed Claim at the time any distributions of Cash are made to the Holders of Allowed Claims.
  The amount of the Disputed Claim upon which the Disputed Claims Reserve is calculated shall
  be: (a) the amount set forth on either the Schedules or the filed Proof of Claim, as applicable; (b)
  the amount agreed to by the Holder of the Disputed Claim and the Claimant Trustee or
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 Case19-34054-sgj11
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                                                      01/22/21
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                                                               18:59:39Page
                                                                         Page
                                                                            2014
                                                                              of 170
                                                                                 of 66




  Reorganized Debtor, as applicable; (c) the amount ordered by the Bankruptcy Court if it enters
  an order disallowing, in whole or in part, a Disputed Claim; or (d) as otherwise ordered by the
  Bankruptcy Court, including an order estimating the Disputed Claim.

                51. “Distribution Agent” means the Claimant Trustee, or any party designated by
  the Claimant Trustee to serve as distribution agent under this Plan.

                  52. “Distribution Date” means the date or dates determined by the Reorganized
  Debtor or the Claimant Trustee, as applicable, on or after the Initial Distribution Date upon
  which the Distribution Agent shall make distributions to holders of Allowed Claims and Interests
  entitled to receive distributions under the Plan.

                 53. “Distribution Record Date” means the date for determining which Holders of
  Claims and Equity Interests are eligible to receive distributions hereunder, which date shall be
  the Effective Date or such later date determined by the Bankruptcy Court.

                54. “Effective Date” means the Business Day that this Plan becomes effective as
  provided in ARTICLE VIII hereof.

                 55. “Employees” means the employees of the Debtor set forth in the Plan
  Supplement.

                  56. “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
  Claims against or Equity Interests in the Debtor (whether or not proof of such Claims or Equity
  Interests has been filed and whether or not such Entities vote in favor of, against or abstain from
  voting on the Plan or are presumed to have accepted or deemed to have rejected the Plan), (ii)
  James Dondero (“Dondero”), (iii) any Entity that has appeared and/or filed any motion,
  objection, or other pleading in this Chapter 11 Case regardless of the capacity in which such
  Entity appeared and any other party in interest, (iv) any Related Entity, and (v) the Related
  Persons of each of the foregoing.

                57. “Entity” means any “entity” as defined in section 101(15) of the Bankruptcy
  Code and also includes any Person or any other entity.

                   58. “Equity Interest” means any Equity Security in the Debtor, including, without
  limitation, all issued, unissued, authorized or outstanding partnership interests, shares, of stock or
  limited company interests, the Class A Limited Partnership Interests, the Class B Limited
  Partnership Interests, and the Class C Limited Partnership Interests.

                59. “Equity Security” means an “equity security” as defined in section 101(16) of
  the Bankruptcy Code.

                 60. “Estate” means the bankruptcy estate of the Debtor created by virtue of
  section 541 of the Bankruptcy Code upon the commencement of the Chapter 11 Case.

                61. “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [D.I. 354].

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 Case19-34054-sgj11
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                                                               18:59:39Page
                                                                         Page
                                                                            2115
                                                                              of 170
                                                                                 of 66




                   62. “Exculpated Parties” means, collectively, (i) the Debtor and its successors and
  assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Independent Directors, (v) the Committee, (vi) the members of
  the Committee (in their official capacities), (vii) the Professionals retained by the Debtor and the
  Committee in the Chapter 11 Case, (viii) the CEO/CRO; and (ix) the Related Persons of each of
  the parties listed in (iv) through (viii); provided, however, that, for the avoidance of doubt, none
  of James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries and
  managed entities), the Charitable Donor Advised Fund, L.P. (and any of its subsidiaries,
  including CLO Holdco, Ltd., and managed entities), Highland CLO Funding, Ltd. (and any of its
  subsidiaries, members, and managed entities), Highland Capital Management Fund Advisors,
  L.P. (and any of its subsidiaries and managed entities), NexBank, SSB (and any of its
  subsidiaries), the Hunter Mountain Investment Trust (or any trustee acting for the trust), the
  Dugaboy Investment Trust (or any trustee acting for the trust), or Grant Scott is included in the
  term “Exculpated Party.”

                 63. “Executory Contract” means a contract to which the Debtor is a party that is
  subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

                 64. “Exhibit” means an exhibit annexed hereto or to the Disclosure Statement (as
  such exhibits are amended, modified or otherwise supplemented from time to time), which are
  incorporated by reference herein.

                65. “Federal Judgment Rate” means the post-judgment interest rate set forth in 28
  U.S.C. § 1961 as of the Effective Date.

                  66. “File” or “Filed” or “Filing” means file, filed or filing with the Bankruptcy
  Court or its authorized designee in the Chapter 11 Case.

                  67. “Final Order” means an order or judgment of the Bankruptcy Court, which is
  in full force and effect, and as to which the time to appeal, petition for certiorari, or move for a
  new trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari,
  or other proceedings for a new trial, reargument or rehearing shall then be pending or as to which
  any right to appeal, petition for certiorari, new trial, reargument, or rehearing shall have been
  waived in writing in form and substance satisfactory to the Debtor, the Reorganized Debtor, or
  the Claimant Trustee, as applicable, or, in the event that an appeal, writ of certiorari, new trial,
  reargument, or rehearing thereof has been sought, such order of the Bankruptcy Court shall have
  been determined by the highest court to which such order was appealed, or certiorari, new trial,
  reargument or rehearing shall have been denied and the time to take any further appeal, petition
  for certiorari, or move for a new trial, reargument or rehearing shall have expired; provided,
  however, that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure,
  or any analogous rule under the Bankruptcy Rules, may be Filed with respect to such order shall
  not preclude such order from being a Final Order.

                68. “Frontier Secured Claim” means the loan from Frontier State Bank to the
  Debtor in the principal amount of $7,879,688.00 made pursuant to that certain First Amended
  and Restated Loan Agreement, dated March 29, 2018.


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                                                                                        App. 019
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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                      01/22/21
                                                             22:37:03
                                                               18:59:39Page
                                                                         Page
                                                                            2216
                                                                              of 170
                                                                                 of 66




                 69. “General Partner Interest” means the Class A Limited Partnership Interest
  held by Strand, as the Debtor’s general partner.

                 70. “General Unsecured Claim” means any prepetition Claim against the Debtor
  that is not Secured and is not a/an: (a) Administrative Expense Claim; (b) Professional Fee
  Claim; (c) Priority Tax Claim; (d) Priority Non-Tax Claim; or (e) Convenience Claim.

                71. “Governmental Unit” means a “governmental unit” as defined in
  section 101(27) of the Bankruptcy Code.

                 72. “GUC Election” means the option provided to each Holder of a Convenience
  Claim on their Ballot to elect to receive the treatment provided to General Unsecured Claims.

                73. “Holder” means an Entity holding a Claim against, or Equity Interest in, the
  Debtor.

                74. “Impaired” means, when used in reference to a Claim or Equity Interest, a
  Claim or Equity Interest that is impaired within the meaning of section 1124 of the Bankruptcy
  Code.

                 75. “Independent Directors” means John S. Dubel, James P. Seery, Jr., and
  Russell Nelms, the independent directors of Strand appointed on January 9, 2020, and any
  additional or replacement directors of Strand appointed after January 9, 2020, but prior to the
  Effective Date.

                 76. “Initial Distribution Date” means, subject to the “Treatment” sections in
  ARTICLE III hereof, the date that is on or as soon as reasonably practicable after the Effective
  Date, when distributions under this Plan shall commence to Holders of Allowed Claims and
  Equity Interests.

                  77. “Insurance Policies” means all insurance policies maintained by the Debtor as
  of the Petition Date.

                78. “Jefferies Secured Claim” means any Claim in favor of Jefferies, LLC, arising
  under that certain Prime Brokerage Customer Agreement, dated May 24, 2013, between the
  Debtor and Jefferies, LLC, that is secured by the assets, if any, maintained in the prime
  brokerage account created by such Prime Brokerage Customer Agreement.

                  79. “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code
  and, with respect to any asset, includes, without limitation, any mortgage, lien, pledge, charge,
  security interest or other encumbrance of any kind, or any other type of preferential arrangement
  that has the practical effect of creating a security interest, in respect of such asset.

               80. “Limited Partnership Agreement” means that certain Fourth Amended and
  Restated Agreement of Limited Partnership of Highland Capital Management, L.P., dated
  December 24, 2015, as amended.


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 Case19-34054-sgj11
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                                                      01/22/21
                                                             22:37:03
                                                               18:59:39Page
                                                                         Page
                                                                            2317
                                                                              of 170
                                                                                 of 66




                 81. “Litigation Sub-Trust” means the sub-trust established within the Claimant
  Trust or as a wholly –owned subsidiary of the Claimant Trust on the Effective Date in each case
  in accordance with the terms and conditions set forth in the Litigation Sub-Trust Agreement and
  Claimant Trust Agreement. As set forth in the Litigation Sub-Trust Agreement, the Litigation
  Sub-Trust shall hold the Claimant Trust Assets that are Estate Claims.

               82. “Litigation Sub-Trust Agreement” means the agreement filed in the Plan
  Supplement establishing and delineating the terms and conditions of the Litigation Sub-Trust.

                  83. “Litigation Trustee” means the trustee appointed by the Committee and
  reasonably acceptable to the Debtor who shall be responsible for investigating, litigating, and
  settling the Estate Claims for the benefit of the Claimant Trust in accordance with the terms and
  conditions set forth in the Litigation Sub-Trust Agreement.

                84. “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
  Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
  Debtor pursuant to an Executory Contract assumed pursuant to this Plan.

                85. “New Frontier Note” means that promissory note to be provided to the
  Allowed Holders of Class 2 Claims under this Plan and any other documents or security
  agreements securing the obligations thereunder.

               86. “New GP LLC” means a limited liability company incorporated in the State of
  Delaware pursuant to the New GP LLC Documents to serve as the general partner of the
  Reorganized Debtor on the Effective Date.

                87. “New GP LLC Documents” means the charter, operating agreement, and other
  formational documents of New GP LLC.

                88. “Ordinary Course Professionals Order” means that certain Order Pursuant to
  Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the Debtor to Retain,
  Employ, and Compensate Certain Professionals Utilized by the Debtor in the Ordinary Course
  [D.I. 176].

               89. “Other Unsecured Claim” means any Secured Claim other than the Jefferies
  Secured Claim and the Frontier Secured Claim.

                  90. “Person” means a “person” as defined in section 101(41) of the Bankruptcy
  Code and also includes any natural person, individual, corporation, company, general or limited
  partnership, limited liability company, unincorporated organization firm, trust, estate, business
  trust, association, joint stock company, joint venture, government, governmental agency,
  Governmental Unit or any subdivision thereof, the United States Trustee, or any other entity,
  whether acting in an individual, fiduciary or other capacity.

                91. “Petition Date” means October 16, 2019.

                92. “Plan” means this Debtor’s Fifth Amended Chapter 11 Plan of
  Reorganization, including the Exhibits and the Plan Documents and all supplements, appendices,
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 Case19-34054-sgj11
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                                                                         Page
                                                                            2418
                                                                              of 170
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  and schedules thereto, either in its present form or as the same may be altered, amended,
  modified or otherwise supplemented from time to time.

                93. “Plan Distribution” means the payment or distribution of consideration to
  Holders of Allowed Claims and Allowed Equity Interests under this Plan.

                 94. “Plan Documents” means any of the documents, other than this Plan, but
  including, without limitation, the documents to be filed with the Plan Supplement, to be
  executed, delivered, assumed, or performed in connection with the occurrence of the Effective
  Date, and as may be modified consistent with the terms hereof with the consent of the
  Committee.

                  95. “Plan Supplement” means the ancillary documents necessary for the
  implementation and effectuation of the Plan, including, without limitation, (i) the form of
  Claimant Trust Agreement, (ii) the forms of New GP LLC Documents, (iii) the form of
  Reorganized Limited Partnership Agreement, (iv) the Sub-Servicer Agreement (if applicable),
  (v) the identity of the initial members of the Claimant Trust Oversight Committee, (vi) the form
  of Litigation Sub-Trust Agreement; (vii) the schedule of retained Causes of Action; (viii) the
  New Frontier Note, (ix) the schedule of Employees; (x) the form of Senior Employee
  Stipulation,; and (xi) the schedule of Executory Contracts and Unexpired Leases to be assumed
  pursuant to this Plan, which, in each case, will be in form and substance reasonably acceptable to
  the Debtor and the Committee.

                 96. “Priority Non-Tax Claim” means a Claim entitled to priority pursuant to
  section 507(a) of the Bankruptcy Code, including any Claims for paid time-off entitled to
  priority under section 507(a)(4) of the Bankruptcy Code, other than a Priority Tax Claim or an
  Administrative Claim.

                 97. “Pro Rata” means the proportion that (a) the Allowed amount of a Claim or
  Equity Interest in a particular Class bears to (b) the aggregate Allowed amount of all Claims or
  Equity Interests in such Class.

                 98. “Professional” means (a) any Entity employed in the Chapter 11 Case
  pursuant to section 327, 328 363 or 1103 of the Bankruptcy Code or otherwise and (b) any Entity
  seeking compensation or reimbursement of expenses in connection with the Chapter 11 Case
  pursuant to sections 327, 328, 330, 331, 363, 503(b), 503(b)(4) and 1103 of the Bankruptcy
  Code.

                  99. “Professional Fee Claim” means a Claim under sections 328, 330(a), 331,
  363, 503 or 1103 of the Bankruptcy Code, with respect to a particular Professional, for
  compensation for services rendered or reimbursement of costs, expenses or other charges
  incurred after the Petition Date and prior to and including the Effective Date.

                100. “Professional Fee Claims Bar Date” means with respect to Professional
  Fee Claims, the Business Day which is sixty (60) days after the Effective Date or such other date
  as approved by order of the Bankruptcy Court.


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                                                                            2519
                                                                              of 170
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                101. “Professional Fee Claims Objection Deadline” means, with respect to any
  Professional Fee Claim, thirty (30) days after the timely Filing of the applicable request for
  payment of such Professional Fee Claim.

               102. “Professional Fee Reserve” means the reserve established and funded by
  the Claimant Trustee pursuant this Plan to provide sufficient funds to satisfy in full unpaid
  Allowed Professional Fee Claims.

                 103. “Proof of Claim” means a written proof of Claim or Equity Interest Filed
  against the Debtor in the Chapter 11 Case.

                 104. “Priority Tax Claim” means any Claim of a Governmental Unit of the
  kind specified in section 507(a)(8) of the Bankruptcy Code.

                  105. “Protected Parties” means, collectively, (i) the Debtor and its successors
  and assigns, direct and indirect majority-owned subsidiaries, and the Managed Funds, (ii) the
  Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the Independent Directors, (vi) the
  Committee, (vii) the members of the Committee (in their official capacities), (viii) the Claimant
  Trust, (ix) the Claimant Trustee, (x) the Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the
  members of the Claimant Trust Oversight Committee (in their official capacities), (xiii) New GP
  LLC, (xiv) the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
  (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in (iv) through
  (xv); provided, however, that, for the avoidance of doubt, none of James Dondero, Mark Okada,
  NexPoint Advisors, L.P. (and any of its subsidiaries and managed entities), the Charitable Donor
  Advised Fund, L.P. (and any of its subsidiaries, including CLO Holdco, Ltd., and managed
  entities), Highland CLO Funding, Ltd. (and any of its subsidiaries, members, and managed
  entities), NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
  Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter Mountain
  Investment Trust (or any trustee acting for the trust), the Dugaboy Investment Trust (or any
  trustee acting for the trust), or Grant Scott is included in the term “Protected Party.”

                 106. “PTO Claims” means any Claim for paid time off in favor of any Debtor
  employee in excess of the amount that would qualify as a Priority Non-Tax Claim under section
  507(a)(4) of the Bankruptcy Code.

                 107.    “Reduced Employee Claims” has the meaning set forth in ARTICLE IX.D.

                   108. “Reinstated” means, with respect to any Claim or Equity Interest, (a)
  leaving unaltered the legal, equitable, and contractual rights to which a Claim entitles the Holder
  of such Claim or Equity Interest in accordance with section 1124 of the Bankruptcy Code or (b)
  notwithstanding any contractual provision or applicable law that entitles the Holder of such
  Claim or Equity Interest to demand or receive accelerated payment of such Claim or Equity
  Interest after the occurrence of a default: (i) curing any such default that occurred before or after
  the Petition Date, other than a default of a kind specified in section 365(b)(2) of the Bankruptcy
  Code or of a kind that section 365(b)(2) of the Bankruptcy Code expressly does not require to be
  cured; (ii) reinstating the maturity of such Claim or Equity Interest as such maturity existed
  before such default; (iii) compensating the Holder of such Claim or Equity Interest for any

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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                               18:59:39Page
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                                                                            2620
                                                                              of 170
                                                                                 of 66




  damages incurred as a result of any reasonable reliance by such Holder on such contractual
  provision or such applicable law; (iv) if such Claim or Equity Interest arises from any failure to
  perform a nonmonetary obligation, other than a default arising from failure to operate a non-
  residential real property lease subject to section 365(b)(1)(A) of the Bankruptcy Code,
  compensating the Holder of such Claim or Equity Interest (other than any Debtor or an insider of
  any Debtor) for any actual pecuniary loss incurred by such Holder as a result of such failure; and
  (v) not otherwise altering the legal, equitable, or contractual rights to which such Claim entitles
  the Holder of such Claim.

                  109. “Rejection Claim” means any Claim for monetary damages as a result of
  the rejection of an executory contract or unexpired lease pursuant to the Confirmation Order.

                   110. “Related Entity” means, without duplication, (a) Dondero, (b) Mark Okada
  (“Okada”), (c) Grant Scott (“Scott”), (d) Hunter Covitz (“Covitz”), (e) any entity or person that
  was an insider of the Debtor on or before the Petition Date under Section 101(31) of the
  Bankruptcy Code, including, without limitation, any entity or person that was a non-statutory
  insider, (f) any entity that, after the Effective Date, is an insider or Affiliate of one or more of
  Dondero, Okada, Scott, Covitz, or any of their respective insiders or Affiliates, including,
  without limitation, The Dugaboy Investment Trust, (g) the Hunter Mountain Investment Trust
  and any of its direct or indirect parents, (h) the Charitable Donor Advised Fund, L.P., and any of
  its direct or indirect subsidiaries, and (i) Affiliates of the Debtor and any other Entities listed on
  the Related Entity List.

                 111.    “Related Entity List” means that list of Entities filed with the Plan
  Supplement.

                 112. “Related Persons” means, with respect to any Person, such Person’s
  predecessors, successors, assigns (whether by operation of law or otherwise), and each of their
  respective present, future, or former officers, directors, employees, managers, managing
  members, members, financial advisors, attorneys, accountants, investment bankers, consultants,
  professionals, advisors, shareholders, principals, partners, subsidiaries, divisions, management
  companies, heirs, agents, and other representatives, in each case solely in their capacity as such.

                  113. “Released Parties” means, collectively, (i) the Independent Directors; (ii)
  Strand (solely from the date of the appointment of the Independent Directors through the
  Effective Date); (iii) the CEO/CRO; (iv) the Committee; (v) the members of the Committee (in
  their official capacities), (vi) the Professionals retained by the Debtor and the Committee in the
  Chapter 11 Case; and (vii) the Employees.

                 114. “Reorganized Debtor” means the Debtor, as reorganized pursuant to this
  Plan on and after the Effective Date.

                  115. “Reorganized Debtor Assets” means any limited and general partnership
  interests held by the Debtor, the management of the Managed Funds and those Causes of Action
  (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
  capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized


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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                                         Page
                                                                            2721
                                                                              of 170
                                                                                 of 66




  Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
  but does not include the underlying portfolio assets held by the Managed Funds.

                 116. “Reorganized Limited Partnership Agreement” means that certain Fifth
  Amended and Restated Agreement of Limited Partnership of Highland Capital Management,
  L.P., by and among the Claimant Trust, as limited partner, and New GP LLC, as general partner,
  Filed with the Plan Supplement.

                 117. “Restructuring” means the restructuring of the Debtor, the principal terms
  of which are set forth in this Plan and the Disclosure Statement.

                 118. “Retained Employee Claim” means any Claim filed by a current employee
  of the Debtor who will be employed by the Reorganized Debtor upon the Effective Date.

                 119. “Schedules” means the schedules of Assets and liabilities, statements of
  financial affairs, lists of Holders of Claims and Equity Interests and all amendments or
  supplements thereto Filed by the Debtor with the Bankruptcy Court [D.I. 247].

                  120. “Secured” means, when referring to a Claim: (a) secured by a Lien on
  property in which the Debtor’s Estate has an interest, which Lien is valid, perfected, and
  enforceable pursuant to applicable law or by reason of a Bankruptcy Court order, or that is
  subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent of the value of the
  creditor’s interest in the interest of the Debtor’s Estate in such property or to the extent of the
  amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
  Bankruptcy Code or (b) Allowed pursuant to the Plan as a Secured Claim.

                121. “Security” or “security” means any security as such term is defined in
  section 101(49) of the Bankruptcy Code.

               122.      “Senior Employees” means the senior employees of the Debtor Filed in the
  Plan Supplement.

               123. “Senior Employee Stipulation” means the agreements filed in the Plan
  Supplement between each Senior Employee and the Debtor.

                 124. “Stamp or Similar Tax” means any stamp tax, recording tax, personal
  property tax, conveyance fee, intangibles or similar tax, real estate transfer tax, sales tax, use tax,
  transaction privilege tax (including, without limitation, such taxes on prime contracting and
  owner-builder sales), privilege taxes (including, without limitation, privilege taxes on
  construction contracting with regard to speculative builders and owner builders), and other
  similar taxes imposed or assessed by any Governmental Unit.

                 125.    “Statutory Fees” means fees payable pursuant to 28 U.S.C. § 1930.

                 126.    “Strand” means Strand Advisors, Inc., the Debtor’s general partner.

                 127. “Sub-Servicer” means a third-party selected by the Claimant Trustee to
  service or sub-service the Reorganized Debtor Assets.
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                                                               18:59:39Page
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                                                                            2822
                                                                              of 170
                                                                                 of 66




                 128. “Sub-Servicer Agreement” means the agreement that may be entered into
  providing for the servicing of the Reorganized Debtor Assets by the Sub-Servicer.

                 129. “Subordinated Claim” means any Claim that is subordinated to the
  Convenience Claims and General Unsecured Claims pursuant to 11 U.S.C. § 510 or order
  entered by the Bankruptcy Court.

                 130. “Subordinated Claimant Trust Interests” means the Claimant Trust
  Interests to be distributed to Holders of Allowed Subordinated Claims under the Plan, which
  such interests shall be subordinated in right and priority to the Claimant Trust Interests
  distributed to Holders of Allowed General Unsecured Claims as provided in the Claimant Trust
  Agreement.

                131. “Trust Distribution” means the transfer of Cash or other property by the
  Claimant Trustee to the Claimant Trust Beneficiaries.

                132.    “Trustees” means, collectively, the Claimant Trustee and Litigation
  Trustee.

                133.    “UBS” means, collectively, UBS Securities LLC and UBS AG London
  Branch.

                 134. “Unexpired Lease” means a lease to which the Debtor is a party that is
  subject to assumption or rejection under section 365 of the Bankruptcy Code.

                  135. “Unimpaired” means, with respect to a Class of Claims or Equity Interests
  that is not impaired within the meaning of section 1124 of the Bankruptcy Code.

                 136. “Voting Deadline” means the date and time by which all Ballots to accept
  or reject the Plan must be received in order to be counted under the under the Order of the
  Bankruptcy Court approving the Disclosure Statement as containing adequate information
  pursuant to section 1125(a) of the Bankruptcy Code and authorizing the Debtor to solicit
  acceptances of the Plan.

                137.    “Voting Record Date” means November 23, 2020.

                                 ARTICLE II.
                ADMINISTRATIVE EXPENSES AND PRIORITY TAX CLAIMS

  A.     Administrative Expense Claims

          On the later of the Effective Date or the date on which an Administrative Expense Claim
  becomes an Allowed Administrative Expense Claim, or, in each such case, as soon as practicable
  thereafter, each Holder of an Allowed Administrative Expense Claim (other than Professional
  Fee Claims) will receive, in full satisfaction, settlement, discharge and release of, and in
  exchange for, such Allowed Administrative Expense Claim either (i) payment in full in
  Available Cash for the unpaid portion of such Allowed Administrative Expense Claim; or
  (ii) such other less favorable treatment as agreed to in writing by the Debtor or the Reorganized
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      21-03076-sgj Doc
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                                                               18:59:39Page
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                                                                            2923
                                                                              of 170
                                                                                 of 66




  Debtor, as applicable, and such Holder; provided, however, that Administrative Expense Claims
  incurred by the Debtor in the ordinary course of business may be paid in the ordinary course of
  business in the discretion of the Debtor in accordance with such applicable terms and conditions
  relating thereto without further notice to or order of the Bankruptcy Court. All statutory fees
  payable under 28 U.S.C. § 1930(a) shall be paid as such fees become due.

         If an Administrative Expense Claim (other than a Professional Fee Claim) is not paid by
  the Debtor in the ordinary course, the Holder of such Administrative Expense Claim must File,
  on or before the applicable Administrative Expense Claims Bar Date, and serve on the Debtor or
  Reorganized Debtor, as applicable, and such other Entities who are designated by the
  Bankruptcy Rules, the Confirmation Order or other order of the Bankruptcy Court, an
  application for allowance and payment of such Administrative Expense Claim.

          Objections to any Administrative Expense Claim (other than a Professional Fee Claim)
  must be Filed and served on the Debtor or the Reorganized Debtor, as applicable, and the party
  asserting such Administrative Expense Claim by the Administrative Expense Claims Objection
  Deadline.

  B.     Professional Fee Claims

           Professionals or other Entities asserting a Professional Fee Claim for services rendered
  through the Effective Date must submit fee applications under sections 327, 328, 329,330, 331,
  503(b) or 1103 of the Bankruptcy Code and, upon entry of an order of the Bankruptcy Court
  granting such fee applications, such Professional Fee Claim shall promptly be paid in Cash in
  full to the extent provided in such order.

          Professionals or other Entities asserting a Professional Fee Claim for services rendered on
  or prior to the Effective Date must File, on or before the Professional Fee Claims Bar Date, and
  serve on the Debtor or Reorganized Debtor, as applicable, and such other Entities who are
  designated as requiring such notice by the Bankruptcy Rules, the Confirmation Order or other
  order of the Bankruptcy Court, an application for final allowance of such Professional Fee
  Claim.

          Objections to any Professional Fee Claim must be Filed and served on the Debtor or
  Reorganized Debtor, as applicable, and the party asserting the Professional Fee Claim by the
  Professional Fee Claim Objection Deadline. Each Holder of an Allowed Professional Fee Claim
  will be paid by the Debtor or the Claimant Trust, as applicable, in Cash within ten (10) Business
  Days of entry of the order approving such Allowed Professional Fee Claim.

          On the Effective Date, the Claimant Trustee shall establish the Professional Fee Reserve.
  The Professional Fee Reserve shall vest in the Claimant Trust and shall be maintained by the
  Claimant Trustee in accordance with the Plan and Claimant Trust Agreement. The Claimant
  Trust shall fund the Professional Fee Reserve on the Effective Date in an estimated amount
  determined by the Debtor in good faith prior to the Confirmation Date and that approximates the
  total projected amount of unpaid Professional Fee Claims on the Effective Date. Following the
  payment of all Allowed Professional Fee Claims, any excess funds in the Professional Fee


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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                                            3024
                                                                              of 170
                                                                                 of 66




  Reserve shall be released to the Claimant Trust to be used for other purposes consistent with the
  Plan and the Claimant Trust Agreement.

  C.     Priority Tax Claims

          On or as soon as reasonably practicable after the later of (i) the Initial Distribution Date if
  such Priority Tax Claim is an Allowed Priority Tax Claim as of the Effective Date or (ii) the date
  on which such Priority Tax Claim becomes an Allowed Priority Tax Claim, each Holder of an
  Allowed Priority Tax Claim will receive in full satisfaction, settlement, discharge and release of,
  and in exchange for, such Allowed Priority Tax Claim, at the election of the Debtor: (a) Cash in
  an amount equal to the amount of such Allowed Priority Tax Claim, (b) payment of such
  Allowed Priority Tax Claim in accordance with section 1129(a)(9)(C) of the Bankruptcy Code;
  or (c) such other less favorable treatment as agreed to in writing by the Debtor and such Holder.
  Payment of statutory fees due pursuant to 28 U.S.C. § 1930(a)(6) will be made at all appropriate
  times until the entry of a final decree; provided, however, that the Debtor may prepay any or all
  such Claims at any time, without premium or penalty.

                                      ARTICLE III.
                           CLASSIFICATION AND TREATMENT OF
                         CLASSIFIED CLAIMS AND EQUITY INTERESTS

  A.     Summary

          All Claims and Equity Interests, except Administrative Expense Claims and Priority Tax
  Claims, are classified in the Classes set forth below. In accordance with section 1123(a)(1) of
  the Bankruptcy Code, Administrative Expense Claims, and Priority Tax Claims have not been
  classified.

          The categories of Claims and Equity Interests listed below classify Claims and Equity
  Interests for all purposes including, without limitation, confirmation and distribution pursuant to
  the Plan and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. The Plan deems
  a Claim or Equity Interest to be classified in a particular Class only to the extent that the Claim
  or Equity Interest qualifies within the description of that Class and will be deemed classified in a
  different Class to the extent that any remainder of such Claim or Equity Interest qualifies within
  the description of such different Class. A Claim or Equity Interest is in a particular Class only to
  the extent that any such Claim or Equity Interest is Allowed in that Class and has not been paid,
  released or otherwise settled (in each case, by the Debtor or any other Entity) prior to the
  Effective Date.




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 Case19-34054-sgj11
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                                                               18:59:39Page
                                                                         Page
                                                                            3125
                                                                              of 170
                                                                                 of 66




  B.      Summary of Classification and Treatment of Classified Claims and Equity Interests

  Class    Claim                                              Status          Voting Rights
  1        Jefferies Secured Claim                            Unimpaired      Deemed to Accept
  2        Frontier Secured Claim                             Impaired        Entitled to Vote
  3        Other Secured Claims                               Unimpaired      Deemed to Accept
  4        Priority Non-Tax Claim                             Unimpaired      Deemed to Accept
  5        Retained Employee Claim                            Unimpaired      Deemed to Accept
  6        PTO Claims                                         Unimpaired      Deemed to Accept
  7        Convenience Claims                                 Impaired        Entitled to Vote
  8        General Unsecured Claims                           Impaired        Entitled to Vote
  9        Subordinated Claims                                Impaired        Entitled to Vote
  10       Class B/C Limited Partnership Interests            Impaired        Entitled to Vote
  11       Class A Limited Partnership Interests              Impaired        Entitled to Vote

  C.      Elimination of Vacant Classes

          Any Class that, as of the commencement of the Confirmation Hearing, does not have at
  least one Holder of a Claim or Equity Interest that is Allowed in an amount greater than zero for
  voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of
  voting to accept or reject the Plan, and disregarded for purposes of determining whether the Plan
  satisfies section 1129(a)(8) of the Bankruptcy Code with respect to such Class.

  D.      Impaired/Voting Classes

         Claims and Equity Interests in Class 2 and Class 7 through Class 11 are Impaired by the
  Plan, and only the Holders of Claims or Equity Interests in those Classes are entitled to vote to
  accept or reject the Plan.

  E.      Unimpaired/Non-Voting Classes

         Claims in Class 1 and Class 3 through Class 6 are Unimpaired by the Plan, and such
  Holders are deemed to have accepted the Plan and are therefore not entitled to vote on the Plan.

  F.      Impaired/Non-Voting Classes

         There are no Classes under the Plan that will not receive or retain any property and no
  Classes are deemed to reject the Plan.

  G.      Cramdown

          If any Class of Claims or Equity Interests is deemed to reject this Plan or does not vote to
  accept this Plan, the Debtor may (i) seek confirmation of this Plan under section 1129(b) of the
  Bankruptcy Code or (ii) amend or modify this Plan in accordance with the terms hereof and the
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 Case19-34054-sgj11
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                                                                         Page
                                                                            3226
                                                                              of 170
                                                                                 of 66




  Bankruptcy Code. If a controversy arises as to whether any Claims or Equity Interests, or any
  class of Claims or Equity Interests, are Impaired, the Bankruptcy Court shall, after notice and a
  hearing, determine such controversy on or before the Confirmation Date.

  H.     Classification and Treatment of Claims and Equity Interests

         1.     Class 1 – Jefferies Secured Claim

                •       Classification: Class 1 consists of the Jefferies Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 1 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 1 Claim, at the election of the Debtor: (A) Cash equal
                        to the amount of such Allowed Class 1 Claim; (B) such other less
                        favorable treatment as to which the Debtor and the Holder of such
                        Allowed Class 1 Claim will have agreed upon in writing; or (C) such other
                        treatment rendering such Claim Unimpaired. Each Holder of an Allowed
                        Class 1 Claim will retain the Liens securing its Allowed Class 1 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 1
                        Claim is made as provided herein.

                •       Impairment and Voting: Class 1 is Unimpaired, and the Holders of
                        Class 1 Claims are conclusively deemed to have accepted this Plan
                        pursuant to section 1126(f) of the Bankruptcy Code. Therefore, the
                        Holders of Class 1 Claims are not entitled to vote to accept or reject this
                        Plan and will not be solicited.

         2.     Class 2 – Frontier Secured Claim

                •       Classification: Class 2 consists of the Frontier Secured Claim.

                •       Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 2 Claim will receive in full
                        satisfaction, settlement, discharge and release of, and in exchange for,
                        such Allowed Class 2 Claim: (A) Cash in an amount equal to all accrued
                        but unpaid interest on the Frontier Claim through and including the
                        Effective Date and (B) the New Frontier Note. The Holder of an Allowed
                        Class 2 Claim will retain the Liens securing its Allowed Class 2 Claim as
                        of the Effective Date until full and final payment of such Allowed Class 2
                        Claim is made as provided herein.

                •       Impairment and Voting: Class 2 is Impaired, and the Holders of Class 2
                        Claims are entitled to vote to accept or reject this Plan.




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        3.    Class 3 – Other Secured Claims

              •      Classification: Class 3 consists of the Other Secured Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 3 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 3
                     Claim becomes an Allowed Class 3 Claim, each Holder of an Allowed
                     Class 3 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 3 Claim, at the option
                     of the Debtor, or following the Effective Date, the Reorganized Debtor or
                     Claimant Trustee, as applicable, (i) Cash equal to such Allowed Other
                     Secured Claim, (ii) the collateral securing its Allowed Other Secured
                     Claim, plus postpetition interest to the extent required under Bankruptcy
                     Code Section 506(b), or (iii) such other treatment rendering such Claim
                     Unimpaired.

              •      Impairment and Voting: Class 3 is Unimpaired, and the Holders of Class
                     3 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 3
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        4.    Class 4 – Priority Non-Tax Claims

              •      Classification: Class 4 consists of the Priority Non-Tax Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the later of (i) the Initial Distribution Date if such Class 4 Claim is
                     Allowed on the Effective Date or (ii) the date on which such Class 4
                     Claim becomes an Allowed Class 4 Claim, each Holder of an Allowed
                     Class 4 Claim will receive in full satisfaction, settlement, discharge and
                     release of, and in exchange for, its Allowed Claim 4 Claim Cash equal to
                     the amount of such Allowed Class 4 Claim.

              •      Impairment and Voting: Class 4 is Unimpaired, and the Holders of Class
                     4 Claims are conclusively deemed to have accepted this Plan pursuant to
                     section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 4
                     Claims are not entitled to vote to accept or reject this Plan and will not be
                     solicited.

        5.    Class 5 – Retained Employee Claims

              •      Classification: Class 5 consists of the Retained Employee Claims.

              •      Allowance and Treatment: On or as soon as reasonably practicable after
                     the Effective Date, each Allowed Class 5 Claim will be Reinstated.

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                                                                            3428
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              •     Impairment and Voting: Class 5 is Unimpaired, and the Holders of Class
                    5 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 5
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

        6.    Class 6 – PTO Claims

              •     Classification: Class 6 consists of the PTO Claims.

              •     Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 6 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 6
                    Claim becomes an Allowed Class 6 Claim, each Holder of an Allowed
                    Class 6 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Claim 6 Claim Cash equal to
                    the amount of such Allowed Class 6 Claim.

              •     Impairment and Voting: Class 6 is Unimpaired, and the Holders of Class
                    6 Claims are conclusively deemed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, the Holders of Class 6
                    Claims are not entitled to vote to accept or reject this Plan and will not be
                    solicited.

        7.    Class 7 – Convenience Claims

              •     Classification: Class 7 consists of the Convenience Claims.

              •     Allowance and Treatment: On or as soon as reasonably practicable after
                    the later of (i) the Initial Distribution Date if such Class 7 Claim is
                    Allowed on the Effective Date or (ii) the date on which such Class 7
                    Claim becomes an Allowed Class 7 Claim, each Holder of an Allowed
                    Class 7 Claim will receive in full satisfaction, settlement, discharge and
                    release of, and in exchange for, its Allowed Class 7 Claim (1) the
                    treatment provided to Allowed Holders of Class 8 General Unsecured
                    Claims if the Holder of such Class 7 Claim makes the GUC Election or (2)
                    an amount in Cash equal to the lesser of (a) 85% of the Allowed amount
                    of such Holder’s Class 7 Claim or (b) such Holder’s Pro Rata share of the
                    Convenience Claims Cash Pool.

              •     Impairment and Voting: Class 7 is Impaired, and the Holders of Class 7
                    Claims are entitled to vote to accept or reject this Plan.

        8.    Class 8 – General Unsecured Claims

              •     Classification: Class 8 consists of the General Unsecured Claims.


                                             22


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                                                                              of 170
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              •      Treatment: On or as soon as reasonably practicable after the Effective
                     Date, each Holder of an Allowed Class 8 Claim, in full satisfaction,
                     settlement, discharge and release of, and in exchange for, such Claim shall
                     receive (i) its Pro Rata share of the Claimant Trust Interests, (ii) such other
                     less favorable treatment as to which such Holder and the Claimant Trustee
                     shall have agreed upon in writing, or (iii) the treatment provided to
                     Allowed Holders of Class 7 Convenience Claims if the Holder of such
                     Class 8 General Unsecured Claim is eligible and makes a valid
                     Convenience Class Election.

                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any General
                     Unsecured Claim, except with respect to any General Unsecured Claim
                     Allowed by Final Order of the Bankruptcy Court.

              •      Impairment and Voting: Class 8 is Impaired, and the Holders of Class 8
                     Claims are entitled to vote to accept or reject this Plan.

        9.    Class 9 – Subordinated Claims

              •      Classification: Class 9 consists of the Subordinated Claims.

                     Treatment: On the Effective Date, Holders of Subordinated Claims shall
                     receive either (i) their Pro Rata share of the Subordinated Claimant Trust
                     Interests or, (ii) such other less favorable treatment as to which such
                     Holder and the Claimant Trustee may agree upon in writing.


                     Notwithstanding anything to the contrary herein, after the Effective Date
                     and subject to the other provisions of this Plan, the Debtor, the
                     Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                     will retain any and all rights and defenses under bankruptcy or
                     nonbankruptcy law that the Debtor had with respect to any Subordinated
                     Claim, except with respect to any Subordinated Claim Allowed by Final
                     Order of the Bankruptcy Court.

              •      Impairment and Voting: Class 9 is Impaired, and the Holders of Class 9
                     Claims are entitled to vote to accept or reject this Plan.

        10.   Class 10 – Class B/C Limited Partnership Interests

              •      Classification: Class 10 consists of the Class B/C Limited Partnership
                     Interests.


                                               23


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                 •      Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 10 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class B/C
                        Limited Partnership Interest Claim, except with respect to any Class B/C
                        Limited Partnership Interest Claim Allowed by Final Order of the
                        Bankruptcy Court.

                 •      Impairment and Voting: Class 10 is Impaired, and the Holders of Class 10
                        Claims are entitled to vote to accept or reject this Plan.

         11.     Class 11 – Class A Limited Partnership Interests

                 •      Classification:   Class 11 consists of the Class A Limited Partnership
                        Interests.

                 •      Treatment: On or as soon as reasonably practicable after the Effective
                        Date, each Holder of an Allowed Class 11 Claim, in full satisfaction,
                        settlement, discharge and release of, and in exchange for, such Claim shall
                        receive (i) its Pro Rata share of the Contingent Claimant Trust Interests or
                        (ii) such other less favorable treatment as to which such Holder and the
                        Claimant Trustee shall have agreed upon in writing.

                        Notwithstanding anything to the contrary herein, after the Effective Date
                        and subject to the other provisions of this Plan, the Debtor, the
                        Reorganized Debtor, and the Claimant Trust, as applicable, will have and
                        will retain any and all rights and defenses under bankruptcy or
                        nonbankruptcy law that the Debtor had with respect to any Class A
                        Limited Partnership Interest, except with respect to any Class A Limited
                        Partnership Interest Allowed by Final Order of the Bankruptcy Court.

                 •      Impairment and Voting: Class 11 is Impaired, and the Holders of Class 11
                        Claims are entitled to vote to accept or reject this Plan.

  I.     Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan will affect the Debtor’s
  rights in respect of any Unimpaired Claims, including, without limitation, all rights in respect of
  legal and equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

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                                                             22:37:03
                                                               18:59:39Page
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                                                                            3731
                                                                              of 170
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  J.     Subordinated Claims

         The allowance, classification, and treatment of all Claims under the Plan shall take into
  account and conform to the contractual, legal, and equitable subordination rights relating thereto,
  whether arising under general principles of equitable subordination, section 510(b) of the
  Bankruptcy Code, or otherwise. Under section 510 of the Bankruptcy Code, upon written notice
  and hearing, the Debtor the Reorganized Debtor, and the Claimant Trustee reserve the right to
  seek entry of an order by the Bankruptcy Court to re-classify or to subordinate any Claim in
  accordance with any contractual, legal, or equitable subordination relating thereto, and the
  treatment afforded any Claim under the Plan that becomes a subordinated Claim at any time shall
  be modified to reflect such subordination.

                                    ARTICLE IV.
                        MEANS FOR IMPLEMENTATION OF THIS PLAN

  A.     Summary

        As discussed in the Disclosure Statement, the Plan will be implemented through (i) the
  Claimant Trust, (ii) the Litigation Sub-Trust, and (iii) the Reorganized Debtor.

          On the Effective Date, all Class A Limited Partnership Interests, including the Class A
  Limited Partnership Interests held by Strand, as general partner, and Class B/C Limited
  Partnerships in the Debtor will be cancelled, and new Class A Limited Partnership Interests in
  the Reorganized Debtor will be issued to the Claimant Trust and New GP LLC – a newly-
  chartered limited liability company wholly-owned by the Claimant Trust. The Claimant Trust,
  as limited partner, will ratify New GP LLC’s appointment as general partner of the Reorganized
  Debtor, and on and following the Effective Date, the Claimant Trust will be the Reorganized
  Debtor’s limited partner and New GP LLC will be its general partner. The Claimant Trust, as
  limited partner, and New GP LLC, as general partner, will execute the Reorganized Limited
  Partnership Agreement, which will amend and restate, in all respects, the Debtor’s current
  Limited Partnership Agreement. Following the Effective Date, the Reorganized Debtor will be
  managed consistent with the terms of the Reorganized Limited Partnership Agreement by New
  GP LLC. The sole managing member of New GP LLC will be the Claimant Trust, and the
  Claimant Trustee will be the sole officer of New GP LLC on the Effective Date.

         Following the Effective Date, the Claimant Trust will administer the Claimant Trust
  Assets pursuant to this Plan and the Claimant Trust Agreement, and the Litigation Trustee will
  pursue, if applicable, the Estate Claims pursuant to the terms of the Litigation Sub-Trust
  Agreement and the Plan. The Reorganized Debtor will administer the Reorganized Debtor
  Assets and, if needed, with the utilization of a Sub-Servicer, which administration will include,
  among other things, managing the wind down of the Managed Funds.

          Although the Reorganized Debtor will manage the wind down of the Managed Funds, it
  is currently anticipated that neither the Reorganized Debtor nor the Claimant Trust will assume
  or assume and assign the contracts between the Debtor and certain Related Entities pursuant to
  which the Debtor provides shared services and sub-advisory services to those Related Entities.
  The Debtor believes that the continued provision of the services under such contracts will not be

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                                                                              of 170
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  cost effective.

          The Reorganized Debtor will distribute all proceeds from the wind down to the Claimant
  Trust, as its limited partner, and New GP LLC, as its general partner, in each case in accordance
  with the Reorganized Limited Partnership Agreement. Such proceeds, along with the proceeds
  of the Claimant Trust Assets, will ultimately be distributed to the Claimant Trust Beneficiaries as
  set forth in this Plan and the Claimant Trust Agreement.

  B.      The Claimant Trust 2

          1.               Creation and Governance of the Claimant Trust and Litigation Sub-Trust.

           On or prior to the Effective Date, the Debtor and the Claimant Trustee shall execute the
  Claimant Trust Agreement and shall take all steps necessary to establish the Claimant Trust and
  the Litigation Sub-Trust in accordance with the Plan in each case for the benefit of the Claimant
  Trust Beneficiaries. Additionally, on or prior to the Effective Date, the Debtor shall irrevocably
  transfer and shall be deemed to have irrevocably transferred to the Claimant Trust all of its
  rights, title, and interest in and to all of the Claimant Trust Assets, and in accordance with section
  1141 of the Bankruptcy Code, the Claimant Trust Assets shall automatically vest in the Claimant
  Trust free and clear of all Claims, Liens, encumbrances, or interests subject only to the Claimant
  Trust Interests and the Claimant Trust Expenses, as provided for in the Claimant Trust
  Agreement, and such transfer shall be exempt from any stamp, real estate transfer, mortgage
  from any stamp, transfer, reporting, sales, use, or other similar tax.

         The Claimant Trustee shall be the exclusive trustee of the Claimant Trust Assets,
  excluding the Estate Claims and the Litigation Trustee shall be the exclusive trustee with respect
  to the Estate Claims in each case for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
  6012(b)(3), as well as the representative of the Estate appointed pursuant to section
  1123(b)(3)(B) of the Bankruptcy Code with respect to the Claimant Trust Assets. The Claimant
  Trustee shall also be responsible for resolving all Claims and Equity Interests in Class 8 through
  Class 11, under the supervision of the Claimant Trust Oversight Committee.

          On the Effective Date, the Claimant Trustee and Litigation Trustee shall execute the
  Litigation Sub-Trust Agreement and shall take all steps necessary to establish the Litigation Sub-
  Trust. Upon the creation of the Litigation Sub-Trust, the Claimant Trust shall irrevocably
  transfer and assign to the Litigation Sub-Trust the Estate Claims. The Claimant Trust shall be
  governed by the Claimant Trust Agreement and administered by the Claimant Trustee. The
  powers, rights, and responsibilities of the Claimant Trustee shall be specified in the Claimant
  Trust Agreement and shall include the authority and responsibility to, among other things, take
  the actions set forth in this ARTICLE IV, subject to any required reporting to the Claimant Trust
  Oversight Committee as may be set forth in the Claimant Trust Agreement. The Claimant Trust
  shall hold and distribute the Claimant Trust Assets (including the proceeds from the Estate
  Claims, if any) in accordance with the provisions of the Plan and the Claimant Trust Agreement;
  provided that the Claimant Trust Oversight Committee may direct the Claimant Trust to reserve
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    In the event of a conflict between the terms of this summary and the terms of the Claimant Trust Agreement and
  the Litigation Sub-Trust Agreement, the terms of the Claimant Trust Agreement or the Litigation Sub-Trust
  Agreement, as applicable, shall control.
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                                                                            3933
                                                                              of 170
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  Cash from distributions as necessary to fund the Claimant Trust and Litigation Sub-Trust. Other
  rights and duties of the Claimant Trustee and the Claimant Trust Beneficiaries shall be as set
  forth in the Claimant Trust Agreement. After the Effective Date, neither the Debtor nor the
  Reorganized Debtor shall have any interest in the Claimant Trust Assets.

          The Litigation Sub-Trust shall be governed by the Litigation Sub-Trust Agreement and
  administered by the Litigation Trustee. The powers, rights, and responsibilities of the Litigation
  Trustee shall be specified in the Litigation Sub-Trust Agreement and shall include the authority
  and responsibility to, among other things, take the actions set forth in this ARTICLE IV, subject
  to any required reporting as may be set forth in the Litigation Sub-Trust Agreement. The
  Litigation Sub-Trust shall investigate, prosecute, settle, or otherwise resolve the Estate Claims in
  accordance with the provisions of the Plan and the Litigation Sub-Trust Agreement and shall
  distribute the proceeds therefrom to the Claimant Trust for distribution. Other rights and duties
  of the Litigation Trustee shall be as set forth in the Litigation Sub-Trust Agreement.

         2.              Claimant Trust Oversight Committee

         The Claimant Trust, the Claimant Trustee, the management and monetization of the
  Claimant Trust Assets, and the management of the Reorganized Debtor (through the Claimant
  Trust’s role as managing member of New GP LLC) and the Litigation Sub-Trust will be
  overseen by the Claimant Trust Oversight Committee, subject to the terms of the Claimant Trust
  Agreement and the Litigation Sub-Trust Agreement, as applicable.

          The Claimant Trust Oversight Committee will initially consist of five members. Four of
  the five members will be representatives of the members of the Committee: (i) the Redeemer
  Committee of Highland Crusader Fund, (ii) UBS, (iii) Acis, and (iv) Meta-e Discovery. The
  fifth member will be an independent, natural Person chosen by the Committee and reasonably
  acceptable to the Debtor. The members of the Claimant Trust Oversight Committee may be
  replaced as set forth in the Claimant Trust Agreement. The identity of the members of the
  Claimant Trust Oversight Committee will be disclosed in the Plan Supplement.

          As set forth in the Claimant Trust Agreement, in no event will any member of the
  Claimant Trust Oversight Committee with a Claim against the Estate be entitled to vote, opine,
  or otherwise be involved in any matters related to such member’s Claim.

          The independent member(s) of the Claimant Trust Oversight Committee may be entitled
  to compensation for their services as set forth in the Claimant Trust Agreement. Any member of
  the Claimant Trust Oversight Committee may be removed, and successor chosen, in the manner
  set forth in the Claimant Trust Agreement.

         3.              Purpose of the Claimant Trust.

         The Claimant Trust shall be established for the purpose of (i) managing and monetizing
  the Claimant Trust Assets, subject to the terms of the Claimant Trust Agreement and the
  oversight of the Claimant Trust Oversight Committee, (ii) serving as the limited partner of, and
  holding the limited partnership interests in, the Reorganized Debtor, (iii) serving as the sole
  member and manager of New GP LLC, the Reorganized Debtor’s general partner, (iv) in its
  capacity as the sole member and manager of New GP LLC, overseeing the management and
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                                                                              of 170
                                                                                 of 66




  monetization of the Reorganized Debtor Assets pursuant to the terms of the Reorganized Limited
  Partnership Agreement; and (v) administering the Disputed Claims Reserve and serving as
  Distribution Agent with respect to Disputed Claims in Class 7 or Class 8.

         In its management of the Claimant Trust Assets, the Claimant Trust will also reconcile
  and object to the General Unsecured Claims, Subordinated Claims, Class B/C Limited
  Partnership Interests, and Class A Limited Partnership Interests, as provided for in this Plan and
  the Claimant Trust Agreement, and make Trust Distributions to the Claimant Trust Beneficiaries
  in accordance with Treasury Regulation section 301.7701-4(d), with no objective to continue or
  engage in the conduct of a trade or business.

         The purpose of the Reorganized Debtor is discussed at greater length in ARTICLE IV.C.

         4.             Purpose of the Litigation Sub-Trust.

          The Litigation Sub-Trust shall be established for the purpose of investigating,
  prosecuting, settling, or otherwise resolving the Estate Claims. Any proceeds therefrom shall be
  distributed by the Litigation Sub-Trust to the Claimant Trust for distribution to the Claimant
  Trust Beneficiaries pursuant to the terms of the Claimant Trust Agreement.

         5.             Claimant Trust Agreement and Litigation Sub-Trust Agreement.

         The Claimant Trust Agreement generally will provide for, among other things:

              (i)    the payment of the Claimant Trust Expenses;

              (ii)   the payment of other reasonable expenses of the Claimant Trust;

             (iii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation;

             (iv)    the investment of Cash by the Claimant Trustee within certain limitations,
  including those specified in the Plan;

              (v)    the orderly monetization of the Claimant Trust Assets;

             (vi)    litigation of any Causes of Action, which may include the prosecution,
  settlement, abandonment, or dismissal of any such Causes of Action, subject to reporting and
  oversight by the Claimant Trust Oversight Committee;

              (vii) the resolution of Claims and Equity Interests in Class 8 through Class 11,
  subject to reporting and oversight by the Claimant Trust Oversight Committee;

            (viii) the administration of the Disputed Claims Reserve and distributions to be
  made therefrom; and

             (ix)    the management of the Reorganized Debtor, including the utilization of a Sub-
  Servicer, with the Claimant Trust serving as the managing member of New GP LLC.

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                                                                            4135
                                                                              of 170
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         Except as otherwise ordered by the Bankruptcy Court, the Claimant Trust Expenses shall
  be paid from the Claimant Trust Assets in accordance with the Plan and Claimant Trust
  Agreement. The Claimant Trustee may establish a reserve for the payment of Claimant Trust
  Expense (including, without limitation, any reserve for potential indemnification claims as
  authorized and provided under the Claimant Trust Agreement), and shall periodically replenish
  such reserve, as necessary.

          In furtherance of, and consistent with the purpose of, the Claimant Trust and the Plan, the
  Trustees, for the benefit of the Claimant Trust, shall, subject to reporting and oversight by the
  Claimant Trust Oversight Committee as set forth in the Claimant Trust Agreement: (i) hold the
  Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries, (ii) make Distributions
  to the Claimant Trust Beneficiaries as provided herein and in the Claimant Trust Agreement, and
  (iii) have the sole power and authority to prosecute and resolve any Causes of Action and
  objections to Claims and Equity Interests (other than those assigned to the Litigation Sub-Trust),
  without approval of the Bankruptcy Court. Except as otherwise provided in the Claimant Trust
  Agreement, the Claimant Trustee shall be responsible for all decisions and duties with respect to
  the Claimant Trust and the Claimant Trust Assets; provided, however, that the prosecution and
  resolution of any Estate Claims included in the Claimant Trust Assets shall be the responsibility
  of the Litigation Trustee. The Litigation Sub-Trust Agreement generally will provide for, among
  other things:

              (i)    the payment of other reasonable expenses of the Litigation Sub-Trust;

             (ii)    the retention of employees, counsel, accountants, financial advisors, or other
  professionals and the payment of their reasonable compensation; and

             (iii) the investigation and prosecution of Estate Claims, which may include the
  prosecution, settlement, abandonment, or dismissal of any such Estate Claims, subject to
  reporting and oversight as set forth in the Litigation Sub-Trust Agreement.

         The Trustees, on behalf of the Claimant Trust and Litigation Sub-Trust, as applicable,
  may each employ, without further order of the Bankruptcy Court, employees and other
  professionals (including those previously retained by the Debtor and the Committee) to assist in
  carrying out the Trustees’ duties hereunder and may compensate and reimburse the reasonable
  expenses of these professionals without further Order of the Bankruptcy Court from the Claimant
  Trust Assets in accordance with the Plan and the Claimant Trust Agreement.

          The Claimant Trust Agreement and Litigation Sub-Trust Agreement may include
  reasonable and customary provisions that allow for indemnification by the Claimant Trust in
  favor of the Claimant Trustee, Litigation Trustee, and the Claimant Trust Oversight Committee.
  Any such indemnification shall be the sole responsibility of the Claimant Trust and payable
  solely from the Claimant Trust Assets.

         6.             Compensation and Duties of Trustees.

        The salient terms of each Trustee’s employment, including such Trustee’s duties and
  compensation shall be set forth in the Claimant Trust Agreement and the Litigation Sub-Trust

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 Case19-34054-sgj11
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                                                                            4236
                                                                              of 170
                                                                                 of 66




  Agreement, as appropriate. The Trustees shall each be entitled to reasonable compensation in an
  amount consistent with that of similar functionaries in similar types of bankruptcy cases.

         7.             Cooperation of Debtor and Reorganized Debtor.

          To effectively investigate, prosecute, compromise and/or settle the Claims and/or Causes
  of Action that constitute Claimant Trust Assets (including Estate Claims), the Claimant Trustee,
  Litigation Trustee, and each of their professionals may require reasonable access to the Debtor’s
  and Reorganized Debtor’s documents, information, and work product relating to the Claimant
  Trust Assets. Accordingly, the Debtor and the Reorganized Debtor, as applicable, shall
  reasonably cooperate with the Claimant Trustee and Litigation Trustee, as applicable, in their
  prosecution of Causes of Action and in providing the Claimant Trustee and Litigation Trustee
  with copies of documents and information in the Debtor’s possession, custody, or control on the
  Effective Date that either Trustee indicates relates to the Estate Claims or other Causes of
  Action.

         The Debtor and Reorganized Debtor shall preserve all records, documents or work
  product (including all electronic records, documents, or work product) related to the Claims and
  Causes of Action, including Estate Claims, until the earlier of (a) the dissolution of the
  Reorganized Debtor or (b) termination of the Claimant Trust and Litigation Sub-Trust.

         8.             United States Federal Income Tax Treatment of the Claimant Trust.

          Unless the IRS requires otherwise, for all United States federal income tax purposes, the
  parties shall treat the transfer of the Claimant Trust Assets to the Claimant Trust as: (a) a
  transfer of the Claimant Trust Assets (other than the amounts set aside in the Disputed Claims
  Reserve, if the Claimant Trustee makes the election described in Section 7 below) directly to the
  applicable Claimant Trust Beneficiaries followed by (b) the transfer by the such Claimant Trust
  Beneficiaries to the Claimant Trust of such Claimant Trust Assets in exchange for the Claimant
  Trust Interests. Accordingly, the applicable Claimant Trust Beneficiaries shall be treated for
  United States federal income tax purposes as the grantors and owners of their respective share of
  the Claimant Trust Assets. The foregoing treatment shall also apply, to the extent permitted by
  applicable law, for state and local income tax purposes.

         9.             Tax Reporting.

          (a) The Claimant Trustee shall file tax returns for the Claimant Trust treating the
  Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a). The
  Claimant Trustee may file an election pursuant to Treasury Regulation 1.468B-9(c) to treat the
  Disputed Claims Reserve as a disputed ownership fund, in which case the Claimant Trustee will
  file federal income tax returns and pay taxes for the Disputed Claims Reserve as a separate
  taxable entity.

          (b) The Claimant Trustee shall be responsible for payment, out of the Claimant Trust
  Assets, of any taxes imposed on the Claimant Trust or its assets.



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                                                               18:59:39Page
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                                                                            4337
                                                                              of 170
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          (c) The Claimant Trustee shall determine the fair market value of the Claimant Trust
  Assets as of the Effective Date and notify the applicable Claimant Trust Beneficiaries of such
  valuation, and such valuation shall be used consistently for all federal income tax purposes.

         (d) The Claimant Trustee shall distribute such tax information to the applicable Claimant
  Trust Beneficiaries as the Claimant Trustee determines is required by applicable law.

         10.             Claimant Trust Assets.

          The Claimant Trustee shall have the exclusive right, on behalf of the Claimant Trust, to
  institute, file, prosecute, enforce, abandon, settle, compromise, release, or withdraw any and all
  Causes of Action included in the Claimant Trust Assets (except for the Estate Claims) without
  any further order of the Bankruptcy Court, and the Claimant Trustee shall have the exclusive
  right, on behalf of the Claimant Trust, to sell, liquidate, or otherwise monetize all Claimant Trust
  Assets, except as otherwise provided in this Plan or in the Claimant Trust Agreement, without
  any further order of the Bankruptcy Court. Notwithstanding anything herein to the contrary, the
  Litigation Trustee shall have the exclusive right to institute, file, prosecute, enforce, abandon,
  settle, compromise, release, or withdraw any and all Estate Claims included in the Claimant
  Trust Assets without any further order of the Bankruptcy Court.

          From and after the Effective Date, the Trustees, in accordance with section 1123(b)(3)
  and (4) of the Bankruptcy Code, and on behalf of the Claimant Trust, shall each serve as a
  representative of the Estate with respect to any and all Claimant Trust Assets, including the
  Causes of Action and Estate Claims, as appropriate, and shall retain and possess the right to (a)
  commence, pursue, settle, compromise, or abandon, as appropriate, any and all Causes of Action
  in any court or other tribunal and (b) sell, liquidate, or otherwise monetize all Claimant Trust
  Assets.

         11.             Claimant Trust Expenses.

         From and after the Effective Date, the Claimant Trust shall, in the ordinary course of
  business and without the necessity of any approval by the Bankruptcy Court, pay the reasonable
  professional fees and expenses incurred by the Claimant Trust, the Litigation Sub-Trust, and any
  professionals retained by such parties and entities from the Claimant Trust Assets, except as
  otherwise provided in the Claimant Trust Agreement.

         12.             Trust Distributions to Claimant Trust Beneficiaries.

          The Claimant Trustee, in its discretion, may make Trust Distributions to the Claimant
  Trust Beneficiaries at any time and/or use the Claimant Trust Assets or proceeds thereof,
  provided that such Trust Distributions or use is otherwise permitted under the terms of the Plan,
  the Claimant Trust Agreement, and applicable law.

         13.             Cash Investments.

         With the consent of the Claimant Trust Oversight Committee, the Claimant Trustee may
  invest Cash (including any earnings thereon or proceeds therefrom) in a manner consistent with
  the terms of the Claimant Trust Agreement; provided, however, that such investments are
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 Case19-34054-sgj11
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                                                               18:59:39Page
                                                                         Page
                                                                            4438
                                                                              of 170
                                                                                 of 66




  investments permitted to be made by a “liquidating trust” within the meaning of Treasury
  Regulation section 301.7701-4(d), as reflected therein, or under applicable IRS guidelines,
  rulings or other controlling authorities.

         14.             Dissolution of the Claimant Trust and Litigation Sub-Trust.

          The Trustees and the Claimant Trust and Litigation Sub-Trust shall be discharged or
  dissolved, as the case may be, at such time as: (a) the Litigation Trustee determines that the
  pursuit of Estate Claims is not likely to yield sufficient additional proceeds to justify further
  pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit of Causes of
  Action (other than Estate Claims) is not likely to yield sufficient additional proceeds to justify
  further pursuit of such Causes of Action, (c) the Clamant Trustee determines that the pursuit of
  sales of other Claimant Trust Assets is not likely to yield sufficient additional proceeds to justify
  further pursuit of such sales of Claimant Trust Assets, (d) all objections to Disputed Claims and
  Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved, and (f) all
  Distributions required to be made by the Claimant Trustee to the Claimant Trust Beneficiaries
  under the Plan have been made, but in no event shall the Claimant Trust be dissolved later than
  three years from the Effective Date unless the Bankruptcy Court, upon motion made within the
  six-month period before such third anniversary (and, in the event of further extension, by order
  of the Bankruptcy Court, upon motion made at least six months before the end of the preceding
  extension), determines that a fixed period extension (not to exceed two years, together with any
  prior extensions, without a favorable letter ruling from the Internal Revenue Service or an
  opinion of counsel that any further extension would not adversely affect the status of the
  Claimant Trust as a liquidating trust for federal income tax purposes) is necessary to facilitate or
  complete the recovery on, and liquidation of, the Claimant Trust Assets; provided, however, that
  each extension must be approved, upon a finding that the extension is necessary to facilitate or
  complete the recovery on, and liquidation of the Claimant Trust Assets, by the Bankruptcy Court
  within 6 months of the beginning of the extended term and no extension, together with any prior
  extensions, shall exceed three years without a favorable letter ruling from the Internal Revenue
  Service or an opinion of counsel that any further extension would not adversely affect the status
  of the Claimant Trust as a liquidating trust for federal income tax purposes.

         Upon dissolution of the Claimant Trust, and pursuant to the Claimant Trust Agreement,
  any remaining Claimant Trust Assets that exceed the amounts required to be paid under the Plan
  will be transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the
  Holders of the Claimant Trust Interests as provided in the Claimant Trust Agreement.

  C.     The Reorganized Debtor

         1.              Corporate Existence

         The Debtor will continue to exist after the Effective Date, with all of the powers of
  partnerships pursuant to the law of the State of Delaware and as set forth in the Reorganized
  Limited Partnership Agreement.




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      21-03076-sgj Doc
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                                                               18:59:39Page
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                                                                            4539
                                                                              of 170
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         2.             Cancellation of Equity Interests and Release

          On the Effective Date, (i) all prepetition Equity Interests, including the Class A Limited
  Partnership Interests and the Class B/C Limited Partnership Interests, in the Debtor shall be
  canceled, and (ii) all obligations or debts owed by, or Claims against, the Debtor on account of,
  or based upon, the Interests shall be deemed as cancelled, released, and discharged, including all
  obligations or duties by the Debtor relating to the Equity Interests in any of the Debtor’s
  formation documents, including the Limited Partnership Agreement.

         3.             Issuance of New Partnership Interests

          On the Effective Date, the Debtor or the Reorganized Debtor, as applicable, will issue
  new Class A Limited Partnership Interests to (i) the Claimant Trust, as limited partner, and (ii)
  New GP LLC, as general partner, and will admit (a) the Claimant Trust as the limited partner of
  the Reorganized Debtor, and (b) New GP LLC as the general partner of the Reorganized Debtor.
  The Claimant Trust, as limited partner, will ratify New GP LLC’s appointment as general partner
  of the Reorganized Debtor. Also, on the Effective Date, the Claimant Trust, as limited partner,
  and New GP LLC, as general partner, will execute the Reorganized Limited Partnership
  Agreement and receive partnership interests in the Reorganized Debtor consistent with the terms
  of the Reorganized Limited Partnership Agreement.

          The Reorganized Limited Partnership Agreement does not provide for, and specifically
  disclaims, the indemnification obligations under the Limited Partnership Agreement, including
  any such indemnification obligations that accrued or arose or could have been brought prior to
  the Effective Date. Any indemnification Claims under the Limited Partnership Agreement that
  accrued, arose, or could have been filed prior to the Effective Date will be resolved through the
  Claims resolution process provided that a Claim is properly filed in accordance with the
  Bankruptcy Code, the Plan, or the Bar Date Order. Each of the Debtor, the Reorganized Debtor,
  the Claimant Trust, and the Litigation Sub-Trust reserve all rights with respect to any such
  indemnification Claims.

         4.             Management of the Reorganized Debtor

           Subject to and consistent with the terms of the Reorganized Limited Partnership
  Agreement, the Reorganized Debtor shall be managed by its general partner, New GP LLC. The
  initial officers and employees of the Reorganized Debtor shall be selected by the Claimant
  Trustee. The Reorganized Debtor may, in its discretion, also utilize a Sub-Servicer in addition to
  or in lieu of the retention of officers and employees.

           As set forth in the Reorganized Limited Partnership Agreement, New GP LLC will
  receive a fee for managing the Reorganized Debtor. Although New GP LLC will be a limited
  liability company, it will elect to be treated as a C-Corporation for tax purposes. Therefore, New
  GP LLC (and any taxable income attributable to it) will be subject to corporate income taxation
  on a standalone basis, which may reduce the return to Claimants.




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                                                                            4640
                                                                              of 170
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         5.              Vesting of Assets in the Reorganized Debtor

          Except as otherwise provided in this Plan or the Confirmation Order, on or after the
  Effective Date, all Reorganized Debtor Assets will vest in the Reorganized Debtor, free and clear
  of all Liens, Claims, charges or other encumbrances pursuant to section 1141(c) of the
  Bankruptcy Code except with respect to such Liens, Claims, charges and other encumbrances
  that are specifically preserved under this Plan upon the Effective Date.

         The Reorganized Debtor shall be the exclusive trustee of the Reorganized Debtor Assets
  for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the representative of
  the Estate appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code with respect to
  the Reorganized Debtor Assets.

         6.              Purpose of the Reorganized Debtor

         Except as may be otherwise provided in this Plan or the Confirmation Order, the
  Reorganized Debtor will continue to manage the Reorganized Debtor Assets (which shall
  include, for the avoidance of doubt, serving as the investment manager of the Managed Funds)
  and may use, acquire or dispose of the Reorganized Debtor Assets and compromise or settle any
  Claims with respect to the Reorganized Debtor Assets without supervision or approval by the
  Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. The
  Reorganized Debtor shall oversee the resolution of Claims in Class 1 through Class 7.

          Without limiting the foregoing, the Reorganized Debtor will pay the charges that it incurs
  after the Effective Date for Professionals’ fees, disbursements, expenses or related support
  services (including reasonable fees relating to the preparation of Professional fee applications) in
  the ordinary course of business and without application or notice to, or order of, the Bankruptcy
  Court.

         7.      Distribution of Proceeds from the Reorganized Debtor Assets; Transfer of
                 Reorganized Debtor Assets

          Any proceeds received by the Reorganized Debtor will be distributed to the Claimant
  Trust, as limited partner, and New GP LLC, as general partner, in the manner set forth in the
  Reorganized Limited Partnership Agreement. As set forth in the Reorganized Limited
  Partnership Agreement, the Reorganized Debtor may, from time to time distribute Reorganized
  Debtor Assets to the Claimant Trust either in Cash or in-kind, including to institute the wind-
  down and dissolution of the Reorganized Debtor. Any assets distributed to the Claimant Trust
  will be (i) deemed transferred in all respects as forth in ARTICLE IV.B.1, (ii) deemed Claimant
  Trust Assets, and (iii) administered as Claimant Trust Assets.

  D.     Company Action

          Each of the Debtor, the Reorganized Debtor, and the Trustees, as applicable, may take
  any and all actions to execute, deliver, File or record such contracts, instruments, releases and
  other agreements or documents and take such actions as may be necessary or appropriate to
  effectuate and implement the provisions of this Plan, the Claimant Trust Agreement, the
  Reorganized Limited Partnership Agreement, or the New GP LLC Documents, as applicable, in
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      21-03076-sgj Doc
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                                                               18:59:39Page
                                                                         Page
                                                                            4741
                                                                              of 170
                                                                                 of 66




  the name of and on behalf of the Debtor, the Reorganized Debtor, or the Trustees, as applicable,
  and in each case without further notice to or order of the Bankruptcy Court, act or action under
  applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, officers, or directors of the Debtor or the
  Reorganized Debtor, as applicable, or by any other Person.

          Prior to, on or after the Effective Date (as appropriate), all matters provided for pursuant
  to this Plan that would otherwise require approval of the stockholders, partners, directors,
  managers, or members of the Debtor, any Related Entity, or any Affiliate thereof (as of prior to
  the Effective Date) will be deemed to have been so approved and will be in effect prior to, on or
  after the Effective Date (as appropriate) pursuant to applicable law and without any requirement
  of further action by the stockholders, partners, directors, managers or members of such Persons,
  or the need for any approvals, authorizations, actions or consents of any Person.

          All matters provided for in this Plan involving the legal or corporate structure of the
  Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, and any legal or corporate
  action required by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, in
  connection with this Plan, will be deemed to have occurred and will be in full force and effect in
  all respects, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by the security holders, partners, directors, managers, or members of
  the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, or by any other Person.
  On the Effective Date, the appropriate officers of the Debtor and the Reorganized Debtor, as
  applicable, as well as the Trustees, are authorized to issue, execute, deliver, and consummate the
  transactions contemplated by, the contracts, agreements, documents, guarantees, pledges,
  consents, securities, certificates, resolutions and instruments contemplated by or described in this
  Plan in the name of and on behalf of the Debtor and the Reorganized Debtor, as well as the
  Trustees, in each case without further notice to or order of the Bankruptcy Court, act or action
  under applicable law, regulation, order, or rule or any requirement of further action, vote or other
  approval or authorization by any Person. The appropriate officer of the Debtor, the Reorganized
  Debtor, as well as the Trustees, will be authorized to certify or attest to any of the foregoing
  actions.

  E.     Release of Liens, Claims and Equity Interests

          Except as otherwise provided in the Plan or in any contract, instrument, release or other
  agreement or document entered into or delivered in connection with the Plan, from and after the
  Effective Date and concurrently with the applicable distributions made pursuant to the Plan, all
  Liens, Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the
  property of the Estate will be fully released, terminated, extinguished and discharged, in each
  case without further notice to or order of the Bankruptcy Court, act or action under applicable
  law, regulation, order, or rule or the vote, consent, authorization or approval of any Entity. Any
  Entity holding such Liens or Equity Interests extinguished pursuant to the prior sentence will,
  pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Debtor,
  the Reorganized Debtor, or the Claimant Trustee, as applicable, such instruments of termination,
  release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
  the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable. For the avoidance of
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                                                               18:59:39Page
                                                                         Page
                                                                            4842
                                                                              of 170
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  doubt, this section is in addition to, and shall not be read to limit in any respects, ARTICLE
  IV.C.2.

  F.     Cancellation of Notes, Certificates and Instruments

          Except for the purpose of evidencing a right to a distribution under this Plan and except
  as otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Securities
  and other documents evidencing any prepetition Claim or Equity Interest and any rights of any
  Holder in respect thereof shall be deemed cancelled, discharged, and of no force or effect. The
  holders of or parties to such cancelled instruments, Securities, and other documentation will have
  no rights arising from or related to such instruments, Securities, or other documentation or the
  cancellation thereof, except the rights provided for pursuant to this Plan, and the obligations of
  the Debtor thereunder or in any way related thereto will be fully released, terminated,
  extinguished and discharged, in each case without further notice to or order of the Bankruptcy
  Court, act or action under applicable law, regulation, order, or rule or any requirement of further
  action, vote or other approval or authorization by any Person. For the avoidance of doubt, this
  section is in addition to, and shall not be read to limit in any respects, ARTICLE IV.C.2.

  G.     Cancellation of Existing Instruments Governing Security Interests

          Upon payment or other satisfaction of an Allowed Class 1 or Allowed Class 2 Claim, or
  promptly thereafter, the Holder of such Allowed Class 1 or Allowed Class 2 Claim shall deliver
  to the Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, any collateral or
  other property of the Debtor held by such Holder, together with any termination statements,
  instruments of satisfaction, or releases of all security interests with respect to its Allowed Class 1
  or Allowed Class 2 Claim that may be reasonably required to terminate any related financing
  statements, mortgages, mechanics’ or other statutory Liens, or lis pendens, or similar interests or
  documents.

  H.     Control Provisions

         To the extent that there is any inconsistency between this Plan as it relates to the
  Claimant Trust, the Claimant Trust Agreement, the Reorganized Debtor, or the Reorganized
  Limited Partnership Agreement, this Plan shall control.

  I.     Treatment of Vacant Classes

         Any Claim or Equity Interest in a Class considered vacant under ARTICLE III.C of this
  Plan shall receive no Plan Distributions.

  J.     Plan Documents

         The documents, if any, to be Filed as part of the Plan Documents, including any
  documents filed with the Plan Supplement, and any amendments, restatements, supplements, or
  other modifications to such documents, and any consents, waivers, or other deviations under or
  from any such documents, shall be incorporated herein by this reference (including to the
  applicable definitions in ARTICLE I hereof) and fully enforceable as if stated in full herein.

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                                                               18:59:39Page
                                                                         Page
                                                                            4943
                                                                              of 170
                                                                                 of 66




         The Debtor and the Committee are currently working to finalize the forms of certain of
  the Plan Documents to be filed with the Plan Supplement. To the extent that the Debtor and the
  Committee cannot agree as to the form and content of such Plan Documents, they intend to
  submit the issue to non-binding mediation pursuant to the Order Directing Mediation entered on
  August 3, 2020 [D.I. 912].

  K.     Highland Capital Management, L.P. Retirement Plan and Trust

          The Highland Capital Management, L.P. Retirement Plan And Trust (“Pension Plan”) is a
  single-employer defined benefit pension plan covered by Title IV of the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”). 29 U.S.C. §§ 1301-1461. The Debtor is
  the contributing sponsor and, as such, the PBGC asserts that the Debtor is liable along with any
  members of the contributing sponsor’s controlled-group within the meaning of 29 U.S.C. §§
  1301(a)(13), (14) with respect to the Pension Plan.

           Upon the Effective Date, the Reorganized Debtor shall be deemed to have assumed the
  Pension Plan and shall comply with all applicable statutory provisions of ERISA and the Internal
  Revenue Code (the “IRC”), including, but not limited to, satisfying the minimum funding
  standards pursuant to 26 U.S.C. §§ 412, 430, and 29 U.S.C. §§ 1082, 1083; paying the PBGC
  premiums in accordance with 29 U.S.C. §§ 1306 and 1307; and administering the Pension Plan
  in accordance with its terms and the provisions of ERISA and the IRC. In the event that the
  Pension Plan terminates after the Plan of Reorganization Effective Date, the PBGC asserts that
  the Reorganized Debtor and each of its controlled group members will be responsible for the
  liabilities imposed by Title IV of ERISA.

          Notwithstanding any provision of the Plan, the Confirmation Order, or the Bankruptcy
  Code (including section 1141 thereof) to the contrary, neither the Plan, the Confirmation Order,
  or the Bankruptcy Code shall be construed as discharging, releasing, exculpating or relieving the
  Debtor, the Reorganized Debtor, or any person or entity in any capacity, from any liability or
  responsibility, if any, with respect to the Pension Plan under any law, governmental policy, or
  regulatory provision. PBGC and the Pension Plan shall not be enjoined or precluded from
  enforcing such liability or responsibility against any person or entity as a result of any of the
  provisions of the Plan, the Confirmation Order, or the Bankruptcy Code. The Debtor reserves
  the right to contest any such liability or responsibility.

                              ARTICLE V.
          TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

  A.     Assumption, Assignment, or Rejection of Executory Contracts and Unexpired
         Leases

          Unless an Executory Contract or Unexpired Lease: (i) was previously assumed or
  rejected by the Debtor pursuant to this Plan on or prior to the Confirmation Date; (ii) previously
  expired or terminated pursuant to its own terms or by agreement of the parties thereto; (iii) is the
  subject of a motion to assume filed by the Debtor on or before the Confirmation Date; (iv)
  contains a change of control or similar provision that would be triggered by the Chapter 11 Case
  (unless such provision has been irrevocably waived); or (v) is specifically designated as a

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                                                                         Page
                                                                            5044
                                                                              of 170
                                                                                 of 66




  contract or lease to be assumed in the Plan or the Plan Supplement, on the Confirmation Date,
  each Executory Contract and Unexpired Lease shall be deemed rejected pursuant to section 365
  of the Bankruptcy Code, without the need for any further notice to or action, order, or approval
  of the Bankruptcy Court, unless such Executory Contract or Unexpired Lease is listed in the Plan
  Supplement.

          At any time on or prior to the Confirmation Date, the Debtor may (i) amend the Plan
  Supplement in order to add or remove a contract or lease from the list of contracts to be assumed
  or (ii) assign (subject to applicable law) any Executory Contract or Unexpired Lease, as
  determined by the Debtor in consultation with the Committee, or the Reorganized Debtor, as
  applicable.

          The Confirmation Order will constitute an order of the Bankruptcy Court approving the
  above-described assumptions, rejections, and assumptions and assignments. Except as otherwise
  provided herein or agreed to by the Debtor and the applicable counterparty, each assumed
  Executory Contract or Unexpired Lease shall include all modifications, amendments,
  supplements, restatements, or other agreements related thereto, and all rights related thereto.
  Modifications, amendments, supplements, and restatements to prepetition Executory Contracts
  and Unexpired Leases that have been executed by the Debtor during the Chapter 11 Case shall
  not be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease or the
  validity, priority, or amount of any Claims that may arise in connection therewith. To the extent
  applicable, no change of control (or similar provision) will be deemed to occur under any such
  Executory Contract or Unexpired Lease.

           If certain, but not all, of a contract counterparty’s Executory Contracts and/or Unexpired
  Leases are rejected pursuant to the Plan, the Confirmation Order shall be a determination that
  such counterparty’s Executory Contracts and/or Unexpired Leases that are being assumed
  pursuant to the Plan are severable agreements that are not integrated with those Executory
  Contracts and/or Unexpired Leases that are being rejected pursuant to the Plan. Parties seeking
  to contest this finding with respect to their Executory Contracts and/or Unexpired Leases must
  file a timely objection to the Plan on the grounds that their agreements are integrated and not
  severable, and any such dispute shall be resolved by the Bankruptcy Court at the Confirmation
  Hearing (to the extent not resolved by the parties prior to the Confirmation Hearing).

          Notwithstanding anything herein to the contrary, the Debtor shall assume or reject that
  certain real property lease with Crescent TC Investors L.P. (“Landlord”) for the Debtor’s
  headquarters located at 200/300 Crescent Ct., Suite #700, Dallas, Texas 75201 (the “Lease”) in
  accordance with the notice to Landlord, procedures and timing required by 11 U.S.C. §365(d)(4),
  as modified by that certain Agreed Order Granting Motion to Extend Time to Assume or Reject
  Unexpired Nonresidential Real Property Lease [Docket No. 1122].

  B.     Claims Based on Rejection of Executory Contracts or Unexpired Leases

          Any Executory Contract or Unexpired Lease not assumed or rejected on or before the
  Confirmation Date shall be deemed rejected, pursuant to the Confirmation Order. Any Person
  asserting a Rejection Claim shall File a proof of claim within thirty days of the Effective Date.
  Any Rejection Claims that are not timely Filed pursuant to this Plan shall be forever disallowed

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  and barred. If one or more Rejection Claims are timely Filed, the Claimant Trustee may File an
  objection to any Rejection Claim.

         Rejection Claims shall be classified as General Unsecured Claims and shall be treated in
  accordance with ARTICLE III of this Plan.

  C.     Cure of Defaults for Assumed or Assigned Executory Contracts and Unexpired
         Leases

          Any monetary amounts by which any Executory Contract or Unexpired Lease to be
  assumed or assigned hereunder is in default shall be satisfied, under section 365(b)(1) of the
  Bankruptcy Code, by the Debtor upon assumption or assignment thereof, by payment of the
  default amount in Cash as and when due in the ordinary course or on such other terms as the
  parties to such Executory Contracts may otherwise agree. The Debtor may serve a notice on the
  Committee and parties to Executory Contracts or Unexpired Leases to be assumed or assigned
  reflecting the Debtor’s or Reorganized Debtor’s intention to assume or assign the Executory
  Contract or Unexpired Lease in connection with this Plan and setting forth the proposed cure
  amount (if any).

         If a dispute regarding (1) the amount of any payments to cure a default, (2) the ability of
  the Debtor, the Reorganized Debtor, or any assignee to provide “adequate assurance of future
  performance” (within the meaning of section 365 of the Bankruptcy Code) under the Executory
  Contract or Unexpired Lease to be assumed or assigned or (3) any other matter pertaining to
  assumption or assignment, the cure payments required by section 365(b)(1) of the Bankruptcy
  Code will be made following the entry of a Final Order or orders resolving the dispute and
  approving the assumption or assignment.

          Assumption or assignment of any Executory Contract or Unexpired Lease pursuant to the
  Plan or otherwise and full payment of any applicable cure amounts pursuant to this ARTICLE
  V.C shall result in the full release and satisfaction of any cure amounts, Claims, or defaults,
  whether monetary or nonmonetary, including defaults of provisions restricting the change in
  control or ownership interest composition or other bankruptcy-related defaults, arising under any
  assumed or assigned Executory Contract or Unexpired Lease at any time prior to the effective
  date of assumption or assignment. Any and all Proofs of Claim based upon Executory Contracts
  or Unexpired Leases that have been assumed or assigned in the Chapter 11 Case, including
  pursuant to the Confirmation Order, and for which any cure amounts have been fully paid
  pursuant to this ARTICLE V.C, shall be deemed disallowed and expunged as of the
  Confirmation Date without the need for any objection thereto or any further notice to or action,
  order, or approval of the Bankruptcy Court.

                                     ARTICLE VI.
                          PROVISIONS GOVERNING DISTRIBUTIONS

  A.     Dates of Distributions

          Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
  practicable thereafter (or if a Claim is not an Allowed Claim or Equity Interest on the Effective
  Date, on the date that such Claim or Equity Interest becomes an Allowed Claim or Equity
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                                                                            5246
                                                                              of 170
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  Interest, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim or
  Equity Interest against the Debtor shall receive the full amount of the distributions that this Plan
  provides for Allowed Claims or Allowed Equity Interests in the applicable Class and in the
  manner provided herein. If any payment or act under this Plan is required to be made or
  performed on a date that is not on a Business Day, then the making of such payment or the
  performance of such act may be completed on the next succeeding Business Day, but shall be
  deemed to have been completed as of the required date. If and to the extent there are Disputed
  Claims or Equity Interests, distributions on account of any such Disputed Claims or Equity
  Interests shall be made pursuant to the provisions provided in this Plan. Except as otherwise
  provided in this Plan, Holders of Claims and Equity Interests shall not be entitled to interest,
  dividends or accruals on the distributions provided for therein, regardless of whether
  distributions are delivered on or at any time after the Effective Date.

          Upon the Effective Date, all Claims and Equity Interests against the Debtor shall be
  deemed fixed and adjusted pursuant to this Plan and none of the Debtor, the Reorganized Debtor,
  or the Claimant Trust will have liability on account of any Claims or Equity Interests except as
  set forth in this Plan and in the Confirmation Order. All payments and all distributions made by
  the Distribution Agent under this Plan shall be in full and final satisfaction, settlement and
  release of all Claims and Equity Interests against the Debtor and the Reorganized Debtor.

          At the close of business on the Distribution Record Date, the transfer ledgers for the
  Claims against the Debtor and the Equity Interests in the Debtor shall be closed, and there shall
  be no further changes in the record holders of such Claims and Equity Interests. The Debtor, the
  Reorganized Debtor, the Trustees, and the Distribution Agent, and each of their respective
  agents, successors, and assigns shall have no obligation to recognize the transfer of any Claims
  against the Debtor or Equity Interests in the Debtor occurring after the Distribution Record Date
  and shall be entitled instead to recognize and deal for all purposes hereunder with only those
  record holders stated on the transfer ledgers as of the close of business on the Distribution
  Record Date irrespective of the number of distributions to be made under this Plan to such
  Persons or the date of such distributions.

  B.     Distribution Agent

         Except as provided herein, all distributions under this Plan shall be made by the Claimant
  Trustee, as Distribution Agent, or by such other Entity designated by the Claimant Trustee, as a
  Distribution Agent on the Effective Date or thereafter. The Reorganized Debtor will be the
  Distribution Agent with respect to Claims in Class 1 through Class 7.

         The Claimant Trustee, or such other Entity designated by the Claimant Trustee to be the
  Distribution Agent, shall not be required to give any bond or surety or other security for the
  performance of such Distribution Agent’s duties unless otherwise ordered by the Bankruptcy
  Court.

         The Distribution Agent shall be empowered to (a) effect all actions and execute all
  agreements, instruments, and other documents necessary to perform its duties under this Plan;
  (b) make all distributions contemplated hereby; (c) employ professionals to represent it with
  respect to its responsibilities; and (d) exercise such other powers as may be vested in the

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                                                                            5347
                                                                              of 170
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  Distribution Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
  Distribution Agent to be necessary and proper to implement the provisions hereof.

          The Distribution Agent shall not have any obligation to make a particular distribution to a
  specific Holder of an Allowed Claim if such Holder is also the Holder of a Disputed Claim.

  C.     Cash Distributions

         Distributions of Cash may be made by wire transfer from a domestic bank, except that
  Cash payments made to foreign creditors may be made in such funds and by such means as the
  Distribution Agent determines are necessary or customary in a particular foreign jurisdiction.

  D.     Disputed Claims Reserve

         On or prior to the Initial Distribution Date, the Claimant Trustee shall establish, fund and
  maintain the Disputed Claims Reserve(s) in the appropriate Disputed Claims Reserve Amounts
  on account of any Disputed Claims.

  E.     Distributions from the Disputed Claims Reserve

          The Disputed Claims Reserve shall at all times hold Cash in an amount no less than the
  Disputed Claims Reserve Amount. To the extent a Disputed Claim becomes an Allowed Claim
  pursuant to the terms of this Plan, within 30 days of the date on which such Disputed Claim
  becomes an Allowed Claim pursuant to the terms of this Plan, the Claimant Trustee shall
  distribute from the Disputed Claims Reserve to the Holder thereof any prior distributions, in
  Cash, that would have been made to such Allowed Claim if it had been Allowed as of the
  Effective Date. For the avoidance of doubt, each Holder of a Disputed Claim that subsequently
  becomes an Allowed Claim will also receive its Pro Rata share of the Claimant Trust Interests.
  If, upon the resolution of all Disputed Claims any Cash remains in the Disputed Claims Reserve,
  such Cash shall be transferred to the Claimant Trust and be deemed a Claimant Trust Asset.

  F.     Rounding of Payments

          Whenever this Plan would otherwise call for, with respect to a particular Person, payment
  of a fraction of a dollar, the actual payment or distribution shall reflect a rounding of such
  fraction to the nearest whole dollar (up or down), with half dollars being rounded down. To the
  extent that Cash to be distributed under this Plan remains undistributed as a result of the
  aforementioned rounding, such Cash or stock shall be treated as “Unclaimed Property” under this
  Plan.

  G.     De Minimis Distribution

         Except as to any Allowed Claim that is Unimpaired under this Plan, none of the Debtor,
  the Reorganized Debtor, or the Distribution Agent shall have any obligation to make any Plan
  Distributions with a value of less than $100, unless a written request therefor is received by the
  Distribution Agent from the relevant recipient at the addresses set forth in ARTICLE VI.J hereof
  within 120 days after the later of the (i) Effective Date and (ii) the date such Claim becomes an
  Allowed Claim. De minimis distributions for which no such request is timely received shall
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                                                                              of 170
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  revert to the Claimant Trust. Upon such reversion, the relevant Allowed Claim (and any Claim
  on account of missed distributions) shall be automatically deemed satisfied, discharged and
  forever barred, notwithstanding any federal or state escheat laws to the contrary.

  H.     Distributions on Account of Allowed Claims

         Except as otherwise agreed by the Holder of a particular Claim or as provided in this
  Plan, all distributions shall be made pursuant to the terms of this Plan and the Confirmation
  Order. Except as otherwise provided in this Plan, distributions to any Holder of an Allowed
  Claim shall, to the extent applicable, be allocated first to the principal amount of any such
  Allowed Claim, as determined for U.S. federal income tax purposes and then, to the extent the
  consideration exceeds such amount, to the remainder of such Claim comprising accrued but
  unpaid interest, if any (but solely to the extent that interest is an allowable portion of such
  Allowed Claim).

  I.     General Distribution Procedures

          The Distribution Agent shall make all distributions of Cash or other property required
  under this Plan, unless this Plan specifically provides otherwise. All Cash and other property
  held by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable, for ultimate
  distribution under this Plan shall not be subject to any claim by any Person.

  J.     Address for Delivery of Distributions

          Distributions to Holders of Allowed Claims, to the extent provided for under this Plan,
  shall be made (1) at the addresses set forth in any written notices of address change delivered to
  the Debtor and the Distribution Agent; (2) at the address set forth on any Proofs of Claim Filed
  by such Holders (to the extent such Proofs of Claim are Filed in the Chapter 11 Case), (2), or (3)
  at the addresses in the Debtor’s books and records.

          If there is any conflict or discrepancy between the addresses set forth in (1) through (3) in
  the foregoing sentence, then (i) the address in Section (2) shall control; (ii) if (2) does not apply,
  the address in (1) shall control, and (iii) if (1) does not apply, the address in (3) shall control.

  K.     Undeliverable Distributions and Unclaimed Property

          If the distribution to the Holder of any Allowed Claim is returned to the Reorganized
  Debtor or the Claimant Trust as undeliverable, no further distribution shall be made to such
  Holder, and Distribution Agent shall not have any obligation to make any further distribution to
  the Holder, unless and until the Distribution Agent is notified in writing of such Holder’s then
  current address.

          Any Entity that fails to claim any Cash within six months from the date upon which a
  distribution is first made to such Entity shall forfeit all rights to any distribution under this Plan
  and such Cash shall thereafter be deemed an Claimant Trust Asset in all respects and for all
  purposes. Entities that fail to claim Cash shall forfeit their rights thereto and shall have no claim
  whatsoever against the Debtor’s Estate, the Reorganized Debtor, the Claimant Trust, or against
  any Holder of an Allowed Claim to whom distributions are made by the Distribution Agent.
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                                                                            5549
                                                                              of 170
                                                                                 of 66




  L.     Withholding Taxes

          In connection with this Plan, to the extent applicable, the Distribution Agent shall comply
  with all tax withholding and reporting requirements imposed on them by any Governmental Unit,
  and all distributions made pursuant to this Plan shall be subject to such withholding and
  reporting requirements. The Distribution Agent shall be entitled to deduct any U.S. federal, state
  or local withholding taxes from any Cash payments made with respect to Allowed Claims, as
  appropriate. As a condition to receiving any distribution under this Plan, the Distribution Agent
  may require that the Holder of an Allowed Claim entitled to receive a distribution pursuant to
  this Plan provide such Holder’s taxpayer identification number and such other information and
  certification as may be deemed necessary for the Distribution Agent to comply with applicable
  tax reporting and withholding laws. If a Holder fails to comply with such a request within one
  year, such distribution shall be deemed an unclaimed distribution. Any amounts withheld
  pursuant hereto shall be deemed to have been distributed to and received by the applicable
  recipient for all purposes of this Plan.

  M.     Setoffs

          The Distribution Agent may, to the extent permitted under applicable law, set off against
  any Allowed Claim and any distributions to be made pursuant to this Plan on account of such
  Allowed Claim, the claims, rights and causes of action of any nature that the Debtor, the
  Reorganized Debtor, or the Distribution Agent may hold against the Holder of such Allowed
  Claim that are not otherwise waived, released or compromised in accordance with this Plan;
  provided, however, that neither such a setoff nor the allowance of any Claim hereunder shall
  constitute a waiver or release by the Debtor, the Reorganized Debtor, or the Claimant Trustee of
  any such claims, rights and causes of action that the Debtor, the Reorganized Debtor, or
  Claimant Trustee possesses against such Holder. Any Holder of an Allowed Claim subject to
  such setoff reserves the right to challenge any such setoff in the Bankruptcy Court or any other
  court with jurisdiction with respect to such challenge.

  N.     Surrender of Cancelled Instruments or Securities

         As a condition precedent to receiving any distribution pursuant to this Plan on account of
  an Allowed Claim evidenced by negotiable instruments, securities, or notes canceled pursuant to
  ARTICLE IV of this Plan, the Holder of such Claim will tender the applicable negotiable
  instruments, securities, or notes evidencing such Claim (or a sworn affidavit identifying the
  negotiable instruments, securities, or notes formerly held by such Holder and certifying that they
  have been lost), to the Distribution Agent unless waived in writing by the Distribution Agent.

  O.     Lost, Stolen, Mutilated or Destroyed Securities

         In addition to any requirements under any applicable agreement and applicable law, any
  Holder of a Claim or Equity Interest evidenced by a security or note that has been lost, stolen,
  mutilated, or destroyed will, in lieu of surrendering such security or note to the extent required
  by this Plan, deliver to the Distribution Agent: (i) evidence reasonably satisfactory to the
  Distribution Agent of such loss, theft, mutilation, or destruction; and (ii) such security or
  indemnity as may be required by the Distribution Agent to hold such party harmless from any

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                                                                            5650
                                                                              of 170
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  damages, liabilities, or costs incurred in treating such individual as a Holder of an Allowed
  Claim or Equity Interest. Upon compliance with ARTICLE VI.O of this Plan as determined by
  the Distribution Agent, by a Holder of a Claim evidenced by a security or note, such Holder will,
  for all purposes under this Plan, be deemed to have surrendered such security or note to the
  Distribution Agent.

                                  ARTICLE VII.
                       PROCEDURES FOR RESOLVING CONTINGENT,
                         UNLIQUIDATED AND DISPUTED CLAIMS

  A.     Filing of Proofs of Claim

         Unless such Claim appeared in the Schedules and is not listed as disputed, contingent, or
  unliquidated, or such Claim has otherwise been Allowed or paid, each Holder of a Claim was
  required to file a Proof of Claim on or prior to the Bar Date.

  B.     Disputed Claims

          Following the Effective Date, each of the Reorganized Debtor or the Claimant Trustee, as
  applicable, may File with the Bankruptcy Court an objection to the allowance of any Disputed
  Claim or Disputed Equity Interest, request the Bankruptcy Court subordinate any Claims to
  Subordinated Claims, or any other appropriate motion or adversary proceeding with respect to
  the foregoing by the Claims Objection Deadline or, at the discretion of the Reorganized Debtor
  or Claimant Trustee, as applicable, compromised, settled, withdrew or resolved without further
  order of the Bankruptcy Court, and (ii) unless otherwise provided in the Confirmation Order, the
  Reorganized Debtor or the Claimant Trust, as applicable, are authorized to settle, or withdraw
  any objections to, any Disputed Claim or Disputed Equity Interests following the Effective Date
  without further notice to creditors (other than the Entity holding such Disputed Claim or
  Disputed Equity Interest) or authorization of the Bankruptcy Court, in which event such Claim or
  Equity Interest shall be deemed to be an Allowed Claim or Equity Interest in the amount
  compromised for purposes of this Plan.

  C.     Procedures Regarding Disputed Claims or Disputed Equity Interests

          No payment or other distribution or treatment shall be made on account of a Disputed
  Claim or Disputed Equity Interest unless and until such Disputed Claim or Disputed Equity
  Interest becomes an Allowed Claim or Equity Interests and the amount of such Allowed Claim
  or Equity Interest, as applicable, is determined by order of the Bankruptcy Court or by
  stipulation between the Reorganized Debtor or Claimant Trust, as applicable, and the Holder of
  the Claim or Equity Interest.

  D.     Allowance of Claims and Equity Interests

          Following the date on which a Disputed Claim or Disputed Equity Interest becomes an
  Allowed Claim or Equity Interest after the Distribution Date, the Distribution Agent shall make a
  distribution to the Holder of such Allowed Claim or Equity Interest in accordance with the Plan.


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                                                                              of 170
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         1.      Allowance of Claims

          After the Effective Date and subject to the other provisions of this Plan, the Reorganized
  Debtor or the Claimant Trust, as applicable, will have and will retain any and all rights and
  defenses under bankruptcy or nonbankruptcy law that the Debtor had with respect to any Claim.
  Except as expressly provided in this Plan or in any order entered in the Chapter 11 Case prior to
  the Effective Date (including, without limitation, the Confirmation Order), no Claim or Equity
  Interest will become an Allowed Claim or Equity Interest unless and until such Claim or Equity
  Interest is deemed Allowed under this Plan or the Bankruptcy Code or the Bankruptcy Court has
  entered an order, including, without limitation, the Confirmation Order, in the Chapter 11 Case
  allowing such Claim or Equity Interest.

         2.      Estimation

           Subject to the other provisions of this Plan, the Debtor, prior to the Effective Date, and
  the Reorganized Debtor or the Claimant Trustee, as applicable, after the Effective Date, may, at
  any time, request that the Bankruptcy Court estimate (a) any Disputed Claim or Disputed Equity
  Interest pursuant to applicable law and in accordance with this Plan and (b) any contingent or
  unliquidated Claim pursuant to applicable law, including, without limitation, section 502(c) of
  the Bankruptcy Code, and the Bankruptcy Court will retain jurisdiction under 28 U.S.C. §§ 157
  and 1334 to estimate any Disputed Claim or Disputed Equity Interest, contingent Claim or
  unliquidated Claim, including during the litigation concerning any objection to any Claim or
  Equity Interest or during the pendency of any appeal relating to any such objection. All of the
  aforementioned objection, estimation and resolution procedures are cumulative and not exclusive
  of one another. Claims or Equity Interests may be estimated and subsequently compromised,
  settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court. The rights
  and objections of all parties are reserved in connection with any such estimation proceeding.

         3.      Disallowance of Claims

          Any Claims or Equity Interests held by Entities from which property is recoverable under
  sections 542, 543, 550, or 553 of the Bankruptcy Code, or that are a transferee of a transfer
  avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy
  Code, shall be deemed disallowed pursuant to section 502(d) of the Bankruptcy Code, and
  holders of such Claims or Interests may not receive any distributions on account of such Claims
  or Interests until such time as such Causes of Action against that Entity have been settled or a
  Bankruptcy Court Order with respect thereto has been entered and all sums due, if any, to the
  Reorganized Debtor or the Claimant Trust, as applicable, by that Entity have been turned over or
  paid to the Reorganized Debtor or the Claimant Trust, as applicable.

       EXCEPT AS OTHERWISE PROVIDED HEREIN OR AS AGREED TO BY THE
  DEBTOR, REORGANIZED DEBTOR, OR CLAIMANT TRUSTEE, AS APPLICABLE,
  ANY AND ALL PROOFS OF CLAIM FILED AFTER THE BAR DATE SHALL BE
  DEEMED DISALLOWED AND EXPUNGED AS OF THE EFFECTIVE DATE
  WITHOUT ANY FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF
  THE BANKRUPTCY COURT, AND HOLDERS OF SUCH CLAIMS MAY NOT
  RECEIVE ANY DISTRIBUTIONS ON ACCOUNT OF SUCH CLAIMS, UNLESS SUCH

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                                                                            5852
                                                                              of 170
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  LATE PROOF OF CLAIM HAS BEEN DEEMED TIMELY FILED BY A FINAL
  ORDER.

                                      ARTICLE VIII.
                                 EFFECTIVENESS OF THIS PLAN

  A.     Conditions Precedent to the Effective Date

         The Effective Date of this Plan will be conditioned upon the satisfaction or waiver by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee with such consent not to be unreasonably withheld), pursuant to the provisions of
  ARTICLE VIII.B of this Plan of the following:

         •   This Plan and the Plan Documents, including the Claimant Trust Agreement and the
             Reorganized Limited Partnership Agreement, and all schedules, documents,
             supplements and exhibits to this Plan shall have been Filed in form and substance
             reasonably acceptable to the Debtor and the Committee.

         •   The Confirmation Order shall have become a Final Order and shall be in form and
             substance reasonably acceptable to the Debtor and the Committee. The Confirmation
             Order shall provide that, among other things, (i) the Debtor, the Reorganized Debtor,
             the Claimant Trustee, or the Litigation Trustee are authorized to take all actions
             necessary or appropriate to effectuate and consummate this Plan, including, without
             limitation, (a) entering into, implementing, effectuating, and consummating the
             contracts, instruments, releases, and other agreements or documents created in
             connection with or described in this Plan, (b) assuming the Executory Contracts and
             Unexpired Leases set forth in the Plan Supplement, (c) making all distributions and
             issuances as required under this Plan; and (d) entering into any transactions as set
             forth in the Plan Documents; (ii) the provisions of the Confirmation Order and this
             Plan are nonseverable and mutually dependent; (iii) the implementation of this Plan in
             accordance with its terms is authorized; (iv) pursuant to section 1146 of the
             Bankruptcy Code, the delivery of any deed or other instrument or transfer order, in
             furtherance of, or in connection with this Plan, including any deeds, bills of sale, or
             assignments executed in connection with any disposition or transfer of Assets
             contemplated under this Plan, shall not be subject to any Stamp or Similar Tax; and
             (v) the vesting of the Claimant Trust Assets in the Claimant Trust and the
             Reorganized Debtor Assets in the Reorganized Debtor, in each case as of the
             Effective Date free and clear of liens and claims to the fullest extent permissible
             under applicable law pursuant to section 1141(c) of the Bankruptcy Code except with
             respect to such Liens, Claims, charges and other encumbrances that are specifically
             preserved under this Plan upon the Effective Date.

         •   All documents and agreements necessary to implement this Plan, including without
             limitation, the Reorganized Limited Partnership Agreement, the Claimant Trust
             Agreement, and the New GP LLC Documents, in each case in form and substance
             reasonably acceptable to the Debtor and the Committee, shall have (a) been tendered
             for delivery, and (b) been effected by, executed by, or otherwise deemed binding
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                                                                            5953
                                                                              of 170
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             upon, all Entities party thereto and shall be in full force and effect. All conditions
             precedent to such documents and agreements shall have been satisfied or waived
             pursuant to the terms of such documents or agreements.

         •   All authorizations, consents, actions, documents, approvals (including any
             governmental approvals), certificates and agreements necessary to implement this
             Plan, including, without limitation, the Reorganized Limited Partnership Agreement,
             the Claimant Trust Agreement, and the New GP LLC Documents, shall have been
             obtained, effected or executed and delivered to the required parties and, to the extent
             required, filed with the applicable governmental units in accordance with applicable
             laws and any applicable waiting periods shall have expired without any action being
             taken or threatened by any competent authority that would restrain or prevent
             effectiveness or consummation of the Restructuring.

         •   The Debtor shall have obtained applicable directors’ and officers’ insurance coverage
             that is acceptable to each of the Debtor, the Committee, the Claimant Trust Oversight
             Committee, the Claimant Trustee and the Litigation Trustee.

         •   The Professional Fee Reserve shall be funded pursuant to this Plan in an amount
             determined by the Debtor in good faith.

  B.     Waiver of Conditions

          The conditions to effectiveness of this Plan set forth in this ARTICLE VIII (other than
  that the Confirmation Order shall have been entered) may be waived in whole or in part by the
  Debtor (and, to the extent such condition requires the consent of the Committee, the consent of
  the Committee) and any applicable parties in Section VII.A of this Plan, without notice, leave or
  order of the Bankruptcy Court or any formal action other than proceeding to confirm or
  effectuate this Plan. The failure to satisfy or waive a condition to the Effective Date may be
  asserted by the Debtor regardless of the circumstances giving rise to the failure of such condition
  to be satisfied. The failure of the Debtor to exercise any of the foregoing rights will not be
  deemed a waiver of any other rights, and each right will be deemed an ongoing right that may be
  asserted at any time by the Debtor, the Reorganized Debtor, or the Claimant Trust, as applicable.

  C.     Dissolution of the Committee

          On the Effective Date, the Committee will dissolve, and the members of the Committee
  and the Committee’s Professionals will cease to have any role arising from or relating to the
  Chapter 11 Case, except in connection with final fee applications of Professionals for services
  rendered prior to the Effective Date (including the right to object thereto). The Professionals
  retained by the Committee and the members thereof will not be entitled to assert any fee claims
  for any services rendered to the Committee or expenses incurred in the service of the Committee
  after the Effective Date, except for reasonable fees for services rendered, and actual and
  necessary costs incurred, in connection with any applications for allowance of Professional Fees
  pending on the Effective Date or filed and served after the Effective Date pursuant to the Plan.
  Nothing in the Plan shall prohibit or limit the ability of the Debtor’s or Committee’s


                                                  47


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 Case19-34054-sgj11
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                                                                            6054
                                                                              of 170
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  Professionals to represent either of the Trustees or to be compensated or reimbursed per the Plan
  and the Claimant Trust Agreement in connection with such representation.

                                  ARTICLE IX.
                 EXCULPATION, INJUNCTION AND RELATED PROVISIONS

  A.     General

          Notwithstanding anything contained in the Plan to the contrary, the allowance,
  classification and treatment of all Allowed Claims and Equity Interests and their respective
  distributions and treatments under the Plan shall take into account the relative priority and rights
  of the Claims and the Equity Interests in each Class in connection with any contractual, legal and
  equitable subordination rights relating thereto whether arising under general principles of
  equitable subordination, section 510 of the Bankruptcy Code, or otherwise.

  B.     Discharge of Claims

          To the fullest extent provided under section 1141(d)(1)(A) and other applicable
  provisions of the Bankruptcy Code, except as otherwise expressly provided by this Plan or the
  Confirmation Order, all consideration distributed under this Plan will be in exchange for, and in
  complete satisfaction, settlement, discharge, and release of, all Claims and Equity Interests of
  any kind or nature whatsoever against the Debtor or any of its Assets or properties, and
  regardless of whether any property will have been distributed or retained pursuant to this Plan on
  account of such Claims or Equity Interests. Except as otherwise expressly provided by this Plan
  or the Confirmation Order, upon the Effective Date, the Debtor and its Estate will be deemed
  discharged and released under and to the fullest extent provided under section 1141(d)(1)(A) and
  other applicable provisions of the Bankruptcy Code from any and all Claims and Equity Interests
  of any kind or nature whatsoever, including, but not limited to, demands and liabilities that arose
  before the Confirmation Date, and all debts of the kind specified in section 502(g), 502(h), or
  502(i) of the Bankruptcy Code.

  C.     Exculpation

         Subject in all respects to ARTICLE XII.D of this Plan, to the maximum extent permitted
  by applicable law, no Exculpated Party will have or incur, and each Exculpated Party is hereby
  exculpated from, any claim, obligation, suit, judgment, damage, demand, debt, right, Cause of
  Action, remedy, loss, and liability for conduct occurring on or after the Petition Date in
  connection with or arising out of (i) the filing and administration of the Chapter 11 Case; (ii) the
  negotiation and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
  confirmation of, the Plan; (iii) the funding or consummation of the Plan (including the Plan
  Supplement) or any related agreements, instruments, or other documents, the solicitation of votes
  on the Plan, the offer, issuance, and Plan Distribution of any securities issued or to be issued
  pursuant to the Plan, including the Claimant Trust Interests, whether or not such Plan
  Distributions occur following the Effective Date; (iv) the implementation of the Plan; and (v) any
  negotiations, transactions, and documentation in connection with the foregoing clauses (i)-(iv);
  provided, however, the foregoing will not apply to (a) any acts or omissions of an Exculpated
  Party arising out of or related to acts or omissions that constitute bad faith, fraud, gross

                                                  48


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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                               18:59:39Page
                                                                         Page
                                                                            6155
                                                                              of 170
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  negligence, criminal misconduct, or willful misconduct or (b) Strand or any Employee other than
  with respect to actions taken by such Entities from the date of appointment of the Independent
  Directors through the Effective Date. This exculpation shall be in addition to, and not in
  limitation of, all other releases, indemnities, exculpations, any other applicable law or rules, or
  any other provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
  Parties from liability.

  D.     Releases by the Debtor

          On and after the Effective Date, each Released Party is deemed to be, hereby
  conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by
  the Debtor and the Estate, in each case on behalf of themselves and their respective successors,
  assigns, and representatives, including, but not limited to, the Claimant Trust and the Litigation
  Sub-Trust from any and all Causes of Action, including any derivative claims, asserted on behalf
  of the Debtor, whether known or unknown, foreseen or unforeseen, matured or unmatured,
  existing or hereafter arising, in law, equity, contract, tort or otherwise, that the Debtor or the
  Estate would have been legally entitled to assert in their own right (whether individually or
  collectively) or on behalf of the holder of any Claim against, or Interest in, a Debtor or other
  Person.

          Notwithstanding anything contained herein to the contrary, the foregoing release does not
  release: (i) any obligations of any party under the Plan or any document, instrument, or
  agreement executed to implement the Plan, (ii) the rights or obligations of any current employee
  of the Debtor under any employment agreement or plan, (iii) the rights of the Debtor with respect
  to any confidentiality provisions or covenants restricting competition in favor of the Debtor
  under any employment agreement with a current or former employee of the Debtor, (iv) any
  Avoidance Actions, or (v) any Causes of Action arising from willful misconduct, criminal
  misconduct, actual fraud, or gross negligence of such applicable Released Party as determined by
  Final Order of the Bankruptcy Court or any other court of competent jurisdiction.

          Notwithstanding anything herein to the contrary, any release provided pursuant to this
  ARTICLE IX.D (i) with respect to a Senior Employee, is conditioned in all respects on (a) such
  Senior Employee executing a Senior Employee Stipulation on or prior to the Effective Date and
  (b) the reduction of such Senior Employee’s Allowed Claim as set forth in the Senior Employee
  Stipulation (such amount, the “Reduced Employee Claim”), and (ii) with respect to any
  Employee, including a Senior Employee, shall be deemed null and void and of no force and
  effect (1) if there is more than one member of the Claimant Trust Oversight Committee who does
  not represent entities holding a Disputed or Allowed Claim (the “Independent Members”), the
  Claimant Trustee and the Independent Members by majority vote determine or (2) if there is only
  one Independent Member, the Independent Member after discussion with the Claimant Trustee,
  determines (in each case after discussing with the full Claimant Trust Oversight Committee) that
  such Employee (regardless of whether the Employee is then currently employed by the Debtor,
  the Reorganized Debtor, or the Claimant Trustee):

         •   sues, attempts to sue, or threatens or works with or assists any entity or person to sue,
             attempt to sue, or threaten the Reorganized Debtor, the Claimant Trust, the Litigation


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                                                                                       App. 059
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 Case19-34054-sgj11
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                                                               18:59:39Page
                                                                         Page
                                                                            6256
                                                                              of 170
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              Sub-Trust, or any of their respective employees or agents, or any Released Party on or
              in connection with any claim or cause of action arising prior to the Effective Date,

         •    has taken any action that, impairs or harms the value of the Claimant Trust Assets or
              the Reorganized Debtor Assets, or

         •    (x) upon the request of the Claimant Trustee, has failed to provide reasonable
              assistance in good faith to the Claimant Trustee or the Reorganized Debtor with
              respect to (1) the monetization of the Claimant Trust Assets or Reorganized Debtor
              Assets, as applicable, or (2) the resolution of Claims, or (y) has taken any action that
              impedes or frustrates the Claimant Trustee or the Reorganized Debtor with respect to
              any of the foregoing.

  Provided, however, that the release provided pursuant to this ARTICLE IX.D will vest and the
  Employee will be indefeasibly released pursuant to this ARTICLE IX.D if such Employee’s
  release has not been deemed null and void and of no force and effect on or prior to the date that
  is the date of dissolution of the Claimant Trust pursuant to the Claimant Trust Agreement.

          By executing the Senior Employee Stipulation embodying this release, each Senior
  Employee acknowledges and agrees, without limitation, to the terms of this release and the
  tolling agreement contained in the Senior Employee Stipulation.

         The provisions of this release and the execution of a Senior Employee Stipulation will not
  in any way prevent or limit any Employee from (i) prosecuting its Claims, if any, against the
  Debtor’s Estate, (ii) defending him or herself against any claims or causes of action brought
  against the Employee by a third party, or (iii) assisting other persons in defending themselves
  from any Estate Claims brought by the Litigation Trustee (but only with respect to Estate Claims
  brought by the Litigation Trustee and not collection or other actions brought by the Claimant
  Trustee).

  E.     Preservation of Rights of Action

         1.      Maintenance of Causes of Action

         Except as otherwise provided in this Plan, after the Effective Date, the Reorganized
  Debtor or the Claimant Trust will retain all rights to commence, pursue, litigate or settle, as
  appropriate, any and all Causes of Action included in the Reorganized Debtor Assets or Claimant
  Trust Assets, as applicable, whether existing as of the Petition Date or thereafter arising, in any
  court or other tribunal including, without limitation, in an adversary proceeding Filed in the
  Chapter 11 Case and, as the successors in interest to the Debtor and the Estate, may, and will
  have the exclusive right to, enforce, sue on, settle, compromise, transfer or assign (or decline to
  do any of the foregoing) any or all of the Causes of Action without notice to or approval from the
  Bankruptcy Court.

         2.      Preservation of All Causes of Action Not Expressly Settled or Released

         Unless a Cause of Action against a Holder of a Claim or an Equity Interest or other Entity
  is expressly waived, relinquished, released, compromised or settled in this Plan or any Final
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                                                               18:59:39Page
                                                                         Page
                                                                            6357
                                                                              of 170
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  Order (including, without limitation, the Confirmation Order), such Cause of Action is expressly
  reserved for later adjudication by the Reorganized Debtor or Claimant Trust, as applicable
  (including, without limitation, Causes of Action not specifically identified or of which the
  Debtor may presently be unaware or that may arise or exist by reason of additional facts or
  circumstances unknown to the Debtor at this time or facts or circumstances that may change or
  be different from those the Debtor now believes to exist) and, therefore, no preclusion doctrine,
  including, without limitation, the doctrines of res judicata, collateral estoppel, issue preclusion,
  claim preclusion, waiver, estoppel (judicial, equitable or otherwise) or laches will apply to such
  Causes of Action as a consequence of the confirmation, effectiveness, or consummation of this
  Plan based on the Disclosure Statement, this Plan or the Confirmation Order, except where such
  Causes of Action have been expressly released in this Plan or any other Final Order (including,
  without limitation, the Confirmation Order). In addition, the right of the Reorganized Debtor or
  the Claimant Trust to pursue or adopt any claims alleged in any lawsuit in which the Debtor is a
  plaintiff, defendant or an interested party, against any Entity, including, without limitation, the
  plaintiffs or co-defendants in such lawsuits, is expressly reserved.

  F.     Injunction

         Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
  permanently enjoined, on and after the Effective Date, from taking any actions to interfere
  with the implementation or consummation of the Plan.

          Except as expressly provided in the Plan, the Confirmation Order, or a separate
  order of the Bankruptcy Court, all Enjoined Parties are and shall be permanently
  enjoined, on and after the Effective Date, with respect to any Claims and Equity Interests,
  from directly or indirectly (i) commencing, conducting, or continuing in any manner any
  suit, action, or other proceeding of any kind (including any proceeding in a judicial,
  arbitral, administrative or other forum) against or affecting the Debtor or the property of
  the Debtor, (ii) enforcing, levying, attaching (including any prejudgment attachment),
  collecting, or otherwise recovering, enforcing, or attempting to recover or enforce, by any
  manner or means, any judgment, award, decree, or order against the Debtor or the
  property of the Debtor, (iii) creating, perfecting, or otherwise enforcing in any manner, any
  security interest, lien or encumbrance of any kind against the Debtor or the property of the
  Debtor, (iv) asserting any right of setoff, directly or indirectly, against any obligation due to
  the Debtor or against property or interests in property of the Debtor, except to the limited
  extent permitted under Sections 553 and 1141 of the Bankruptcy Code, and (v) acting or
  proceeding in any manner, in any place whatsoever, that does not conform to or comply
  with the provisions of the Plan.

         The injunctions set forth herein shall extend to, and apply to any act of the type set
  forth in any of clauses (i)-(v) of the immediately preceding paragraph against any
  successors of the Debtor, including, but not limited to, the Reorganized Debtor, the
  Litigation Sub-Trust, and the Claimant Trust and their respective property and interests in
  property.

        Subject in all respects to ARTICLE XII.D, no Enjoined Party may commence or
  pursue a claim or cause of action of any kind against any Protected Party that arose or
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                                                                         Page
                                                                            6458
                                                                              of 170
                                                                                 of 66




  arises from or is related to the Chapter 11 Case, the negotiation of the Plan, the
  administration of the Plan or property to be distributed under the Plan, the wind down of
  the business of the Debtor or Reorganized Debtor, the administration of the Claimant
  Trust or the Litigation Sub-Trust, or the transactions in furtherance of the foregoing
  without the Bankruptcy Court (i) first determining, after notice and a hearing, that such
  claim or cause of action represents a colorable claim of any kind, including, but not limited
  to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or gross
  negligence against a Protected Party and (ii) specifically authorizing such Enjoined Party
  to bring such claim or cause of action against any such Protected Party; provided, however,
  the foregoing will not apply to a claim or cause of action against Strand or against any
  Employee other than with respect to actions taken, respectively, by Strand or by such
  Employee from the date of appointment of the Independent Directors through the Effective
  Date. The Bankruptcy Court will have sole and exclusive jurisdiction to determine
  whether a claim or cause of action is colorable and, only to the extent legally permissible
  and as provided for in ARTICLE XI, shall have jurisdiction to adjudicate the underlying
  colorable claim or cause of action.

  G.     Duration of Injunctions and Stays

          ARTICLE II. Unless otherwise provided in this Plan, in the Confirmation Order, or
  in a Final Order of the Bankruptcy Court, (i) all injunctions and stays entered during the
  Chapter 11 Case and in existence on the Confirmation Date shall remain in full force and
  effect in accordance with their terms; and (ii) the automatic stay arising under section 362
  of the Bankruptcy Code shall remain in full force and effect subject to Section 362(c) of the
  Bankruptcy Code, and to the extent necessary if the Debtor does not receive a discharge,
  the Court will enter an equivalent order under Section 105.

  H.     Continuance of January 9 Order

         Unless otherwise provided in this Plan, in the Confirmation Order, or in a Final Order of
  the Bankruptcy Court, the restrictions set forth in paragraphs 9 and 10 of the Order Approving
  Settlement with Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course, entered by the Bankruptcy Court on
  January 9, 2020 [D.I. 339] shall remain in full force and effect following the Effective Date.



                                         ARTICLE X.
                                    BINDING NATURE OF PLAN

          On the Effective Date, and effective as of the Effective Date, the Plan, including, without
  limitation, the provisions in ARTICLE IX, will bind, and will be deemed binding upon, all
  Holders of Claims against and Equity Interests in the Debtor and such Holder’s respective
  successors and assigns, to the maximum extent permitted by applicable law, notwithstanding
  whether or not such Holder will receive or retain any property or interest in property under the
  Plan. All Claims and Debts shall be fixed and adjusted pursuant to this Plan. The Plan shall also
  bind any taxing authority, recorder of deeds, or similar official for any county, state,

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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                             22:37:03
                                                               18:59:39Page
                                                                         Page
                                                                            6559
                                                                              of 170
                                                                                 of 66




  Governmental Unit or parish in which any instrument related to the Plan or related to any
  transaction contemplated thereby is to be recorded with respect to nay taxes of the kind specified
  in Bankruptcy Code section 1146(a).

                                      ARTICLE XI.
                                 RETENTION OF JURISDICTION

          Pursuant to sections 105 and 1142 of the Bankruptcy Code and notwithstanding the entry
  of the Confirmation Order and the occurrence of the Effective Date, the Bankruptcy Court shall,
  after the Effective Date, retain such jurisdiction over the Chapter 11 Case and all Entities with
  respect to all matters related to the Chapter 11 Case, the Reorganized Debtor, the Claimant Trust,
  and this Plan to the maximum extent legally permissible, including, without limitation,
  jurisdiction to:

         •   allow, disallow, determine, liquidate, classify, estimate or establish the priority,
             secured, unsecured, or subordinated status of any Claim or Equity Interest, including,
             without limitation, the resolution of any request for payment of any Administrative
             Expense Claim and the resolution of any and all objections to the allowance or
             priority of any Claim or Equity Interest;

         •   grant or deny any applications for allowance of compensation or reimbursement of
             expenses authorized pursuant to the Bankruptcy Code or this Plan, for periods ending
             on or before the Effective Date; provided, however, that, from and after the Effective
             Date, the Reorganized Debtor shall pay Professionals in the ordinary course of
             business for any work performed after the Effective Date subject to the terms of this
             Plan and the Confirmation Order, and such payment shall not be subject to the
             approval of the Bankruptcy Court;

         •   resolve any matters related to the assumption, assignment or rejection of any
             Executory Contract or Unexpired Lease to which the Debtor is party or with respect
             to which the Debtor, Reorganized Debtor, or Claimant Trust may be liable and to
             adjudicate and, if necessary, liquidate, any Claims arising therefrom, including,
             without limitation, any dispute regarding whether a contract or lease is or was
             executory or expired;

         •   make any determination with respect to a claim or cause of action against a Protected
             Party as set forth in ARTICLE IX;

         •   resolve any claim or cause of action against an Exculpated Party or Protected Party
             arising from or related to the Chapter 11 Case, the negotiation of this Plan, the
             administration of the Plan or property to be distributed under the Plan, the wind down
             of the business of the Debtor or Reorganized Debtor, or the transactions in
             furtherance of the foregoing;

         •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
             and allow any sale, disposition, assignment or other transfer of the Reorganized
             Debtor Assets or Claimant Trust Assets, including any break-up compensation or
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                                                               18:59:39Page
                                                                         Page
                                                                            6660
                                                                              of 170
                                                                                 of 66




            expense reimbursement that may be requested by a purchaser thereof; provided,
            however, that neither the Reorganized Debtor nor the Claimant Trustee shall be
            required to seek such authority or approval from the Bankruptcy Court unless
            otherwise specifically required by this Plan or the Confirmation Order;

        •   if requested by the Reorganized Debtor or the Claimant Trustee, authorize, approve,
            and allow any borrowing or the incurrence of indebtedness, whether secured or
            unsecured by the Reorganized Debtor or Claimant Trust; provided, however, that
            neither the Reorganized Debtor nor the Claimant Trustee shall be required to seek
            such authority or approval from the Bankruptcy Court unless otherwise specifically
            required by this Plan or the Confirmation Order;

        •   resolve any issues related to any matters adjudicated in the Chapter 11 Case;

        •   ensure that distributions to Holders of Allowed Claims and Allowed Equity Interests
            are accomplished pursuant to the provisions of this Plan;

        •   decide or resolve any motions, adversary proceedings, contested or litigated matters
            and any other Causes of Action (including Estate Claims) that are pending as of the
            Effective Date or that may be commenced in the future, including approval of any
            settlements, compromises, or other resolutions as may be requested by the Debtor, the
            Reorganized Debtor, the Claimant Trustee, or the Litigation Trustee whether under
            Bankruptcy Rule 9019 or otherwise, and grant or deny any applications involving the
            Debtor that may be pending on the Effective Date or instituted by the Reorganized
            Debtor, the Claimant Trustee, or Litigation Trustee after the Effective Date, provided
            that the Reorganized Debtor, the Claimant Trustee, and the Litigation Trustee shall
            reserve the right to commence actions in all appropriate forums and jurisdictions;

        •   enter such orders as may be necessary or appropriate to implement, effectuate, or
            consummate the provisions of this Plan, the Plan Documents, and all other contracts,
            instruments, releases, and other agreements or documents adopted in connection with
            this Plan, the Plan Documents, or the Disclosure Statement;

        •   resolve any cases, controversies, suits or disputes that may arise in connection with
            the implementation, effectiveness, consummation, interpretation, or enforcement of
            this Plan or any Entity’s obligations incurred in connection with this Plan;

        •   issue injunctions and enforce them, enter and implement other orders or take such
            other actions as may be necessary or appropriate to restrain interference by any Entity
            with implementation, effectiveness, consummation, or enforcement of this Plan,
            except as otherwise provided in this Plan;

        •   enforce the terms and conditions of this Plan and the Confirmation Order;

        •   resolve any cases, controversies, suits or disputes with respect to the release,
            exculpation, indemnification, and other provisions contained herein and enter such


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                                                                         Page
                                                                            6761
                                                                              of 170
                                                                                 of 66




             orders or take such others actions as may be necessary or appropriate to implement or
             enforce all such releases, injunctions and other provisions;

         •   enter and implement such orders or take such others actions as may be necessary or
             appropriate if the Confirmation Order is modified, stayed, reversed, revoked or
             vacated;

         •   resolve any other matters that may arise in connection with or relate to this Plan, the
             Disclosure Statement, the Confirmation Order, the Plan Documents, or any contract,
             instrument, release, indenture or other agreement or document adopted in connection
             with this Plan or the Disclosure Statement; and

         •   enter an order concluding or closing the Chapter 11 Case after the Effective Date.

                                       ARTICLE XII.
                                  MISCELLANEOUS PROVISIONS

  A.     Payment of Statutory Fees and Filing of Reports

          All outstanding Statutory Fees shall be paid on the Effective Date. All such fees payable,
  and all such fees that become due and payable, after the Effective Date shall be paid by the
  Reorganized Debtor when due or as soon thereafter as practicable until the Chapter 11 Case is
  closed, converted, or dismissed. The Claimant Trustee shall File all quarterly reports due prior to
  the Effective Date when they become due, in a form reasonably acceptable to the U.S. Trustee.
  After the Effective Date, the Claimant Trustee shall File with the Bankruptcy Court quarterly
  reports when they become due, in a form reasonably acceptable to the U.S. Trustee. The
  Reorganized Debtor shall remain obligated to pay Statutory Fees to the Office of the U.S.
  Trustee until the earliest of the Debtor’s case being closed, dismissed, or converted to a case
  under chapter 7 of the Bankruptcy Code.

  B.     Modification of Plan

          Effective as of the date hereof and subject to the limitations and rights contained in this
  Plan: (a) the Debtor reserves the right, in accordance with the Bankruptcy Code and the
  Bankruptcy Rules, to amend or modify this Plan prior to the entry of the Confirmation Order
  with the consent of the Committee, such consent not to be unreasonably withheld; and (b) after
  the entry of the Confirmation Order, the Debtor may, after notice and hearing and entry of an
  order of the Bankruptcy Court, amend or modify this Plan, in accordance with section 1127(b) of
  the Bankruptcy Code or remedy any defect or omission or reconcile any inconsistency in this
  Plan in such manner as may be necessary to carry out the purpose and intent of this Plan.

  C.     Revocation of Plan

         The Debtor reserves the right to revoke or withdraw this Plan prior to the Confirmation
  Date and to File a subsequent chapter 11 plan with the consent of the Committee. If the Debtor
  revokes or withdraws this Plan prior to the Confirmation Date, then: (i) this Plan shall be null
  and void in all respects; (ii) any settlement or compromise embodied in this Plan, assumption of
  Executory Contracts or Unexpired Leases effected by this Plan and any document or agreement
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  executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
  order entered by the Bankruptcy Court; and (iii) nothing contained in this Plan shall:
  (a) constitute a waiver or release of any Claims by or against, or any Equity Interests in, the
  Debtor or any other Entity; (b) prejudice in any manner the rights of the Debtor or any other
  Entity; or (c) constitute an admission, acknowledgement, offer or undertaking of any sort by the
  Debtor or any other Entity.

  D.     Obligations Not Changed

          Notwithstanding anything in this Plan to the contrary, nothing herein will affect or
  otherwise limit or release any non-Debtor Entity’s (including any Exculpated Party’s) duties or
  obligations, including any contractual and indemnification obligations, to the Debtor, the
  Reorganized Debtor, or any other Entity whether arising under contract, statute, or otherwise.

  E.     Entire Agreement

         Except as otherwise described herein, this Plan supersedes all previous and
  contemporaneous negotiations, promises, covenants, agreements, understandings, and
  representations on such subjects, all of which have become merged and integrated into this Plan.

  F.     Closing of Chapter 11 Case

         The Claimant Trustee shall, after the Effective Date and promptly after the full
  administration of the Chapter 11 Case, File with the Bankruptcy Court all documents required by
  Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Chapter 11
  Case.

  G.     Successors and Assigns

          This Plan shall be binding upon and inure to the benefit of the Debtor and its successors
  and assigns, including, without limitation, the Reorganized Debtor and the Claimant Trustee.
  The rights, benefits, and obligations of any Person or Entity named or referred to in this Plan
  shall be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor,
  or assign of such Person or Entity.

  H.     Reservation of Rights

           Except as expressly set forth herein, this Plan shall have no force or effect unless and
  until the Bankruptcy Court enters the Confirmation Order and the Effective Date occurs. Neither
  the filing of this Plan, any statement or provision contained herein, nor the taking of any action
  by the Debtor, the Reorganized Debtor, the Claimant Trustee, or any other Entity with respect to
  this Plan shall be or shall be deemed to be an admission or waiver of any rights of: (1) the
  Debtor, the Reorganized Debtor, or the Claimant Trustee with respect to the Holders of Claims
  or Equity Interests or other Entity; or (2) any Holder of a Claim or an Equity Interest or other
  Entity prior to the Effective Date.

         Neither the exclusion or inclusion by the Debtor of any contract or lease on any exhibit,
  schedule, or other annex to this Plan or in the Plan Documents, nor anything contained in this
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      21-03076-sgj Doc
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  Plan, will constitute an admission by the Debtor that any such contract or lease is or is not an
  executory contract or lease or that the Debtor, the Reorganized Debtor, the Claimant Trustee, or
  their respective Affiliates has any liability thereunder.

         Except as explicitly provided in this Plan, nothing herein shall waive, excuse, limit,
  diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other rights of the
  Debtor, the Reorganized Debtor, or the Claimant Trustee under any executory or non-executory
  contract.

         Nothing in this Plan will increase, augment, or add to any of the duties, obligations,
  responsibilities, or liabilities of the Debtor, the Reorganized Debtor, or the Claimant Trustee, as
  applicable, under any executory or non-executory contract or lease.

           If there is a dispute regarding whether a contract or lease is or was executory at the time
  of its assumption under this Plan, the Debtor, the Reorganized Debtor, or the Claimant Trustee,
  as applicable, shall have thirty (30) days following entry of a Final Order resolving such dispute
  to alter their treatment of such contract.

  I.     Further Assurances

          The Debtor, the Reorganized Debtor, or the Claimant Trustee, as applicable, all Holders
  of Claims and Equity Interests receiving distributions hereunder, and all other Entities shall,
  from time to time, prepare, execute and deliver any agreements or documents and take any other
  actions as may be necessary or advisable to effectuate the provisions and intent of this Plan or
  the Confirmation Order. On or before the Effective Date, the Debtor shall File with the
  Bankruptcy Court all agreements and other documents that may be necessary or appropriate to
  effectuate and further evidence the terms and conditions hereof.

  J.     Severability

          If, prior to the Confirmation Date, any term or provision of this Plan is determined by the
  Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court will have the
  power to alter and interpret such term or provision to make it valid or enforceable to the
  maximum extent practicable, consistent with the original purpose of the term or provision held to
  be invalid, void, or unenforceable, and such term or provision will then be applicable as altered
  or interpreted. Notwithstanding any such holding, alteration or interpretation, the remainder of
  the terms and provisions of this Plan will remain in full force and effect and will in no way be
  affected, impaired, or invalidated by such holding, alteration, or interpretation.             The
  Confirmation Order will constitute a judicial determination and will provide that each term and
  provision of this Plan, as it may have been altered or interpreted in accordance with the
  foregoing, is valid and enforceable pursuant to its terms.

  K.     Service of Documents

          All notices, requests, and demands to or upon the Debtor, the Reorganized Debtor, or the
  Claimant Trustee to be effective shall be in writing and, unless otherwise expressly provided
  herein, shall be deemed to have been duly given or made when actually delivered addressed as
  follows:
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                                                                         Page
                                                                            7064
                                                                              of 170
                                                                                 of 66




                 If to the Claimant Trust:

                 Highland Claimant Trust
                 c/o Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 If to the Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.

                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Telephone: (310) 277-6910
                 Facsimile: (310) 201-0760
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

                 If to the Reorganized Debtor:

                 Highland Capital Management, L.P.
                 300 Crescent Court, Suite 700
                 Dallas, Texas 75201
                 Attention: James P. Seery, Jr.
                 with copies to:

                 Pachulski Stang Ziehl & Jones LLP
                 10100 Santa Monica Blvd., 13th Floor
                 Los Angeles, CA 90067
                 Attn: Jeffrey N. Pomerantz, Esq.
                        Ira D. Kharasch, Esq.
                        Gregory V. Demo, Esq.

  L.     Exemption from Certain Transfer Taxes Pursuant to Section 1146(a) of the
         Bankruptcy Code

         To the extent permitted by applicable law, pursuant to section 1146(a) of the Bankruptcy
  Code, any transfers of property pursuant hereto shall not be subject to any Stamp or Similar Tax
  or governmental assessment in the United States, and the Confirmation Order shall direct the
  appropriate federal, state or local governmental officials or agents or taxing authority to forego
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                                                                         Page
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                                                                              of 170
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  the collection of any such Stamp or Similar Tax or governmental assessment and to accept for
  filing and recordation instruments or other documents pursuant to such transfers of property
  without the payment of any such Stamp or Similar Tax or governmental assessment. Such
  exemption specifically applies, without limitation, to (i) all actions, agreements and documents
  necessary to evidence and implement the provisions of and the distributions to be made under
  this Plan; (ii) the maintenance or creation of security or any Lien as contemplated by this Plan;
  and (iii) assignments, sales, or transfers executed in connection with any transaction occurring
  under this Plan.

  M.     Governing Law

           Except to the extent that the Bankruptcy Code, the Bankruptcy Rules or other federal
   law is applicable, or to the extent that an exhibit or schedule to this Plan provides otherwise,
   the rights and obligations arising under this Plan shall be governed by, and construed and
   enforced in accordance with, the laws of Texas, without giving effect to the principles of
   conflicts of law of such jurisdiction; provided, however, that corporate governance matters
   relating to the Debtor, the Reorganized Debtor, New GP LLC, or the Claimant Trust, as
   applicable, shall be governed by the laws of the state of organization of the Debtor, the
   Reorganized Debtor, New GP LLC, or the Claimant Trustee, as applicable.

  N.     Tax Reporting and Compliance

          The Debtor is hereby authorized to request an expedited determination under
  section 505(b) of the Bankruptcy Code of the tax liability of the Debtor is for all taxable periods
  ending after the Petition Date through, and including, the Effective Date.

  O.     Exhibits and Schedules

       All exhibits and schedules to this Plan, if any, including the Exhibits and the Plan
  Documents, are incorporated and are a part of this Plan as if set forth in full herein.

  P.     Controlling Document

         In the event of an inconsistency between this Plan and any other instrument or document
  created or executed pursuant to this Plan, or between this Plan and the Disclosure Statement, this
  Plan shall control. The provisions of this Plan, the Disclosure Statement, and any Plan
  Document, on the one hand, and of the Confirmation Order, on the other hand, shall be construed
  in a manner consistent with each other so as to effectuate the purposes of each; provided,
  however, that if there is determined to be any inconsistency between any provision of this Plan,
  the Disclosure Statement, and any Plan Document, on the one hand, and any provision of the
  Confirmation Order, on the other hand, that cannot be so reconciled, then, solely to the extent of
  such inconsistency, the provisions of the Confirmation Order shall govern, and any such
  provisions of the Confirmation Order shall be deemed a modification of this Plan, the Disclosure
  Statement, and the Plan Documents, as applicable.

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                                                                                 of 66




                                                                        App. 070
Case 21-03076-sgj Doc 139 Filed 03/23/22   Entered 03/23/22 22:37:03   Page 73 of 170




                                    EXHIBIT 2

                             Claimant Trust Agreement




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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                                              74 of2 170
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                                   CLAIMANT TRUST AGREEMENT

         This Claimant Trust Agreement, effective as of                 , 2021 (as may be amended,
  supplemented, or otherwise modified in accordance with the terms hereof, this “Agreement”), by
  and among Highland Capital Management, L.P. (as debtor and debtor-in-possession, the
  “Debtor”), as settlor, and James P. Seery, Jr., as trustee (the “Claimant Trustee”), and [____] as
  Delaware trustee (the “Delaware Trustee,” and together with the Debtor and the Claimant
  Trustee, the “Parties”) for the benefit of the Claimant Trust Beneficiaries entitled to the Claimant
  Trust Assets.

                                                    RECITALS

          WHEREAS, on October 16, 2019, Highland Capital Management, L.P. filed with the
  United States Bankruptcy Court for the District of Delaware, a voluntary petition for relief under
  chapter 11 of the Bankruptcy Code, which case was subsequently transferred to the Bankruptcy
  Court for the Northern District of Texas, Dallas Division (the “Bankruptcy Court”) and
  captioned In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (the “Chapter 11
  Case”);

         WHEREAS, on November 24, 2020, the Debtor filed the Fifth Amended Plan of
  Reorganization of Highland Capital Management, L.P. [Docket No. 1472] (as may be amended,
  supplemented, or otherwise modified from time to time, the “Plan”), 1 which was confirmed by
  the Bankruptcy Court on                 , 2021, pursuant to the Findings of Fact and Order
  Confirming Plan of Reorganization for the Debtor [Docket No. •] (the “Confirmation Order”);

           WHEREAS, this Agreement, including all exhibits hereto, is the “Claimant Trust
  Agreement” described in the Plan and shall be executed on or before the Effective Date in order
  to facilitate implementation of the Plan; and

          WHEREAS, pursuant to the Plan and Confirmation Order, the Claimant Trust Assets are
  to be transferred to the Claimant Trust (each as defined herein) created and evidenced by this
  Agreement so that (i) the Claimant Trust Assets can be held in a trust for the benefit of the
  Claimant Trust Beneficiaries entitled thereto in accordance with Treasury Regulation Section
  301.7701-4(d) for the objectives and purposes set forth herein and in the Plan; (ii) the Claimant
  Trust Assets can be monetized; (iii) the Claimant Trust will transfer Estate Claims to the
  Litigation Sub-Trust to be prosecuted, settled, abandoned, or resolved as may be determined by
  the Litigation Trustee in accordance with the terms of the Litigation Sub-Trust Agreement, for
  the benefit of the Claimant Trust; (iv) proceeds of the Claimant Trust Assets, including Estate
  Claims, may be distributed to the Claimant Trust Beneficiaries 2 in accordance with the Plan;
  (v) the Claimant Trustee can resolve Disputed Claims as set forth herein and in the Plan; and
  1
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Plan.

  2
      For the avoidance of doubt, and as set forth in the Plan, Holders of Class A Limited Partnership Interests and
      Class B/C Limited Partnership Interests will be Claimant Trust Beneficiaries only upon certification by the
      Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the extent
      applicable, post-petition interest in accordance with the terms and conditions set forth herein and in the Plan.




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 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                                         PagePage
                                                                              75 of3 170
                                                                                     of 38




  (vi) administrative services relating to the activities of the Claimant Trust and relating to the
  implementation of the Plan can be performed by the Claimant Trustee.

                                   DECLARATION OF TRUST

           NOW, THEREFORE, in order to declare the terms and conditions hereof, and in
  consideration of the premises and mutual agreements herein contained, the confirmation of the
  Plan and of other good and valuable consideration, the receipt and sufficiency of which are
  hereby acknowledged, the Debtor, the Claimant Trustee, and the Delaware Trustee have
  executed this Agreement for the benefit of the Claimant Trust Beneficiaries entitled to share in
  the Claimant Trust Assets and, at the direction of such Claimant Trust Beneficiaries as provided
  for in the Plan.

          TO HAVE AND TO HOLD unto the Claimant Trustee and his successors or assigns in
  trust, under and subject to the terms and conditions set forth herein and for the benefit of the
  Claimant Trust Beneficiaries, and for the performance of and compliance with the terms hereof
  and of the Plan; provided, however, that upon termination of the Claimant Trust in accordance
  with Article IX hereof, this Claimant Trust Agreement shall cease, terminate, and be of no
  further force and effect, unless otherwise specifically provided for herein.

         IT IS FURTHER COVENANTED AND DECLARED that the Claimant Trust Assets are
  to be strictly held and applied by the Claimant Trustee subject to the specific terms set forth
  below.


                                    DEFINITION AND TERMS

          1.1     Certain Definitions. Unless the context shall otherwise require and except as
  contained in this Section 1.1 or as otherwise defined herein, the capitalized terms used herein
  shall have the respective meanings assigned thereto in the “Definitions,” Section 1.1 of the Plan
  or if not defined therein, shall have the meanings assigned thereto in the applicable Section of the
  Plan. For all purposes of this Agreement, the following terms shall have the following
  meanings:

               (a)    “Acis” means collectively, Acis Capital Management, L.P. and Acis
  Capital Management GP, LLP.

                 (b)     “Bankruptcy Court” has the meaning set forth in the Recitals hereof.

                  (c)     “Cause” means (i) a Person’s willful failure to perform his material duties
  hereunder (which material duties shall include, without limitation, with respect to a Member, or
  to the extent applicable, the Claimant Trustee, regular attendance at regularly scheduled meetings
  of the Oversight Board), which is not remedied within 30 days of notice; (ii) a Person’s
  commission of an act of fraud, theft, or embezzlement during the performance of his or her
  duties hereunder; (iii) a Person’s conviction of a felony (other than a felony that does not involve
  fraud, theft, embezzlement, or jail time) with all appeals having been exhausted or appeal periods
  lapsed; or (iv) a Person’s gross negligence, bad faith, willful misconduct, or knowing violation of
  law in the performance of his or her duties hereunder.


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                                                                         PagePage
                                                                              76 of4 170
                                                                                     of 38




                 (d)    “Claimant Trust Agreement” means this Agreement.

                (e)     “Claimant Trustee” means James P. Seery, Jr., as the initial “Claimant
  Trustee” hereunder and as defined in the Plan, and any successor Claimant Trustee that may be
  appointed pursuant to the terms of this Agreement.

                 (f)     “Claimant Trust” means the “Highland Claimant Trust” established in
  accordance with the Delaware Statutory Trust Act and Treasury Regulation Section 301.7701-
  4(d) pursuant to this Agreement.

                   (g)     “Claimant Trust Assets” means (i) other than the Reorganized Debtor
  Assets (which are expressly excluded from this definition), all other Assets of the Estate,
  including, but not limited to, all Causes of Action, Available Cash, any proceeds realized or
  received from such Assets, all rights of setoff, recoupment, and other defenses with respect,
  relating to, or arising from such Assets, (ii) any Assets transferred by the Reorganized Debtor to
  the Claimant Trust on or after the Effective Date, (iii) the limited partnership interests in the
  Reorganized Debtor, and (iv) the ownership interests in New GP LLC. For the avoidance of
  doubt, any Causes of Action that, for any reason, are not capable of being transferred to the
  Claimant Trust shall constitute Reorganized Debtor Assets.

                 (h)     “Claimant Trust Beneficiaries” means the Holders of Allowed General
  Unsecured Claims, Holders of Allowed Subordinated Claims, and, only upon certification by the
  Claimant Trustee that the Holders of such Claims have been paid indefeasibly in full plus, to the
  extent applicable, post-petition interest at the federal judgment rate in accordance with the terms
  and conditions set forth herein, Holders of Allowed Class B/C Limited Partnership Interests, and
  Holders of Allowed Class A Limited Partnership Interests.

                 (i)    “Claimant Trust Expense Cash Reserve” means $[•] million in Cash to be
  funded pursuant to the Plan into a bank account of the Claimant Trust on or before the Effective
  Date for the purpose of paying Claimant Trust Expenses in accordance herewith.

                 (j)     “Claimant Trust Expenses” means the costs, expenses, liabilities and
  obligations incurred by the Claimant Trust and/or the Claimant Trustee in administering and
  conducting the affairs of the Claimant Trust, and otherwise carrying out the terms of the
  Claimant Trust and the Plan on behalf of the Claimant Trust, including without any limitation,
  any taxes owed by the Claimant Trust, and the fees and expenses of the Claimant Trustee and
  professional persons retained by the Claimant Trust or Claimant Trustee in accordance with this
  Agreement.

                (k)    “Committee Member” means a Member who is/was also a member of the
  Creditors’ Committee.

                 (l)    “Conflicted Member” has the meaning set forth in Section 4.6(c) hereof.

                (m)    “Contingent Trust Interests” means the contingent interests in the
  Claimant Trust to be distributed to Holders of Class A Limited Partnership Interests and Class
  B/C Limited Partnership Interests in accordance with the Plan.



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                                                                              77 of5 170
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                (n)    “Creditors’ Committee” means the Official Committee of Unsecured
  Creditors appointed pursuant to section 1102 of the Bankruptcy Code in the Chapter 11 Case,
  comprised of Acis, Meta-e Discovery, the Redeemer Committee and UBS.

                (o)     “Delaware Statutory Trust Act” means the Delaware Statutory Trust Act
  12 Del C. §3801, et seq. as amended from time to time.

                (p)     “Delaware Trustee” has the meaning set forth in the introduction hereof.

                 (q)    “Disability” means as a result of the Claimant Trustee’s or a Member’s
  incapacity due to physical or mental illness as determined by an accredited physician or
  psychologist, as applicable, selected by the Claimant Trustee or the Member, as applicable, the
  Claimant Trustee or such Member has been substantially unable to perform his or her duties
  hereunder for three (3) consecutive months or for an aggregate of 180 days during any period of
  twelve (12) consecutive months.

                (r)     “Disinterested Members” has the meaning set forth in Section 4.1 hereof.

                 (s)    “Disputed Claims Reserve” means the reserve account to be opened by the
  Claimant Trust on or after the Effective Date and funded in an initial amount determined by the
  Claimant Trustee [(in a manner consistent with the Plan and with the consent of a simple
  majority of the Oversight Board)] to be sufficient to pay Disputed Claims under the Plan.

                (t)     “Employees” means the employees of the Debtor set forth in the Plan
  Supplement.

                  (u)    “Employee Claims” means any General Unsecured Claim held by an
  Employee other than the Claims of the Senior Employees subject to stipulations (provided such
  stipulations are executed by any such Senior Employee of the Debtor prior to the Effective Date).

                (v)    “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [Docket No. 354].

                (w)     “Equity Trust Interests” has the meaning given to it in Section 5.1(c)
  hereof.

                (x)     “Exchange Act” means the Securities Exchange Act of 1934, as amended.

                 (y)   “General Unsecured Claim Trust Interests” means interests in the
  Claimant Trust to be distributed to Holders of Allowed Class 8 General Unsecured Claims
  (including Disputed General Unsecured Claims that are subsequently Allowed) in accordance
  with the Plan.

               (z)    “GUC Beneficiaries” means the Claimant Trust Beneficiaries who hold
  General Unsecured Claim Trust Interests.

                (aa)    “GUC Payment Certification” has the meaning given to it in Section 5.1(c)
  hereof.


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                                                                              78 of6 170
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                 (bb) “HarbourVest” means, collectively, HarbourVest 2017 Global Fund, L.P.,
  HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment, L.P., HV
  International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners,
  L.P.

                 (cc)   “Investment Advisers Act” means the Investment Advisers Act of 1940, as
  amended.

                 (dd)   “Investment Company Act” means the Investment Company Act of 1940,
  as amended.

                (ee) “Litigation Sub-Trust” means the sub-trust created pursuant to the
  Litigation Sub-Trust Agreement, which shall hold the Claimant Trust Assets that are Estate
  Claims and investigate, litigate, and/or settle the Estate Claims for the benefit of the Claimant
  Trust.

                  (ff)   “Litigation Sub-Trust Agreement” means the litigation sub-trust
  agreement to be entered into by and between the Claimant Trustee and Litigation Trustee
  establishing and setting forth the terms and conditions of the Litigation Sub-Trust and governing
  the rights and responsibilities of the Litigation Trustee.

                  (gg) “Litigation Trustee” means Marc S. Kirschner, and any successor
  Litigation Trustee that may be appointed pursuant to the terms of the Litigation Sub-Trust
  Agreement, who shall be responsible for investigating, litigating, and settling the Estate Claims
  for the benefit of the Claimant Trust in accordance with the terms and conditions set forth in the
  Litigation Sub-Trust Agreement.

                (hh) “Managed Funds” means Highland Multi-Strategy Credit Fund, L.P.,
  Highland Restoration Capital Partners, L.P., and any other investment vehicle managed by the
  Debtor pursuant to an Executory Contract assumed pursuant to the Plan; provided, however, that
  the Highland Select Equity Fund, L.P. (and its direct and indirect subsidiaries) will not be
  considered a Managed Fund for purposes hereof.

                (ii)    “Material Claims” means the Claims asserted by UBS, Patrick Hagaman
  Daugherty, Integrated Financial Associates, Inc., and the Employees.

                 (jj)   “Member” means a Person that is member of the Oversight Board.

                 (kk)   “New GP LLC” means the general partner of the Reorganized Debtor.

                 (ll)   “Oversight Board” means the board comprised of five (5) Members
  established pursuant to the Plan and Article III of this Agreement to oversee the Claimant
  Trustee’s performance of his duties and otherwise serve the functions set forth in this Agreement
  and those of the “Claimant Trust Oversight Committee” described in the Plan. Subject to the
  terms of this Agreement, the initial Members of the Oversight Board shall be: (i) Eric Felton, as
  representative of the Redeemer Committee; (ii) Josh Terry, as representative of Acis; (iii)
  Elizabeth Kozlowski, as representative of UBS; (iv) Paul McVoy, as representative of Meta-e
  Discovery; and (v) David Pauker.


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                 (mm) “Plan” has the meaning set forth in the Recitals hereof.

                 (nn) “Privileges” means the Debtor’s rights, title and interests in and to any
  privilege or immunity attaching to any documents or communications (whether written or oral)
  associated with any of the Estate Claims or Employee Claims, including, without limitation, to,
  attorney-client privilege and work-product privilege as defined in Rule 502(g) of the Federal
  Rules of Evidence; provided, however, that “Privileges” shall not include the work-product
  privilege of any non-Employee attorney or attorneys that has not been previously shared with the
  Debtor or any of its employees and the work-product privilege shall remain with the non-
  Employee attorney or attorneys who created such work product so long as it has not been
  previously shared with the Debtor or any of its employees, or otherwise waived.

                 (oo)    “PSZJ” means Pachulski Stang Ziehl & Jones LLP.

               (pp)      “Redeemer Committee” means the Redeemer Committee of the Highland
  Crusader Fund.

                 (qq)    “Registrar” has the meaning given to it in Section 5.3(a) hereof.

                  (rr)   “Reorganized Debtor Assets” means any limited and general partnership
  interests held by the Debtor, the management of the Managed Funds and those Causes of Action
  (including, without limitation, claims for breach of fiduciary duty), that, for any reason, are not
  capable of being transferred to the Claimant Trust. For the avoidance of doubt, “Reorganized
  Debtor Assets” includes any partnership interests or shares of Managed Funds held by the Debtor
  but does not include the underlying portfolio assets held by the Managed Funds.

                 (ss)    “Securities Act” means the Securities Act of 1933, as amended.

                (tt)   “Subordinated Beneficiaries” means the Claimant Trust Beneficiaries who
  hold Subordinated Claim Trust Interests.

                (uu) “Subordinated Claim Trust Interests” means the subordinated interests in
  the Claimant Trust to be distributed to Holders of Allowed Class 9 Subordinated Claims in
  accordance with the Plan.

                 (vv)    “TIA” means the Trust Indenture Act of 1939, as amended.

                 (ww) “Trust Interests” means collectively the General Unsecured Claim Trust
  Interests, Subordinated Claim Trust Interests, and Equity Trust Interests.

                 (xx)    “Trust Register” has the meaning given to it in Section 5.3(b) hereof.

                 (yy)    “Trustees” means collectively the Claimant Trustee and Delaware Trustee.

                 (zz)    “UBS” means collectively UBS Securities LLC and UBS AG London
  Branch.

                 (aaa)   “WilmerHale” Wilmer Cutler Pickering Hale & Dorr LLP.


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          1.2     General Construction. As used in this Agreement, the masculine, feminine and
  neuter genders, and the plural and singular numbers shall be deemed to include the others in all
  cases where they would apply. “Includes” and “including” are not limiting and “or” is not
  exclusive. References to “Articles,” “Sections” and other subdivisions, unless referring
  specifically to the Plan or provisions of the Bankruptcy Code, the Bankruptcy Rules, or other
  law, statute or regulation, refer to the corresponding Articles, Sections and other subdivisions of
  this Agreement, and the words “herein,” “hereafter” and words of similar import refer to this
  Agreement as a whole and not to any particular Article, Section, or subdivision of this
  Agreement. Amounts expressed in dollars or following the symbol “$” shall be deemed to be in
  United States dollars. References to agreements or instruments shall be deemed to refer to such
  agreements or instruments as the same may be amended, supplemented, or otherwise modified in
  accordance with the terms thereof.

        1.3     Incorporation of the Plan. The Plan is hereby incorporated into this Agreement
  and made a part hereof by this reference.


                       ESTABLISHMENT OF THE CLAIMANT TRUST

         2.1     Creation of Name of Trust.

                (a)    The Claimant Trust is hereby created as a statutory trust under the
  Delaware Statutory Trust Act and shall be called the “Highland Claimant Trust.” The Claimant
  Trustee shall be empowered to conduct all business and hold all property constituting the
  Claimant Trust Assets in such name in accordance with the terms and conditions set forth herein.

                  (b)     The Trustees shall cause to be executed and filed in the office of the
  Secretary of State of the State of Delaware the Certificate of Trust and agree to execute, acting
  solely in their capacity as Trustees, such certificates as may from time to time be required under
  the Delaware Statutory Trust Act or any other Delaware law.




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         2.2     Objectives.

                  (a)    The Claimant Trust is established for the purpose of satisfying Allowed
  General Unsecured Claims and Allowed Subordinated Claims (and only to the extent provided
  herein, Allowed Class A Limited Partnership Interests and Class B/C Limited Partnership
  Interests) under the Plan, by monetizing the Claimant Trust Assets transferred to it and making
  distributions to the Claimant Trust Beneficiaries. The Claimant Trust shall not continue or
  engage in any trade or business except to the extent reasonably necessary to monetize and
  distribute the Claimant Trust Assets consistent with this Agreement and the Plan and act as sole
  member and manager of New GP LLC. The Claimant Trust shall provide a mechanism for (i)
  the monetization of the Claimant Trust Assets and (ii) the distribution of the proceeds thereof,
  net of all claims, expenses, charges, liabilities, and obligations of the Claimant Trust, to the
  Claimant Trust Beneficiaries in accordance with the Plan. In furtherance of this distribution
  objective, the Claimant Trust will, from time to time, prosecute and resolve objections to certain
  Claims and Interests as provided herein and in the Plan.

                (b)      It is intended that the Claimant Trust be classified for federal income tax
  purposes as a “liquidating trust” within the meaning of section 301.7701-4(d) of the Treasury
  Regulations. In furtherance of this objective, the Claimant Trustee shall, in his business
  judgment, make continuing best efforts to (i) dispose of or monetize the Claimant Trust Assets
  and resolve Claims, (ii) make timely distributions, and (iii) not unduly prolong the duration of
  the Claimant Trust, in each case in accordance with this Agreement.

         2.3     Nature and Purposes of the Claimant Trust.

                  (a)     The Claimant Trust is organized and established as a trust for the purpose
  of monetizing the Claimant Trust Assets and making distributions to Claimant Trust
  Beneficiaries in a manner consistent with “liquidating trust” status under Treasury Regulation
  Section 301.7701-4(d). The Claimant Trust shall retain all rights to commence and pursue all
  Causes of Action of the Debtor other than (i) Estate Claims, which shall be assigned to and
  commenced and pursued by the Litigation Trustee pursuant to the terms of the Litigation Sub-
  Trust Agreement, and (ii) Causes of Action constituting Reorganized Debtor Assets, if any,
  which shall be commenced and pursued by the Reorganized Debtor at the direction of the
  Claimant Trust as sole member of New GP LLC pursuant to the terms of the Reorganized
  Limited Partnership Agreement. The Claimant Trust and Claimant Trustee shall have and retain,
  and, as applicable, assign and transfer to the Litigation Sub-Trust and Litigation Trustee, any and
  all rights, defenses, cross-claims and counter-claims held by the Debtor with respect to any
  Claim as of the Petition Date. On and after the date hereof, in accordance with and subject to the
  Plan, the Claimant Trustee shall have the authority to (i) compromise, settle or otherwise resolve,
  or withdraw any objections to Claims against the Debtor, provided, however, the Claimant
  Trustee shall only have the authority to compromise or settle any Employee Claim with the
  unanimous consent of the Oversight Board and in the absence of unanimous consent, any such
  Employee Claim shall be transferred to the Litigation Sub-Trust and be litigated, comprised,
  settled, or otherwise resolved exclusively by the Litigation Trustee and (ii) compromise, settle, or
  otherwise resolve any Disputed Claims without approval of the Bankruptcy Court, which
  authority may be shared with or transferred to the Litigation Trustee in accordance with the
  terms of the Litigation Sub-Trust Agreement. For the avoidance of doubt, the Claimant Trust,


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 pursuant to section 1123(b)(3)(B) of the Bankruptcy Code and applicable state trust law, is
 appointed as the successor-in-interest to, and representative of, the Debtor and its Estate for the
 retention, enforcement, settlement, and adjustment of all Claims other than Estate Claims, the
 Employee Claims, and those Claims constituting Reorganized Debtor Assets.

               (b)     The Claimant Trust shall be administered by the Claimant Trustee, in
 accordance with this Agreement, for the following purposes:

                       (i)   to manage and monetize the Claimant Trust Assets in an
 expeditious but orderly manner with a view towards maximizing value within a reasonable time
 period;

                        (ii)    to litigate and settle Claims in Class 8 and Class 9 (other than the
 Employee Claims, which shall be litigated and/or settled by the Litigation Trustee if the
 Oversight Board does not unanimously approve of any proposed settlement of such Employee
 Claim by the Claimant Trustee) and any of the Causes of Action included in the Claimant Trust
 Assets (including any cross-claims and counter-claims); provided, however, that Estate Claims
 transferred to the Litigation Sub-Trust shall be litigated and settled by the Litigation Trustee
 pursuant to the terms of the Litigation Sub-Trust Agreement;

                      (iii) to distribute net proceeds of the Claimant Trust Assets to the
 Claimant Trust Beneficiaries;

                        (iv)   to distribute funds from the Disputed Claims Reserve to Holders of
 Trust Interests or to the Reorganized Debtor for distribution to Holders of Disputed Claims in
 each case in accordance with the Plan from time to time as any such Holder’s Disputed Claim
 becomes an Allowed Claim under the Plan;

                       (v)     to distribute funds to the Litigation Sub-Trust at the direction the
 Oversight Board;

                         (vi)    to serve as the limited partner of, and to hold the limited
 partnership interests in, the Reorganized Debtor;

                      (vii) to serve as the sole member and manager of New GP LLC, the
 Reorganized Debtor’s general partner;

                       (viii) to oversee the management and monetization of the Reorganized
 Debtor Assets pursuant to the terms of the Reorganized Limited Partnership Agreement, in its
 capacity as the sole member and manager of New GP LLC pursuant to the terms of the New GP
 LLC Documents, all with a view toward maximizing value in a reasonable time in a manner
 consistent with the Reorganized Debtor’s fiduciary duties as investment adviser to the Managed
 Funds; and

                       (ix)   to perform any other functions and take any other actions provided
 for or permitted by this Agreement and the Plan, and in any other agreement executed by the
 Claimant Trustee.



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        2.4     Transfer of Assets and Rights to the Claimant Trust; Litigation Sub-Trust.

                 (a)    On the Effective Date, pursuant to the Plan, the Debtor shall irrevocably
 transfer, assign, and deliver, and shall be deemed to have transferred, assigned, and delivered, all
 Claimant Trust Assets and related Privileges held by the Debtor to the Claimant Trust free and
 clear of all Claims, Interests, Liens, and other encumbrances, and liabilities, except as provided
 in the Plan and this Agreement. To the extent certain assets comprising the Claimant Trust
 Assets, because of their nature or because such assets will accrue or become transferable
 subsequent to the Effective Date, and cannot be transferred to, vested in, and assumed by the
 Claimant Trust on such date, such assets shall be considered Reorganized Debtor Assets, which
 may be subsequently transferred to the Claimant Trust by the Reorganized Debtor consistent
 with the terms of the Reorganized Limited Partnership Agreement after such date.

                 (b)    On or as soon as practicable after the Effective Date, the Claimant Trust
 shall irrevocably transfer, assign, and deliver, and shall be deemed to have transferred, assigned,
 and delivered, all Estate Claims and related Privileges held by the Claimant Trust to the
 Litigation Sub-Trust Trust free and clear of all Claims, Interests, Liens, and other encumbrances,
 and liabilities, except as provided in the Plan, this Agreement, and the Litigation Sub-Trust
 Agreement. Following the transfer of such Privileges, the Litigation Trustee shall have the
 power to waive the Privileges being so assigned and transferred.

                  (c)    On or before the Effective Date, and continuing thereafter, the Debtor or
 Reorganized Debtor, as applicable, shall provide (i) for the Claimant Trustee’s and Litigation
 Trustee’s reasonable access to all records and information in the Debtor’s and Reorganized
 Debtor’s possession, custody or control, (ii) that all Privileges related to the Claimant Trust
 Assets shall transfer to and vest exclusively in the Claimant Trust (except for those Privileges
 that will be transferred and assigned to the Litigation Sub-Trust in respect of the Estate Claims),
 and (iii) subject to Section 3.12(c), the Debtor and Reorganized Debtor shall preserve all records
 and documents (including all electronic records or documents), including, but not limited to, the
 Debtor’s file server, email server, email archiving system, master journal, SharePoint, Oracle E-
 Business Suite, Advent Geneva, Siepe database, Bloomberg chat data, and any backups of the
 foregoing, until such time as the Claimant Trustee, with the consent of the Oversight Board and,
 if pertaining to any of the Estate Claims, the Litigation Trustee, directs the Reorganized Debtor,
 as sole member of its general partner, that such records are no longer required to be preserved.
 For the purposes of transfer of documents, the Claimant Trust or Litigation Sub-Trust, as
 applicable, is an assignee and successor to the Debtor in respect of the Claimant Trust Assets and
 Estate Claims, respectively, and shall be treated as such in any review of confidentiality
 restrictions in requested documents.

                 (d)    Until the Claimant Trust terminates pursuant to the terms hereof, legal title
 to the Claimant Trust Assets (other than Estate Claims) and all property contained therein shall
 be vested at all times in the Claimant Trust as a separate legal entity, except where applicable
 law in any jurisdiction requires title to any part of the Claimant Trust Assets to be vested in the
 Claimant Trustee, in which case title shall be deemed to be vested in the Claimant Trustee, solely
 in his capacity as Claimant Trustee. For purposes of such jurisdictions, the term Claimant Trust,
 as used herein, shall be read to mean the Claimant Trustee.



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                                                                             84 of12
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        2.5    Principal Office. The principal office of the Claimant Trust shall be maintained
 by the Claimant Trustee at the following address:[                            ].

        2.6     Acceptance. The Claimant Trustee accepts the Claimant Trust imposed by this
 Agreement and agrees to observe and perform that Claimant Trust, on and subject to the terms
 and conditions set forth herein and in the Plan.

         2.7    Further Assurances. The Debtor, Reorganized Debtor, and any successors thereof
 will, upon reasonable request of the Claimant Trustee, execute, acknowledge and deliver such
 further instruments and do such further acts as may be necessary or proper to transfer to the
 Claimant Trustee any portion of the Claimant Trust Assets intended to be conveyed hereby and
 in the Plan in the form and manner provided for hereby and in the Plan and to vest in the
 Claimant Trustee the powers, instruments or funds in trust hereunder.

        2.8     Incidents of Ownership. The Claimant Trust Beneficiaries shall be the sole
 beneficiaries of the Claimant Trust and the Claimant Trustee shall retain only such incidents of
 ownership as are necessary to undertake the actions and transactions authorized herein.


                                         THE TRUSTEES

         3.1     Role. In furtherance of and consistent with the purpose of the Claimant Trust, the
 Plan, and this Agreement, the Claimant Trustee, subject to the terms and conditions contained
 herein, in the Plan, and in the Confirmation Order, shall serve as Claimant Trustee with respect
 to the Claimant Trust Assets for the benefit of the Claimant Trust Beneficiaries and maintain,
 manage, and take action on behalf of the Claimant Trust.

        3.2     Authority.

                (a)    In connection with the administration of the Claimant Trust, in addition to
 any and all of the powers enumerated elsewhere herein, the Claimant Trustee shall, in an
 expeditious but orderly manner, monetize the Claimant Trust Assets, make timely distributions
 and not unduly prolong the duration of the Claimant Trust. The Claimant Trustee shall have the
 power and authority and is authorized to perform any and all acts necessary and desirable to
 accomplish the purposes of this Agreement and the provisions of the Plan and the Confirmation
 Order relating to the Claimant Trust, within the bounds of this Agreement, the Plan, the
 Confirmation Order, and applicable law. The Claimant Trustee will monetize the Claimant Trust
 Assets with a view toward maximizing value in a reasonable time.

                 (b)    The Claimant Trustee, subject to the limitations set forth in Section 3.3 of
 this Agreement shall have the right to prosecute, defend, compromise, adjust, arbitrate, abandon,
 estimate, or otherwise deal with and settle any and all Claims and Causes of Action that are part
 of the Claimant Trust Assets, other than the Estate Claims transferred to the Litigation Sub-Trust,
 as the Claimant Trustee determines is in the best interests of the Claimant Trust; provided,
 however, that if the Claimant Trustee proposes a settlement of an Employee Claim and does not
 obtain unanimous consent of the Oversight Board of such settlement, such Employee Claim shall
 be transferred to the Litigation Sub-Trust for the Litigation Trustee to litigate. To the extent that
 any action has been taken to prosecute, defend, compromise, adjust, arbitrate, abandon, or


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                                                                             85 of13
                                                                                  170of
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 otherwise deal with and settle any such Claims and Causes of Action prior to the Effective Date,
 on the Effective Date the Claimant Trustee shall be substituted for the Debtor in connection
 therewith in accordance with Rule 25 of the Federal Rules of Civil Procedure, made applicable
 by Rule 7025 of the Federal Rules of Bankruptcy Procedure, and the caption with respect to such
 pending action shall be changed to the following “[Claimant Trustee], not individually but solely
 as Claimant Trustee for the Claimant Trust, et al. v. [Defendant]”.

               (c)    Subject in all cases to any limitations contained herein, in the
 Confirmation Order, or in the Plan, the Claimant Trustee shall have the power and authority to:

                          (i)   solely as required by Section 2.4(c), hold legal title to any and all
 rights of the Claimant Trust and Beneficiaries in or arising from the Claimant Trust Assets,
 including collecting and receiving any and all money and other property belonging to the
 Claimant Trust and the right to vote or exercise any other right with respect to any claim or
 interest relating to the Claimant Trust Assets in any case under the Bankruptcy Code and receive
 any distribution with respect thereto;

                      (ii)    open accounts for the Claimant Trust and make distributions of
 Claimant Trust Assets in accordance herewith;

                       (iii) as set forth in Section 3.11, exercise and perform the rights,
 powers, and duties held by the Debtor with respect to the Claimant Trust Assets (other than
 Estate Claims), including the authority under section 1123(b)(3) of the Bankruptcy Code, and
 shall be deemed to be acting as a representative of the Debtor’s Estate with respect to the
 Claimant Trust Assets, including with respect to the sale, transfer, or other disposition of the
 Claimant Trust Assets;

                      (iv)   settle or resolve any Claims in Class 8 and Class 9 other than the
 Material Claims and any Equity Interests;

                        (v)     sell or otherwise monetize any publicly-traded asset for which
 there is a marketplace and any other assets (other than the Other Assets (as defined below))
 valued less than or equal to $3,000,000 (over a thirty-day period);

                        (vi)   upon the direction of the Oversight Board, fund the Litigation Sub-
 Trust on the Effective Date and as necessary thereafter;

                        (vii) exercise and perform the rights, powers, and duties arising from
 the Claimant Trust’s role as sole member of New GP LLC, and the role of New GP LLC, as
 general partner of the Reorganized Debtor, including the management of the Managed Funds;

                      (viii) protect and enforce the rights to the Claimant Trust Assets by any
 method deemed appropriate, including by judicial proceedings or pursuant to any applicable
 bankruptcy, insolvency, moratorium or similar law and general principles of equity;

                        (ix)   obtain reasonable insurance coverage with respect to any liabilities
 and obligations of the Trustees, Litigation Trustee, and the Members of the Oversight Board
 solely in their capacities as such, in the form of fiduciary liability insurance, a directors and


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                                                                        PagePage
                                                                             86 of14
                                                                                  170of
                                          38



 officers policy, an errors and omissions policy, or otherwise. The cost of any such insurance
 shall be a Claimant Trust Expense and paid by the Claimant Trustee from the Claimant Trust
 Assets;

                          (x)    without further order of the Bankruptcy Court, but subject to the
 terms of this Agreement, employ various consultants, third-party service providers, and other
 professionals, including counsel, tax advisors, consultants, brokers, investment bankers,
 valuation counselors, and financial advisors, as the Claimant Trustee deems necessary to aid him
 in fulfilling his obligations under this Agreement; such consultants, third-party service providers,
 and other professionals shall be retained pursuant to whatever fee arrangement the Claimant
 Trustee deems appropriate, including contingency fee arrangements and any fees and expenses
 incurred by such professionals engaged by the Claimant Trustee shall be Claimant Trust
 Expenses and paid by the Claimant Trustee from the Claimant Trust Assets;

                        (xi)   retain and approve compensation arrangements of an independent
 public accounting firm to perform such reviews and/or audits of the financial books and records
 of the Claimant Trust as may be required by this Agreement, the Plan, the Confirmation Order,
 and applicable laws and as may be reasonably and appropriate in Claimant Trustee’s discretion.
 Subject to the foregoing, the Claimant Trustee may commit the Claimant Trust to, and shall pay,
 such independent public accounting firm reasonable compensation for services rendered and
 reasonable and documented out-of-pocket expenses incurred, and all such compensation and
 reimbursement shall be paid by the Claimant Trustee from Claimant Trust Assets;

                        (xii) prepare and file (A) tax returns for the Claimant Trust treating the
 Claimant Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a), (B) an
 election pursuant to Treasury Regulation 1.468B-9(c) to treat the Disputed Claims Reserve as a
 disputed ownership fund, in which case the Claimant Trustee will file federal income tax returns
 and pay taxes for the Disputed Claim Reserve as a separate taxable entity, or (C) any periodic or
 current reports that may be required under applicable law;

                        (xiii) prepare and send annually to the Beneficiaries, in accordance with
 the tax laws, a separate statement stating a Beneficiary’s interest in the Claimant Trust and its
 share of the Claimant Trust’s income, gain, loss, deduction or credit, and to instruct all such
 Beneficiaries to report such items on their federal tax returns;

                       (xiv) to the extent applicable, assert, enforce, release, or waive any
 attorney-client communication, attorney work product or other Privilege or defense on behalf of
 the Claimant Trust (including as to any Privilege that the Debtor held prior to the Effective
 Date), including to provide any information to insurance carriers that the Claimant Trustee
 deems necessary to utilize applicable insurance coverage for any Claim or Claims;

                       (xv) subject to Section 3.4, invest the proceeds of the Claimant Trust
 Assets and all income earned by the Claimant Trust, pending any distributions in short-term
 certificates of deposit, in banks or other savings institutions, or other temporary, liquid
 investments, such as Treasury bills;




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                                                                        PagePage
                                                                             87 of15
                                                                                  170of
                                          38



                       (xvi) request any appropriate tax determination with respect to the
 Claimant Trust, including a determination pursuant to section 505 of the Bankruptcy Code;

                      (xvii) take or refrain from taking any and all actions the Claimant Trustee
 reasonably deems necessary for the continuation, protection, and maximization of the value of
 the Claimant Trust Assets consistent with purposes hereof;

                        (xviii) take all steps and execute all instruments and documents necessary
 to effectuate the purpose of the Claimant Trust and the activities contemplated herein and in the
 Confirmation Order and the Plan, and take all actions necessary to comply with the Confirmation
 Order, the Plan, and this Agreement and the obligations thereunder and hereunder;

                     (xix) exercise such other powers and authority as may be vested in or
 assumed by the Claimant Trustee by any Final Order;

                       (xx) evaluate and determine strategy with respect to the Claimant Trust
 Assets, and hold, pursue, prosecute, adjust, arbitrate, compromise, release, settle or abandon the
 Claimant Trust Assets on behalf of the Claimant Trust; and

                        (xxi) with respect to the Claimant Trust Beneficiaries, perform all duties
 and functions of the Distribution Agent as set forth in the Plan, including distributing Cash from
 the Disputed Claims Reserve, solely on account of Disputed Class 1 through Class 7 Claims that
 were Disputed as of the Effective Date, but become Allowed, to the Reorganization Debtor such
 that the Reorganized Debtor can satisfy its duties and functions as Distribution Agent with
 respect to Claims in Class 1 through Class 7 (the foregoing subparagraphs (i)-(xxi) being
 collectively, the “Authorized Acts”).

               (d)     The Claimant Trustee and the Oversight Committee will enter into an
 agreement as soon as practicable after the Effective Date concerning the Claimant Trustee’s
 authority with respect to certain other assets, including certain portfolio company assets (the
 “Other Assets”).

                (e)     The Claimant Trustee has the power and authority to act as trustee of the
 Claimant Trust and perform the Authorized Acts through the date such Claimant Trustee resigns,
 is removed, or is otherwise unable to serve for any reason.

        3.3     Limitation of Authority.

                (a)    Notwithstanding anything herein to the contrary, the Claimant Trust and
 the Claimant Trustee shall not (i) be authorized to engage in any trade or business, (ii) take any
 actions inconsistent with the management of the Claimant Trust Assets as are required or
 contemplated by applicable law, the Confirmation Order, the Plan, and this Agreement, (iii) take
 any action in contravention of the Confirmation Order, the Plan, or this Agreement, or (iv) cause
 New GP LLC to cause the Reorganized Debtor to take any action in contravention of the Plan,
 Plan Documents or the Confirmation Order.

                (b)      Notwithstanding anything herein to the contrary, and in no way limiting
 the terms of the Plan, the Claimant Trustee must receive the consent by vote of a simple majority


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Case19-34054-sgj11
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                                                                             88 of16
                                                                                  170of
                                          38



 of the Oversight Board pursuant to the notice and quorum requirements set forth in Section 4.5
 herein, in order to:

                       (i)     terminate or extend the term of the Claimant Trust;

                       (ii)    prosecute, litigate, settle or otherwise resolve any of the Material
 Claims;

                        (iii) except otherwise set forth herein, sell or otherwise monetize any
 assets that are not Other Assets, including Reorganized Debtor Assets (other than with respect to
 the Managed Funds), that are valued greater than $3,000,000 (over a thirty-day period);

                         (iv) except for cash distributions made in accordance with the terms of
 this Agreement, make any cash distributions to Claimant Trust Beneficiaries in accordance with
 Article IV of the Plan;

                       (v)    except for any distributions made in accordance with the terms of
 this Agreement, make any distributions from the Disputed Claims Reserve to Holders of
 Disputed Claims after such time that such Holder’s Claim becomes an Allowed Claim under the
 Plan;

                       (vi)   reserve or retain any cash or cash equivalents in an amount
 reasonably necessary to meet claims and contingent liabilities (including Disputed Claims and
 any indemnification obligations that may arise under Section 8.2 of this Agreement), to maintain
 the value of the Claimant Trust Assets, or to fund ongoing operations and administration of the
 Litigation Sub-Trust;

                       (vii)   borrow as may be necessary to fund activities of the Claimant
 Trust;

                    (viii) determine whether the conditions under Section 5.1(c) of this
 Agreement have been satisfied such that a certification should be filed with the Bankruptcy
 Court;

                     (ix)   invest the Claimant Trust Assets, proceeds thereof, or any income
 earned by the Claimant Trust (for the avoidance of doubt, this shall not apply to investment
 decisions made by the Reorganized Debtor or its subsidiaries solely with respect to Managed
 Funds);

                       (x)     change the compensation of the Claimant Trustee;

                         (xi)   subject to ARTICLE X, make structural changes to the Claimant
 Trust or take other actions to minimize any tax on the Claimant Trust Assets; and

                       (xii) retain counsel, experts, advisors, or any other professionals;
 provided, however, the Claimant Trustee shall not be required to obtain the consent of the
 Oversight Board for the retention of (i) PSZJ, WilmerHale, or Development Specialists, Inc. and



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     21-03076-sgj Doc
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                                                                        PagePage
                                                                             89 of17
                                                                                  170of
                                          38



 (ii) any other professional whose expected fees and expenses are estimated at less than or equal
 to $200,000.

                (c)     [Reserved.]

         3.4    Investment of Cash. The right and power of the Claimant Trustee to invest the
 Claimant Trust Assets, the proceeds thereof, or any income earned by the Claimant Trust, with
 majority approval of the Oversight Board, shall be limited to the right and power to invest in
 such Claimant Trust Assets only in Cash and U.S. Government securities as defined in section
 29(a)(16) of the Investment Company Act; provided, however that (a) the scope of any such
 permissible investments shall be further limited to include only those investments that a
 “liquidating trust” within the meaning of Treasury Regulation Section 301.7701-4(d), may be
 permitted to hold, pursuant to the Treasury Regulations, or any modification in the Internal
 Revenue Service (“IRS”) guidelines, whether set forth in IRS rulings, other IRS
 pronouncements, or otherwise, (b) the Claimant Trustee may retain any Claimant Trust Assets
 received that are not Cash only for so long as may be required for the prompt and orderly
 monetization or other disposition of such assets, and (c) the Claimant Trustee may expend the
 assets of the Claimant Trust (i) as reasonably necessary to meet contingent liabilities (including
 indemnification and similar obligations) and maintain the value of the assets of the Claimant
 Trust during the pendency of this Claimant Trust, (ii) to pay Claimant Trust Expenses (including,
 but not limited to, any taxes imposed on the Claimant Trust and reasonable attorneys’ fees and
 expenses in connection with litigation), and (iii) to satisfy other liabilities incurred or assumed by
 the Claimant Trust (or to which the assets are otherwise subject) in accordance with the Plan or
 this Agreement).

        3.5    Binding Nature of Actions. All actions taken and determinations made by the
 Claimant Trustee in accordance with the provisions of this Agreement shall be final and binding
 upon any and all Beneficiaries.

        3.6     Term of Service. The Claimant Trustee shall serve as the Claimant Trustee for
 the duration of the Claimant Trust, subject to death, resignation or removal.

         3.7     Resignation. The Claimant Trustee may resign as Claimant Trustee of the
 Claimant Trust by an instrument in writing delivered to the Bankruptcy Court and Oversight
 Board at least thirty (30) days before the proposed effective date of resignation. The Claimant
 Trustee shall continue to serve as Claimant Trustee after delivery of the Claimant Trustee’s
 resignation until the proposed effective date of such resignation, unless the Claimant Trustee and
 a simple majority of the Oversight Board consent to an earlier effective date, which earlier
 effective date shall be no earlier than the date of appointment of a successor Claimant Trustee in
 accordance with Section 3.9 hereof becomes effective.

        3.8     Removal.

               (a)     The Claimant Trustee may be removed by a simple majority vote of the
 Oversight Board for Cause for Cause immediately upon notice thereof, or without Cause upon 60
 days’ prior written notice. Upon the removal of the Claimant Trustee pursuant hereto, the
 Claimant Trustee will resign, or be deemed to have resigned, from any role or position he or she



                                                  16
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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                  19:14:23
                                                                        PagePage
                                                                             90 of18
                                                                                  170of
                                          38



 may have at New GP LLC or the Reorganized Debtor effective upon the expiration of the
 foregoing 60 day period unless the Claimant Trustee and a simple majority of the Oversight
 Board agree otherwise.

                (b)   To the extent there is any dispute regarding the removal of a Claimant
 Trustee (including any dispute relating to any compensation or expense reimbursement due
 under this Agreement) the Bankruptcy Court shall retain jurisdiction to consider and adjudicate
 such dispute. Notwithstanding the foregoing, the Claimant Trustee will continue to serve as the
 Claimant Trustee after his removal until the earlier of (i) the time when a successor Claimant
 Trustee will become effective in accordance with Section 3.9 of this Agreement or (ii) such date
 as the Bankruptcy Court otherwise orders.

        3.9     Appointment of Successor.

                 (a)    Appointment of Successor. In the event of a vacancy by reason of the
 death or Disability (in the case of a Claimant Trustee that is a natural person), dissolution (in the
 case of a Claimant Trustee that is not a natural person), or removal of the Claimant Trustee, or
 prospective vacancy by reason of resignation, a successor Claimant Trustee shall be selected by a
 simple majority vote of the Oversight Board. If Members of the Oversight Board are unable to
 secure a majority vote, the Bankruptcy Court will determine the successor Claimant Trustee on
 motion of the Members. If a final decree has been entered closing the Chapter 11 Case, the
 Claimant Trustee may seek to reopen the Chapter 11 Case for the limited purpose of determining
 the successor Claimant Trustee, and the costs for such motion and costs related to re-opening the
 Chapter 11 Case shall be paid by the Claimant Trust. The successor Claimant Trustee shall be
 appointed as soon as practicable, but in any event no later than sixty (60) days after the
 occurrence of the vacancy or, in the case of resignation, on the effective date of the resignation
 of the then acting Claimant Trustee.

                 (b)    Vesting or Rights in Successor Claimant Trustee. Every successor
 Claimant Trustee appointed hereunder shall execute, acknowledge, and deliver to the Claimant
 Trust, the exiting Claimant Trustee, the Oversight Board, and file with the Bankruptcy Court, an
 instrument accepting such appointment subject to the terms and provisions hereof. The
 successor Claimant Trustee, without any further act, deed, or conveyance shall become vested
 with all the rights, powers, trusts and duties of the exiting Claimant Trustee, except that the
 successor Claimant Trustee shall not be liable for the acts or omissions of the retiring Claimant
 Trustee. In no event shall the retiring Claimant Trustee be liable for the acts or omissions of the
 successor Claimant Trustee.

                 (c)    Interim Claimant Trustee. During any period in which there is a vacancy
 in the position of Claimant Trustee, the Oversight Board shall appoint one of its Members to
 serve as the interim Claimant Trustee (the “Interim Trustee”) until a successor Claimant Trustee
 is appointed pursuant to Section 3.9(a). The Interim Trustee shall be subject to all the terms and
 conditions applicable to a Claimant Trustee hereunder. Such Interim Trustee shall not be limited
 in any manner from exercising any rights or powers as a Member of the Oversight Board merely
 by such Person’s appointment as Interim Trustee.




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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                             91 of19
                                                                                  170of
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         3.10 Continuance of Claimant Trust. The death, resignation, or removal of the
 Claimant Trustee shall not operate to terminate the Claimant Trust created by this Agreement or
 to revoke any existing agency (other than any agency of the Claimant Trustee as the Claimant
 Trustee) created pursuant to the terms of this Agreement or invalidate any action taken by the
 Claimant Trustee. In the event of the resignation or removal of the Claimant Trustee, the
 Claimant Trustee shall promptly (i) execute and deliver, by the effective date of resignation or
 removal, such documents, instruments, records, and other writings as may be reasonably
 requested by his successor to effect termination of the exiting Claimant Trustee’s capacity under
 this Agreement and the conveyance of the Claimant Trust Assets then held by the exiting
 Claimant Trustee to the successor Claimant Trustee; (ii) deliver to the successor Claimant
 Trustee all non-privileged documents, instruments, records, and other writings relating to the
 Claimant Trust as may be in the possession or under the control of the exiting Claimant Trustee,
 provided, the exiting Claimant Trustee shall have the right to make and retain copies of such
 documents, instruments, records and other writings delivered to the successor Claimant Trustee
 and the cost of making such copies shall be a Claimant Trust Expense to be paid by the Claimant
 Trust; and (iii) otherwise assist and cooperate in effecting the assumption of the exiting Claimant
 Trustee’s obligations and functions by his successor, provided the fees and expenses of such
 assistance and cooperation shall be paid to the exiting Claimant Trustee by the Claimant Trust.
 The exiting Claimant Trustee shall irrevocably appoint the successor Claimant Trustee as his
 attorney-in-fact and agent with full power of substitution for it and its name, place and stead to
 do any and all acts that such exiting Claimant Trustee is obligated to perform under this
 Section 3.10.

         3.11 Claimant Trustee as “Estate Representative”. The Claimant Trustee will be the
 exclusive trustee of the Claimant Trust Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C.
 § 6012(b)(3), as well as the representative of the Estate appointed pursuant to section
 1123(b)(3)(B) of the Bankruptcy Code (the “Estate Representative”) with respect to the Claimant
 Trust Assets, with all rights and powers attendant thereto, in addition to all rights and powers
 granted in the Plan and in this Agreement; provided that all rights and powers as representative
 of the Estate pursuant to section 1123(b)(3)(B) shall be transferred to the Litigation Trustee in
 respect of the Estate Claims and the Employee Claims. The Claimant Trustee will be the
 successor-in-interest to the Debtor with respect to any action pertaining to the Claimant Trust
 Assets, which was or could have been commenced by the Debtor prior to the Effective Date,
 except as otherwise provided in the Plan or Confirmation Order. All actions, claims, rights or
 interest constituting Claimant Trust Assets are preserved and retained and may be enforced, or
 assignable to the Litigation Sub-Trust, by the Claimant Trustee as an Estate Representative.

        3.12    Books and Records.

                (a)    The Claimant Trustee shall maintain in respect of the Claimant Trust and
 the Claimant Trust Beneficiaries books and records reflecting Claimant Trust Assets in its
 possession and the income of the Claimant Trust and payment of expenses, liabilities, and claims
 against or assumed by the Claimant Trust in such detail and for such period of time as may be
 necessary to enable it to make full and proper accounting in respect thereof. Such books and
 records shall be maintained as reasonably necessary to facilitate compliance with the tax
 reporting requirements of the Claimant Trust and the requirements of Article VII herein. Except
 as otherwise provided herein, nothing in this Agreement requires the Claimant Trustee to file any


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                                                                                      App. 089
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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                             92 of20
                                                                                  170of
                                          38



 accounting or seek approval of any court with respect to the administration of the Claimant
 Trust, or as a condition for managing any payment or distribution out of the Claimant Trust
 Assets.

                 (b)    The Claimant Trustee shall provide quarterly reporting to the Oversight
 Board and Claimant Trust Beneficiaries of (i) the status of the Claimant Trust Assets, (ii) the
 balance of Cash held by the Claimant Trust (including in each of the Claimant Trust Expense
 Reserve and Disputed Claim Reserve), (iii) the determination and any re-determination, as
 applicable, of the total amount allocated to the Disputed Claim Reserve, (iv) the status of
 Disputed Claims and any resolutions thereof, (v) the status of any litigation, including the pursuit
 of the Causes of Action, (vi) the Reorganized Debtor’s performance, and (vii) operating
 expenses; provided, however, that the Claimant Trustee may, with respect to any Member of the
 Oversight Board or Claimant Trust Beneficiary, redact any portion of such reports that relate to
 such Entity’s Claim or Equity Interest, as applicable and any reporting provided to Claimant
 Trust Beneficiaries may be subject to such Claimant Trust Beneficiary’s agreement to maintain
 confidentiality with respect to any non-public information.

                 (c)     The Claimant Trustee may dispose some or all of the books and records
 maintained by the Claimant Trustee at the later of (i) such time as the Claimant Trustee
 determines, with the unanimous consent of the Oversight Board, that the continued possession or
 maintenance of such books and records is no longer necessary for the benefit of the Claimant
 Trust, or (ii) upon the termination and winding up of the Claimant Trust under Article IX of this
 Agreement; provided, however, the Claimant Trustee shall not dispose of any books and records
 related to the Estate Claims or Employee Claims without the consent of the Litigation Trustee.
 Notwithstanding the foregoing, the Claimant Trustee shall cause the Reorganized Debtor and its
 subsidiaries to retain such books and records, and for such periods, as are required to be retained
 pursuant to Section 204-2 of the Investment Advisers Act or any other applicable laws, rules, or
 regulations.

        3.13    Compensation and Reimbursement; Engagement of Professionals.

                (a)     Compensation and Expenses.

                         (i)     Compensation. As compensation for any services rendered by the
 Claimant Trustee in connection with this Agreement, the Claimant Trustee shall receive
 compensation of $150,000 per month (the “Base Salary”). Within the first forty-five days
 following the Confirmation Date, the Claimant Trustee, on the one hand, and the Committee, if
 prior to the Effective Date, or the Oversight Board, if on or after the Effective Date, on the other,
 will negotiate go-forward compensation for the Claimant Trustee which will include (a) the Base
 Salary, (b) a success fee, and (c) severance.

                       (ii)    Expense Reimbursements. All reasonable out-of-pocket expenses
 of the Claimant Trustee in the performance of his or her duties hereunder, shall be reimbursed as
 Claimant Trust Expenses paid by the Claimant Trust.




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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                  19:14:23
                                                                        PagePage
                                                                             93 of21
                                                                                  170of
                                          38



                (b)     Professionals.

                       (i)     Engagement of Professionals. The Claimant Trustee shall engage
 professionals from time to time in conjunction with the services provided hereunder. The
 Claimant Trustee’s engagement of such professionals shall be approved by a majority of the
 Oversight Board as set forth in Section 3.3(b) hereof.

                       (ii)    Fees and Expenses of Professionals. The Claimant Trustee shall
 pay the reasonable fees and expenses of any retained professionals as Claimant Trust Expenses.

         3.14 Reliance by Claimant Trustee. Except as otherwise provided herein, the Claimant
 Trustee may rely, and shall be fully protected in acting or refraining from acting, on any
 resolution, statement, certificate, instrument, opinion, report, notice, request, consent, order or
 other instrument or document that the Claimant Trustee has no reason to believe to be other than
 genuine and to have been signed or presented by the proper party or parties or, in the case of
 facsimiles, to have been sent by the proper party or parties, and the Claimant Trustee may
 conclusively rely as to the truth of the statements and correctness of the opinions or direction
 expressed therein. The Claimant Trustee may consult with counsel and other professionals, and
 any advice of such counsel or other professionals shall constitute full and complete authorization
 and protection in respect of any action taken or not taken by the Claimant Trustee in accordance
 therewith. The Claimant Trustee shall have the right at any time to seek instructions from the
 Bankruptcy Court, or any other court of competent jurisdiction concerning the Claimant Trust
 Assets, this Agreement, the Plan, or any other document executed in connection therewith, and
 any such instructions given shall be full and complete authorization in respect of any action
 taken or not taken by the Claimant Trustee in accordance therewith. The Claimant Trust shall
 have the right to seek Orders from the Bankruptcy Court as set forth in Article IX of the Plan.

        3.15 Commingling of Claimant Trust Assets. The Claimant Trustee shall not
 commingle any of the Claimant Trust Assets with his or her own property or the property of any
 other Person.

         3.16 Delaware Trustee. The Delaware Trustee shall have the power and authority, and
 is hereby authorized and empowered, to (i) accept legal process served on the Claimant Trust in
 the State of Delaware; and (ii) execute any certificates that are required to be executed under the
 Statutory Trust Act and file such certificates in the office of the Secretary of State of the State of
 Delaware, and take such action or refrain from taking such action under this Agreement as may
 be directed in a writing delivered to the Delaware Trustee by the Claimant Trustee; provided,
 however, that the Delaware Trustee shall not be required to take or to refrain from taking any
 such action if the Delaware Trustee shall believe, or shall have been advised by counsel, that
 such performance is likely to involve the Delaware Trustee in personal liability or to result in
 personal liability to the Delaware Trustee, or is contrary to the terms of this Agreement or of any
 document contemplated hereby to which the Claimant Trust or the Delaware Trustee is or
 becomes a party or is otherwise contrary to law. The Parties agree not to instruct the Delaware
 Trustee to take any action or to refrain from taking any action that is contrary to the terms of this
 Agreement or of any document contemplated hereby to which the Claimant Trust or the
 Delaware Trustee is or becomes party or that is otherwise contrary to law. Other than as



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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                  19:14:23
                                                                        PagePage
                                                                             94 of22
                                                                                  170of
                                          38



 expressly provided for in this Agreement, the Delaware Trustee shall have no duty or power to
 take any action for or on behalf of the Claimant Trust.


                                  THE OVERSIGHT BOARD

         4.1    Oversight Board Members. The Oversight Board will be comprised of five (5)
 Members appointed to serve as the board of managers of the Claimant Trust, at least two (2) of
 which shall be disinterested Members selected by the Creditors’ Committee (such disinterested
 members, the “Disinterested Members”). The initial Members of the Oversight Board will be
 representatives of Acis, the Redeemer Committee, Meta-e Discovery, UBS, and David Pauker.
 David Pauker and Paul McVoy, the representative of Meta-e Discovery, shall serve as the initial
 Disinterested Board Members; provided, however, that if the Plan is confirmed with the
 Convenience Class or any other convenience class supported by the Creditors’ Committee, Meta-
 E Discovery and its representative will resign on the Effective Date or as soon as practicable
 thereafter and be replaced in accordance with Section 4.10 hereof..

        4.2     Authority and Responsibilities.

                 (a)   The Oversight Board shall, as and when requested by either of the
 Claimant Trustee and Litigation Trustee, or when the Members otherwise deem it to be
 appropriate or as is otherwise required under the Plan, the Confirmation Order, or this
 Agreement, consult with and advise the Claimant Trustee and Litigation Trustee as to the
 administration and management of the Claimant Trust and the Litigation Sub-Trust, as
 applicable, in accordance with the Plan, the Confirmation Order, this Agreement, and Litigation
 Sub-Trust Agreement (as applicable) and shall have the other responsibilities and powers as set
 forth herein. As set forth in the Plan, the Confirmation Order, and herein, the Oversight Board
 shall have the authority and responsibility to oversee, review, and govern the activities of the
 Claimant Trust, including the Litigation Sub-Trust, and the performance of the Claimant Trustee
 and Litigation Trustee, and shall have the authority to remove the Claimant Trustee in
 accordance with Section 3.7 hereof or the Litigation Trustee in accordance with the terms of the
 Litigation Sub-Trust Agreement; provided, however, that the Oversight Board may not direct
 either Claimant Trustee and Litigation Trustee to act inconsistently with their respective duties
 under this Agreement (including without limitation as set in Section 4.2(e) below), the Litigation
 Sub-Trust Agreement, the Plan, the Confirmation Order, or applicable law.

               (b)     The Oversight Board shall also (i) monitor and oversee the administration
 of the Claimant Trust and the Claimant Trustee’s performance of his or her responsibilities under
 this Agreement, (ii) as more fully set forth in the Litigation Sub-Trust Agreement, approve
 funding to the Litigation Sub-Trust, monitor and oversee the administration of the Litigation
 Sub-Trust and the Litigation Trustee’s performance of his responsibilities under the Litigation
 Sub-Trust Agreement, and (iii) perform such other tasks as are set forth herein, in the Litigation
 Sub-Trust Agreement, and in the Plan.

                (c)   The Claimant Trustee shall consult with and provide information to the
 Oversight Board in accordance with and pursuant to the terms of the Plan, the Confirmation
 Order, and this Agreement to enable the Oversight Board to meet its obligations hereunder.


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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                             95 of23
                                                                                  170of
                                          38



                (d)    Notwithstanding any provision of this Agreement to the contrary, the
 Claimant Trustee shall not be required to (i) obtain the approval of any action by the Oversight
 Board to the extent that the Claimant Trustee, in good faith, reasonably determines, based on the
 advice of legal counsel, that such action is required to be taken by applicable law, the Plan, the
 Confirmation Order, or this Agreement or (ii) follow the directions of the Oversight Board to
 take any action the extent that the Claimant Trustee, in good faith, reasonably determines, based
 on the advice of legal counsel, that such action is prohibited by applicable law the Plan, the
 Confirmation Order, or this Agreement.

                 (e)      Notwithstanding provision of this Agreement to the contrary, with respect
 to the activities of the Reorganized Debtor in its capacity as an investment adviser (and
 subsidiaries of the Reorganized Debtor that serve as general partner or in an equivalent capacity)
 to any Managed Funds, the Oversight Board shall not make investment decisions or otherwise
 participate in the investment decision making process relating to any such Managed Funds, nor
 shall the Oversight Board or any member thereof serve as a fiduciary to any such Managed
 Funds. It is agreed and understood that investment decisions made by the Reorganized Debtor
 (or its subsidiary entities) with respect to Managed Funds shall be made by the Claimant Trustee
 in his capacity as an officer of the Reorganized Debtor and New GP LLC and/or such persons
 who serve as investment personnel of the Reorganized Debtor from time to time, and shall be
 subject to the fiduciary duties applicable to such entities and persons as investment adviser to
 such Managed Funds.

         4.3     Fiduciary Duties. The Oversight Board (and each Member in its capacity as such)
 shall have fiduciary duties to the Claimant Trust Beneficiaries consistent with the fiduciary
 duties that the members of the Creditors’ Committee have to unsecured creditors and shall
 exercise its responsibilities accordingly; provided, however, that the Oversight Board shall not
 owe fiduciary obligations to any Holders of Class A Limited Partnership Interests or Class B/C
 Limited Partnership Interests until such Holders become Claimant Trust Beneficiaries in
 accordance with Section 5.1(c) hereof; provided, further, that the Oversight Board shall not owe
 fiduciary obligations to a Holder of an Equity Trust Interest if such Holder is named as a
 defendant in any of the Causes of Action, including Estate Claims, in their capacities as such, it
 being the intent that the Oversight Board’s fiduciary duties are to maximize the value of the
 Claimant Trust Assets, including the Causes of Action. In all circumstances, the Oversight
 Board shall act in the best interests of the Claimant Trust Beneficiaries and in furtherance of the
 purpose of the Claimant Trust. Notwithstanding anything to the contrary contained in this
 Agreement, the foregoing shall not eliminate the implied contractual covenant of good faith and
 fair dealing.

         4.4      Meetings of the Oversight Board. Meetings of the Oversight Board are to be held
 as necessary to ensure the operation of the Claimant Trust but in no event less often than
 quarterly. Special meetings of the Oversight Board may be held whenever and wherever called
 for by the Claimant Trustee or any Member; provided, however, that notice of any such meeting
 shall be duly given in writing no less than 48 hours prior to such meeting (such notice
 requirement being subject to any waiver by the Members in the minutes, if any, or other
 transcript, if any, of proceedings of the Oversight Board). Unless the Oversight Board decides
 otherwise (which decision shall rest in the reasonable discretion of the Oversight Board), the



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                                                                                      App. 093
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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                        PagePage
                                                                             96 of24
                                                                                  170of
                                          38



 Claimant Trustee, and each of the Claimant Trustee’s designated advisors may, but are not
 required to, attend meetings of the Oversight Board.

         4.5    Unanimous Written Consent. Any action required or permitted to be taken by the
 Oversight Board in a meeting may be taken without a meeting if the action is taken by
 unanimous written consents describing the actions taken, signed by all Members and recorded.
 If any Member informs the Claimant Trustee (via e-mail or otherwise) that he or she objects to
 the decision, determination, action, or inaction proposed to be made by unanimous written
 consent, the Claimant Trustee must use reasonable good faith efforts to schedule a meeting on
 the issue to be set within 48 hours of the request or as soon thereafter as possible on which all
 members of the Oversight Board are available in person or by telephone. Such decision,
 determination, action, or inaction must then be made pursuant to the meeting protocols set forth
 herein.

        4.6     Manner of Acting.

                 (a)     A quorum for the transaction of business at any meeting of the Oversight
 Board shall consist of at least three Members (including no less than one (1) Disinterested
 Member); provided that if the transaction of business at a meeting would constitute a direct or
 indirect conflict of interest for the Redeemer Committee, Acis, and/or UBS, at least two
 Disinterested Members must be present for there to be a quorum. Except as set forth in Sections
 3.3(c), 4.9(a), 5.2, 5.4, 6.1, 9.1, and 10, herein, the majority vote of the Members present at a
 duly called meeting at which a quorum is present throughout shall be the act of the Oversight
 Board except as otherwise required by law or as provided in this Agreement. Any or all of the
 Members may participate in a regular or special meeting by, or conduct the meeting through the
 use of, conference telephone, video conference, or similar communications equipment by means
 of which all Persons participating in the meeting may hear each other, in which case any required
 notice of such meeting may generally describe the arrangements (rather than or in addition of the
 place) for the holding hereof. Any Member participating in a meeting by this means is deemed
 to be present in person at the meeting. Voting (including on negative notice) may be conducted
 by electronic mail or individual communications by the applicable Trustee and each Member.

                 (b)     Any Member who is present and entitled to vote at a meeting of the
 Oversight Board when action is taken is deemed to have assented to the action taken, subject to
 the requisite vote of the Oversight Board, unless (i) such Member objects at the beginning of the
 meeting (or promptly upon his/her arrival) to holding or transacting business at the meeting; (ii)
 his/her dissent or abstention from the action taken is entered in the minutes of the meeting; or
 (iii) he/she delivers written notice (including by electronic or facsimile transmission) of his/her
 dissent or abstention to the Oversight Board before its adjournment. The right of dissent or
 abstention is not available to any Member of the Oversight Board who votes in favor of the
 action taken.

                (c)     Prior to a vote on any matter or issue or the taking of any action with
 respect to any matter or issue, each Member shall report to the Oversight Board any conflict of
 interest such Member has or may have with respect to the matter or issue at hand and fully
 disclose the nature of such conflict or potential conflict (including, without limitation, disclosing
 any and all financial or other pecuniary interests that such Member may have with respect to or


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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                        PagePage
                                                                             97 of25
                                                                                  170of
                                          38



 in connection with such matter or issue, other than solely as a holder of Trust Interests). A
 Member who, with respect to a matter or issue, has or who may have a conflict of interest
 whereby such Member’s interests are adverse to the interests of the Claimant Trust shall be
 deemed a “Conflicted Member” who shall not be entitled to vote or take part in any action with
 respect to such matter or issue. In the event of a Conflicted Member, the vote or action with
 respect to such matter or issue giving rise to such conflict shall be undertaken only by Members
 who are not Conflicted Members and, notwithstanding anything contained herein to the contrary,
 the affirmative vote of only a majority of the Members who are not Conflicted Members shall be
 required to approve of such matter or issue and the same shall be the act of the Oversight Board.

                (d)     Each of Acis, the Redeemer Committee, and UBS shall be deemed
 “Conflicted Members” with respect to any matter or issue related to or otherwise affecting any of
 their respective Claim(s) (a “Committee Member Claim Matter”). A unanimous vote of the
 Disinterested Members shall be required to approve of or otherwise take action with respect to
 any Committee Member Claim Matter and, notwithstanding anything herein to the contrary, the
 same shall be the act of the Oversight Board.

         4.7    Tenure of the Members of the Oversight Board. The authority of the Members of
 the Oversight Board will be effective as of the Effective Date and will remain and continue in
 full force and effect until the Claimant Trust is terminated in accordance with Article X hereof.
 The Members of the Oversight Board will serve until such Member’s successor is duly appointed
 or until such Member’s earlier death or resignation pursuant to Section 4.7 below, or removal
 pursuant to Section 4.8 below.

         4.8     Resignation. A Member of the Oversight Board may resign by giving not less
 than 90 days prior written notice thereof to the Claimant Trustee and other Members. Such
 resignation shall become effective on the earlier to occur of (i) the day specified in such notice
 and (ii) the appointment of a successor in accordance with Section 4.9 below.

         4.9    Removal. A majority of the Oversight Board may remove any Member for Cause
 or Disability. If any Committee Member has its Claim disallowed in its entirety the
 representative of such entity will immediately be removed as a Member without the requirement
 for a vote and a successor will be appointed in the manner set forth herein. Notwithstanding the
 foregoing, upon the termination of the Claimant Trust, any or all of the Members shall be
 deemed to have resigned.

        4.10    Appointment of a Successor Member.

                 (a)    In the event of a vacancy on the Oversight Board (whether by removal,
 death, or resignation), a new Member may be appointed to fill such position by the remaining
 Members acting unanimously; provided, however, that any vacancy resulting from the removal,
 resignation, or death of a Disinterested Member may only be filled by a disinterested Person
 unaffiliated with any Claimant or constituency in the Chapter 11 Case; provided, further, that if
 an individual serving as the representative of a Committee Member resigns from its role as
 representative, such resignation shall not be deemed resignation of the Committee Member itself
 and such Committee Member shall have the exclusive right to designate its replacement
 representative for the Oversight Board. The appointment of a successor Member will be further


                                                24
                                                                                     App. 095
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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                             98 of26
                                                                                  170of
                                          38



 evidenced by the Claimant Trustee’s filing with the Bankruptcy Court (to the extent a final
 decree has not been entered) and posting on the Claimant Trustee’s website a notice of
 appointment, at the direction of the Oversight Board, which notice will include the name,
 address, and telephone number of the successor Member.

                (b)    Immediately upon the appointment of any successor Member, the
 successor Member shall assume all rights, powers, duties, authority, and privileges of a Member
 hereunder and such rights and privileges will be vested in and undertaken by the successor
 Member without any further act. A successor Member will not be liable personally for any act or
 omission of a predecessor Member.

                (c)      Every successor Member appointed hereunder shall execute,
 acknowledge, and deliver to the Claimant Trustee and other Members an instrument accepting
 the appointment under this Agreement and agreeing to be bound thereto, and thereupon the
 successor Member without any further act, deed, or conveyance, shall become vested with all
 rights, powers, trusts, and duties of a Member hereunder.

         4.11 Compensation and Reimbursement of Expenses. Unless determined by the
 Oversight Board, no Member shall be entitled to compensation in connection with his or her
 service to the Oversight Board; provided, however, that a Disinterested Member shall be
 compensated in a manner and amount initially set by the other Members and as thereafter
 amended from time to time by agreement between the Oversight Board and the Disinterested
 Member. Notwithstanding the foregoing, the Claimant Trustee will reimburse the Members for
 all reasonable and documented out-of-pocket expenses incurred by the Members in connection
 with the performance of their duties hereunder (which shall not include fees, costs, and expenses
 of legal counsel).

         4.12 Confidentiality. Each Member shall, during the period that such Member serves
 as a Member under this Agreement and following the termination of this Agreement or following
 such Member’s removal or resignation, hold strictly confidential and not use for personal gain
 any material, non-public information of or pertaining to any Person to which any of the Claimant
 Trust Assets relates or of which such Member has become aware in the Member’s capacity as a
 Member (“Confidential Trust Information”), except as otherwise required by law. For the
 avoidance of doubt, a Member’s Affiliates, employer, and employer’s Affiliates (and collectively
 with such Persons’ directors, officers, partners, principals and employees, “Member Affiliates”)
 shall not be deemed to have received Confidential Trust Information solely due to the fact that a
 Member has received Confidential Trust Information in his or her capacity as a Member of the
 Oversight Board and to the extent that (a) a Member does not disclose any Confidential Trust
 Information to a Member Affiliate, (b) the business activities of such Member Affiliates are
 conducted without reference to, and without use of, Confidential Trust Information, and (c) no
 Member Affiliate is otherwise directed to take, or takes on behalf of a Member or Member
 Affiliate, any actions that are contrary to the terms of this Section 4.11.


                                      TRUST INTERESTS

        5.1    Claimant Trust Interests.


                                                25
                                                                                    App. 096
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Case19-34054-sgj11
     21-03076-sgj Doc
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                                                                             99 of27
                                                                                  170of
                                          38



               (a)    General Unsecured Claim Trust Interests. On the date hereof, or on the
 date such Claim becomes Allowed under the Plan, the Claimant Trust shall issue General
 Unsecured Claim Trust Interests to Holders of Allowed Class 8 General Unsecured Claims (the
 “GUC Beneficiaries”). The Claimant Trustee shall allocate to each Holder of an Allowed Class
 8 General Unsecured Claim a General Unsecured Claim Trust Interest equal to the ratio that the
 amount of each Holder’s Allowed Class 8 Claim bears to the total amount of the Allowed Class
 8 Claims. The General Unsecured Claim Trust Interests shall be entitled to distributions from
 the Claimant Trust Assets in accordance with the terms of the Plan and this Agreement.

                (b)    Subordinated Claim Trust Interests. On the date hereof, or on the date
 such Claim becomes Allowed under the Plan, the Claimant Trust shall issue Subordinated Claim
 Trust Interests to Holders of Class 9 Subordinated Claims (the “Subordinated Beneficiaries”).
 The Claimant Trustee shall allocate to each Holder of an Allowed Class 9 Subordinated Claim a
 Subordinated Claim Trust Interest equal to the ratio that the amount of each Holder’s Allowed
 Class 9 Claim bears to the total of amount of the Allowed Class 9. The Subordinated Trust
 Interests shall be subordinated in right and priority to the General Unsecured Claim Trust
 Interests. The Subordinated Beneficiaries shall only be entitled to distributions from the
 Claimant Trust Assets after each GUC Beneficiary has been repaid in full with applicable
 interest on account of such GUC Beneficiary’s Allowed General Unsecured Claim, and all
 Disputed General Unsecured Claims have been resolved, in accordance with the terms of the
 Plan and this Agreement.

                 (c)     Contingent Trust Interests. On the date hereof, or on the date such Interest
 becomes Allowed under the Plan, the Claimant Trust shall issue Contingent Interests to Holders
 of Allowed Class 10 Class B/C Limited Partnership Interests and Holders of Allowed Class 11
 Class A Limited Partnership Interests (collectively, the “Equity Holders”). The Claimant Trustee
 shall allocate to each Holder of Allowed Class 10 Class B/C Limited Partnership Interests and
 each Holder of Allowed Class 11 Class A Limited Partnership Interests a Contingent Trust
 Interest equal to the ratio that the amount of each Holder’s Allowed Class 10 or Class 11 Interest
 bears to the total amount of the Allowed Class 10 or Class 11 Interests, as applicable, under the
 Plan. Contingent Trust Interests shall not vest, and the Equity Holders shall not have any rights
 under this Agreement, unless and until the Claimant Trustee files with the Bankruptcy Court a
 certification that all GUC Beneficiaries have been paid indefeasibly in full, including, to the
 extent applicable, all accrued and unpaid post-petition interest consistent with the Plan and all
 Disputed Claims have been resolved (the “GUC Payment Certification”). Equity Holders will
 only be deemed “Beneficiaries” under this Agreement upon the filing of a GUC Payment
 Certification with the Bankruptcy Court, at which time the Contingent Trust Interests will vest
 and be deemed “Equity Trust Interests.” The Equity Trust Interests shall be subordinated in right
 and priority to Subordinated Trust Interests, and distributions on account thereof shall only be
 made if and when Subordinated Beneficiaries have been repaid in full on account of such
 Subordinated Beneficiary’s Allowed Subordinated Claim, in accordance with the terms of the
 Plan, the Confirmation Order, and this Agreement. The Equity Trust Interests distributed to
 Allowed Holders of Class A Limited Partnership Interests shall be subordinated to the Equity
 Trust Interests distributed to Allowed Holders of Class B/C Limited Partnership Interests.

       5.2     Interests Beneficial Only. The ownership of the beneficial interests in the
 Claimant Trust shall not entitle the Claimant Trust Beneficiaries to any title in or to the Claimant


                                                 26
                                                                                       App. 097
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           100 of28
                                                                                  170
                                                                                    of
                                          38



 Trust Assets (which title shall be vested in the Claimant Trust) or to any right to call for a
 partition or division of the Claimant Trust Assets or to require an accounting. No Claimant Trust
 Beneficiary shall have any governance right or other wright to direct Claimant Trust activities.

         5.3    Transferability of Trust Interests. No transfer, assignment, pledge, hypothecation,
 or other disposition of a Trust Interest may be effected until (i) such action is unanimously
 approved by the Oversight Board, (ii) the Claimant Trustee and Oversight Board have received
 such legal advice or other information that they, in their sole and absolute discretion, deem
 necessary to assure that any such disposition shall not cause the Claimant Trust to be subject to
 entity-level taxation for U.S. federal income tax purposes, and (iii) either (x) the Claimant
 Trustee and Oversight Board, acting unanimously, have received such legal advice or other
 information that they, in their sole and absolute discretion, deem necessary or appropriate to
 assure that any such disposition shall not (a) require the Claimant Trust to comply with the
 registration and/or reporting requirements of the Securities Act, the Exchange Act, the TIA, or
 the Investment Company Act or (b) cause any adverse effect under the Investment Advisers Act,
 or (y) the Oversight Board, acting unanimously, has determined, in its sole and absolute
 discretion, to cause the Claimant Trust to become a public reporting company and/or make
 periodic reports under the Exchange Act (provided that it is not required to register under the
 Investment Company Act or register its securities under the Securities Act) to enable such
 disposition to be made. In the event that any such disposition is allowed, the Oversight Board
 and the Claimant Trustee may add such restrictions upon such disposition and other terms of this
 Agreement as are deemed necessary or appropriate by the Claimant Trustee, with the advice of
 counsel, to permit or facilitate such disposition under applicable securities and other laws.

        5.4     Registry of Trust Interests.

                 (a)    Registrar. The Claimant Trustee shall appoint a registrar, which may be
 the Claimant Trustee (the “Registrar”), for the purpose of recording ownership of the Trust
 Interests as provided herein. The Registrar, if other than the Claimant Trustee, shall be an
 institution or person acceptable to the Oversight Board. For its services hereunder, the Registrar,
 unless it is the Claimant Trustee, shall be entitled to receive reasonable compensation from the
 Claimant Trust as a Claimant Trust Expense.

                (b)       Trust Register. The Claimant Trustee shall cause to be kept at the office
 of the Registrar, or at such other place or places as shall be designated by the Registrar from time
 to time, a registry of the Claimant Trust Beneficiaries and the Equity Holders (the “Trust
 Register”), which shall be maintained pursuant to such reasonable regulations as the Claimant
 Trustee and the Registrar may prescribe.

                (c)     Access to Register by Beneficiaries. The Claimant Trust Beneficiaries
 and their duly authorized representatives shall have the right, upon reasonable prior written
 notice to the Claimant Trustee, and in accordance with reasonable regulations prescribed by the
 Claimant Trustee, to inspect and, at the expense of the Claimant Trust Beneficiary make copies
 of the Trust Register, in each case for a purpose reasonable and related to such Claimant Trust
 Beneficiary’s Trust Interest.




                                                 27
                                                                                       App. 098
Case 19-34054-sgj11
     21-03076-sgj Doc
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                                                            22:37:03
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                                                                      Page Page
                                                                           101 of29
                                                                                  170
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         5.5     Exemption from Registration. The Parties hereto intend that the rights of the
 Claimant Trust Beneficiaries arising under this Claimant Trust shall not be “securities” under
 applicable laws, but none of the Parties represent or warrant that such rights shall not be
 securities or shall not be entitled to exemption from registration under the applicable securities
 laws. The Oversight Board, acting unanimously, and Claimant Trustee may amend this
 Agreement in accordance with Article IX hereof to make such changes as are deemed necessary
 or appropriate with the advice of counsel, to ensure that the Claimant Trust is not subject to
 registration and/or reporting requirements of the Securities Act, the Exchange Act, the TIA, or
 the Investment Company Act. The Trust Interests shall not have consent or voting rights or
 otherwise confer on the Claimant Trust Beneficiaries any rights similar to the rights of a
 shareholder of a corporation in respect of any actions taken or to be taken, or decisions made or
 to be made, by the Oversight Board and/or the Claimant Trustee under this Agreement.

         5.6     Absolute Owners. The Claimant Trustee may deem and treat the Claimant Trust
 Beneficiary of record as determined pursuant to this Article 5 as the absolute owner of such Trust
 Interests for the purpose of receiving distributions and payment thereon or on account thereof
 and for all other purposes whatsoever.

        5.7     Effect of Death, Incapacity, or Bankruptcy. The death, incapacity, or bankruptcy
 of any Claimant Trust Beneficiary during the term of the Claimant Trust shall not (i) entitle the
 representatives or creditors of the deceased Beneficiary to any additional rights under this
 Agreement, or (ii) otherwise affect the rights and obligations of any of other Claimant Trust
 Beneficiary under this Agreement.

         5.8    Change of Address. Any Claimant Trust Beneficiary may, after the Effective
 Date, select an alternative distribution address by providing notice to the Claimant Trustee
 identifying such alternative distribution address. Such notification shall be effective only upon
 receipt by the Claimant Trustee. Absent actual receipt of such notice by the Claimant Trustee,
 the Claimant Trustee shall not recognize any such change of distribution address.

        5.9     Standing. No Claimant Trust Beneficiary shall have standing to direct the
 Claimant Trustee to do or not to do any act or to institute any action or proceeding at law or in
 equity against any party upon or with respect to the Claimant Trust Assets. No Claimant Trust
 Beneficiary shall have any direct interest in or to any of the Claimant Trust Assets.

        5.10    Limitations on Rights of Claimant Trust Beneficiaries.

                (a)   The Claimant Trust Beneficiaries shall have no rights other than those set
 forth in this Agreement, the Confirmation Order, or the Plan (including any Plan Supplement
 documents incorporated therein).

                (b)     In any action taken by a Claimant Trust Beneficiary against the Claimant
 Trust, a current or former Trustee, or a current or former Member, in their capacity as such, the
 prevailing party will be entitled to reimbursement of attorneys’ fees and other costs; provided,
 however, that any fees and costs shall be borne by the Claimant Trust on behalf of any such
 Trustee or Member, as set forth herein.




                                                28
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Case 19-34054-sgj11
     21-03076-sgj Doc
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                                                            22:37:03
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                                                                      Page Page
                                                                           102 of30
                                                                                  170
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                (c)     A Claimant Trust Beneficiary who brings any action against the Claimant
 Trust, a current or former Trustee, or a current or former Member, in their capacity as such, may
 be required by order of the Bankruptcy Court to post a bond ensuring that the full costs of a legal
 defense can be reimbursed. A request for such bond can be made by the Claimant Trust or by
 Claimant Trust Beneficiaries constituting in the aggregate at least 50% of the most senior class
 of Claimant Trust Interests.

                (d)    Any action brought by a Claimant Trust Beneficiary must be brought in
 the United States Bankruptcy Court for the Northern District of Texas. Claimant Trust
 Beneficiaries are deemed to have waived any right to a trial by jury

                 (e)    The rights of Claimant Trust Beneficiaries to bring any action against the
 Claimant Trust, a current or former Trustee, or current or former Member, in their capacity as
 such, shall not survive the final distribution by the Claimant Trust.


                                         DISTRIBUTIONS

        6.1     Distributions.

                 (a)     Notwithstanding anything to the contrary contained herein, the Claimant
 Trustee shall distribute to holders of Trust Interests at least annually the Cash on hand net of any
 amounts that (a) are reasonably necessary to maintain the value of the Claimant Trust Assets
 pending their monetization or other disposition during the term of the Claimant Trust, (b) are
 necessary to pay or reserve for reasonably incurred or anticipated Claimant Trust Expenses and
 any other expenses incurred by the Claimant Trust (including, but not limited to, any taxes
 imposed on or payable by the Claimant Trustee with respect to the Claimant Trust Assets), (c)
 are necessary to pay or reserve for the anticipated costs and expenses of the Litigation Sub-Trust,
 (d) are necessary to satisfy or reserve for other liabilities incurred or anticipated by the Claimant
 Trustee in accordance with the Plan and this Agreement (including, but not limited to,
 indemnification obligations and similar expenses in such amounts and for such period of time as
 the Claimant Trustee determines, in good faith, may be necessary and appropriate, which
 determination shall not be subject to consent of the Oversight Board, may not be modified
 without the express written consent of the Claimant Trustee, and shall survive termination of the
 Claimant Trustee), (e) are necessary to maintain the Disputed Claims Reserve, and (f) are
 necessary to pay Allowed Claims in Class 1 through Class 7. Notwithstanding anything to the
 contrary contained in this paragraph, the Claimant Trustee shall exercise reasonable efforts to
 make initial distributions within six months of the Effective Date, and the Oversight Board may
 not prevent such initial distributions unless upon a unanimous vote of the Oversight Board. The
 Claimant Trustee may otherwise distribute all Claimant Trust Assets on behalf of the Claimant
 Trust in accordance with this Agreement and the Plan at such time or times as the Claimant
 Trustee is directed by the Oversight Board.

               (b)     At the request of the Reorganized Debtor, subject in all respects to the
 provisions of this Agreement, the Claimant Trustee shall distribute Cash to the Reorganized
 Debtor, as Distribution Agent with respect to Claims in Class 1 through 7, sufficient to satisfy
 Allowed Claims in Class 1 through Class 7.


                                                  29
                                                                                       App. 100
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                                Filed 01/22/21
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                                                            22:37:03
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                                                                      Page Page
                                                                           103 of31
                                                                                  170
                                                                                    of
                                          38



                (c)     All proceeds of Claimant Trust Assets shall be distributed in accordance
 with the Plan and this Agreement.

         6.2    Manner of Payment or Distribution. All distributions made by the Claimant
 Trustee on behalf of the Claimant Trust to the Claimant Trust Beneficiaries shall be payable by
 the Claimant Trustee directly to the Claimant Trust Beneficiaries of record as of the twentieth
 (20th) day prior to the date scheduled for the distribution, unless such day is not a Business Day,
 then such date or the distribution shall be the following Business Day, but such distribution shall
 be deemed to have been completed as of the required date.

         6.3      Delivery of Distributions. All distributions under this Agreement to any Claimant
 Trust Beneficiary shall be made, as applicable, at the address of such Claimant Trust Beneficiary
 (a) as set forth on the Schedules filed with the Bankruptcy Court or (b) on the books and records
 of the Debtor or their agents, as applicable, unless the Claimant Trustee has been notified in
 writing of a change of address pursuant to Section 5.6 hereof.

        6.4    Disputed Claims Reserves. There will be no distributions under this Agreement
 or the Plan on account of Disputed Claims pending Allowance. The Claimant Trustee will
 maintain a Disputed Claims Reserve as set forth in the Plan and will make distributions from the
 Disputed Claims Reserve as set forth in the Plan.

         6.5     Undeliverable Distributions and Unclaimed Property.             All undeliverable
 distributions and unclaimed property shall be treated in the manner set forth in the Plan.

         6.6     De Minimis Distributions. Distributions with a value of less than $100 will be
 treated in accordance with the Plan.

        6.7    United States Claimant Trustee Fees and Reports. After the Effective Date, the
 Claimant Trust shall pay as a Claimant Trust Expense, all fees incurred under 28 U.S.C.
 § 1930(a)(6) by reason of the Claimant Trust’s disbursements until the Chapter 11 Case is
 closed. After the Effective Date, the Claimant Trust shall prepare and serve on the Office
 of the United States Trustee such quarterly disbursement reports for the Claimant Trust as
 required by the Office of the United States Trustee Office for as long as the Chapter 11
 Case remains open.


                                         TAX MATTERS

        7.1     Tax Treatment and Tax Returns.

                 (a)     It is intended for the initial transfer of the Claimant Trust Assets to the
 Claimant Trust to be treated as a grantor trust for federal income tax purposes (and foreign, state,
 and local income tax purposes where applicable) as if the Debtor transferred the Claimant Trust
 Assets (other than the amounts set aside in the Disputed Claim Reserve, if the Claimant Trustee
 makes the election described below) to the Claimant Trust Beneficiaries and then, immediately
 thereafter, the Claimant Trust Beneficiaries transferred the Claimant Trust Assets to the Claimant
 Trust. Consistent with such treatment, (i) it is intended that the Claimant Trust will be treated as
 a grantor trust for federal income tax purposes (and foreign, state, and local income tax purposes


                                                 30
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Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                                Filed 01/22/21
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           104 of32
                                                                                  170
                                                                                    of
                                          38



 where applicable), (ii) it is intended that the Claimant Trust Beneficiaries will be treated as the
 grantors of the Claimant Trust and owners of their respective share of the Claimant Trust Assets
 for federal income tax purposes (and foreign, state, and local income tax purposes where
 applicable). The Claimant Trustee shall file all federal income tax returns (and foreign, state,
 and local income tax returns where applicable) for the Claimant Trust as a grantor trust pursuant
 to Treasury Regulation Section 1.671-4(a).

                (b)    The Claimant Trustee shall determine the fair market value of the
 Claimant Trust Assets as of the Effective Date and notify the applicable Beneficiaries of such
 valuation, and such valuation shall be used consistently by all parties for all federal income tax
 purposes.

               (c)   The Claimant Trustee may file an election pursuant to Treasury
 Regulation 1.468B-9(c) to treat the Disputed Claims Reserve as a disputed ownership fund, in
 which case the Claimant Trustee will file federal income tax returns and pay taxes for the
 Disputed Claim Reserve as a separate taxable entity.

         7.2     Withholding. The Claimant Trustee may withhold from any amount distributed
 from the Claimant Trust to any Claimant Trust Beneficiary such sum or sums as are required to
 be withheld under the income tax laws of the United States or of any state or political
 subdivision thereof. Any amounts withheld pursuant hereto shall be deemed to have been
 distributed to and received by the applicable Beneficiary. As a condition to receiving any
 distribution from the Claimant Trust, the Claimant Trustee may require that the Beneficiary
 provide such holder’s taxpayer identification number and such other information and
 certification as may be deemed necessary for the Claimant Trustee to comply with applicable tax
 reporting and withholding laws. If a Beneficiary fails to comply with such a request within one
 year, such distribution shall be deemed an unclaimed distribution and treated in accordance with
 Section 6.5(b) of this Agreement.


                      STANDARD OF CARE AND INDEMNIFICATION

        8.1      Standard of Care. None of the Claimant Trustee, acting in his capacity as the
 Claimant Trustee or in any other capacity contemplated by this Agreement or the Plan, the
 Delaware Trustee, acting in its capacity as Delaware Trustee, the Oversight Board, or any current
 or any individual Member, solely in their capacity as Members of the Oversight Board, shall be
 personally liable to the Claimant Trust or to any Person (including any Claimant Trust
 Beneficiary) in connection with the affairs of the Claimant Trust, unless it is ultimately
 determined by order of the Bankruptcy Court or, if the Bankruptcy Court either declines to
 exercise jurisdiction over such action, or cannot exercise jurisdiction over such action, such other
 court of competent jurisdiction that the acts or omissions of any such Claimant Trustee,
 Delaware Trustee, Oversight Board, or Member constituted fraud, willful misconduct, or gross
 negligence. The employees, agents and professionals retained by the Claimant Trust, the
 Claimant Trustee, Delaware Trustee, Oversight Board, or individual Member shall not be
 personally liable to the Claimant Trust or any other Person in connection with the affairs of the
 Claimant Trust, unless it is ultimately determined by order of the Bankruptcy Court or, if the
 Bankruptcy Court either declines to exercise jurisdiction over such action, or cannot exercise


                                                 31
                                                                                       App. 102
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-2
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                                Filed 01/22/21
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           105 of33
                                                                                  170
                                                                                    of
                                          38



 jurisdiction over such action, such other court of competent jurisdiction that such acts or
 omissions by such employee, agent, or professional constituted willful fraud, willful misconduct
 or gross negligence. None of the Claimant Trustee, Delaware Trustee, Oversight Board, or any
 Member shall be personally liable to the Claimant Trust or to any Person for the acts or
 omissions of any employee, agent or professional of the Claimant Trust or Claimant Trustee
 taken or not taken in good faith reliance on the advice of professionals or, as applicable, with the
 approval of the Bankruptcy Court, unless it is ultimately determined by order of the Bankruptcy
 Court or, if the Bankruptcy Court either declines to exercise jurisdiction over such action, or
 cannot exercise jurisdiction over such action, such other court of competent jurisdiction that the
 Claimant Trustee, Delaware Trustee, Oversight Board, or Member acted with gross negligence
 or willful misconduct in the selection, retention, or supervision of such employee, agent or
 professional of the Claimant Trust.

         8.2     Indemnification. The Claimant Trustee (including each former Claimant
 Trustee), Delaware Trustee, Oversight Board, and all past and present Members (collectively, in
 their capacities as such, the “Indemnified Parties”) shall be indemnified by the Claimant Trust
 against and held harmless by the Claimant Trust from any losses, claims, damages, liabilities or
 expenses (including, without limitation, attorneys’ fees, disbursements, and related expenses) to
 which the Indemnified Parties may become subject in connection with any action, suit,
 proceeding or investigation brought or threatened against any of the Indemnified Parties in their
 capacity as Claimant Trustee, Delaware Trustee, Oversight Board, or Member, or in connection
 with any matter arising out of or related to the Plan, this Agreement, or the affairs of the
 Claimant Trust, unless it is ultimately determined by order of the Bankruptcy Court or other
 court of competent jurisdiction that the Indemnified Party’s acts or omissions constituted willful
 fraud, willful misconduct, or gross negligence. If the Indemnified Party becomes involved in
 any action, proceeding, or investigation in connection with any matter arising out of or in
 connection with the Plan, this Agreement or the affairs of the Claimant Trust for which an
 indemnification obligation could arise, the Indemnified Party shall promptly notify the Claimant
 Trustee and/or Oversight Board, as applicable; provided, however, that the failure of an
 Indemnified Party to promptly notify the Claimant Trustee and/or Oversight Board of an
 indemnification obligation will not excuse the Claimant Trust from indemnifying the
 Indemnified Party unless such delay has caused the Claimant Trust material harm. The Claimant
 Trust shall pay, advance or otherwise reimburse on demand of an Indemnified Party the
 Indemnified Party’s reasonable legal and other defense expenses (including, without limitation,
 the cost of any investigation and preparation and attorney fees, disbursements, and other
 expenses related to any claim that has been brought or threatened to be brought) incurred in
 connection therewith or in connection with enforcing his or her rights under this Section 8.2 as a
 Claimant Trust Expense, and the Claimant Trust shall not refuse to make any payments to the
 Indemnified Party on the assertion that the Indemnified Party engaged in willful misconduct or
 acted in bad faith; provided that the Indemnified Party shall be required to repay promptly to the
 Claimant Trust the amount of any such advanced or reimbursed expenses paid to the Indemnified
 Party to the extent that it shall be ultimately determined by Final Order that the Indemnified
 Party engaged in willful fraud, misconduct, or negligence in connection with the affairs of the
 Claimant Trust with respect to which such expenses were paid; provided, further, that any such
 repayment obligation shall be unsecured and interest free. The Claimant Trust shall indemnify
 and hold harmless the employees, agents and professionals of the Claimant Trust and
 Indemnified Parties to the same extent as provided in this Section 8.2 for the Indemnified Parties.


                                                 32
                                                                                       App. 103
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-2
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                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           106 of34
                                                                                  170
                                                                                    of
                                          38



 For the avoidance of doubt, the provisions of this Section 8.2 shall remain available to any
 former Claimant Trustee, Delaware Trustee, or Member or the estate of any decedent Claimant
 Trustee or Member, solely in their capacities as such. The indemnification provided hereby shall
 be a Claimant Trust Expense and shall not be deemed exclusive of any other rights to which the
 Indemnified Party may now or in the future be entitled to under the Plan or any applicable
 insurance policy. The failure of the Claimant Trust to pay or reimburse an Indemnified Party as
 required under this Section 8.2 shall constitute irreparable harm to the Indemnified Party and
 such Indemnified Party shall be entitled to specific performance of the obligations herein.

         8.3   No Personal Liability. Except as otherwise provided herein, neither of the
 Trustees nor Members of the Oversight Board shall be subject to any personal liability
 whatsoever, whether in tort, contract, or otherwise, to any Person in connection with the affairs
 of the Claimant Trust to the fullest extent provided under Section 3803 of the Delaware Statutory
 Trust Act, and all Persons asserting claims against the Claimant Trustee, Litigation Trustee, or
 any Members, or otherwise asserting claims of any nature in connection with the affairs of the
 Claimant Trust, shall look solely to the Claimant Trust Assets for satisfaction of any such claims.

         8.4    Other Protections. To the extent applicable and not otherwise addressed herein,
 the provisions and protections set forth in Article IX of the Plan will apply to the Claimant Trust,
 the Claimant Trustee, the Litigation Trustee, and the Members.


                                         TERMINATION

          9.1    Duration. The Trustees, the Claimant Trust, and the Oversight Board shall be
 discharged or dissolved, as the case may be, at such time as: (a) the Litigation Trustee
 determines that the pursuit of Estate Claims is not likely to yield sufficient additional proceeds to
 justify further pursuit of such Estate Claims, (b) the Claimant Trustee determines that the pursuit
 of Causes of Action (other than Estate Claims) is not likely to yield sufficient additional
 proceeds to justify further pursuit of such Causes of Action, (c) the Clamant Trustee determines
 that the pursuit of sales of other Claimant Trust Assets is not likely to yield sufficient additional
 proceeds to justify further pursuit of such sales of Claimant Trust Assets, (d) all objections to
 Disputed Claims and Equity Interests are fully resolved, (e) the Reorganized Debtor is dissolved,
 and (f) all Distributions required to be made by the Claimant Trustee to the Claimant Trust
 Beneficiaries under the Plan have been made, but in no event shall the Claimant Trust be
 dissolved later than three years from the Effective Date unless the Bankruptcy Court, upon
 motion made within the six-month period before such third anniversary (and, in the event of
 further extension, by order of the Bankruptcy Court, upon motion made at least six months
 before the end of the preceding extension), determines that a fixed period extension (not to
 exceed two years, together with any prior extensions) is necessary to facilitate or complete the
 recovery on, and liquidation of, the Claimant Trust Assets.

         9.2     Distributions in Kind. Upon dissolution of the Claimant Trust, any remaining
 Claimant Trust Assets that exceed the amounts required to be paid under the Plan will be
 transferred (in the sole discretion of the Claimant Trustee) in Cash or in-kind to the Holders of
 the Claimant Trust Interests as provided in the Claimant Trust Agreement.



                                                  33
                                                                                       App. 104
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-2
                          Filed 03/23/22
                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           107 of35
                                                                                  170
                                                                                    of
                                          38



         9.3     Continuance of the Claimant Trustee for Winding Up. After dissolution of the
 Claimant Trust and for purpose of liquidating and winding up the affairs of the Claimant Trust,
 the Claimant Trustee shall continue to act as such until the Claimant Trustee’s duties have been
 fully performed. Prior to the final distribution of all remaining Claimant Trust Assets, the
 Claimant Trustee shall be entitled to reserve from such assets any and all amounts required to
 provide for the Claimant Trustee’s own costs and expenses, including a reserve to fund any
 potential indemnification or similar obligations of the Claimant Trust, until such time as the
 winding up of the Claimant Trust is completed. Upon the dissolution of the Claimant Trust and
 completion of the winding up of the assets, liabilities and affairs of the Claimant Trust pursuant
 to the Delaware Statutory Trust Act, the Claimant Trustee shall file a certificate of cancellation
 with the State of Delaware to terminate the Claimant Trust pursuant to Section 3810 of the
 Delaware Statutory Trust Act (such date upon which the certificate of cancellation is filed shall
 be referred to as the “Termination Date”). Upon the Termination date, the Claimant Trustee
 shall retain for a period of two (2) years, as a Claimant Trust Expense, the books, records,
 Claimant Trust Beneficiary lists, and certificated and other documents and files that have been
 delivered to or created by the Claimant Trustee. At the Claimant Trustee’s discretion, all of such
 records and documents may, but need not, be destroyed at any time after two (2) years from the
 Termination Date.

        9.4    Termination of Duties. Except as otherwise specifically provided herein, upon
 the Termination Date of the Claimant Trust, the Claimant Trustee, the Oversight Board and its
 Members shall have no further duties or obligations hereunder.

         9.5    No Survival. The rights of Claimant Trust Beneficiaries hereunder shall not
 survive the Termination Date, provided that such Claimant Trust Beneficiaries are provided with
 notice of such Termination Date.


                                AMENDMENTS AND WAIVER

        The Claimant Trustee, with the consent of a simple majority of the Oversight Board, may
 amend this Agreement to correct or clarify any non-material provisions. This Agreement may
 not otherwise be amended, supplemented, otherwise modified, or waived in any respect except
 by an instrument in writing signed by the Claimant Trustee and with the unanimous approval of
 the Oversight Board, and the approval of the Bankruptcy Court, after notice and a hearing;
 provided that the Claimant Trustee must provide the Oversight Board with prior written notice of
 any non-material amendments, supplements, modifications, or waivers of this Agreement.


                                      MISCELLANEOUS

        11.1 Trust Irrevocable. Except as set forth in this Agreement, establishment of the
 Claimant Trust by this Agreement shall be irrevocable and shall not be subject to revocation,
 cancellation or rescission by the Claimant Trust Beneficiaries.

       11.2 Bankruptcy of Claimant Trust Beneficiaries. The dissolution, termination,
 bankruptcy, insolvency or other similar incapacity of any Claimant Trust Beneficiary shall not



                                                34
                                                                                     App. 105
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-2
                          Filed 03/23/22
                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           108 of36
                                                                                  170
                                                                                    of
                                          38



 permit any creditor, trustee, or any other Claimant Trust Beneficiary to obtain possession of, or
 exercise legal or equitable remedies with respect to, the Claimant Trust Assets.

       11.3 Claimant Trust Beneficiaries have No Legal Title to Claimant Trust Assets. No
 Claimant Trust Beneficiary shall have legal title to any part of the Claimant Trust Assets.

         11.4 Agreement for Benefit of Parties Only. Nothing herein, whether expressed or
 implied, shall be construed to give any Person other than the Claimant Trustee, Oversight Board,
 and the Claimant Trust Beneficiaries any legal or equitable right, remedy or claim under or in
 respect of this Agreement. The Claimant Trust Assets shall be held for the sole and exclusive
 benefit of the Claimant Trust Beneficiaries.

         11.5 Notices. All notices, directions, instructions, confirmations, consents and requests
 required or permitted by the terms hereof shall, unless otherwise specifically provided herein, be
 in writing and shall be sent by first class mail, facsimile, overnight mail or in the case of mailing
 to a non-United States address, air mail, postage prepaid, addressed to:

                (a)     If to the Claimant Trustee:

                                Claimant Trustee
                                c/o [insert contact info for Claimant Trustee]

                With a copy to:

                                Pachulski Stang Ziehl & Jones LLP
                                10100 Santa Monica Blvd, 13th Floor
                                Los Angeles, CA 90067
                                Attn: Jeffrey Pomerantz (jpomerantz@pszjlaw.com)
                                       Ira Kharasch (ikharasch@pszjlaw.com)
                                       Gregory Demo (gdemo@pszjlaw.com)

        Notice mailed shall be effective on the date mailed or sent. Any Person may change the
 address at which it is to receive notices under this Agreement by furnishing written notice
 pursuant to the provisions of this Section 11.5 to the entity to be charged with knowledge of such
 change.

         11.6 Severability. Any provision hereof which is prohibited or unenforceable in any
 jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or
 unenforceability without invalidating the remaining provisions hereof, and any such prohibition
 or unenforceability in any jurisdiction shall not invalidate or render unenforceable such
 provisions in another jurisdiction.

        11.7 Counterparts. This Agreement may be executed by the parties hereto in separate
 counterparts, each of which when so executed and delivered shall be an original, but all such
 counterparts shall together constitute but one and the same instrument.

        11.8 Binding Effect, etc. All covenants and agreements contained herein shall be
 binding upon, and inure to the benefit of, the Claimant Trust, the Claimant Trustee, and the


                                                  35
                                                                                       App. 106
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-2
                          Filed 03/23/22
                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           109 of37
                                                                                  170
                                                                                    of
                                          38



 Claimant Trust Beneficiaries, and their respective successors and assigns. Any notice, direction,
 consent, waiver or other instrument or action by any Claimant Trust Beneficiary shall bind its
 successors and assigns.

       11.9 Headings; References. The headings of the various Sections herein are for
 convenience of reference only and shall not define or limit any of the terms or provisions hereof.

        11.10 Governing Law. This Agreement shall in all respects be governed by, and
 construed in accordance with the laws of the State of Delaware, including all matters of
 constructions, validity and performance.

         11.11 Consent to Jurisdiction. Each of the parties hereto, each Member (solely in their
 capacity as Members of the Oversight Board), and each Claimant Trust Beneficiary consents and
 submits to the exclusive jurisdiction of the Bankruptcy Court for any action or proceeding
 instituted for the enforcement and construction of any right, remedy, obligation, or liability
 arising under or by reason of this Agreement, the Plan or any act or omission of the Claimant
 Trustee (acting in his capacity as the Claimant Trustee or in any other capacity contemplated by
 this Agreement or the Plan), Litigation Trustee (acting in his capacity as the Litigation Trustee or
 in any other capacity contemplated by this Agreement or the Plan), the Oversight Board. or any
 individual Member (solely in their capacity as Members of the Oversight Board); provided,
 however, that if the Bankruptcy Court either declines to exercise jurisdiction over such action or
 cannot exercise jurisdiction over such action, such action may be brought in the state or federal
 courts located in the Northern District of Texas.

          11.12 Transferee Liabilities. The Claimant Trust shall have no liability for, and the
 Claimant Trust Assets shall not be subject to, any claim arising by, through or under the Debtor
 except as expressly set forth in the Plan or in this Agreement. In no event shall the Claimant
 Trustee or the Claimant Trust Beneficiaries have any personal liability for such claims. If any
 liability shall be asserted against the Claimant Trust or the Claimant Trustee as the transferee of
 the Claimant Trust Assets on account of any claimed liability of, through or under the Debtor or
 Reorganized Debtor, the Claimant Trustee may use such part of the Claimant Trust Assets as
 may be necessary to contest any such claimed liability and to pay, compromise, settle or
 discharge same on terms reasonably satisfactory to the Claimant Trustee as a Claimant Trust
 Expense.

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                                                 36
                                                                                       App. 107
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-2
                          Filed 03/23/22
                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           110 of38
                                                                                  170
                                                                                    of
                                          38



         IN WITNESS HEREOF, the parties hereto have caused this Claimant Trust Agreement to
 be duly executed by their respective officers thereunto duly authorized on the day and year first
 written above.

                                             Highland Capital Management, L.P.



                                             By:
                                                     James P. Seery, Jr.
                                                     Chief Executive Officer and
                                                     Chief Restructuring Officer

                                             Claimant Trustee


                                             By:
                                                     James P. Seery, Jr., not individually but
                                             solely in his capacity as the Claimant Trustee




                                                37
                                                                                     App. 108
Case 21-03076-sgj Doc 139 Filed 03/23/22   Entered 03/23/22 22:37:03   Page 111 of 170




                                     EXHIBIT 3

                           Litigation Sub-Trust Agreement




                                                                         App. 109
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1811-4
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                                                        01/22/21
                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            112 of
                                                                                2 of
                                                                                   170
                                                                                     23

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                              LITIGATION SUB-TRUST AGREEMENT

          This Litigation Sub-Trust Agreement, effective as of                   , 2021 (as may be
  amended, supplemented, or otherwise modified in accordance with the terms hereof, this
  “Agreement”), by and among James P. Seery, Jr., as trustee of the Highland Claimant Trust (the
  “Claimant Trustee”), [____] as Delaware Trustee, and Marc S. Kirschner as trustee (the
  “Litigation Trustee,” and together with the Claimant Trustee and Delaware Trustee, the
  “Parties”) of the Litigation Sub-Trust for the benefit of the Claimant Trust as sole Litigation Sub-
  Trust Beneficiary.

                                                  RECITALS

          WHEREAS, on October 16, 2019, Highland Capital Management, L.P. (the “Debtor”)
  filed with the United States Bankruptcy Court for the District of Delaware, a voluntary petition
  for relief under chapter 11 of the Bankruptcy Code, which case was subsequently transferred to
  the Bankruptcy Court for the Northern District of Texas, Dallas Division (the “Bankruptcy
  Court”) and captioned In re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (the
  “Chapter 11 Case”);

         WHEREAS, on November 24, 2020, the Debtor filed the Fifth Amended Plan of
  Reorganization of Highland Capital Management, L.P. [Docket No. 1472] (as may be amended,
  supplemented, or otherwise modified from time to time, the “Plan”), 1 which was confirmed by
  the Bankruptcy Court on                 , 2021, pursuant to the Findings of Fact and Order
  Confirming Plan of Reorganization for the Debtor [Docket No. •] (the “Confirmation Order”);

           WHEREAS, this Agreement, including all exhibits hereto, is the “Litigation Sub-Trust
  Agreement” described in the Plan and shall be executed on or before the Effective Date in order
  to facilitate implementation of the Plan; and

           WHEREAS, pursuant to the Plan and Confirmation Order, the Litigation Sub-Trust
  Assets are hereby to be transferred by the Claimant Trust to the Litigation Sub-Trust (each as
  defined herein) created and evidenced by this Agreement so that (i) Estate Claims can be
  investigated, prosecuted, settled, abandoned, resolved, and otherwise monetized as may be
  determined by the Litigation Trustee in accordance with the terms of the Litigation Sub-Trust
  Agreement; (ii) proceeds of Estate Claims can be remitted to the Claimant Trust as Claimant
  Trust Assets for distribution to the Claimant Trust Beneficiaries (as defined in the Claimant Trust
  Agreement) in accordance with the Plan and Claimant Trust Agreement; (iii) the Litigation
  Trustee can investigate, litigate, settle, or otherwise resolve any Filed Claims relating to the
  Estate Claims, including the Employee Claims; and (iv) administrative services relating to the
  activities of the Litigation Sub-Trust can be performed by the Litigation Trustee.




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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Plan.




                                                                                                   App. 110
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1811-4
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                                 03/23/22
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                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            113 of
                                                                                3 of
                                                                                   170
                                                                                     23




                                   DECLARATION OF TRUST

         NOW, THEREFORE, in order to declare the terms and conditions hereof, and in
  consideration of the premises and mutual agreements herein contained, the confirmation of the
  Plan and of other good and valuable consideration, the receipt and sufficiency of which are
  hereby acknowledged, the Litigation Trustee and the Claimant Trustee have executed this
  Agreement for the benefit of the Claimant Trust as provided for in the Plan.

          TO HAVE AND TO HOLD unto the Litigation Trustee and his successors or assigns in
  trust, under and subject to the terms and conditions set forth herein and for the benefit of the
  Claimant Trust, and for the performance of and compliance with the terms hereof and of the
  Plan; provided, however, that upon termination of the Litigation Sub-Trust in accordance with
  Article IX hereof, this Litigation Trust Agreement shall cease, terminate, and be of no further
  force and effect, unless otherwise specifically provided for herein.

          IT IS FURTHER COVENANTED AND DECLARED that the Litigation Sub-Trust
  Assets are to be strictly held and applied by the Litigation Trustee subject to the specific terms
  set forth below.


                                    DEFINITION AND TERMS

          1.1     Certain Definitions. Unless the context shall otherwise require and except as
  contained in this Section 1.1 or as otherwise defined herein, the capitalized terms used herein
  shall have the respective meanings assigned thereto in the “Definitions,” Section 1.1 of the Plan
  or if not defined therein, shall have the meanings assigned thereto in the applicable Section of the
  Plan. For all purposes of this Agreement, the following terms shall have the following
  meanings:

                 (a)     “Bankruptcy Court” has the meaning set forth in the Recitals hereof.

                (b)    “Cause” means (i) a Person’s willful failure to perform his material duties
  hereunder (which material duties shall include, without limitation, regular attendance at regularly
  scheduled meetings of the Oversight Board), which is not remedied within 30 days of notice; (ii)
  a Person’s commission of an act of fraud, theft, or embezzlement during the performance of his
  or her duties hereunder; (iii) a Person’s conviction of a felony with all appeals having been
  exhausted or appeal periods lapsed; or (iv) a Person’s gross negligence, bad faith, willful
  misconduct, or knowing violation of law in the performance of his or her duties hereunder.

                 (c)    “Claimant Trust Agreement” means the Claimant Trust Agreement dated
  [___], 2021, by and between the Debtor, Claimant Trustee, and Delaware Trustee.

                (d)    “Claimant Trustee” means James P. Seery, Jr., as the initial “Claimant
  Trustee” under the Claimant Trust Agreement and as defined in the Plan, and any successor
  Claimant Trustee who may be appointed pursuant to the terms of the Claimant Trust Agreement.




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                                                                                        App. 111
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1811-4
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                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            114 of
                                                                                4 of
                                                                                   170
                                                                                     23




                 (e)     “Claimant Trust” means the “Highland Claimant Trust” established in
  accordance with the Delaware Statutory Trust Act and Treasury Regulation Section 301.7701-
  4(d) pursuant to the Claimant Trust Agreement.

                (f)     “Delaware Statutory Trust Act” means the Delaware Statutory Trust Act
  12 Del C. §3801, et seq. as amended from time to time.

                 (g)    “Delaware Trustee” has the meaning set forth in the Claimant Trust
  Agreement.

                 (h)    “Disability” means as a result of the Litigation Trustee’s incapacity due to
  physical or mental illness as determined by an accredited physician or psychologist, as
  applicable, selected by the Litigation Trustee, the Litigation Trustee has been substantially
  unable to perform his or her duties hereunder for three (3) consecutive months or for an
  aggregate of 180 days during any period of twelve (12) consecutive months.

                (i)    “Estate Claims” has the meaning given to it in Exhibit A to the Notice of
  Final Term Sheet [Docket No. 354].

                 (j)    “Employee” means the employees of the Debtor set forth in the Plan
  Supplement.

                  (k)    “Employee Claims” means any General Unsecured Claim held by an
  Employee other than the Claims of the Senior Employees subject to stipulations (provided such
  stipulations are executed by any such Senior Employee of the Debtor prior to the Effective Date).

                (l)    “Litigation Sub-Trust” means the sub-trust created pursuant to this
  Agreement, and in accordance with the Delaware Statutory Trust Act and Treasury Regulation
  Section 301.7701-4(d).

                 (m)    “Litigation Sub-Trust Agreement” means this Agreement.

               (n)    “Litigation Sub-Trust Assets” means the Estate Claims and the Litigation
  Sub-Trust Expense Cash Reserve.

                 (o)    “Litigation Sub-Trust Beneficiary” means the Claimant Trust.

                 (p)    “Litigation Sub-Trust Expenses” means the costs, expenses, liabilities and
  obligations incurred by the Litigation Sub-Trust and/or the Litigation Trustee in administering
  and conducting the affairs of the Litigation Sub-Trust, and otherwise carrying out the terms of
  the Litigation Sub-Trust and the Plan on behalf of the Litigation Sub-Trust, including without
  any limitation, any taxes owed by the Litigation Sub-Trust, and the fees and expenses of the
  Litigation Trustee and professional persons retained by the Litigation Sub-Trust or Litigation
  Trustee in accordance with Article 3.12(b) of this Agreement.

                (q)   “Litigation Sub-Trust Expense Cash Reserve” means $[•] million in Cash
  to be funded by the Debtor or Reorganized Debtor, as applicable, pursuant to the Plan into a
  bank account of the Litigation Sub-Trust (or of the Claimant Trust for the benefit of the

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Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1811-4
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                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            115 of
                                                                                5 of
                                                                                   170
                                                                                     23




  Litigation Sub-Trust) on or before the Effective Date for the purpose of paying Litigation Sub-
  Trust Expenses in accordance herewith.

                (r)     “Litigation Trustee” means Marc S. Kirschner as the initial “Litigation
  Trustee” hereunder and under the Plan, and any successor Litigation Trustee who may be
  appointed pursuant to the terms of this Agreement.

                 (s)    “Oversight Board” has the meaning set forth in the Claimant Trust
  Agreement.

                 (t)    “Plan” has the meaning set forth in the Recitals hereof.

                 (u)     “Privileges” means the Debtor’s rights, title and interests in and to any
  privilege or immunity attaching to any documents or communications (whether written or oral)
  associated with any of the Estate Claims or Employee Claims, including, without limitation, to,
  attorney-client privilege and work-product privilege as defined in Rule 502(g) of the Federal
  Rules of Evidence; provided, however, that “Privileges” shall not include the work-product
  privilege of any non-Employee attorney or attorneys that has not been previously shared with the
  Debtor or any of its employees and the work-product privilege shall remain with the non-
  Employee attorney or attorneys who created such work product so long as it has not been
  previously shared with the Debtor or any of its employees, or otherwise waived.

                 (v)    “Securities Act” means the Securities Act of 1933, as amended.

                 (w)    “TIA” means the Trust Indenture Act of 1939, as amended.

                (x)     “Trust Interests” means the trust interest(s) to be distributed to the
  Claimant Trust as the sole Litigation Sub-Trust Beneficiary.

                 (y)    “Trust Register” has the meaning given to it in Section 5.3(b) hereof.

          1.2     General Construction. As used in this Agreement, the masculine, feminine and
  neuter genders, and the plural and singular numbers shall be deemed to include the others in all
  cases where they would apply. “Includes” and “including” are not limiting and “or” is not
  exclusive. References to “Articles,” “Sections” and other subdivisions, unless referring
  specifically to the Plan or provisions of the Bankruptcy Code, the Bankruptcy Rules, or other
  law, statute or regulation, refer to the corresponding Articles, Sections and other subdivisions of
  this Agreement, and the words “herein,” “hereafter” and words of similar import refer to this
  Agreement as a whole and not to any particular Article, Section, or subdivision of this
  Agreement. Amounts expressed in dollars or following the symbol “$” shall be deemed to be in
  United States dollars. References to agreements or instruments shall be deemed to refer to such
  agreements or instruments as the same may be amended, supplemented, or otherwise modified in
  accordance with the terms thereof.

        1.3     Incorporation of the Plan. The Plan is hereby incorporated into this Agreement
  and made a part hereof by this reference.



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 Case19-34054-sgj11
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                    Doc139
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                                                                       PagePage
                                                                            116 of
                                                                                6 of
                                                                                   170
                                                                                     23




                   ESTABLISHMENT OF THE LITIGATION SUB-TRUST

         2.1     Establishment of Sub-Trust.

                 (a)     The Parties, pursuant to the Plan and the Confirmation Order and in
  accordance with the applicable provisions of the Bankruptcy Code, hereby establish a statutory
  trust under the Delaware Statutory Trust Act on behalf of the Claimant Trust as the sole
  Litigation Sub-Trust Beneficiary, which shall be known as the “Highland Litigation Sub-Trust,”
  on the terms set forth herein. The Litigation Trustee may use this name in accordance with the
  terms and conditions set forth herein as the Litigation Trustee sees fit.

                  (b)    The Litigation Trustee shall cause to be executed and filed in the office of
  the Secretary of State of the State of Delaware the Certificate of Trust and agree to execute,
  acting solely in his capacity as Litigation Trustee, such certificates as may from time to time be
  required under the Delaware Statutory Trust Act or any other Delaware law.

          2.2     Nature and Purposes of the Litigation Sub-Trust. The Litigation Sub-Trust is
  organized and established as a trust for the purpose of monetizing the Estate Claims and making
  distributions to Litigation Sub-Trust Beneficiary in a manner consistent with “liquidating trust”
  status under Treasury Regulation Section 301.7701-4(d). The Litigation Sub-Trust shall serve as
  a mechanism for investigating, prosecuting, settling, resolving, and otherwise monetizing all
  Estate Claims and distributing the proceeds of such Estate Claims to the Claimant Trust in a
  timely fashion in accordance with the Plan, the Confirmation Order, and this Agreement. The
  Litigation Sub-Trust and Litigation Trustee shall have and retain any and all rights, defenses,
  cross-claims and counter-claims held by the Debtor with respect to any Estate Claim as of the
  Petition Date. Except as otherwise provided herein, the Litigation Sub-Trust shall have the sole
  responsibility for the pursuit and settlement of the Estate Claims, and, subject to the terms of the
  Claimant Trustee Agreement, the sole power and authority to allow or settle and compromise
  any Claims related to the Estate Claims, including, without limitation, Employee Claims. For the
  avoidance of doubt, the Litigation Sub-Trust, pursuant to section 1123(b)(3)(B) of the
  Bankruptcy Code and applicable state trust law, is appointed as the successor-in-interest to, and
  representative of, the Debtor and its Estate for the retention, enforcement, settlement, and
  adjustment of all Estate Claims and Employee Claims (in accordance with the terms of the
  Claimant Trust Agreement).

         2.3     Transfer of Assets and Rights to the Litigation Sub-Trust.

                  (a)    On or as soon as practicable after the Effective Date, the Claimant Trust
  shall automatically an irrevocably transfer, assign, and deliver, and shall be deemed to have
  transferred, assigned, and delivered, all Estate Claims, Employee Claims, and Privileges. For
  purposes of the transfer of documents, the Litigation Sub-Trust is an assignee and successor to
  the Debtor in respect of the Estate Claims and Employee Claims and shall be treated as such in
  any review of confidentiality restrictions in requested documents. For the avoidance of doubt,
  following the Effective Date, the Litigation Trustee shall have the power to waive the Privileges
  being so assigned and transferred.


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                                                                                        App. 114
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
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                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            117 of
                                                                                7 of
                                                                                   170
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                  (b)     Until the Litigation Sub-Trust terminates pursuant to the terms hereof,
  legal title to the Estate Claims shall be vested at all times in the Litigation Sub-Trust as a
  separate legal entity, except where applicable law in any jurisdiction requires title to any part of
  the Estate Claims to be vested in the Litigation Trustee, in which case title shall be deemed to be
  vested in the Litigation Trustee, solely in his capacity as Litigation Trustee. For purposes of
  such jurisdictions, the term Litigation Sub-Trust, as used herein, shall be read to mean the
  Litigation Trustee.

                 (c)     In accordance with section 1123(d) of the Bankruptcy Code, the Litigation
  Trustee may enforce all rights to commence and pursue, as appropriate, any and all Estate
  Claims after the Effective Date. No Person or entity may rely on the absence of a specific
  reference in the Plan to any Estate Claim against them as any indication that the Litigation
  Trustee will not pursue any and all available Estate Claims or objections against them. Unless
  any Estate Claim against a Person or Entity are expressly waived, relinquished, exculpated,
  released, compromised, or settled in the Plan or an order of the Bankruptcy Court, the Litigation
  Trustee expressly reserves all Estate Claims for later adjudication, and, therefore, no preclusion
  doctrine including the doctrine of res judicata, collateral, estoppel, issue preclusion, claim
  preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Estate
  Claims upon, after, or as a consequence of the Confirmation Order.

         2.4   Principal Office. The principal office of the Litigation Sub-Trust shall be
  maintained by the Litigation Trustee at the following address: Goldin Associates, a Teneo
  Company, 350 Fifth Avenue, New York, New York 10118.

          2.5    Acceptance. The Litigation Trustee accepts the Litigation Sub-Trust imposed by
  this Agreement and agrees to observe and perform that Litigation Sub-Trust, on and subject to
  the terms and conditions set forth herein and in the Plan.

          2.6    Further Assurances. The Claimant Trustee and any successors thereof will, upon
  reasonable request of the Litigation Trustee, execute, acknowledge and deliver such further
  instruments and do such further acts as may be necessary or proper to transfer to the Litigation
  Trustee any portion of the Claimant Trust Assets intended to be conveyed hereby and in the Plan
  in the form and manner provided for hereby and in the Plan and to vest in the Litigation Trustee
  the powers, instruments or funds in trust hereunder.

          2.7    Incidents of Ownership. The Claimant Trust shall be the sole beneficiary of the
  Litigation Sub-Trust and the Litigation Trustee shall retain only such incidents of ownership as
  are necessary to undertake the actions and transactions authorized herein.


                                  THE LITIGATION TRUSTEE

          3.1    Role. In furtherance of and consistent with the purpose of the Litigation Sub-
  Trust, the Plan, and this Agreement, the Litigation Trustee, subject to the terms and conditions
  contained herein, in the Plan, and in the Confirmation Order, shall serve as Litigation Trustee
  with respect to the Litigation Sub-Trust Assets for the benefit of the Litigation Sub-Trust
  Beneficiary and maintain, manage, and take action on behalf of the Litigation Sub-Trust.

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                                                                                        App. 115
Case
 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1811-4
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                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            118 of
                                                                                8 of
                                                                                   170
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         3.2     Authority.

                 (a)    In connection with the administration of the Litigation Sub-Trust, in
  addition to any and all of the powers enumerated elsewhere herein, the Litigation Trustee shall,
  in an expeditious but orderly manner, investigate, prosecute, settle, and otherwise resolve the
  Estate Claims. The Litigation Trustee shall have the power and authority and is authorized to
  perform any and all acts necessary and desirable to accomplish the purposes of this Agreement
  and the provisions of the Plan and the Confirmation Order relating to the Litigation Sub-Trust,
  within the bounds of this Agreement, the Plan, the Confirmation Order, and applicable law.

                 (b)      The Litigation Trustee, subject to the limitations set forth in Section 3.3 of
  this Agreement shall have the right to prosecute, defend, compromise, adjust, arbitrate, abandon,
  estimate, or otherwise deal with and settle any and all Estate Claims and Employee Claims (in
  accordance with the terms of the Claimant Trust Agreement). To the extent that any action has
  been taken to prosecute, defend, compromise, adjust, arbitrate, abandon, or otherwise deal with
  and settle any such Estate Claims or Employee Claims prior to the Effective Date, on the
  Effective Date the Litigation Trustee shall be substituted for the Debtor in connection therewith
  in accordance with Rule 25 of the Federal Rules of Civil Procedure, made applicable by Rule
  7025 of the Federal Rules of Bankruptcy Procedure, and the caption with respect to such pending
  action shall be changed to the following “Marc Kirschner, not individually but solely as
  Litigation Trustee for the Highland Litigation Sub-Trust, et al. v. [Defendant]”.

                (c)    Subject in all cases to any limitations contained herein, in the
  Confirmation Order, or in the Plan, the Litigation Trustee shall have the power and authority to:

                        (i)    hold legal title to any and all rights in or arising from the Litigation
  Sub-Trust Assets, including, but not limited to, the right to collect any and all money and other
  property belonging to the Litigation Sub-Trust (including any proceeds of the Litigation Sub-
  Trust Assets);

                         (ii)    perform the duties, exercise the powers, and asserts the rights of a
  trustee under sections 1123(b)(3)(B) of the Bankruptcy Code with respect to the Litigation Sub-
  Trust Assets, including the right to assert claims, defenses, offsets, and privileges;

                        (iii) subject to any approval of the Oversight Board that may be
  required under Section 3.3(b), protect and enforce the rights of the Litigation Sub-Trust with
  respect to any Litigation Sub-Trust Assets by any method deemed appropriate, including,
  without limitation, by judicial proceeds, or pursuant to any applicable bankruptcy, insolvency,
  moratorium, or similar law and general principles of equity;

                        (iv)   determine and satisfy any and all liabilities created, incurred, or
  assumed by the Litigation Sub-Trust;

                        (v)    subject to any approval of the Oversight Board that may be
  required under Section 3.3(b), investigate, analyze, compromise, adjust, arbitrate, mediate, sue
  on or defend, prosecute, abandon, dismiss, exercise rights, powers and privileges with respect to
  or otherwise deal with and settle, in accordance with the terms set forth in this Agreement, all

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                                                                                         App. 116
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 Case19-34054-sgj11
      21-03076-sgj Doc
                    Doc139
                        1811-4
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                                                             22:37:03
                                                                 19:14:23
                                                                       PagePage
                                                                            119 of
                                                                                9 of
                                                                                   170
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  Estate Claims, Employee Claims, or any other Causes of Action in favor of or against the
  Litigation Sub-Trust;

                        (vi)   with respect to any Estate Claim, avoid and recover transfers of the
  Debtor’s property as may be permitted by the Bankruptcy Code or applicable state law;

                         (vii) subject to applicable law, seek the examination of any Entity or
  Person with respect to the Estate Claims;

                        (viii) make all payments relating to the Litigation Sub-Trust Assets;

                         (ix)  assess, enforce, release, or waive any privilege or defense on
  behalf of the Litigation Sub-Trust, the Litigation Sub-Trust Assets, or the Litigation Sub-Trust
  Beneficiary, if applicable;

                        (x)    prepare, or have prepared, and file, if necessary, with the
  appropriate taxing authority any and all tax returns, information returns, and other required
  documents with respect to the Litigation Sub-Trust, and pay taxes properly payable by the
  Litigation Sub-Trust;

                          (xi)    if not otherwise covered by insurance coverage obtained by the
  Claimant Trust, obtain reasonable insurance coverage with respect to any liabilities and
  obligations of the Litigation Trustee, solely in his capacity as such, in the form of fiduciary
  liability insurance, a directors and officers policy, an errors and omissions policy, or otherwise.
  The cost of any such insurance shall be a Litigation Sub-Trust Expense and paid by the
  Litigation Trustee from the Litigation Sub-Trust Expense Reserve;

                        (xii) without further order of the Bankruptcy Court, but subject to the
  terms of this Agreement, employ various consultants, third-party service providers, and other
  professionals, including counsel, tax advisors, consultants, brokers, investment bankers,
  valuation counselors, and financial advisors, as the Litigation Trustee deems necessary to aid
  him in fulfilling his obligations under this Agreement; such consultants, third-party service
  providers, and other professionals shall be retained pursuant to whatever fee arrangement the
  Litigation Trustee deems appropriate, including contingency fee arrangements and any fees and
  expenses incurred by such professionals engaged by the Litigation Trustee shall be Litigation
  Sub-Trust Expenses and paid by the Litigation Trustee from the Litigation Sub-Trust Expense
  Cash Reserve;

                          (xiii) to the extent applicable, assert, enforce, release, or waive any
  Privilege or defense on behalf of the Litigation Sub-Trust (including as to any Privilege that the
  Debtor held prior to the Effective Date), including to provide any information to insurance
  carriers that the Litigation Trustee deems necessary to utilize applicable insurance coverage for
  any Claim or Claims;

                         (xiv) take all steps and execute all instruments and documents necessary
  to effectuate the purpose of the Litigation Sub-Trust and the activities contemplated herein and in
  the Confirmation Order and the Plan, and take all actions necessary to comply with the


                                                  8

                                                                                       App. 117
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           120 of10
                                                                                  170
                                                                                    of
                                          23



 Confirmation Order, the Plan, and this Agreement and the obligations thereunder and hereunder;
 and

                         (xv) exercise such other powers and authority as may be vested in or
 assumed by the Litigation Trustee by any Final Order (the foregoing subparagraphs (i)-(xv)
 being collectively, the “Authorized Acts”).

                (d)     The Litigation Trustee has the power and authority to act as trustee of the
 Litigation Sub-Trust and perform the Authorized Acts through the date such Litigation Trustee
 resigns, is removed, or is otherwise unable to serve for any reason.

                 (e)    Any determinations by the Liquidation Trustee, under the direction of the
 Oversight Board, with respect to the amount or timing of settlement or other disposition of any
 Estate Claims settled in accordance with the terms of this Agreement shall be conclusive and
 binding on the Litigation Sub-Trust Beneficiary and all other parties of interest following the
 entry of an order of a court of competent jurisdiction approving such settlement or other
 disposition to the extent required or obtained.

        3.3     Limitation of Authority.

                (a)     Notwithstanding anything herein to the contrary, the Litigation Sub-Trust
 and the Litigation Trustee shall not (i) be authorized to engage in any trade or business, (ii) take
 any actions inconsistent with the management of the Estate Claims as required or contemplated
 by applicable law, the Confirmation Order, the Plan, and this Agreement, or (iii) take any action
 in contravention of the Confirmation Order, the Plan, or this Agreement.

                 (b)    Notwithstanding anything herein to the contrary, and in no way limiting
 the terms of the Plan, the Litigation Trustee must receive the consent by vote of a simple
 majority of the Oversight Board pursuant to the notice and quorum requirements set forth in
 Section 4.5 of the Claimant Trust Agreement, in order to:

                        (i)    terminate or extend the term of the Litigation Sub-Trust;

                         (ii)     commence litigation with respect to any Estate Claims and, if
 applicable under the terms of the Claimant Trust Agreement, the Employee Claims, including,
 without limitation, to (x) litigate, resolve, or settle coverage and/or the liability of any insurer
 under any insurance policy or legal action related thereto, or (y) pursue avoidance, recovery, or
 similar remedies that may be brought under chapter 5 of the Bankruptcy Code or under similar or
 related state or federal statutes or common law, including fraudulent transfer law;

                       (iii) settle, dispose of, or abandon any Estate Claims (including any
 counterclaims to the extent such counterclaims are set off against the proceeds of any such Estate
 Claim);

                        (iv)  borrow funds as may be necessary to fund litigation or other costs
 of the Litigation Sub-Trust;



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                                                                                       App. 118
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           121 of11
                                                                                  170
                                                                                    of
                                          23



                       (v)   reserve or retain any cash or cash equivalents in the Litigation Sub-
 Trust Cash Reserve in an amount reasonably necessary to meet claims and contingent liabilities;

                        (vi)    change the compensation of the Litigation Trustee; and

                        (vii)   retain counsel, experts, advisors, or any other professionals.

                (c)     [Reserved]

         3.4    Binding Nature of Actions. All actions taken and determinations made by the
 Litigation Trustee in accordance with the provisions of this Agreement shall be final and binding
 upon the Litigation Sub-Trust Beneficiary.

        3.5     Term of Service. The Litigation Trustee shall serve as the Litigation Trustee for
 the duration of the Litigation Sub-Trust, subject to death, resignation or removal.

         3.6    Resignation. The Litigation Trustee may resign as trustee of the Litigation Sub-
 Trust by an instrument in writing delivered to the Bankruptcy Court and Oversight Board at least
 thirty (30) days before the proposed effective date of resignation. The Litigation Trustee shall
 continue to serve as Litigation Trustee after delivery of the Litigation Trustee’s resignation until
 the proposed effective date of such resignation, unless the Litigation Trustee and a [simple
 majority] of the Oversight Board consent to an earlier effective date, which earlier effective date
 shall be no earlier than the date of appointment of a successor Litigation Trustee in accordance
 with Section 3.8 hereof becomes effective.

        3.7     Removal.

                (a)    The Litigation Trustee may be removed by a [simple majority] vote of the
 Oversight Board for Cause, immediately upon notice thereof, or without Cause, upon [60 days’]
 prior written notice.

                (b)     To the extent there is any dispute regarding the removal of a Litigation
 Trustee (including any dispute relating to any compensation or expense reimbursement due
 under this Agreement) the Bankruptcy Court shall retain jurisdiction to consider and adjudicate
 such dispute. Notwithstanding the foregoing, the Litigation Trustee will continue to serve as the
 Litigation Trustee after his removal until the earlier of (i) the time when a successor Litigation
 Trustee will become effective in accordance with Section 3.8 of this Agreement or (ii) such date
 as the Bankruptcy Court otherwise orders.

        3.8     Appointment of Successor.

                (a)     Appointment of Successor. In the event of a vacancy by reason of the
 death, Disability, or removal of the Litigation Trustee, or prospective vacancy by reason of
 resignation, a successor Litigation Trustee shall be selected by a [simple majority] vote of the
 Oversight Board. If Members of the Oversight Board are unable to secure a majority vote, the
 Bankruptcy Court will determine the successor Litigation Trustee on motion of the Members. If
 a final decree has been entered closing the Chapter 11 Case, the Litigation Trustee may seek to
 reopen the Chapter 11 Case for the limited purpose of determining the successor Litigation

                                                  10

                                                                                       App. 119
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
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                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           122 of12
                                                                                  170
                                                                                    of
                                          23



 Trustee, and the costs for such motion and costs related to re-opening the Chapter 11 Case shall
 be paid by the Litigation Sub-Trust, or the Claimant Trust on behalf of the Litigation Sub-Trust.
 The successor Litigation Trustee shall be appointed as soon as practicable, but in any event no
 later than sixty (60) days after the occurrence of the vacancy or, in the case of resignation, on the
 effective date of the resignation of the then acting Litigation Trustee.

                 (b)     Vesting or Rights in Successor Litigation Trustee. Every successor
 Litigation Trustee appointed hereunder shall execute, acknowledge, and deliver to the Litigation
 Sub-Trust, the Claimant Trustee, the exiting Litigation Trustee, the Oversight Board, and file
 with the Bankruptcy Court, an instrument accepting such appointment subject to the terms and
 provisions hereof. The successor Litigation Trustee, without any further act, deed, or
 conveyance shall become vested with all the rights, powers, trusts and duties of the exiting
 Litigation Trustee except that the successor Litigation Trustee shall not be liable for the acts or
 omissions of the retiring Litigation Trustee. In no event shall the retiring Litigation Trustee be
 liable for the acts or omissions of the successor Litigation Trustee.

                 (c)     Interim Litigation Trustee. During any period in which there is a vacancy
 in the position of Litigation Trustee, the Oversight Board shall appoint one of its Members or the
 Claimant Trustee to serve as the interim Litigation Trustee (the “Interim Trustee”) until a
 successor Litigation Trustee is appointed pursuant to Section 3.8(a). The Interim Trustee shall
 be subject to all the terms and conditions applicable to a Litigation Trustee hereunder. Such
 Interim Trustee shall not be limited in any manner from exercising any rights or powers as a
 Member of the Oversight Board or Claimant Trustee, as applicable, merely by such Person’s
 appointment as Interim Trustee.

         3.9     Continuance of Litigation Sub-Trust. The death, resignation, or removal of the
 Litigation Trustee shall not operate to terminate the Litigation Sub-Trust created by this
 Agreement or to revoke any existing agency (other than any agency of the Litigation Trustee as
 the Litigation Trustee) created pursuant to the terms of this Agreement or invalidate any action
 taken by the Litigation Trustee. In the event of the resignation or removal of the Litigation
 Trustee, the Litigation Trustee shall promptly (i) execute and deliver, by the effective date of
 resignation or removal, such documents, instruments, records, and other writings as may be
 reasonably requested by his successor to effect termination of the exiting Litigation Trustee’s
 capacity under this Agreement and the conveyance of the Estate Claims then held by the exiting
 Litigation Trustee to the successor Litigation Trustee; (ii) deliver to the successor Litigation
 Trustee all non-privileged documents, instruments, records, and other writings relating to the
 Litigation Sub-Trust as may be in the possession or under the control of the exiting Litigation
 Trustee, provided, the exiting Litigation Trustee shall have the right to make and retain copies of
 such documents, instruments, records and other writings delivered to the successor Litigation
 Trustee and the cost of making such copies shall be a Litigation Sub-Trust Expense to be paid by
 the Litigation Sub-Trust; and (iii) otherwise assist and cooperate in effecting the assumption of
 the exiting Litigation Trustee’s obligations and functions by his successor, provided the fees and
 expenses of such assistance and cooperation shall be paid to the exiting Litigation Trustee by the
 Litigation Sub-Trust. The exiting Litigation Trustee shall irrevocably appoint the successor
 Litigation Trustee as his attorney-in-fact and agent with full power of substitution for it and its
 name, place and stead to do any and all acts that such exiting Litigation Trustee is obligated to
 perform under this Section 3.9.

                                                  11

                                                                                       App. 120
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
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                                Filed 01/22/21
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                                                   03/23/22
                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           123 of13
                                                                                  170
                                                                                    of
                                          23



         3.10 Litigation Trustee as “Estate Representative”. The Litigation Trustee will be the
 exclusive trustee of the Litigation Sub-Trust Assets, for purposes of 31 U.S.C. § 3713(b) and 26
 U.S.C. § 6012(b)(3), as well as the representative of the Estate appointed pursuant to section
 1123(b)(3)(B) of the Bankruptcy Code (the “Estate Representative”) with respect to the Estate
 Claims, with all rights and powers attendant thereto, in addition to all rights and powers granted
 in the Plan and in this Agreement. The Litigation Trustee will be the successor-in-interest to the
 Debtor with respect to any action pertaining to the Estate Claims, which was or could have been
 commenced by the Debtor prior to the Effective Date, except as otherwise provided in the Plan
 or Confirmation Order. All actions, claims, rights or interests constituting or relating to Estate
 Claims are preserved and retained and may be enforced by the Litigation Trustee as an Estate
 Representative.

        3.11    Books and Records.

                (a)     The Litigation Trustee shall maintain, in respect of the Litigation Sub-
 Trust and the Claimant Trust, books and records pertinent to Estate Claims in its possession and
 the income of the Litigation Sub-Trust and payment of expenses, liabilities, and claims against or
 assumed by the Litigation Sub-Trust in such detail and for such period of time as may be
 necessary to enable it to make full and proper accounting in respect thereof. Such books and
 records shall be maintained as reasonably necessary to facilitate compliance with the tax
 reporting requirements of the Litigation Sub-Trust and the requirements of Article VII herein.
 Except as otherwise provided herein, nothing in this Agreement requires the Litigation Trustee to
 file any accounting or seek approval of any court with respect to the administration of the
 Litigation Sub-Trust, or as a condition for managing any payment or distribution out of the
 Litigation Sub-Trust. Notwithstanding the foregoing, the Litigation Trustee shall to retain such
 books and records, and for such periods, with respect to any Reorganized Debtor Assets as are
 required to be retained pursuant to Section 204-2 of the Investment Advisers Act or any other
 applicable laws, rules, or regulations.

                 (b)    The Litigation Trustee may dispose some or all of the books and records
 maintained by the Litigation Trustee at the later of (i) such time as the Litigation Trustee
 determines, with the unanimous consent of the Oversight Board, that the continued possession or
 maintenance of such books and records is no longer necessary for the benefit of the Litigation
 Sub-Trust, including with respect to the Estate Claims, or (ii) upon the termination and winding
 up of the Litigation Sub-Trust under Article IX of this Agreement.

        3.12    Reports.

                 (a)    Financial and Status Reports. The fiscal year of the Litigation Sub-Trust
 shall be the calendar year. Within 90 days after the end of each calendar year during the term of
 the Litigation Sub-Trust, and within 45 days after the end of each calendar quarter during (other
 than the fourth quarter) the term of the Litigation Sub-Trust and as soon as practicable upon
 termination of the Litigation Sub-Trust, the Litigation Trustee shall make available upon request
 to the Oversight Board or Litigation Sub-Trust Beneficiary appearing on its records as of the end
 of such period or such date of termination, a written report including: (i) unaudited financial
 statements of the Litigation Sub-Trust for such period, and, if the end of a calendar year, an
 unaudited report (which may be prepared by an independent certified public accountant

                                                12

                                                                                     App. 121
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
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                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           124 of14
                                                                                  170
                                                                                    of
                                          23



 employed by the Litigation Trustee) reflecting the result of such agreed-upon procedures relating
 to the financial accounting administration of the Litigation Sub-Trust as proposed by the
 Litigation Trustee; (ii) a summary description of any action taken by the Litigation Sub-Trust
 that, in the judgment of the Litigation Trustee, materially affects the Litigation Sub-Trust and of
 which notice has not previously been given to the Oversight Board or Litigation Sub-Trust
 Beneficiary, provided, that any such description shall not include any privileged or confidential
 information of the Litigation Trustee; and (iii) a description of the progress of liquidating the
 Litigation Sub-Trust Assets and making distributions to the Litigation Sub-Trust Beneficiary and
 any other material information relating to the Litigation Sub-Trust Assets and the administration
 of the Litigation Sub-Trust deemed appropriate to be disclosed by the Litigation Trustee, which
 description shall include a written report detailing, among other things, the litigation status of the
 Estate Claims transferred to the Litigation Sub-Trust, any settlements entered into by the
 Litigation Sub-Trust with respect to the Estate Claims, the proceeds recovered to date from
 Estate Claims, and the distributions made by the Litigation Sub-Trust.

                (b)    Annual Plan and Budget. If instructed by the Oversight Board, the
 Litigation Trustee shall prepare and submit to the Oversight Board for approval an annual plan
 and budget in such detail as reasonably requested.

        3.13    Compensation and Reimbursement; Engagement of Professionals.

                (a)     Compensation and Expenses.

                        (i)    Compensation. As compensation for any services rendered by the
 Litigation Trustee in connection with this Agreement, the Litigation Trustee shall receive initial
 compensation in a manner and amount as agreed upon by the Committee. Any additional
 compensation or compensation of a Successor Litigation Trustee shall be determined by the
 Oversight Board.

                        (ii)    Expense Reimbursements. All reasonable out-of-pocket expenses
 of the Litigation Trustee in the performance of his or her duties hereunder, shall be reimbursed as
 Litigation Sub-Trust Expenses paid by the Litigation Sub-Trust.

                (b)     Professionals.

                       (i)     Engagement of Professionals. The Litigation Trustee shall engage
 professionals from time to time in conjunction with the services provided hereunder. The
 Litigation Trustee’s engagement of such professionals shall be approved by a majority of the
 Oversight Board as set forth in Section 3.3(b) hereof.

                      (ii)  Fees and Expenses of Professionals. The Litigation Trustee shall
 pay the reasonable fees and expenses of any retained professionals as Litigation Sub-Trust
 Expenses.

         3.14 Reliance by Litigation Trustee. Except as otherwise provided herein, the
 Litigation Trustee may rely, and shall be fully protected in acting or refraining from acting, on
 any resolution, statement, certificate, instrument, opinion, report, notice, request, consent, order
 or other instrument or document that the Litigation Trustee has no reason to believe to be other

                                                  13

                                                                                        App. 122
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                        1811-4
                          Filed 03/23/22
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           125 of15
                                                                                  170
                                                                                    of
                                          23



 than genuine and to have been signed or presented by the proper party or parties or, in the case of
 facsimiles, to have been sent by the proper party or parties, and the Litigation Trustee may
 conclusively rely as to the truth of the statements and correctness of the opinions or direction
 expressed therein. The Litigation Trustee may consult with counsel and other professionals, and
 any advice of such counsel or other professionals shall constitute full and complete authorization
 and protection in respect of any action taken or not taken by the Litigation Trustee in accordance
 therewith. The Litigation Trustee shall have the right at any time to seek instructions from the
 Bankruptcy Court, or any other court of competent jurisdiction concerning Estate Claims, this
 Agreement, the Plan, or any other document executed in connection therewith, and any such
 instructions given shall be full and complete authorization in respect of any action taken or not
 taken by the Litigation Trustee in accordance therewith. The Litigation Sub-Trust shall have the
 right to seek Orders from the Bankruptcy Court as set forth in Article IX of the Plan.

        3.15 Commingling of Litigation Sub-Trust Assets. The Litigation Trustee shall not
 commingle any of the Litigation Sub-Trust Assets with his or her own property or the property of
 any other Person.

         3.16 [Delaware Trustee. The Delaware Trustee shall have the power and authority,
 and is hereby authorized and empowered, to (i) accept legal process served on the Litigation
 Sub-Trust in the State of Delaware; and (ii) execute any certificates that are required to be
 executed under the Statutory Trust Act and file such certificates in the office of the Secretary of
 State of the State of Delaware, and take such action or refrain from taking such action under this
 Agreement as may be directed in a writing delivered to the Delaware Trustee by the Litigation
 Trustee; provided, however, that the Delaware Trustee shall not be required to take or to refrain
 from taking any such action if the Delaware Trustee shall believe, or shall have been advised by
 counsel, that such performance is likely to involve the Delaware Trustee in personal liability or
 to result in personal liability to the Delaware Trustee, or is contrary to the terms of this
 Agreement or of any document contemplated hereby to which the Litigation Sub-Trust or the
 Delaware Trustee is or becomes a party or is otherwise contrary to law. The Parties agree not to
 instruct the Delaware Trustee to take any action or to refrain from taking any action that is
 contrary to the terms of this Agreement or of any document contemplated hereby to which the
 Litigation Sub-Trust or the Delaware Trustee is or becomes party or that is otherwise contrary to
 law. Other than as expressly provided for in this Agreement, the Delaware Trustee shall have no
 duty or power to take any action for or on behalf of the Litigation Sub-Trust.]


                                  THE OVERSIGHT BOARD

        The Oversight Board shall be governed by Article IV of the Claimant Trust Agreement.


                                      TRUST INTERESTS

         5.1    Litigation Sub-Trust Interests. On the date hereof, the Litigation Sub-Trust shall
 issue Trust Interests to the Claimant Trust as the sole Litigation Sub-Trust Beneficiary. The
 Litigation Sub-Trust Beneficiary shall be entitled to distributions from the Litigation Sub-Trust
 Assets in accordance with the terms of the Plan and this Agreement.

                                                 14

                                                                                      App. 123
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           126 of16
                                                                                  170
                                                                                    of
                                          23



         5.2    Transferability of Trust Interests. No transfer, assignment, pledge, hypothecation,
 or other disposition of a Trust Interest may be effected.

         5.3     Exemption from Registration. The Parties hereto intend that the rights of the
 Litigation Sub-Trust Beneficiary arising under this Litigation Sub-Trust shall not be “securities”
 under applicable laws, but none of the Parties represent or warrant that such rights shall not be
 securities or shall not be entitled to exemption from registration under the applicable securities
 laws. The Oversight Board, acting unanimously, and Litigation Trustee may amend this
 Agreement in accordance with Article IX hereof to make such changes as are deemed necessary
 or appropriate with the advice of counsel, to ensure that the Litigation Sub-Trust is not subject to
 registration and/or reporting requirements of the Securities Act, the Exchange Act, the TIA, or
 the Investment Company Act. The Trust Interests shall not have consent or voting rights or
 otherwise confer on the Litigation Sub-Trust Beneficiary any rights similar to the rights of a
 shareholder of a corporation in respect of any actions taken or to be taken, or decisions made or
 to be made, by the Oversight Board and/or the Litigation Trustee under this Agreement.


                                        DISTRIBUTIONS

         6.1     Distributions. The Litigation Trustee shall distribute Cash proceeds of the Estate
 Claims to the Claimant Trust within 30 days of receipt of such Cash proceeds, net of any
 amounts that (a) are reasonably necessary to maintain the value of the Litigation Sub-Trust
 Assets pending their monetization or other disposition during the term of the Litigation Sub-
 Trust, (b) are necessary to pay or reserve for reasonably incurred or anticipated Litigation Sub-
 Trust Expenses and any other expenses incurred by the Litigation Sub-Trust (including, but not
 limited to, any taxes imposed on or payable by the Litigation Trustee with respect to the
 Litigation Sub-Trust Assets), and (c) are necessary to satisfy or reserve for other liabilities
 incurred or anticipated by the Litigation Trustee in accordance with the Plan and this Agreement
 (including, but not limited to, indemnification obligations and similar expenses).

        6.2     Manner of Payment or Distribution. All distributions made by the Litigation
 Trustee on behalf of the Litigation Sub-Trust to the Litigation Sub-Trust Beneficiary shall be
 payable by the Litigation Trustee directly to the Claimant Trust, as sole Litigation Sub-Trust
 Beneficiary, on the date scheduled for the distribution, unless such day is not a Business Day,
 then such date or the distribution shall be the following Business Day, but such distribution shall
 be deemed to have been completed as of the required date.

         6.3    Delivery of Distributions. All distributions under this Agreement to the Claimant
 Trust shall be made pursuant to wire instructions provided by the Claimant Trustee to the
 Litigation Trustee.


                                         TAX MATTERS

         7.1     Tax Treatment and Tax Returns. It is intended that the Litigation Sub-Trust will
 be treated as a grantor trust for federal income tax purposes (and foreign, state, and local income
 tax purposes where applicable) the sole beneficiary of which is the Claimant Trust. Consistent

                                                 15

                                                                                       App. 124
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                        1811-4
                          Filed 03/23/22
                                Filed 01/22/21
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           127 of17
                                                                                  170
                                                                                    of
                                          23



 with such treatment, it is intended that the transfer of the Litigation Sub Trust Assets from the
 Claimant Trust to the Litigation Sub Trust will be treated as a non-event for federal income tax
 purposes (and foreign, state, and local income tax purposes where applicable). Further, because
 the Claimant Trust is itself intended to be treated as a grantor trust for federal income tax
 purposes (and foreign, state, and local income tax purposes where applicable),it is intended that
 the beneficiaries of the Claimant Trust will be treated as the grantor of the Litigation Sub-Trust
 and owner of the Litigation Sub-Trust Assets for federal income tax purposes (and foreign, state,
 and local income tax purposes where applicable). The Litigation Trustee shall cooperate with
 the Claimant Trustee in connection with the preparation and filing of any federal income tax
 returns (and foreign, state, and local income tax returns where applicable) or information
 statements relating to the Litigation Sub Trust Assets.

         7.2     Withholding. The Litigation Trustee may withhold from any amount distributed
 from the Litigation Sub-Trust to the Litigation Sub-Trust Beneficiary such sum or sums as are
 required to be withheld under the income tax laws of the United States or of any state or political
 subdivision thereof. Any amounts withheld pursuant hereto shall be deemed to have been
 distributed to and received by the Litigation Sub-Trust Beneficiary. As a condition to receiving
 any distribution from the Litigation Sub-Trust, the Litigation Trustee may require that the
 Litigation Sub-Trust Beneficiary provide such holder’s taxpayer identification number and such
 other information and certification as may be deemed necessary for the Litigation Trustee to
 comply with applicable tax reporting and withholding laws.


                     STANDARD OF CARE AND INDEMNIFICATION

         8.1     Standard of Care. None of the Litigation Trustee, acting in his capacity as the
 Litigation Trustee or in any other capacity contemplated by this Agreement or the Plan, the
 Oversight Board, or any individual Member, solely in their capacity as Members of the
 Oversight Board, shall be personally liable to the Litigation Sub-Trust or to any Person
 (including the Litigation Sub-Trust Beneficiary and Claimant Trust Beneficiaries) in connection
 with the affairs of the Litigation Sub-Trust, unless it is ultimately determined by order of the
 Bankruptcy Court or, if the Bankruptcy Court either declines to exercise jurisdiction over such
 action, or cannot exercise jurisdiction over such action, such other court of competent
 jurisdiction that the acts or omissions of any such Litigation Trustee, Oversight Board, or
 Member constituted fraud, willful misconduct, or gross negligence. The employees, agents and
 professionals retained by the Litigation Sub-Trust, the Litigation Trustee, or Oversight Board
 shall not be personally liable to the Litigation Sub-Trust or any other Person in connection with
 the affairs of the Litigation Sub-Trust, unless it is ultimately determined by order of the
 Bankruptcy Court or, if the Bankruptcy Court either declines to exercise jurisdiction over such
 action, or cannot exercise jurisdiction over such action, such other court of competent
 jurisdiction that such acts or omissions by such employee, agent, or professional constituted
 willful fraud, willful misconduct or gross negligence. None of the Litigation Trustee, Oversight
 Board, or any Member shall be personally liable to the Litigation Sub-Trust or to any Person for
 the acts or omissions of any employee, agent or professional of the Litigation Sub-Trust or
 Litigation Trustee, unless it is ultimately determined by order of the Bankruptcy Court or, if the
 Bankruptcy Court either declines to exercise jurisdiction over such action, or cannot exercise
 jurisdiction over such action, such other court of competent jurisdiction that the Litigation

                                                 16

                                                                                      App. 125
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                        1811-4
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                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           128 of18
                                                                                  170
                                                                                    of
                                          23



 Trustee, Oversight Board, or Member acted with gross negligence or willful misconduct in the
 selection, retention, or supervision of such employee, agent or professional of the Litigation Sub-
 Trust.

         8.2     Indemnification. The Litigation Trustee (including each former Litigation
 Trustee), Oversight Board, and all past and present Members (collectively, the “Indemnified
 Parties”) shall be indemnified by the Litigation Sub-Trust against and held harmless by the
 Litigation Sub-Trust from any losses, claims, damages, liabilities or expenses (including, without
 limitation, attorneys’ fees, disbursements, and related expenses) to which the Indemnified Parties
 may become subject in connection with any action, suit, proceeding or investigation brought or
 threatened against any of the Indemnified Parties in their capacity as Litigation Trustee,
 Oversight Board, or Member, or in connection with any matter arising out of or related to the
 Plan, this Agreement, or the affairs of the Litigation Sub-Trust, unless it is ultimately determined
 by order of the Bankruptcy Court or other court of competent jurisdiction that the Indemnified
 Party’s acts or omissions constituted willful fraud, willful misconduct, or gross negligence. If
 the Indemnified Party becomes involved in any action, proceeding, or investigation in connection
 with any matter arising out of or in connection with the Plan, this Agreement or the affairs of the
 Litigation Sub-Trust for which an indemnification obligation could arise, the Indemnified Party
 shall promptly notify the Litigation Trustee and/or Oversight Board, as applicable; provided,
 however, that the failure of an Indemnified Party to promptly notify the Litigation Trustee and/or
 Oversight Board of an indemnification obligation will not excuse the Litigation Sub-Trust from
 indemnifying the Indemnified Party unless such delay has caused the Litigation Sub-Trust
 material harm. The Litigation Sub-Trust shall periodically advance or otherwise reimburse on
 demand the Indemnified Party’s reasonable legal and other expenses (including, without
 limitation, the cost of any investigation and preparation and attorney fees, disbursements, and
 related expenses) incurred in connection therewith as a Litigation Sub-Trust Expense, but the
 Indemnified Party shall be required to repay promptly to the Litigation Sub-Trust the amount of
 any such advanced or reimbursed expenses paid to the Indemnified Party to the extent that it
 shall be ultimately determined by Final Order that the Indemnified Party engaged in willful
 fraud, misconduct, or negligence in connection with the affairs of the Litigation Sub-Trust with
 respect to which such expenses were paid. The Litigation Sub-Trust shall indemnify and hold
 harmless the employees, agents and professionals of the Litigation Sub-Trust and Indemnified
 Parties to the same extent as provided in this Section 8.2 for the Indemnified Parties. For the
 avoidance of doubt, the provisions of this Section 8.2 shall remain available to any former
 Litigation Trustee or Member or the estate of any decedent Litigation Trustee or Member. The
 indemnification provided hereby shall be a Litigation Sub-Trust Expense.

        8.3     To the extent applicable, the provisions and protections set forth in Article IX of
 the Plan will apply to the Litigation Sub-Trust, the Litigation Trustee, Oversight Board, and the
 Members.


                                         TERMINATION

        9.1     Duration. The Litigation Trustee, the Litigation Sub-Trust, and the Oversight
 Board shall be discharged or dissolved, as the case may be, at such time as the Litigation Trustee
 determines that the Estate Claims is not likely to yield sufficient additional proceeds to justify

                                                 17

                                                                                       App. 126
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
                          Filed 03/23/22
                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           129 of19
                                                                                  170
                                                                                    of
                                          23



 further pursuit of such Estate, and all Distributions required to be made by the Litigation Trustee
 to the Litigation Sub-Trust Beneficiary under the Plan and this Agreement have been made, but
 in no event shall the Litigation Sub-Trust be dissolved later than [three years] from the Effective
 Date unless the Bankruptcy Court, upon motion made within the six-month period before such
 third anniversary (and, in the event of further extension, by order of the Bankruptcy Court, upon
 motion made at least six months before the end of the preceding extension), determines that a
 fixed period extension (not to exceed two years, together with any prior extensions) is necessary
 to facilitate or complete the recovery on, and liquidation of, the Litigation Sub-Trust Assets.

         9.2      Continuance of the Litigation Trustee for Winding Up. After dissolution of the
 Litigation Sub-Trust and for purpose of liquidating and winding up the affairs of the Litigation
 Sub-Trust, the Litigation Trustee shall continue to act as such until the Litigation Trustee’s duties
 have been fully performed. Prior to the final distribution of all remaining Litigation Sub-Trust
 Assets, the Litigation Trustee shall be entitled to reserve from such assets any and all amounts
 required to provide for the Litigation Trustee’s own costs and expenses, including a reserve to
 fund any potential indemnification or similar obligations of the Litigation Sub-Trust, until such
 time as the winding up of the Litigation Sub-Trust is completed. Upon the dissolution of the
 Litigation Sub-Trust and completion of the winding up of the assets, liabilities and affairs of the
 Litigation Sub-Trust pursuant to the Delaware Statutory Trust Act, the Litigation Trustee shall
 file a certificate of cancellation with the State of Delaware to terminate the Litigation Sub-Trust
 pursuant to Section 3810 of the Delaware Statutory Trust Act (such date upon which the
 certificate of cancellation is filed shall be referred to as the “Termination Date”). Subject in all
 respects to 3.11, upon the Termination date, the Litigation Trustee shall retain for a period of two
 (2) years, as a Litigation Sub-Trust Expense, the books, records, and certificated and other
 documents and files that have been delivered to or created by the Litigation Trustee. Subject in
 all respects to Section 3.11, at the Litigation Trustee’s discretion, all of such records and
 documents may, but need not, be destroyed at any time after two (2) years from the Termination
 Date.

         9.3   Termination of Duties. Except as otherwise specifically provided herein, upon
 the Termination Date of the Litigation Sub-Trust, the Litigation Trustee, the Oversight Board,
 and its Members shall have no further duties or obligations hereunder.


                                 AMENDMENTS AND WAIVER

        The Litigation Trustee, with the consent of a simple majority of the Oversight Board,
 may amend this Agreement to correct or clarify any non-material provisions. This Agreement
 may not otherwise be amended, supplemented, otherwise modified, or waived in any respect
 except by an instrument in writing signed by the Litigation Trustee and with the unanimous
 approval of the Oversight Board, and the approval of the Bankruptcy Court, after notice and a
 hearing; provided that the Litigation Trustee must provide the Oversight Board with prior written
 notice of any non-material amendments, supplements, modifications, or waivers of this
 Agreement.




                                                  18

                                                                                       App. 127
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
                          Filed 03/23/22
                                Filed 01/22/21
                                           Entered
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                                                   03/23/22
                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           130 of20
                                                                                  170
                                                                                    of
                                          23




                                        MISCELLANEOUS

         11.1 Trust Irrevocable. Except as set forth in this Agreement, establishment of the
 Litigation Sub-Trust by this Agreement shall be irrevocable and shall not be subject to
 revocation, cancellation or rescission by the Litigation Sub-Trust Beneficiary.

         11.2 Litigation Sub-Trust Beneficiary has No Legal Title to Litigation Sub-Trust
 Assets. The Litigation Sub-Trust Beneficiary shall have no legal title to any part of the
 Litigation Sub-Trust Assets.

        11.3 Agreement for Benefit of Parties Only. Nothing herein, whether expressed or
 implied, shall be construed to give any Person other than the Litigation Trustee, Oversight
 Board, and the Litigation Sub-Trust Beneficiary any legal or equitable right, remedy or claim
 under or in respect of this Agreement. The Litigation Sub-Trust Assets shall be held for the sole
 and exclusive benefit of the Litigation Sub-Trust Beneficiary.

         11.4 Notices. All notices, directions, instructions, confirmations, consents and requests
 required or permitted by the terms hereof shall, unless otherwise specifically provided herein, be
 in writing and shall be sent by first class mail, facsimile, overnight mail or in the case of mailing
 to a non-United States address, air mail, postage prepaid, addressed to:

                (a)     If to the Litigation Trustee:

                                Marc S. Kirschner
                                c/o Goldin Associates LLC, a Teneo Company
                                350 Fifth Avenue
                                New York, New York 10118

                With a copy to:

                                [insert contact for counsel to the Litigation Trustee].

                (b)     If to the Claimant Trustee:

                                Claimant Trustee
                                c/o [insert contact info for Claimant Trustee]

                With a copy to:

                                Pachulski Stang Ziehl & Jones LLP
                                10100 Santa Monica Blvd, 13th Floor
                                Los Angeles, CA 90067
                                Attn: Jeffrey Pomerantz (jpomerantz@pszjlaw.com)
                                       Ira Kharasch (ikharasch@pszjlaw.com)
                                       Gregory Demo (gdemo@pszjlaw.com)



                                                  19

                                                                                       App. 128
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
                      139
                        1811-4
                          Filed 03/23/22
                                Filed 01/22/21
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                                                        01/22/21
                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           131 of21
                                                                                  170
                                                                                    of
                                          23



        Notice mailed shall be effective on the date mailed or sent. Any Person may change the
 address at which it is to receive notices under this Agreement by furnishing written notice
 pursuant to the provisions of this Section 11.4 to the entity to be charged with knowledge of such
 change.

         11.5 Severability. Any provision hereof which is prohibited or unenforceable in any
 jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such prohibition or
 unenforceability without invalidating the remaining provisions hereof, and any such prohibition
 or unenforceability in any jurisdiction shall not invalidate or render unenforceable such
 provisions in another jurisdiction.

        11.6 Counterparts. This Agreement may be executed by the parties hereto in separate
 counterparts, each of which when so executed and delivered shall be an original, but all such
 counterparts shall together constitute but one and the same instrument.

         11.7 Binding Effect, etc. All covenants and agreements contained herein shall be
 binding upon, and inure to the benefit of, the Litigation Sub-Trust, the Litigation Trustee, and the
 Litigation Sub-Trust Beneficiary, and their respective successors and assigns. Any notice,
 direction, consent, waiver or other instrument or action by any Litigation Sub-Trust Beneficiary
 shall bind its successors and assigns.

       11.8 Headings; References. The headings of the various Sections herein are for
 convenience of reference only and shall not define or limit any of the terms or provisions hereof.

        11.9 Governing Law. This Agreement shall in all respects be governed by, and
 construed in accordance with the laws of the State of Delaware, including all matters of
 constructions, validity and performance.

         11.10 Consent to Jurisdiction. Each of the parties hereto, each Member (solely in their
 capacity as Members of the Oversight Board), and each Claimant Trust Beneficiary consents and
 submits to the exclusive jurisdiction of the Bankruptcy Court for any action or proceeding
 instituted for the enforcement and construction of any right, remedy, obligation, or liability
 arising under or by reason of this Agreement, the Plan or any act or omission of the Claimant
 Trustee (acting in his capacity as the Claimant Trustee or in any other capacity contemplated by
 this Agreement or the Plan), Litigation Trustee (acting in his capacity as the Litigation Trustee or
 in any other capacity contemplated by this Agreement or the Plan), the Oversight Board. or any
 individual Member (solely in their capacity as Members of the Oversight Board); provided,
 however, that if the Bankruptcy Court either declines to exercise jurisdiction over such action or
 cannot exercise jurisdiction over such action, such action may be brought in the state or federal
 courts located in the Northern District of Texas.

         11.11 Transferee Liabilities. The Litigation Sub-Trust shall have no liability for, and
 the Litigation Sub-Trust Assets shall not be subject to, any claim arising by, through or under the
 Debtor except as expressly set forth in the Plan or in this Agreement. In no event shall the
 Litigation Trustee or the Litigation Sub-Trust Beneficiary have any personal liability for such
 claims. If any liability shall be asserted against the Litigation Sub-Trust or the Litigation Trustee
 as the transferee of the Litigation Sub-Trust Assets on account of any claimed liability of,

                                                  20

                                                                                       App. 129
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                        1811-4
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           132 of22
                                                                                  170
                                                                                    of
                                          23



 through or under the Debtor or Reorganized Debtor, the Litigation Trustee may use such part of
 the Litigation Sub-Trust Assets as may be necessary to contest any such claimed liability and to
 pay, compromise, settle or discharge same on terms reasonably satisfactory to the Litigation
 Trustee as a Litigation Sub-Trust Expense.

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                                               21

                                                                                   App. 130
Case 19-34054-sgj11
     21-03076-sgj Doc
                    Doc
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                        1811-4
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                                Filed 01/22/21
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                                                            22:37:03
                                                                 19:14:23
                                                                      Page Page
                                                                           133 of23
                                                                                  170
                                                                                    of
                                          23



         IN WITNESS HEREOF, the parties hereto have caused this Litigation Trust Agreement
 to be duly executed by their respective officers thereunto duly authorized on the day and year
 first written above.

                                            Claimant Trustee



                                            By:
                                                   James P. Seery, Jr., not individually but
                                                   solely in his capacity as the Claimant
                                                   Trustee



                                            Litigation Trustee



                                            By:
                                                    Marc S. Kirschner, not individually but
                                            solely in his capacity as the Litigation Trustee




                                              22

                                                                                   App. 131
Case 21-03076-sgj Doc 139 Filed 03/23/22   Entered 03/23/22 22:37:03   Page 134 of 170




                                     EXHIBIT 4

       Fourth Amended and Restated Agreement of Limited Partnership of HCMLP




                                                                         App. 132
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
                      109-3
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                                                               20:06:11 Page
                                                                          Page
                                                                             135
                                                                               2
                                                                               46of
                                                                                 ofof37
                                                                                     170
                                                                                      83




                          FOURTH AMENDED AND RESTATED

                       AGREEMENT OF LIMITED PARTNERSHIP

                                          OF

                       HIGHLAND CAPITAL MANAGEMENT, L.P.




 THE PARTNERSHIP INTERESTS REPRESENTED BY THIS LIMITED PARTNERSHIP
 AGREEMENT HAVE
             HA VE NOT BEEN REGISTERED UNDER THE SECURITIES ACT OP 1933 OR
 UNDER ANY STATE SECURITIES ACTS IN RELIANCE UPON EXEMPTIONS UNDER THOSE
 ACTS. THE SALE OR OTHER DISPOSITION OF THE PARTNERSHIP INTERESTS IS
 PROHIBITED UNLESS THAT SALE OR DISPOSITION IS MADE IN COMPLIANCE WITH ALL
 SUCH APPLICABLE ACTS. ADDITIONAL RESTRICTIONS ON TRANSFER OF THE
 PARTNERSHIP INTERESTS ARE SET FORTH IN THIS AGREEMENT.




                                                                          App. 133
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8
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                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             136
                                                                               3
                                                                               47of
                                                                                 ofof37
                                                                                     170
                                                                                      83



                                  FOURTH AMENDED AND RESTATED
                                AGREEMENT OF LIMITED PARTNERSHIP
                                               Of'
                                               OF
                                HIGHLAND CAPITAL MANAGEMENT, L.P.

                                                    TABLE OF CONTENTS

 ARTICLE 1     GENERAL .......................................................................................................................... 1]
       1.1.    Continuation ........................................................................................................................ 11
       1.2.    Name ................................................................................................................................... !1
       1.3.    Purpose ................................................................................................................................ 1
       1.4.    Tern1 .................................................................................................................................... 1I
               Term.
       1.5.    Partnership Offices; Addresses of Partners.         Partners ......................................................................... 1I

 ARTICLE
 ARTICIX 2     DEFINITIONS
               DEF IN ITl()NS .................................................................................................................... 2
       2.1.    Definitions
               Definitions ........................................................................................................................... 2
       2.2.    Other Definitions
                     Definitions ................................................................................................................. 6

 ARTICLE 3     FINANCIAL MATTERS .................................................................................................... 6
       3. l.
      3.1.     Capital Contributions .......................................................................................................... 6
      3.2.     Allocations of Profits and Losses ........................................................................................ 8
      3.3.     Allocations on Transfers ..................................................................................................... 9
      3.4.     Special Allocations .............................................................................................................. 9
      3.5.     Curative Allocations.......................................................................................................... 10     I0
      3.6.     Code Section 704(c)
                                704( c) Allocations ....................................................................................... 10       l0
      3.7.     Capital Accounts ............................................................................................................... 11   11
      3.8.     Distributive Share for Tax Purpose ................................................................................... 12
      3.9.     Distributions
               [)istributions ...................................................................................................................... 12
      3.10.    Compensation and Reimbursement of General Partner .................................................... 14
      3 .11.
      3.11.    Books, Records, Accounting, and Reports ........................................................................ 14
      3.12.    Tax Matters ....................................................................................................................... 14

ARTICLE
ARTICLE44      RIGHTS AND OBLIGATIONS OF PARTNERS ........................................................... 15
     4.1.      Rights and Obligations of the General Partner .................................................................. 15
     4.2.      Rights and Obligations of Limited Partners ...................................................................... 19
     4.3.      Transfer of Partnership Interests ....................................................................................... 19
     4.4.      Issuances of
                         or Partnership Interests to New and Existing Partners ...................................... 21                 21
     4.5.      Withdrawal of General Partner ......................................................................................... 21
     4.6.      Admission of Substitute Limited Partners and Successor General Partner ....................... 21

ARTICLE 5      DISSOLUTION AND WINDING UP .............................................................................. 22
     5.1.      Dissolution ........................................................................................................................ 22
      5.2.     Continuation of the Partnership ......................................................................................... 23
     5.3.      Liquidation ........................................................................................................................ 23
     5.4.      Distribution in Kind .......................................................................................................... 24
     5.5.      Cancellation of Certificate of Limited Partnership ........................................................... 24
     5.6.      Return of Capital ............................................................................................................... 24
     5.7.      Waiver of Partition.
                          Partition ............................................................................................................ 24

ARTICLE 6      GENERAL PROVISIONS ................................................................................................ 24
      6.1.     Amendments
               A1nendn1ents to Agreement
                               Agreement. .............................................................................................. 24




                                                                                                                                    App. 134
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8
                          Filed
                             Filed
                                 03/23/22
                                   08/27/21
                                   11/05/21 Entered
                                              Entered
                                                    03/23/22
                                                      08/27/21
                                                      11/05/21
                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             137
                                                                               4
                                                                               48of
                                                                                 ofof37
                                                                                     170
                                                                                      83



       6.2.     Addresses and Notices .................. .. .............................................................................. 25
       6.3.     Titles and Captions ............................................................................................................ 25
       6.4.     Pronouns and Plurals ......................................................................................................... 25
       6.5.     Further
                 Further Action ................................................................................................................... 25
       6.6.     Binding Effect ................................................................................................................... 25
       6.7.     Integration ......................................................................................................................... 25
       6.8.     Creditors ........................................................................................................................... . 25
       6.9.     Waiver ............................................................................................................................... 25
       6.10.    Counterparts ...................................................................................................................... 25
       6.11.    Applicable
                1\pplieable Law ................................................................................................................. 25
       6.12.    Invalidity of Provisions ..................................................................................................... 25
       6.13.
       6. 13.   Mandatory
                lvtandatory Arbitration....................................................................................................... 26




                                                                      ii
                                                                      II



                                                                                                                                   App. 135
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8
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                                   08/27/21
                                   11/05/21 Entered
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                                                      08/27/21
                                                      11/05/21
                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             138
                                                                               5
                                                                               49of
                                                                                 ofof37
                                                                                     170
                                                                                      83



                              FOURTH AMENDED AND RESTATED
                            AGREEMENT OF LIMITED PARTNERSHIP
                                           OF
                            HIGHLAND CAPITAL MANAGEMENT, L.P.

         THIS FOURTH AMENDED AND RESTATED    RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                         24 1h day of December, 2015, to be effective as of December 24, 2015, by and
 is entered into on this 24th
 among Strand Advisors, Inc., a Delaware corporation ("Strand"), as General Partner, the Limited Partners
                                                                                                 Pat1ners
 party hereto, and any Person hereinafter admitted as a Limited Partner.
                                                                Pai1ner.

        Certain terms used in this Agreement are defined in Article 2.

                                              ARTICLE 11

                                              GENERAL

        1.1.     Continuation. Subject to the provisions of this Agreement, the Partners
                                                                                Pa11ners hereby continue
the Partnership as a limited partnership pursuant to the provisions of the Delaware Act. Act. Except as
expressly provided herein, the rights and obligations of the Partners and the administration and
termination of the Partnership shall be governed by the Delaware Act.
                                                                 Act.

        1.2.     Name. The name of the Partnership shall be, and the business of the Partnership shall be
conducted under the name of Highland Capital Management, L.P.  L.P. The General Partner, in its sole and
                                                                              from time to time and shall
unfettered discretion, may change the name of the Partnership at any time and from
provide Limited Partners with written notice of such name change within twenty (20) days after such
name change.

         1.3.    Purpose. The purpose and business of the Partnership shall be the conduct of any
business or activity that may lawfully be conducted by a limited partnership organized pursuant to the
Delaware Act. Any or all of the foregoing activities may be conducted directly by the Partnership or
indirectly through another partnership, joint venture, or other arrangement.

        1.4.     Term. The Partnership was formed as a limited partnership on July 7.
                                                                                   7, 1997.
                                                                                      1997, and shall
continue until terminated pursuant to this Agreement.

         1.5.   Partnership Offices; Addresses of Partners.

                 (a)      Partnership Offices. The registered office of the Partnership in the State of
                     IO 13 Centre Road, Wilmington, Delaware 19805-1297, and its registered agent for
Delaware shall be 1013
service of process on the Partnership at that registered office shall be Corporation Service Company, or
such other registered office or registered agent as the General Partner may from time to time designate.
                                                                                  Dallas, Texas 75201, or
The principal office of the Partnership shall be 300 Crescent Court, Suite 700, Dallas,
sueh other place as the General Partner may from time to time designate. The Partnership
such                                                                             Pai1nership may maintain
offices at such other place or places as the General Partner deems advisable.

                (b)     Addresses of Partners. The address of the General Partner is 300
                                                                                     3 00 Crescent Court,
Suite 700, Dallas, Texas 75201. The address of each Limited Partner shall be the address of that Limited
Partner appearing on the books and records of the Partnership. Each Limited Partner agrees to provide
the General Partner with prompt written notice of any change in his/her/its address.




                                                                                           App. 136
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8
                          Filed
                             Filed
                                 03/23/22
                                   08/27/21
                                   11/05/21 Entered
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                                                      08/27/21
                                                      11/05/21
                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             139
                                                                               6
                                                                               50of
                                                                                 ofof37
                                                                                     170
                                                                                      83



                                                 ARTICLE 2

                                               DEFINITIONS

         2.1.    Definitions. The following definitions shall apply to the terms used in this Agreement,
 unless otherwise clearly indicated to the contrary in this Agreement:

                  "Ach&howl Capital Contribution" has the meaning set forth in Section 3.1(b) of this
 Agreement.

                 "Adjusted
                 ·'Adjusted Capital
                              Cllpita/ Account Deficit"
                                                      Deficit" means, with respect to any Partner, the deficit
balance, if any,
            an), in the Capital Account
                                  Aceount of that Partner as of the end of the relevant Fiscal Year, or other
relevant period, giving effect to all adjustments previously made thereto pursuant to Section 3.7 and
further adjusted as follows:
                    follows: (i) credit to that Capital Account, any amounts which that Partner is obligated
or deemed obligated to restore pursuant to any provision of this Agreement or pursuant to Treasury
Regulations Section 1.704-1(b)(2)(ii)(c);
                        l. 704-1 (b )(2)(ii)(c ); (ii) debit to that Capital Account, the items described in
Treasury Regulations Sections 1.704-1(b)(2)(ii)(d)(4),
                                    l.704-l(b)(2)(ii)(d)(4), (5) and (6); and (iii) to the extent required under
the Treasury Regulations, credit to that Capital Account (A) that Partner's share of "minimum gain" and
(B) that Partner's share of "partner
                                "paitner nonrecourse debt minimum gain." (Each Partner's share of the
minimum gain and partner nonrecourse debt minimum gain shall be determined under Treasury
Regulations Sections 1.704-2(g)
                       l .704-2(g) and 1.704-2(i)(5),
                                          l .704-2(i)(5), respectively.)

                 "Affiliate"
                 ··Affiliate" means any Person that directly or indirectly controls, is controlled by, or is
under common control with the Person in question. As used in this definition, the term "control"
                                                                                             ·'controf' means
the possession,
    possession. directly or indirectly, of the power to direct or cause the direction of the management and
policies of a Person, whether through ownership of voting Securities, by contract or otherwise.
                                                                                       otherwise .

                 "Agreement"
                  ..Agreement" means this Fourth Amended and Restated Agreement of Limited
Partnership, as it may be amended, supplemented, or restated from time to time.

                "Business Day"
                           Day" means Monday through Friday of each week, except that a legal holiday
recognized as such by the government of the United States or the State of Texas shall not be regarded as a
Business Day.

                  "Capital
                  ·'Capital Account" means the capital
                                               eapital account maintained for a Partner pursuant to
Section 3.7(a).

                "Capital Contribution" means, with respect to any Partner, the amount of money or
property contributed to the Partnership
                            Pa1tnership with respect to the interest in the Partnership held by that Person.

               "Certificate of Limited Partnership"
                                        Partnership" means the Certificate
                                                               Ce1tificate of Limited Partnership filed
with the Secretary of State of Delaware by the General Partner, as that Certificate
                                                                          Cettificate may be amended,
supplemented or restated from time to time.

                 "Class A Limited Partners" means those Partners holding a Class A Limited Partnership
Interest, as shown on Exhibit A.

                  "Class A Limited Partnership Interest"
                                               Interest" means a Partnership Interest held by a Partner in
its capacity as a Class A Limited Partner."
                                  Partner.''




                                                      2

                                                                                                App. 137
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
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                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             140
                                                                               7
                                                                               51of
                                                                                 ofof37
                                                                                     170
                                                                                      83



                  "Class B Limited Partner" means those Partners holding a Class B Limited Partnership
 Interest, as shown on ==~~·
                       Exhibit A.

                   "Class B Limited Partnership Interest" means a Partnership Interest held by a Partner in
                                   Partner.-
 its capacity as a Class B Limited Partner."

                               NA V Ratio Trigger Period" means any period during which the Class B
                  ''Cfa.t:;s B NAV
                  "Class
Limited Partner's aggregate capital contributions, including the original principal balance of the
              Note. and reduced by the aggregate amount of distributions to the Class B Limited Partner,
Contribution Note,
exceed 75 percent of the product of the Class B Limited Partner's Percentage Interest multiplied by the
total book value of the Partnership; provided, however, that the General Partner shall only be required to
                     NA V Ratio Trigger Period annually, as of the last day of each calendar year; provided
test for a Class B NAV
further the General Partner must complete the testing within 180 days of the end of each calendar year;
                                                       NA V Ratio Trigger Period, the General Partner may,
provided further that if the test results in a Class B NAV
at its own election, retest at any time to determine the end date of the Class B NAV Ratio Trigger Period.

                                  Partner" means those Partners holding a Class C Limited Partnership
                 "Class C Limited Partner"
Interest, as shown on Exhibit A.

                  "Class C Limited  Partnership Interest" means a Partnership Interest held by a Partner
                           Lirnited Partners/tip                                                 Pa11ner in
its capacity as a Class C Limited Partner."

                "Class C NAV
                          NA V Ratio Trigger Period"
                                                Period" means any period during which an amount equal to
$93,000,000.00 reduced by the aggregate amount of distributions to the Class C Limited Partner after the
Effective Date exceeds 75 percent of the product of the Class C Limited Partner's Percentage Interest
multiplied by the total book value of the Partnership; provided, however, that the General Partner shall
                                         NA V Ratio Trigger Period annually, as of the last day of each
only be required to test for a Class C NAV
calendar year; provided further the General Partner must complete the testing within 180 days of the end
of each calendar year; provided further that if the test results in a Class C NAV
                                                                              NA V Ratio Trigger Period, the
General Partner may, at its own election, retest at any time to determine the end date of the Class C NAV
                                                                                                      NA V
Ratio Trigger Period.

                "Code"
                "Code'' means the Internal Revenue Code of 1986, as amended and in effect from time to
time.

              "Contribution
              ''Contribution Note"
                             Note" means that certain Secured Promissory Note dated December 21,
2015 by and among Hunter Mountain Investment Trust, as maker, and the Partnership as Payee.

                "Default
                ''Default Loan" has the meaning set forth in Section 3.1(c)(i).
                                                                     3 .1( c)(i).

                "Defaulting Partner"
                            Partner." has the meaning set forth in Section 3.1(c).
                                                                           3.1 (c).

                "Delaware Act" means the Delaware Revised Uniform
                                                            Unifonn Limited Partnership
                                                                              Pai1nership Act, Part
                                                                                               Pai1 IV,
Title C, Chapter 17 of the Delaware Corporation Law Annotated, as it may be amended, supplemented or
restated from time to time, and any successor to that Act.

                "Effective Date" means the date first recited above.

                "Fiscal  Year" has the meaning set forth in Section 3.11(b).
                ''Fiscal Year''                                     3.1 l(b).




                                                     3

                                                                                             App. 138
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8
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                                                      08/27/21
                                                      11/05/21
                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             141
                                                                               8
                                                                               52of
                                                                                 ofof37
                                                                                     170
                                                                                      83



                "Founding Partner Group" means, all partners holding partnership interests in
                                                                                           m the
 Partnership immediately before the Effective Date.

                 "General Partner"
                           Partner'' means any Person who (i) is referred to as such in the first paragraph
 of this Agreement, or has become a General Partner pursuant to the terms of this Agreement; and (ii) has
 not ceased to be a General Partner pursuant to the terms of this Agreement.

                 "Limited Partner"
                           Partner'' means any Person who (i) is referred to as such in the first paragraph
 of this Agreement, or has become a Limited Partner pursuant to the terms of this Agreement, and (ii) has
 not ceased to be a Limited Partner pursuant to the terms of this Agreement.

                    "Liquidator" has the meaning set forth in Section 5.3.

                "Losses" means, for each Fiscal Year, the losses and deductions of the Partnership
determined in accordance with accounting principles consistently applied from year to year employed
under the Partnership's method of accounting and as reported, separately or in the aggregate, as
appropriate. on the Partnership's information tax return filed for federal income tax purposes, plus any
appropriate,
expenditures described in Code Section 705(a)(2)(B).

                  "Majority
                  ''Majori(v Interest"
                             Interest'' means the owners of more than fifty percent (50%)
                                                                                    ( 50%) of the Percentage
 Interests of Class A Limited Partners.

               "NAV
               ''NA V Ratio
                      Ratio Trigger Period"
                                    Period" means a Class B NAV
                                                            NA V Ratio Trigger Period or a Class C
NAV
NA V Ratio Trigger Period.

                  "Net Increase
                        Increase in
                                  in Working Capital Accounts" means the excess of (i) Restricted Cash
plus Management and Incentive Fees Receivable plus Other Assets plus Deferred Incentive Fees
Receivable less Accounts Payable less Accrued and Other Liabilities as of the end of the period being
measured over (ii) Restricted Cash plus Management and Incentive Fees Receivable plus Other Assets
plus Deferred Incentive Fees Receivable less Accounts Payable less Accrued and Other Liabilities as of
the beginning of the period being measured; provided, however, that amounts within each of the
aforementioned categories shall be excluded from the calculation to the extent they are specifically
identified as being derived from investing or financing activities. Each of the capitalized terms in this
definition shall have the meaning given them in the books and records of the Partnership and appropriate
adjustments may be made to the extent the Partnership adds new ledger accounts to its books and records
that are current assets or current liabilities.

               "New
               ''New Issues"
                      Issues" means Securities that are considered to be "new issues," as defined in the
Conduct Rules of the National Association of Securities Dealers, Inc.

                  "Nonrecourse Deduction" has the meaning set forthfo1th in Treasury Regulations Section
1.704-2(b)(1),                                                  1. 704-2( c ).
I. 704-2(b )(I), as computed under Treasury Regulations Section 1.704-2(c).

                    "Nonrecourse
                    "No11recour.\·e Liability"
                                    Liability'' has the meaning set forth in Treasury Regulations Section
1.704-2(b)(3).
l. 704-2(b )(3 ).

                "Operating Cash
                              Cash Flow"
                                     Flow" means Total Revenue less Total Operating Expenses plus
Depreciation & Amortization less Net Increase in Working Capital Accounts year over year. Each of the
capitalized terms in this definition shall have the meaning given them in the books and records of the
Partnership.



                                                       4

                                                                                             App. 139
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8
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                                                      08/27/21
                                                      11/05/21
                                                             22:37:03
                                                               17:34:12
                                                               20:06:11 Page
                                                                          Page
                                                                             142
                                                                               9
                                                                               53of
                                                                                 ofof37
                                                                                     170
                                                                                      83



                    Paniter- means a General Partner or a Limited Partner.
                   "Parmer''

                             No11recourse Debt" has the meaning set forth in Treasury Regulations Section
                   -Partner Nonrecourse
                   "Part11er
 1.704-2(6)(4).
 l .704-2(b)(4).

                -Partner              Deductions- has the meaning set forth in Treasury Regulations
                 "Partner Nonrecourse Deductions"
Section 1.704-2(1)(2).
        l .704-2(i)(2).

                                                     Gain'' has the meaning set forth in
                                          11-finimum Gain"
                "Partner Nonrecourse Debt Minimum                                     m Treasury
 Regulations Section 1.704-2(i)(5).

                "'Partners/zip'' means Highland Capital Management, L.P., the Delaware limited
                "Partnership"
partnership established pursuant to this Agreement.

                             Capitaf' means, as of any relevant date, the net book value of the
                "Partnership Capital"
Partnership's assets.

                ''Part11ersltip Interest"
                "Partnership    Interest" means the interest acquired by a Partner in the Partnership
including, without limitation, that Partner's right: (a) to an allocable share of the Profits, Losses,
deductions, and credits of the Partnership; (b) to a distributive share of the assets of the Partnership; (c) if
a Limited Partner, to vote on those matters described in this Agreement; and (d) if the General Partner, to
manage and operate the Partnership.
                         Pa1inership.

                                                                   fo1ih in Treasury Regulations Section
                   "Partners/tip Minimum Gain" has the meaning set forth
                   "Partnership
1.704-2(d).
l. 704-2( d).

                ·'Percentage Interest"
                "Percentage  Interest" means the percentage set forth opposite each Partner's name on
Exhibit A as such Exhibit may be amended from time to time in accordance with this Agreement.

                "Person" means an individual or a corporation, partnership, trust, estate, unincorporated
organization, association, or other entity.

                   "Priority Distributions" has the meaning set forth
                                                                f01ih in Section 3.9(b).

                "Profits'' means, for each Fiscal Year, the income and gains of the Partnership
                "Profits"
determined in accordance with accounting principles consistently applied from year to year employed
under the Partnership's method of accounting and as reported, separately or in the aggregate, as
appropriate, on the Partnership's information tax return filed for federal income tax purposes, plus any
income described in Code Section 705(a)(1)(B).
                                   705(a)( 1)(B).

                 "Profits Interest Partner"
                                     Partner" means any Person who is issued a Partnership Interest that is
treated as a "profits interest" for federal income tax purposes.

                         Notes" means those certain Secured Promissory Notes of even date herewith
               "Purchase Notes"
by and among Hunter Mountain Investment Trust, as maker, and The Dugaboy Investment Trust, The
Mark K. Okada, The Mark and Pamela Okada Family Trust — Exempt Trust    1, and The Mark K. Okada,
                                                                 Trust##1,
The Mark and Pamela Okada Family Trust -— Exempt Trust #2, each
"rile                                                      eaeh as Payees of the respective Secured
Promissory Notes.




                                                       5

                                                                                                App. 140
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              143
                                                                               10
                                                                                54of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




                   "Record
                   ·'Record Date"
                            Date'' means the date established by the General Partner for determining the
 identity of Limited Partners entitled to vote or give consent to Partnership action or entitled to exercise
 rights in respect of any other lawful action of Limited Partners.

               "Second Amended Buy-Sell and Redemption Agreement"
                                                         Agreement'' means that certain Second
Amended and Restated Buy-Sell and Redemption Agreement, dated December 21, 2015, to be effective
as of December 21, 2015 by and between the Partnership and its Partners, as may be amended,
supplemented, or restated from time to time.

                   "Securities"             following: (i) securities of any kind (including, without limitation,
                   ''Securities·' means the following:
·'securities" as that term is defined in Section 2(a)( I) of the Securities Act; (ii) commodities of any kind
"securities"
(as that term is defined by the U.S. Securities Laws and the rules and regulations promulgated
thereunder): (iii) any contracts for future or forward delivery of any security, commodity or currency; (iv)
thereunder);
any contracts based on any securities or group of securities, commodities or currencies; (v) any options on
any contracts referred to in clauses (iii) or (iv); or (vi) any evidences of indebtedness (including
participations in or assignments of bank loans or trade credit claims). The items set forth in clauses (i)
through (vi) herein include, but are not limited to, capital stock, common stock, preferred stock,
convertible securities, reorganization certificates, subscriptions, warrants, rights, options, puts, calls,
                         interests. debentures, notes, certificates of deposit, letters of credit, bankers
bonds, mutual fund interests,
ai..:ceptances, trust receipts and other securities of any corporation or other entity, whether readily
acceptances,
marketable or not, rights and options, whether granted or written by the Partnership or by others, treasury
bills, bonds and notes, any securities or obligations issued or guaranteed by the United States or any
foreign country or any state or possession of the United States or any foreign country or any political
subdivision or agency or instrumentality of any of the foregoing, and derivatives of any of the foregoing.
                                                                                                    foregoing.

                 "Securities Act" means the Securities Act of 1933, as amended, and any successor to
such statute.

                                     Partner" has the meaning set forth in Section 4.6(a).
                 "Substitute Limited Partner"

                 "Transfer" or derivations thereof,
                                           thereof~ of a Partnership Interest means, as a noun, the transfer,
       assignment. exchange, pledge, hypothecation or other disposition of a Partnership Interest, or any
sale, assignment,
      thereoC directly or indirectly, and as a verb, voluntarily or involuntarily to transfer, sell, assign,
part thereof,
exchange, pledge, hypothecate or otherwise dispose of.
                                                     oC

                "Treasury Regulations"
                          Regulations" means the Department of Treasury Regulations promulgated
under the Code, as amended and in effect (including corresponding provisions of succeeding regulations).

        2.2.   Other Definitions. All terms used in this Agreement that are not defined in this Article 2
have the meanings contained elsewhere in this Agreement.

                                                 ARTICLE 3

                                         FINANCIAL MATTERS

        3.1.     Capital Contributions.

                  (a)      Initial Capital Contributions. The initial Capital Contribution of each Partner
shall be set forth in the books and records of the Partnership.

                 (b)     Additional Capital Contributions.


                                                       6

                                                                                                 App. 141
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              144
                                                                               11
                                                                                55of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




                         (i)      The General Partner, in its reasonable discretion and for a bona fide
 business purpose, may request in writing that the Founding Partner Group make additional Capital
 Contributions in proportion to their Percentage                     ''Additional Capital
                                      Percentage Interests (each, an "Additional  Capitlll Contribution").
                                                                                           Contribution").

                           (ii)
                           (ii)     Any failure by a Partner to make an Additional Capital Contribution
 requested under Section 3.1(b)(i) on or before the date on which that Additional Capital Contribution was
 due shall result in the Partner being in default.

                  (c)     Consequences to Defaulting Partners. In the event a Partner is in default under
 =====:c..:~~
 Section 3.1(b) (a "Defaulting Partner"),
                               Partner''), the Defaulting Partner, in its sole and unfettered discretion, may
 elect to take either one of the option set forth below.

                            (i)       Default Loans. If If the Defaulting
                                                               Defaulting Partner so elects, the General Partner
 shall make a loan to the Defaulting
                              Defaulting Partner in an amount equal to that Defaulting Partner's additional
capital contribution (a "Default Loan").
                                      Loan"). A Default Loan shall be deemed advanced on the date actually
advanced. Default Loans shall earn interest on the outstanding principal amount thereof at a rate equal to
 the Applicable Federal Mid-Term Rate (determined by the Internal Revenue Service for the month in
 which the loan is deemed made) from the date actually advanced until the same is repaid in full.  full. The term
of any Default
         Default Loan shall be six (6) months, unless otherwise extended by the General PartnerPa1iner in its sole
and unfettered discretion. If   If the General Partner makes a Default Loan, the Defaulting Partner shall not
receive any distributions pursuant to Section 3.9(a) or Section 5.3 or any proceeds from the Transfer of all
or any part of its Partnership
                      Patinership Interest while the Default
                                                        Default Loan remains unpaid. Instead, the Defaulting
                                                                                                        Defaulting
Partner's share of distributions or such other proceeds shall (until all Default Loans and interest thereon
shall have been repaid in full)
                             full) first be paid to the General Partner.
                                                                Partner. Such payments shall be applied first to
the payment of interest on such Default Loans and then to the repayment of the principal amounts thereof,
but shall be considered, for all other purposes of this Agreement, to have been distributed to the
Defaulting Partner. The Defaulting
                             Defaulting Partner shall be liable for the reasonable fees and expenses incurred
by the General Partner (including, without limitation, reasonable attorneys' fees and disbursements) in
connection with any enforcement or foreclosure upon any Default Loan and such costs shall, to the extent
enforceable under applicable law, be added to the principal amount of the applicable Default Loan. In
addition,
addition. at any time during the term of such Default Loan, the Defaulting Partner shall have the right to
repay,
 repay, in full,
           full, the Default Loan (including interest and any other charges). If  If the General Partner makes a
Default Loan,
          Loan. the Defaulting Partner shall be deemed to have pledged to the General Partner and granted
to the General Partner
                   Pa1iner a continuing first priority security interest in, all of the Defaulting Partner's
                                                                                                          Patiner's
Partnership
Pa1inership Interest to secure the payment of the principal of,      of, and interest on, such Default Loan in
accordance with the provisions hereof, and for such purpose this Agreement shall constitute a security
agreement. The Defaulting Partner shall promptly execute, acknowledge and deliver such financing         financing
statements, continuation statements or other documents and take such other actions as the General Partner
shall request in writing in order to perfect or continue the perfection of such security interest; and, if the
Defaulting Partner shall fail to do so within seven (7) days after the Defaulting Partner's receipt of a
notice making demand therefor, the General Partner is hereby appointed the attorney-in-fact of, and is
hereby authorized on behalf of, the Defaulting Partner, to execute, acknowledge and deliver all such
documents and take all such other actions as may be required to perfect such security interest. Such
appointment and authorization are coupled with an interest and shall be irrevocable. The General Partner    Patiner
shall, prior to exercising any right or remedy (whether at law,  law, in equity or pursuant to the terms hereof)
available to it in connection with such security interest, provide to the Defaulting Partner Partner a notice, in
reasonable detail, of the right or remedy to be exercised and the intended timing of such exercise which
shall not be less than five (5) days following
                                        following the date of such notice.




                                                        7

                                                                                                   App. 142
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
                             Filed
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                                  03/23/22
                                   08/27/21
                                    11/05/21 Entered
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              145
                                                                               12
                                                                                56of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



                        (ii)
                        ( ii)     Reduction of Percentage Interest. If the Defaulting Partner does not elect
to obtain a Default Loan pursuant to Section 3.1(c)(i),
                                                3.](c)(i), the General Partner shall reduce the Defaulting
Partner's Percentage Interest in accordance with the following formula:
                                                                formula:

         The Defaulting Partner's new Percentage Interest shall equal the product of (1)     (I) the
         Defaulting Partner's current Percentage Interest,
                                                   Interest multiplied by (2) the quotient of (a) the
         current Capital Account of the Defaulting Partner (with such Capital Account determined
         after taking into account a revaluation of the Capital Accounts immediately prior to such
         determination), divided by (b) the sum of (i) the current Capital Account of the
         Defaulting Partner (with such Capital Account determined after taking into account a
         revaluation of the Capital Accounts immediately prior to such determination), plus (ii)
         the amount of the additional capital contribution that such Defaulting Partner failed to
         make when due.

To the extent any downward adjustment is made to the Percentage Interest of a Partner pursuant to this
        3. ](c)(ii), any resulting benefit shall accrue to the Partners (other than the Defaulting Partner) in
Section 3.1(c)(ii),
proportion to their respective Percentage Interests.

         3.2.       Allocations of Profits and Losses.

                (a)      Allocations of Profits. Except as provided in Sections 3.4, 3.5, and 3.6, Profits
                                                                    in===~-''
for any Fiscal Year will be allocated to the Partners as follows:
                                                         follows:

                            (i)      First, to the Partners until cumulative Profits allocated under this Section
3.2(a)(i) for all prior periods equal the cumulative Losses allocated to the Partners under Section
3.21_b)(iii)
3.2(b)(iii) for all prior periods in the inverse order in which such Losses were allocated; and

                             (ii)       Next, to the Partners until cumulative Profits allocated under this Section
3.2(a)(ii)    for all prior periods      equal the cumulative Losses allocated to the Partners under Section
3.2(b)(ii)   for all prior periods in   the inverse order in which such Losses were allocated; and

                            (iii)       Then, to all Partners
                                                     Patiners in proportion to their respective Percentage
Interests.

                (b)      Allocations of Losses. Except as provided in Sections 3.4,
                                                                               3 .4, 3.5,
                                                                                     3 .5, and 3.6,
                                                                                               3 .6, Losses
for any Fiscal Year will be will be allocated as follows:
                                                 follows:

                             (i)      First, to the Partners until cumulative Losses allocated under this Section
3 .2(b
3.2(b)(i)
       )(i) for  all  prior periods   equal   the cumulative Profits allocated to the Partners under Section
3 .2(a)(iii) for all prior periods in the inverse order in which such Profits were allocated; and
3.2(a)(iii)

                          (ii)    Next, to the Partners in proportion to their respective positive Capital
Account balances until the aggregate Capital Account balances of the Partners
                                                                         Pa11ners (excluding
                                                                                   ( excluding any negative
Capital Account balances) equal zero; provided, however, losses shall first be allocated to reduce amounts
that were last allocated to the Capital Accounts of the Partners; and

                            (iii)       Then, to all Partners in proportion to their respective Percentage
Interests.




                                                            8

                                                                                                    App. 143
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                   08/27/21
                                    11/05/21 Entered
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                                                     03/23/22
                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              146
                                                                               13
                                                                                57of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



                 (c)
                 (c)    Limitation on Loss Allocations. If any allocation of Losses would cause a
 Limited Partner to have an Adjusted Capital Account Deficit, those Losses instead shall be allocated to
 the General Partner.

          3.3.     Allocations on Transfers. Taxable items of the Partnership attributable to a Partnership
 Interest that has been Transferred (including the simultaneous decrease in the Partnership Interest of
           Pai1ners resulting from the admission of a new Partner) shall be allocated in accordance with
 existing Partners
 Section 4.3(d).
          4.3( d).

         3.4.    Special Allocations. If the requisite stated conditions or facts are present, the following
special allocations shall be made in the following order:

                 (a)       Partnership Minimum Gain Chargeback.
                                                      Chargcback. Notwithstanding any other provision of
this Article 3, if there is a net decrease in Partnership Minimum Gain during any taxable year or other
period for which allocations are made, prior to any other allocation under this Agreement, each Partner
shall be specially allocated items of Partnership income and gain for that period (and, if necessary,
subsequent periods) in proportion to, and to the extent of,
                                                          oL an amount equal to that Partner's share of the
net decrease in Partnership Minimum Gain during that year determined in accordance with Treasury
Regulations Section 1.704-2(g)(2).
                       I .704-2(g)(2). The items to be allocated shall be determined in accordance with
Treasury Regulations Section 1.704-2(g). This Section 3.4(a) is intended to comply with the partnership
minimum gain chargeback requirements of the Treasury Regulations and shall be subject to all exceptions
provided therein.

                (b)      Partner Nonrecourse Debt Minimum Gain Chargeback. Notwithstanding any
other provision of this Article 3 (other than Section 3.4(a)), if there is a net decrease in Partner
Nonrecourse Debt Minimum Gain with respect to a Partner Nonrecourse
                                                              Nonreeourse Debt during any taxable year or
other period for which allocations are made, any Partner with a share of such Partner Nonrecourse Debt
Minimum Gain as of the beginning of the year shall be specially allocated items of Partnership income
and gain for that period (and, if necessary, subsequent periods in an amount equal to that Partner's share
or the net decrease in the Partner
of                           Pa11ner Nonrecourse Debt Minimum Gain during that year determined in
                                                   l.704-2(g)(2). The items to be so allocated shall be
accordance with Treasury Regulations Section 1.704-2(g)(2).
determined in accordance with Treasury Regulations Section 1.704-2(g).
                                                               l .704-2(g). This Section 3.4(b) is intended
to comply with the partner nonrecourse debt minimum gain chargeback requirements of the Treasury
Regulations, shall be interpreted consistently with the Treasury Regulations and shall be subject to all
exceptions provided therein.

                 (c)      Oualified
                          Qualified Income Offset. If a Partner unexpectedly receives any adjustments,
                                                                            I. 704-1 (b )(2)(ii)( d)( 4 ), (d)(5)
allocations or distributions described in Treasury Regulations Sections 1.704-1(b)(2)(ii)(d)(4),           (d)(5) or
(d)(6), then items of Partnership income and gain shall be specially allocated to each such Partner in an
amount and manner sufficient to eliminate, to the extent required by the Treasury Regulations, the
Adjusted Capital Account Deficit of the Partner as quickly as possible; provided, however, an allocation
pursuant to this Section 3.4(c)
                           3 .4( c) shall be made if and only to the extent that the Partner would have an
Adjusted Capital Account Deficit after all other allocations provided for in this Article 3 have been
tentatively made without considering this Section 3.4(c).

                  (d)
                  ( d)    Gross Income Allocation. If a Partner has a deficit Capital Account at the end of
any Fiscal Year of the Partnership that exceeds the sum of (i)   ( i) the amount the Partner is obligated to
restore, and (ii) the amount the Partner is deemed to be obligated to restore pursuant to the penultimate
                                              I. 704-2(g)(l) and 1.704-2(i)(5),
sentences of Treasury Regulations Sections 1.704-2(g)(1)          1. 704-2(i)(5), then each such Partner shall
be specially allocated items of income and gain of the Partnership in the amount of the excess as quickly
as possible; provided, however, an allocation pursuant to this Section 3.4(4)
                                                                          3 .4(d) shall be made if and only to

                                                         9

                                                                                                    App. 144
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                  03/23/22
                                   08/27/21
                                    11/05/21 Entered
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              147
                                                                               14
                                                                                58of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




 the extent that the Partner would have a deficit Capital Account in excess of that sum after all other
 allocations provided for in this Article 3 have been tentatively made without considering Section 3.4(c) or
 3.4(d).

                 (e)
                 ( e)   Nonrecourse Deductions. Nonrecourse
                                                  Nonrecourse Deductions for any taxable year or other
 period for which allocations are made shall he allocated among the Partners in accordance with their
 Percentage interests.

                (f)
                 (f)   Partner Nonrecourse Deductions. Notwithstanding anything to the contrary in
this Agreement, any Partner Nonrecourse
                              Nonreeourse Deductions for any taxable year or other period for which
allocations are made will be allocated to the Partner who bears the economic risk of loss with respect to
the Partner Nonrecourse Debt to which the Partner Nonrecourse Deductions are attributable in accordance
with Treasury Regulations Section 1.704-2(i).
                                   l .704-2(i).

                 (g)
                 (g)     Section 754 Adjustments. To the extent an adjustment to the adjusted tax basis
of any asset of the Partnership under Code Section 734(b) or Code Section 743(b)
                                                                               7 43(b) is required, pursuant to
Treasury Regulations Section 1.704-1(b)(2)(iv)(m),
                                 l.704-l(b)(2)(iv)(m), to be taken into account in determining Capital
Accounts, the amount of the adjustment to the Capital Accounts
                                                          Aceounts shall be treated as an item of gain (if the
adjustment increases the basis of the asset) or loss (if
                                                     (if the adjustment decreases the basis of the asset) and
that gain or loss shall be specially allocated to the Partners in a manner consistent with the manner in
which their Capital Accounts are required to be adjusted pursuant to that Section of the Treasury
Regulations.

                (h)     Section 481 Adjustments. Any allocable items of income, gain, expense,
deduction or credit required to be made by Section 481 481 of the Code as the result of the sale, transfer,
exchange or issuance of a Partnership Interest will be specially allocated to the Partner receiving said
Partnership Interest whether such items are positive or negative in amount.
                                                                    amount.

        3.5.     Curative Allocations. The "Basic
                                              ·'Basic Regulatory Allocations" consist of (i)
                                                                                         (i) the allocations
pursuant to Section 3.2(c). and (ii)
                                (ii) the allocations pursuant to Sections 3.4. Notwithstanding any other
provision of this Agreement, the Basic Regulatory Allocations shall be taken into account in allocating
items of income, gain, loss and deduction among the Partners so that, to the extent possible, the net
amount of the allocations of other items and the Basic Regulatory
                                                           Regulatory Allocations to each Partner shall be
equal to the net amount that would have been allocated to each such Partner if the Basic Regulatory
Allocations had not occurred. For purposes of applying the foregoing sentence, allocations pursuant to
this Section 3.5 shall be made with respect to allocations pursuant to Section 3.4 (g) and (h) only to the
extent that it is reasonably determined that those allocations will otherwise be inconsistent with the
economic agreement among the Partners. To the extent that a special allocation under Section 3.4 is
determined not to comply with applicable Treasury Regulations, then the Partners intend that the items
shall be allocated in accordance with the Partners'
                                           Pa11ners' varying Percentage Interests throughout each tax year
during which such items are recognized for tax purposes.

         3.6.     Code Section 704(c) Allocations.
                                           Allocations. In In accordance with Code Section 704(c) and the
Treasury Regulations thereunder, income, gain, loss and deduction with respect to property contributed to
the capital of the Partnership shall, solely for tax purposes, be allocated among the Partners so as to take
account of any variation at the time of the contribution between the tax basis of the property to the
Partnership and the fair market value of that property. Except as otherwise provided herein, any elections
or other decisions relating to those allocations shall be made by the General Partner in any manner that
reasonably reflects the purpose and intent of this Agreement.
                                                         Agreement. Allocations of income, gain, gain, loss and
deduction pursuant to this Section 3.6
                                    3 .6 are solely for purposes of federal,
                                                                    federal, state and local taxes and shall not
affect, or in any way be taken into account in computing, the Capital Account of any Partner or the share

                                                      10

                                                                                                 App. 145
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
                             Filed
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                                  03/23/22
                                   08/27/21
                                    11/05/21 Entered
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                                                     03/23/22
                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              148
                                                                               15
                                                                                59of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




of Profits, Losses, other tax items or distributions of any Partner pursuant to any provision of this
Agreement.

        3.7.     Capital Accounts.

                 (a)    Maintenance of Capital Accounts. The Partnership shall establish and maintain a
separate capital account ("Capital
                         ('Capital Account")             Pa1iner in accordance with the rules of Treasury
                                   Account') for each Partner
                     l.704-l(b)(2)(iv), subject to and in accordance with the provisions set forth
Regulations Section 1.704-1(b)(2)(iv),                                                        fotih in this
Section 3.7.

                         (i)     The Capital Account balance
                                                         balanee of each Partner shall be credited (increased)
by (A) the amount of cash contributed by that Partner to the capital of the Partnership, (B) the fair market
         propetiy contributed by that Partner to the capital of the Partnership (net of liabilities secured by
value of property
that contributed property that the Partnership assumes or takes subject to under Code Section 752), and
(C) that Partner's allocable share of Profits and any items in the nature of income or gain which are
specially allocated pursuant to Sections 3.4 and 3.5;· and

                         (ii)     The Capital Account balance of each Partner shall be debited (decreased)
by (A) the amount of cash distributed to that Partner by the Partnership, (B) the fair market value of
property distributed to that Partner by the Partnership (net of liabilities secured by that distributed
property that such Partner assumes or takes subject to under Code Section 752), (C) that Partner's
allocable share of expenditures of the Partnership described in Code Section 705(a)(2)(B), and (D) that
Partner's allocable share of Losses and any items in the nature of expenses or losses which are specially
                               3 .2, 3.4 and 3.5.
allocated pursuant to Sections 3.2,

The provisions of this Section 3.7
                               3. 7 and the other provisions of this Agreement relating to the maintenance
of Capital Accounts have been included in this Agreement to comply with Code Section 704(b) and the
Treasury Regulations promulgated thereunder and will be interpreted and applied in a manner consistent
with those provisions. The General Partner may modify the manner in which the Capital Accounts are
maintained under this Section 3.7 3. 7 in order to comply with those provisions, as well as upon the
occurrence of events that might otherwise cause this Agreement not to comply with those provisions.

                (b)     Negative Capital Accounts. If any Partner has a deficit balance in its Capital
Account, that Partner shall have no obligation to restore that negative balance or to make any Capital
Contribution by reason thereof, and that negative balance shall not be considered an asset of the
Partnership or of any Partner.

                (c)                                                Patinership on Capital Contributions or
                        Interest. No interest shall be paid by the Partnership
on balances in Capital Accounts.

                (d)     No Withdrawal. No Partner shall be entitled to withdraw any part of his/her/its
Capital Contribution or his/her/its Capital Account or to receive any distribution from the Partnership,
except as provided in Section 3.9 and Article 5.

               (e)
               ( e)     Loans From Partners.        Loans by a Partner to the Partnership shall not be
considered Capital Contributions.

              (f)
               ( f)     Revaluations. The Capital Accounts of the Partners shall not be "booked-up" or
                                                                              1. 704( c )-1 (b )(2)(iv )( f) or
"'booked-down" to their fair market values under Treasury Regulations Section 1.704(c)-1(b)(2)(iv)(0
"booked-down"
otherwise.



                                                      11

                                                                                                App. 146
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                  03/23/22
                                   08/27/21
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              149
                                                                               16
                                                                                60of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



          3.8.      Distributive Share for Tax Purpose. All items of income, deduction, gain, loss or
credit that are recognized for federal income tax purposes will be allocated among the Partners in
accordance with                      or Profits and Losses hereunder as determined by the General Partner in
               v,ith the allocations of
its sole and unfettered discretion. Notwithstanding the foregoing, the General Partner may (i) as to each
       Issue. specially allocate to the Partners who were allocated New Issue Profit from that New Issue
New Issue,
any short-term capital gains realized during the Fiscal Year upon the disposition of such New Issue during
                                                             ( or loss) to Partners who withdraw capital during
that Fiscal Year, and (ii) specially allocate items of gain (or
any Fiscal Year in a manner designed to ensure that each withdrawing Partner is allocated gain (or  (or loss) in
an amount equal to the difference between that Partner's Capital Account balance (or portion thereof
being withdrawn) at the time of the withdrawal and the tax basis for his/her/ its Partnership Interest at that
           propo11ionate amount thereof); provided, however, that the General Partner may, without the
time (or proportionate
consent of any other Partner, (a) alter the allocation of any item of taxable income, gain, loss, deduction
or credit in any specific instance where the General Partner, in its sole and unfettered discretion,
determines such alteration to be necessary or appropriate to avoid a materially inequitable result (e.g.,
where the allocation would create an inappropriate tax liability); and/or (b) adopt whatever other method
of allocating tax items as the General Partner determines
                                                      detennines is necessary or appropriate in order to be
consistent with the spirit and intent of the Treasury Regulations under Code Sections 704(b) and 704(c).
                                                                                                      704( c ).

        3.9.
        3. 9.    Distributions.

                  (a)      General. The General Partner may make such pro rata or non-pro rata
distributions as it may determine in its sole and unfettered discretion, without being limited to current or
accumulated income or gains, but no such distribution shall be made out of funds required to make
current payments on Partnership indebtedness; provided, however, that the General Partner may not make
non-pro rata distributions under this Section 3.9(a) during an NAV Ratio Trigger Period without the
consent of the Class B Limited Partner (in the case of a Class B NAV NA V Ratio Trigger Period) and/or the
Class C Limited Partner (in the case of a Class C NAV   NA V Ratio Trigger Period); provided, further this
provision should not be interpreted to limit in any way the General Partner's ability to make non-pro rata
tax distributions under Section 3.9(c) and Section 3.9(f). The Partnership has entered into one or more
credit facilities with financial institutions that may limit the amount and timing of distributions to the
            Thus. the Partners acknowledge that distributions from the Partnership may be limited. Any
Partners. Thus,
distributions made to the Class B Limited Partner or the Class C Limited Partner pursuant to Section
3 .9(b) shall reduce distributions otherwise allocable to such Partners under this Section 3.9(a)
3.9(b)                                                                                     3 .9(a) until such
aggregate reductions are equal to the aggregate distributions made to the Class B Partners and the Class C
Partners under Section 3.9(b).
                         3 .9(b ).

                (b)      Priority Distributions. Prior to the distribution of any amounts to Partners
                                                                                                  Pa11ners
pursuant to Section 3.9(a), and notwithstanding any other provision in this Agreement to the contrary, the
Par1nership shall make the following distributions ("Priority Distributions") pro-rata among the Class B
Partnership
Limited Partner and the Class C Limited Partner in accordance with their relative Percentage Interests:

                       (i)     No later than March 31"
                                                   31st of each calendar year, commencing March 31,
2017, an amount equal to $1,600,000.00;

                        (ii)                           31st of each year, commencing March 31, 2017, an
                                 No later than March 31'
amount equal to three percent (3%) of the Partnership's investment gain for the prior year, as reflected in
the Partnership's books and records within ledger account number 90100 plus three percent (3%) of the
gross realized investment gains for the prior year of Highland Select Equity Fund, as reflected in its books
and records;



                                                      12

                                                                                                App. 147
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
                             Filed
                              Filed
                                  03/23/22
                                   08/27/21
                                    11/05/21 Entered
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              150
                                                                               17
                                                                                61of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



                        (iii)
                        (iii)      No later than March 31'31st of each year, commencing March 31, 2017, an
amount equal to ten percent (10%)
                              ( l 0%) of
                                      or the Partnership's Operating Cash Flow for the
                                                                                   tht: prior year; and

                       (iv)
                       (iv)    No
                               No later than December 24th of each year, commencing December 24,
2016, an amount equal to the aggregate annual principal and interest payments on the Purchase Notes for
the then current year.

                  (c)
                  (c)     Tax Distributions. The General Partner may, in its sole discretion, declare and
make cash distributions pursuant hereto to the Partners to allow the federal federal and state income tax
attributable to the Partnership's taxable income that is passed through the Partnership to the Partners to be
                 Patiners (a "Tax Distribution").
paid by such Partners               Distribution"). The General Partner may, in its discretion, make Tax
Distributions
Distributions to the Founding Partner
                                 Paiiner Group without also making Tax Distributions to other Partners;
                                                                                                    Pa11ners;
provided. however, that if the General Partner makes Tax Distributions to the Founding Partner Group,
provided,
      Distributions must also be made the Class B Limited Partner to the extent the Class B Limited
Tax Distributions
Partner
Partlwr provides the Partnership with documentation showing it is subject to an entity-level federal
income tax obligation. Notwithstanding anything else in this Agreement, the General Partner may declare
and pay Tax Distributions even if such Tax Distributions cause the Partnership to be unable to make
Priority Distributions under ==~~~CJ.·
                              Section 3.9(b).

                      (d)
                      ( d)     Payments Not Deemed Distributions.             Any amounts paid pursuant to
===~c..'
Sections..J...:O:..,.    4.1(h) shall not be deemed to be distributions for purposes of this Agreement.
            4.I(e) or 1J.Qu

                 (e)      Withheld Amounts. Notwithstanding any other provision of this Section 3.9 to
the contrary, each Partner hereby authorizes the Partnership to withhold and to pay over, or otherwise
pay, any withholding or other taxes payable by the Partnership with respect to that Partner as a result of
that Partner's participation in the Partnership. If
                                                 If and to the extent that the Partnership shall be required to
withhold or pay any such taxes, that Partner shall be deemed for all purposes of this Agreement to have
received a payment from
                      from the Partnership as of the time that withholding or tax is paid,
                                                                                         paid, which payment
shall be deemed to be a distribution with respect to that Partner's Partnership Interest to the extent that the
Partner (or any successor to that Partner's Partnership
                                              Pminership Interest) is then entitled to receive a distribution.
                                                                                                   distribution.
To the extent that the aggregate of such payments to a Partner for any period exceeds the distributions to
which that Partner is entitled for that period, the amount of such excess shall be considered a loan from  from
the Partnership to that Partner. Such loan shall bear interest (which interest shall be treated as an item of
income to the Partnership) at the "Applicable Federal Rate" (as defined in the Code), as determined
           from time to time, until discharged by that Partner by repayment, which may be made in the
hereunder from
                                                  Patiner out of distributions to which that Partner would
sole and unfettered discretion of the General Partner
otherwist: be subsequently entitled. Any withholdings authorized by this Section 3.9(d) shall be made at
otherwise
the maximum applicable statutory rate under the applicable tax law unless the General Partner shall have
received an opinion of counsel or other evidence satisfactory to the General Partner to the effect that a
lower rate is applicable, or that no withholding is applicable.

                (f)
                (0       Special Tax Distributions. The Partnership shall, upon request of such Founding
Partner, make distributions to the Founding Partners
                                            Pm1ners (or
                                                     (or loans, at the election of the General Partner) in an
amount necessary for each of them to pay their respective federal income tax obligations incurred through
the effective date of the Third Amended and Restated Agreement of Limited Partnership of Highland
Capital Management, L.P., the predecessor to this Agreement.

                 (g)
                 (g)     Tolling of Priority
                                      Prioritv Distributions. In
                                                              In the event of a "Honis Trigger Event,"
                                                                                                Event,'' as
defined in the Second Amended Buy-Sell and Redemption Agreement, the Partnership shall not make any
distributions, including priority distributions under Section 3.9(b), to the Class B Limited Partner or the
Class C Limited Partner until such time as a replacement trust administrator, manager and general partner,

                                                      13

                                                                                                 App. 148
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              151
                                                                               18
                                                                                62of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



as applicable, acceptable to the Partnership in its sole discretion, as indicated by an affirmative vote of
consent by a Majority Interest, shall be appointed to the Class B Limited Partner/Class C Limited Partner
and any of its direct or indirect owners that have governing documents directly affected by a Honis
Trigger Event.

        3.10.    Compensation and Reimbursement of Central
                                                   General Partner.

                (a)     Compensation. The General Partner and any Affiliate of the General Partner
shall receive no compensation from the Partnership for services rendered pursuant to this Agreement or
any other agreements unless approved by a Majority Interest; provided, however, that no compensation
above five million dollars per year may be approved, even by a Majority Interest, during a NAV
                                                                                            NA V Ratio
Trigger Period.

                 (b)     Reimbursement for Expenses. In addition to amounts paid under other Sections
of this Agreement, the General Partner and its Affiliates shall be reimbursed for all expenses,
                                                         fees, deposits, and other sums paid in connection
disbursements, and advances incurred or made, and all fees,
with the organization and operation of the Partnership,
                                           Pa1tnership, the qualification of the Partnership to do business,
and all related matters.

        3.11.    Books, Records, Accounting, and Reports.

                 (a)     Records and Accounting. The General Partner shall keep or cause to be kept
appropriate books and records with respect to the Partnership's business, which shall at all times be kept
at the principal office of the Partnership or such other office as the General Partner may designate for
such purpose. The books of the Partnership shall be maintained for financial reporting
                                                                               repo1ting purposes on the
accrual basis or on a cash basis, as the General Partner shall determine in its sole and unfettered
discretion. in accordance with generally accepted accounting principles and applicable law. Upon
discretion,
reasonable request, the Class B Limited Partner or the Class C Limited Partner may inspect the books and
records of the Partnership.

               (b)     Fiscal Year.      fiscal year of the Partnership shall be the calendar year unless
                              Year. The fiscal
otherwise determined by the General Partner in its sole and unfettered discretion.

                (c)
                 ( c)    Other information.
                                Information. The General Partner
                                                             Paitner may release information concerning the
operations of the Partnership to any financial institution or other Person that has loaned or may loan funds
to the Partnership or the General Partner or any of its Affiliates, and may release such information to any
other Person for reasons reasonably related to the business and operations of the Partnership or as
required by law or regulation of any regulatory body.

                (d)
                ( d)     Distribution Reporting to Class B
                                                         B Limited Partner
                                                                   Partner and Class C Limited Partner.
                                                                                                Partner.
Upon request, the Partnership shall provide the Class B Limited Partner and/or the Class C Limited
Pa1tner information on any non-pro rata distributions made under Section 3.9 to Partners other than the
Partner
Partner requesting the information.

        3.12.   Tax Matters.

                 (a)      Tax Returns. The General Partner shall arrange for the preparation and timely
filing of all returns of Partnership income, gain, loss, deduction, credit and other items necessary for
federal,                                                                                    Pa11ner as copy of
federal. state and local income tax purposes. The General Partner shall deliver to each Partner
                      K-1 as soon as practicable after the end of the Fiscal Year,
his/her/its IRS Form K-1                                                     Y car, but in no event later than
October 1. I. The classification, realization, and recognition of income, gain, loss, deduction, credit and


                                                     14

                                                                                               App. 149
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
                      109-3
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                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              152
                                                                               19
                                                                                63of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



 other items shall be on the cash or accrual method of accounting
                                                        aeeounting for federal
                                                                        federal income tax purposes, as the
 General Partner shall determine in its sole and unfettered discretion. The General Partner in its sole and
 unfettered discretion may pay state and local income taxes attributable to operations of the Partnership
 and treat such taxes as an expense of the Partnership.

                  (b)
                  (b)      Tax Elections. Except as otherwise provided herein, the General Partner shall, in
 its sole and unfettered discretion, determine whether to make any available tax election.

                  (c)
                  (c)      Tax Controversies. Subject to the provisions hereof, the General Partner is
                                                                    6231 ), and is authorized and required to
 designated the Tax Matters Partner (as defined in Code Section 6231),
 represent the Partnership, at the Partnership's
                                       Partnership's expense, in connection with all examinations of the
 Partnership's
 Partnership's affairs by tax authorities, including resulting administrative and judicial proceedings, and to
 expend Partnership funds   fix professional services and costs associated therewith. Each Partner agrees to
                      fonds for
 cooperate with
           \\ith the General Partner in connection with such proceedings.

                 (d)
                 (d)     Taxation as a Partnership. No election shall be made by the Partnership or any
Partner for the Partnership to be excluded from
                                            from the application of any of the provisions of Subchapter K,
                                                                                                        K,
Chapter 1l of Subtitle A of the Code or from any similar provisions of any state tax laws.

                                                   ARTICLE 4

                             RIG I ITS AND OBLIGATIONS OF PARTNERS
                             RIGHTS

         4.1.    Rights and Obligations of the General Partner. In        In addition to the rights and
obligations set forth elsewhere in this Agreement, the General Partner shall have the following
                                                                                      following rights and
obligations:

                  (a)        Management. The General Partner shall conduct, direct, and exercise full    full control
of over all activities of the Partnership. Except as otherwise expressly provided in this Agreement, all
management powers over the business and affairs of the Partnership shall be exclusively vested in the
General Partner, and Limited Partners shall have no right of control over the business and affairs of the
Partnership. In addition to the powers now or hereafter granted to a general partner of a limited
partnership under applicable law or that are granted to the General Partner under any provision of this
Agreement, the General Partner shall have full    full power and authority to do all things deemed necessary or
desirable by it to conduct the business of the Partnership, including, without limitation: (i) the
determination of the activities in which the Partnership will participate; (ii) the performance of any and all
acts necessary or appropriate to the operation of any business of the Partnership   Partnership (including,
                                                                                                (including, without
 limitation. purchasing and selling any asset, any debt instruments, any equity interests, any commercial
limitation,
paper, any note receivables and any other obligations); (iii) the procuring and maintaining of such
insurance as may be available in such amounts and covering such risks as are deemed appropriate by the
                    (iv) the acquisition, disposition, sale, mortgage, pledge, encumbrance, hyphothecation,
General Partner; (iv)
of exchange of any or all of the assets of the Partnership; (v)   (v) the execution and delivery on behalf of,of, and
in the name of the Partnership, deeds, deeds of trust, trust, notes, leases, subleases, mortgages, bills of sale and
any and all other contracts or instruments necessary or incidental to the conduct of the Partnership's
           (vi) the making of any expenditures, the borrowing of money, the guaranteeing of indebtedness
business; (vi)
and other liabilities, the issuance of evidences of indebtedness, and the incurrence
                                                                                   incurrenee of any obligations it
deems necessary or advisable for the conduct of the activities of the Partnership, including, without
limitation, the payment of compensation and reimbursement to the General Partner and its Affiliates
                       3. l O; (vii) the use of the assets of the Partnership (including, without limitation, cash
pursuant to Section 3.10;
on hand) for any Partnership purpose on any terms it sees fit,     fit, including, without limitation, the financing
of operations of the Partnership, the lending of funds to other Persons, and the repayment of obligations

                                                         15

                                                                                                     App. 150
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
                      109-3
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              153
                                                                               20
                                                                                64of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



 of the Partnership;
         Partnership: (viii) the negotiation, execution,
                                              execution. and performance
                                                             perf<mnance of any contracts that it considers
 desirable, useful, or necessary to the conduct of the business or operations of the Partnership or the
 implementation of the General Partner's powers under this Agreement; (ix)   (ix) the distribution of Partnership
                                                                                                      Paiinership
 cash or other assets; (x)(x) the selection, hiring and dismissal of employees, attorneys, accountants,
 consultants, contractors, agents and representatives and the determination of their compensation and other
 teens of employment or hiring; (xi)(xi) the formation
                                             formation of any further
                                                                futiher limited or general partnerships, joint
 ventures, or other relationships that it deems desirable and the contribution to such partnerships, ventures,
 or relationships of assets and properties of the Partnership; and (xii)
                                                                     (xii) the control of any matters affecting
 the rights and obligations of the Partnership, including, without limitation, the conduct of any litigation,
 the incurring of legal expenses, and the settlement of claims and suits.

                  (b)     Certificate of Limited Partnership. The General Partner caused the Certificate
                                                                                                Cetiificate of
 Limited Partnership of the Partnership to be filed with the Secretary of State of Delaware as required by
 the Delaware Act and shall cause
                               eause to be filed such
                                                  sueh other certificates or documents (including, without
 limitation, copies, amendments, or restatements of this Agreement) as may be determined by the General
 Partner to be reasonable and necessary or appropriate for the formation,
                                                                 formation, qualification, or registration and
 operation of a limited partnership (or a partnership in which
                                                         whieh Limited Partners have limited liability) in
                                                                                                         in the
 State of Delaware and in any other state where the Partnership may elect to do business.

                 (c)      Reliance by Third Parties. Notwithstanding any other provision of this
Agreement to the contrary, no lender or purchaser or other Person, including any purchaser of property
 from
 from the Partnership
           Pa1inership or any other Person dealing with the Partnership, shall be required to verifyverity any
representation by the General Partner as to its authority to encumber, sell, or otherwise use any assess or
properties of the Partnership, and any suchsueh lender, purchaser, or other Person shall be entitled to rely
exclusively on such representations and shall be entitled to deal with the General Partner as if it were the
sole party in interest therein, both legally and beneficially. Each Limited Partner hereby waives any and
all defenses or other remedies that may be available against any such
                                                                   sueh lender, purchaser, or other Person to
contest,
contest. negate, or disaffirm any action of the General Partner in connection with any such sale or
financing.
 financing. In no event shall any Person dealing with the General Partner or the General Partner's
representative with respect to any business or property of the Partnership be obligated to ascertain
                                                                                             asce1iain that the
terms of this Agreement have been complied with,  with, and each such
                                                                 sueh Person shall be entitled to rely on the
assumptions that the Partnership has been duly formed
                                                    formed and is validly in existence. In no event shall any
such Person be obligated to inquire into the necessity or expedience of any act or action of the General
Partner or the General Partner's representative, and every contract, agreement, deed, mortgage, security
agreement, promissory note, or other instrument or document executed by the General Partner or the
General Partner's representative with respect to any business or property of the Partnership
                                                                                         Patinership shall be
conclusive evidence in favor of any and every Person relying thereon or claiming thereunder that (i),    (i), at
the time of the execution and delivery thereof, this Agreement was in full    full force and effect; (ii)
                                                                                                     (ii) such
                                                                                                          sueh
instrument or document was duly executed in accordance with the terms and provisions of this Agreement
and is binding upon the Partnership;
                           Partnership; and (iii)
                                            (iii) the General Partner or the General Partner's representative
was duly authorized and empowered to execute and deliver any and every such instrument or document
for and on behalf of the Partnership.
                          Paiinership.

                (d)      Partnership
                         Paiinership Funds. The funds of the Partnership
                                                                   Pat1nership shall be deposited in such
account or accounts as are designated by the General Partner. The General Partner
                                                                                Patiner may, in its sole and
unfettered discretion, deposit funds of the Partnership in a central disbursing account maintained by or in
the name of the General Partner, the Partnership, or any other Person into whichwhieh funds of the General
Partner, the Partnership, on other Persons are also deposited;   provided,   however, at all times books of
account are maintained that show the amount of funds of the Partnership on deposit in such account and
interest accrued with respect to such funds as credited to the Partnership. The General Partner may use
the funds of the Partnership as compensating balances for its benefit; provided, however, such funds do

                                                       16

                                                                                                 App. 151
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                  03/23/22
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                                                      08/27/21
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                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              154
                                                                               21
                                                                                65of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



 not directly or indirectly secure, and are not otherwise at risk on account of, ot: any indebtedness or other
 obligation of the General Partner or any director, officer, employee, agent, representative, or Affiliate
 thereof.                          4. J(cl) shall be deemed to prohibit or limit in any manner the right of the
 thereof: Nothing in this Section 4.1(d)
 Partnership to lend funds to the General Partner or any Affiliate thereof pursuant to Section 4.1(0(i). All
 withdrawals from or charges against such accounts shall be made by the General Partner or by its
 representatives. Funds of the Partnership may be invested as determined by the General Partner in
 accordance with the terms and provisions of this Agreement.

                 (e)      Loans to or from General Partner: Contracts with Affiliates; Joint Ventures.

                           (i)      The General Partner or any Affiliate of the General Partner may lend to
 the Partnership funds needed by the Partnership for such periods of time as the General Partner may
 determine;
 determine: provided, however, the General Partner or its Affiliate may not charge the Partnership interest
 at a rate greater than the rate (including points or other financing charges or fees) that would be charged
 the Partnership (without reference to the General Partner's financial abilities or guaranties) by unrelated
 lenders on comparable loans. The Partnership shall reimburse the General Partner or its Affiliate, as the
 case may be, for any costs incurred by the General Partner or that Affiliate in connection with the
 borrowing of funds obtained by the General Partner or that Affiliate and loaned to the Partnership. The
 Partnership may loan funds to the General Partner and any member of the Founding Partner Group at the
 General Partner's sole and exclusive discretion.

                         (ii)    The General Partner or any of its Affiliates may enter into an agreement
with the Partnership to render services, including management services, for the Partnership. Any service
rendered for the Partnership by the General Partner or any Affiliate thereof shall be on terms that are fair
and reasonable to the Partnership.

                        (iii)    The Partnership may Transfer any assets to JOmt joint ventures or other
partnerships in which it is or thereby becomes a participant upon terms and subject to such conditions
consistent with applicable law as the General Partner deems appropriate; provided, however, that the
Partnership may not transfer any asset to the General Partner or one of its Affiliates during any NAV
                                                                                                   NA V
Ratio Trigger Period for consideration less than such asset's fair market value.

                 (f)      Outside Activities' Conflicts of Interest. The General Partner or any Affiliate
thereof and any director, officer, employee, agent, or representative of the General Partner or any Affiliate
thereof shall be entitled to and may have business interests and engage in business activities in addition to
those relating to the Partnership,
                       Patinership, including, without limitation, business interests and activities in direct
competition with the Partnership. Neither the Partnership nor any of the Partners shall have any rights by
                                   patinership relationship created hereby in any business ventures of the
virtue of this Agreement or the partnership
General Partner, any Affiliate thereof, or any director, officer, employee, agent, or representative of either
             Patiner or any Affiliate thereof.
the General Partner

                 (g)
                 (g)     Resolution of Conflicts of Interest. Unless otherwise expressly provided in this
Agreement or any other agreement contemplated herein, whenever a conflict of interest exists or arises
between the General Partner or any of its Affiliates, on the one hand, and the Partnership or any Limited
Partner, on the other hand, any action taken by the General Partner,
                                                               Paiiner, in the absence of bad faith by the
General Partner, shall not constitute a breach of this Agreement or any other agreement contemplated
herein or a breach of any standard of care or duty imposed herein or therein or under the Delaware Act or
any other applicable law, rule, or regulation.

               (h)      Indemnification. The Partnership
                                               Pa1inership shall indemnify and hold harmless the General
Partner and any director, officer, employee, agent, or representative of the General Partner (collectively,

                                                      17

                                                                                               App. 152
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              155
                                                                               22
                                                                                66of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



the "GP Party"), against all liabilities, losses, and damages incurred by any of them by reason of any act
performed or omitted to be performed in the name of or on behalf of the Partnership, or in connection
with the Partnership's business, including, without limitation, attorneys' fees and any amounts expended
in the settlement of any claims or liabilities, losses, or damages, to the fullest extent permitted by the
Delaware Act; provided, however, the Partnership shall have no obligation to indemnify and hold
harmless a GP Party for any action or inaction that constitutes gross negligence or willful or wanton
misconduct The Partnership, in the sole and unfettered discretion of the General Partner, may indemnify
misconduct.
and hold harmless any Limited Partner, employee, agent, or representative of the Partnership, any Person
who is or was serving at the request of the Partnership acting through the General Partner as a director,
officer,  partner. trustee, employee, agent, or representative of another corporation, partnership, joint
oflicer, partner,
venture, trust, or other enterprise, and any other Person to the extent determined by the General Partner in
its sole and unfettered discretion, but in no event shall such indemnification exceed the indemnification
permitted by the Delaware Act. Notwithstanding anything to the contrary in this Section 4.1(h)    4.1 (h) or
elsewhere in this Agreement, no amendment to the Delaware Act after the date of this Agreement shall
reduce or limit in any manner the indemnification provided for or permitted by this Section 4.1(h) unless
such reduction or limitation is mandated by such amendment for limited partnerships formed prior to the
enactment of such amendment. In no event shall Limited Partners be subject to personal liability by
reason of the indemnification provisions of this Agreement.

                (i)
                ( i)     Liability of General Partner.

                         (i)      Neither the General Partner
                                                       Paiiner nor its directors, officers, employees, agents,
or representatives shall be liable to the Partnership or any Limited Partner for errors in judgment or for
any acts or omissions that do not constitute gross negligence or willful or wanton misconduct.

                         (ii)    The General Partner may exercise any of the powers granted to it by this
Agreement and perform any of the duties imposed upon it hereunder either directly or by or through its
directors, officers, employees, agents, or representatives, and the General Partner shall not be responsible
for any misconduct or negligence on the part of any agent or representative appointed by the General
Partner.

                U)       Reliance by General Partner.

                         (i)     The General Partner may rely and shall be protected in acting or
refraining from acting upon any resolution, certificate, statement, instrument, opinion, report, notice,
request, consent, order, bond, debenture, or other paper or document believed by it to be genuine and to
have been signed or presented by the proper party or parties.

                         (ii)     The General Partner may consult with legal counsel, accountants,
appraisers, management consultants, investment bankers, and other consultants and advisers selected by
it, and any opinion of any such Person as to matters which the General Partner believes to be within such
                           expe11 competence shall be full and complete authorization and protection in
Person's professional or expert
respect of any action taken or suffered or omitted by the General Partner hereunder in good faith and in
accordance with such opinion.

                 (k)     The General Partner may, from time to time, designate one or more Persons to be
officers of the Partnership. No officer need be a Partner. Any officers so designated shall have such
authority and perform such duties as the General Partner
                                                     Patiner may, from time to time, delegate to them. The
General Partner may assign titles to particular officers, including, without limitation, president, vice
president, secretary, assistant secretary, treasurer and assistant treasurer. Each officer shall hold office
until such Person's successor shall be duly designated and shall qualify or until such Person's death or

                                                     18

                                                                                               App. 153
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              156
                                                                               23
                                                                                67of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



until such Person shall resign or shall have been removed in the manner hereinafter provided. Any
            offiees may be held by the same Person. The salaries or other compensation, if any, of the
number of offices
                                                                                       Pattner. Any officer
officers and agents of the Partnership shall be fixed from time to time by the General Partner.
                      sueh, either with or without cause, by the General Partner
may be removed as such,                                                    Pmtner whenever in the General
Partner's judgment the best interests of the Partnership will be served thereby. Any vacancy occurring in
any office of the Partnership may be filled by the General Partner.

         4.2.    Rights and Obligations of Limited Partners. In addition to the rights and obligations
of Limited Partners set forth elsewhere in this Agreement, Limited Partners shall have the following
rights and obligations:

              (a)      Limitation of Liability. Limited Partners shall have no liability under this
Agreement except as provided herein or under the Delaware Act.
                                                          Aet.

                 (b)       Management of Business. No Limited Partner shall take part in the control
(within the meaning of the Delaware Act) of the Partnership's business, transact any business in the
Partnership's name, or have the power to sign documents for or otherwise bind the Partnership other than
as specifically set forth in this Agreement.

                (c)
                (e)       Return of Capital. No Limited Partner shall be entitled to the withdrawal or
return of its Capital Contribution except to the extent, if any, that distributions made pursuant to this
Agreement or upon termination of the Partnership may be considered as such
                                                                         sueh by law and then only to the
extent provided for in this Agreement.

              (d)    Second
                     Seeond Amended Buy-Sell
                                     Buv-Sell and Redemption Agreement. Each Limited Partner
shall comply
      eomply with the terms and conditions of the Second Amended Buy-Sell and Redemption
Agreement.

                 (e)
                 ( e)    Default on Priority Distributions. If the Partnership
                                                                       Paiinership fails to timely pay Priority
Distributions pursuant to Section 3.9(b),
                                    3 .9(b ), and the Partnership does not subsequently make such Priority
Distribution within ninety days of its due date,
                                              date. the Class B Limited Partner or the Class C Limited Partner
may require the Partnership to liquidate publicly traded securities held by the Partnership or Highland
Select Equity Master Fund, L.P., a Delaware limited partnership controlled by the Partnership; provided,
however, that the General Partner may in its sole discretion elect instead to liquidate other non-publicly
traded securities owned by the Partnership
                                 Pa1tnership in order to satisfy the Partnership's obligations under Section
3.9(b) and this Section 4.2(e). In either case, Affiliates of the General Partner shall have the right of first
offer to purchase any securities liquidated under this Section 4.2(e).

        4.3.     Transfer of Partnership Interests.

                  (a)     Transfer. No Partnership Interest shall be Transferred, in whole or in part, except
in accordance with the terms and conditions set forth in this Section 4.3 and the Second Amended Buy-
Sell and Redemption Agreement. Any Transfer or purported Transfer of any Partnership Interest not
made in accordance with this Section 4.3 and the Second Amended Buy-Sell and Redemption Agreement
shall be null and void. An alleged transferee shall have no right to require any information or account of
the Partnership's
     Pa1tnership's transactions or to inspect the Partnership's books. The Partnership shall be entitled to
treat the alleged transferor of a Partnership Interest as the absolute owner thereof in all respects, and shall
incur no liability to any alleged transferee for distributions to the Partner owning that Partnership Interest
of record or for allocations of Profits, Losses, deductions or credits or for transmittal of reports and
notices required to be given to holders of Partnership Interests.


                                                      19

                                                                                                App. 154
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
                      109-3
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              157
                                                                               24
                                                                                68of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



                  (b)     Transfers by General Partner. The General Partner may Transfer all, but not less
      alL of its Partnership Interest to any Person only with the approval of a Majority Interest; provided,
than all,
however, that the General Partner may not Transfer                                        NA V Ratio Trigger
                                             Transfor its Partnership Interest during any NAV
Period except to the extent such Transfers are for estate planning purposes or resulting from the death of
the individual owner of the General Partner. Any TransferTran sfer by the General Partner of its Partnership
                                            Af111iate of the General Partner or any other Person shall not
Interest under this Section 4.3(b) to an Affiliate
constitute a withdrawal of the General Partner under Section 4.5(a), Section 5.1(b), or any other provision
of this Agreement. If any such Transfer is deemed to constitute a withdrawal under such provisions or
otherwise and results in the dissolution of the Partnership under this Agreement or the laws of any
jurisdiction to which the Partnership of this Agreement is subject, the Partners hereby unanimously
consent to the reconstitution and continuation of the Partnership immediately following such dissolution,
pursuant to  Section 5.2.
          to~~~~~·


                (c)
                (c)      Transfers by Limited Partners. The Partnership Interest of a Limited Partner may
not be Transferred without the consent of the General Partner (which consent may be withheld in the sole
and unfettered discretion of the General Partner), and in accordance with the Second Amended Buy-Sell
and Redemption Agreement.

                 (d)
                 ( d)      Distributions and Allocations in Respect of Transferred Partnership Interests. If
any Partnership Interest is Transferred during any Fiscal Year in compliance with the provisions of
A1iicle 4 and the Second Amended Buy-Sell and Redemption Agreement, Profits, Losses, and all other
Article
items attributable to the transferred interest for that period shall be divided and allocated between the
                                                aecount their varying interests during the period in accordance
transferor and the transferee by taking into account                                                 aecordance
                      706( d), using any conventions permitted by law and selected by the General Partner;
with Code Section 706(d),
provided that no allocations shall be made under this Section 4.3(d) that would affect any special
allocations made under Section 3.4.3 .4. All distributions declared on or before the date of that Transfer shall
be made to the transferor. Solely for purposes of making such allocations and distributions, the
Partnership shall recognize that Transfer not later than the end of the calendar month during which  whieh it is
given notice of that Transfer; provided, however, if the Partnership does not receive a notice stating the
date that Partnership Interest was Transferred and such other information as the General Partner   Pa1iner may
reasonably require within thirty (30) days after the end of the Fiscal Year during which the Transfer
occurs, then all of such items shall be allocated, and all distributions shall be made, to the person who,
according to the books and records      or the Partnership, on the last day of the Fiscal Year during which the
                               reeords of
Transfer occurs, was the owner of the Partnership Interest. Neither the Partnership nor any Partner shall
                                   alloeations and distributions in accordance with the provisions of this
incur any liability for making allocations
Section 4.3(d), whether or not any Partner or the Partnership has knowledge of any Transfer of ownership
of any Partnership
       Pa1inership Interest.

                 ( e)
                 (e)     Forfeiture of Partnership Interests Pursuant to the Contribution Note. In the
event any Class B Limited Partnership Interests are forfeited in favor of the Partnership as a result of any
default on the Contribution Note, the Capital Accounts           Pereentage Interests associated with such
                                                 Aceounts and Percentage
Class B Limited Partnership Interests shall be allocated pro rata among the Class A Partners. The Priority
                         3. 9(b) made after the date of such forfeiture shall each
Distributions in Section 3.9(b)                                                       redueed by an amount
                                                                              eaeh be reduced
                                                assoeiated with the Class B Limited Partnership Interest
equal to the ratio of the Percentage Interest associated
transferred pursuant to this Section 4.3(e) over the aggregate Percentage Interests of all Class B Limited
Partnership Interests and Class C Limited Partnership Interests, calculated immediately prior to any
forfeiture of such Class B Limited Partnership Interest.

                (f)     Transfers of Partnership Interests Pursuant to the Purchase Notes.
Notwithstanding any other provision in this Agreement, the Partnership shall respect, and the General
Patiner hereby provides automatic consent for, any transfers (in whole or transfers of partial interests) of
Partner

                                                      20

                                                                                                App. 155
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
                      109-3
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                                                      08/27/21
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                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              158
                                                                               25
                                                                                69of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



the Class C Limited Partnership Interests, or a portion thereof,
                                                         thereof: if such transfer occurs as a result of a
default on the Purchase Notes. Upon the transfer of any Class C Limited Partnership Interest to any
member of the Founding Partner Group (or their assigns), such Class C Limited Partnership Interest shall
                                                Interest The Priority Distributions
automatically convert to a Class A Partnership Interest.               Distributions in Section 3.9(b) shall
each be reduced by an amount equal to the ratio of the Percentage Interest associated with the transferred
Class C Limited Partnership Interest over the aggregate Percentage Interests of all Class B Limited
                                                          Interests, calculated immediately prior to any
Partnership Interests and Class C Limited Partnership Interests,
transfer of such Class C Limited Partnership Interest.

         4.4.    Issuances of Partnership Interests to New and Existing Partners.

                 (a)     Issuance of Partnership Interests to New Limited Partners. The General Partner
may admit one or more additional Persons as Limited Partners
                                                           Pa11ners ("Additional Limited Partners") to the
Partnership at such times and upon such terms as it deems appropriate in its sole and unfettered
discretion; provided, however, that the General Partner may only admit additional Persons as Limited
Partners
Pa11ners in relation to the issuance of equity incentives to key employees of the Partnership; provided,
further that the General Partner may not issue such equity incentives to the extent they entitle the holders,
in the aggregate, to a Percentage Interest in excess of twenty percent without the consent of the Class B
Limited Partner and the Class C Limited Partner. All Class A Limited Partners, the Class B Limited
Partner
Partner and the Class C Limited Partner
                                  Par1ner shall be diluted proportionately by the issuance of such limited
partnership interests. No Person may be admitted to the Partnership as a Limited Partner until he/she/it
executes an Addendum to this Agreement in the form attached as Exhibit
                                                                     Exhibit B (which may be modified by
the General Partner in its sole and unfettered discretion) and an addendum to the Second Amended Buy-
          Redemption Agreement.
Sell and Redemption

                (b)     Issuance of an Additional Partnership Interest to an Existing Partner. The
General Partner may issue an additional Partnership Interest to any existing Partner at such times and
upon such terms as it deems appropriate in its sole and unfettered discretion. Upon the issuance of an
additional Partnership
           Pa11nership Interest to an existing Partner, the Percentage Interests of the members of the
Founding Partner
           Pm1ner Group shall be diluted proportionately. Any additional Partnership Interest shall be
subject to all the terms and conditions of this Agreement and the Second Amended Buy-Sell and
Redemption Agreement.

        4.5.     Withdrawal of General Partner

                 (a)
                 (a)     Option. In In the event of the withdrawal of the General Partner from     from the
Partnership, the departing General Partner (the "Departing Partner") shall, at the option of its successor
(if
(if any) exercisable prior to the effective date of the departure of that Departing Partner, promptly receive
from its successor in exchange for its Partnership Interest as the General Partner,
                                                                            Pminer, an amount in cash equal
to its Capital Account balance, determined as of the effective date of its departure.

                (b)      Conversion. IfIf the successor to a Departing Partner does not exercise the option
described in Section 4.5(a), the Partnership Interest of the Departing Partner
                                                                       Pa11ner as the General Partner of the
                                      Pa11nership Interest as a Limited Partner.
Partnership shall be converted into a Partnership

        4.6.     Admission of Substitute Limited Partners and Successor General Partner.

                 (a)      Admission of Substitute Limited Partners. A transferee (which may be the heir
or legatee of a Limited Partner)
                         Pa11ner) or assignee of a Limited Partner's Partnership Interest shall be entitled to
receive only the distributive share of the Partnership's Profits, Losses, deductions, and credits attributable
to that Partnership
        Pa11nership Interest. To become a substitute Limited Partner (a "Substitute Limited Partner"),


                                                     21
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                                                                                               App. 156
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
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                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              159
                                                                               26
                                                                                70of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



                                   ( 1) obtain the consent of the General Partner
that transferee or assignee shall (1)                                      Pa11ner (which consent may be
withheld in the sole and unfettered discretion of the General Partner), (ii) comply with all the
requirements of this Agreement and the Second Amended Buy-Sell and Redemption Agreement with
respect to the Transfer of the Partnership Interest at issue, and (iii) execute an Addendum to this
Agreement in the form attached as Exhibit B (which may be modified by the General Partner in its sole
and unfettered discretion) and an addendum to the Second Amended Buy-Sell and Redemption
Agreement. Upon admission of a Substitute Limited Partner, that Limited Partner shall be subject to all
of the restrictions applicable to, shall assume all of the obligations of, and shall attain the status of a
Limited Partner under and pursuant to this Agreement with respect to the Partnership Interest held by that
Limited Partner.

                 (b)     Admission of Successor General Partner. A successor General Partner selected
pursuant to Section 5.2 or the transferee of or successor to all of the Partnership
                                                                        Pai1nership Interest of the General
Partner pursuant to Section 4.3(b) shall be admitted to the Partnership as the General Partner, effective as
of the date of the withdrawal or removal of the predecessor General Partner or the date of Transfer of that
predecessor's Partnership Interest.

                (c)
                ( c)    Action by General Partner. In connection with the admission of any substitute
Limited Partner
        Pa11ner or successor General Partner or any additional Limited Partner, the General Partner
                                                                                            Pat1ner shall
have the authority to take all such actions as it deems necessary or advisable in connection therewith,
including the amendment of Exhibit A and the execution and filing with appropriate authorities of any
necessary documentation.

                                                 ARTICLE 5

                                   DISSOLUTION AND WINDING UP

        5.1.     Dissolution. The Partnership shall be dissolved upon:

                 (a)       The withdrawal, bankruptcy, or dissolution of the General Partner, or any other
event that results in its ceasing to be the General Partner (other
                                                            (other than by reason of a Transfer pursuant to
Section 4.3(b));
        4.3(b)):

                (b)      An election to dissolve the Partnership
                                                     Pa11nership by the General Partner that is approved by
the affirmative vote of a Majority Interest; provided, however, the General Partner may dissolve the
Partnership without the approval of the Limited Partners in order to comply with Section 14 of the Second
Amended Buy-Sell and Redemption Agreement; or

                 (c)     Any other event that, under the Delaware Act, would cause its dissolution.

For purposes of this            5. 1, the bankruptcy of the General Partner shall be deemed to have occurred
                  th is Section 5.1,
when the General Partner: (i) makes a general assignment for the benefit of creditors; (ii) files a voluntary
bankruptcy petition; (iii) becomes the subject of an order for relief or is declared insolvent in any federal
or state bankruptcy or insolvency proceeding: (iv) files a petition or answer seeking a reorganization,
arrangement,
arrangement composition, readjustment,
                              readjustment. liquidation, dissolution, or similar relief under any law; (v) files
an answer or other pleading admitting or failing to contest the material allegations of a petition filed
against the General Partner in a proceeding of the type described in clauses (i) through (iv) of this
paragraph; (vi) seeks, consents to, or acquiesces in the appointment of a trustee, receiver, or liquidator of
the General Partner or of all or any substantial part of the General Partner's properties; or (vii) one
hundred twenty (120)
                 ( 120) days expire after the date of the commencement of a proceeding against the General
Partner seeking reorganization, arrangement, composition, readjustment, liquidation, dissolution, or

                                                      22

                                                                                                 App. 157
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              160
                                                                               27
                                                                                71of
                                                                                  of
                                                                                   of170
                                                                                     37
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 similar relief under any law if the proceeding has not been previously dismissed, or ninety (90) days
                                                                      Paiincr's consent or acquiescence, of a
 expire after the date of the appointment, without the General Partner's
          receiver. or liquidator of the General Partner or of all or any substantial part of the General
 trustee, receiver,
 Partner's properties if the appointment has not previously been vacated or stayed,stayed. or ninety (90) days
 expire after the date of expiration of a stay, if the appointment has not previously been vacated.

           5.2.    Continuation of the Partnership. Upon the occurrence of an event described in ==C!c! Section
 5.1(a), the Partnership shall be deemed to be dissolved and reconstituted if a Majority Interest elect to
                Patinership within ninety (90) days of that event. If no election to continue the Partnership
 continue the Partnership                                                                         Pa1inership is
 made within ninety (90) days of that event, the Partnership shall conduct only activities necessary to wind
 up its affairs. If an election to continue the Partnership is made upon the occurrence of an event described
 111 Section 5.1(a), then:
 in                  then:

                 (a)     Within that ninety (90)-day period a successor General Partner shall be selected
 by a Majority Interest;

                (b)     The Partnership shall be deemed to be reconstituted and shall continue until the
end of the term for which it is formed unless earlier dissolved in accordance with this Article
                                                                                        A1iiclc 5;

                 (c)      The interest of the former General Partner shall be converted to an interest as a
 Limited Partner;
         Pa11ner: and

                (d)     All necessary steps shall be taken to amend or restate this Agreement and the
                       Pa1incrship, and the successor General Partner may for this purpose amend this
Certificate of Limited Partnership,
Agreement and the Certificate of Limited Partnership, as appropriate, without the consent of any Partner.

         5.3.     Liquidation. Upon dissolution of the Partnership, unless the Partnership is continued
 under Section 5.2, the General Partner or, in the event the General Partner has been dissolved, becomes
 bankrupt (as defined in Section 5.1), or withdraws from the Partnership, a liquidator or liquidating
committee selected by a Majority Interest, shall be the Liquidator. The Liquidator (if other than the
General Partner) shall be entitled to receive such compensation for its services as may be approved by a
 Majority Interest. The Liquidator shall agree not to resign at any time without fifteen (15) ( 15) days' prior
written notice and (if other than the General Partner) may be removed at any time, with or without cause,
by notice of removal approved by a Majority Interest. Upon dissolution, removal, or resignation of the
 Liquidator, a successor and substitute Liquidator (who shall have and succeed to all rights, powers, and
duties of the original Liquidator) shall within thirty (30) days thereafter be selected by a Majority Interest.
The right to appoint a successor or substitute Liquidator in the manner provided herein shall be recurring
and continuing for so long as the functions and services of the Liquidator are
                                                                             arc authorized to continue under
the provisions hereof, and every reference herein to the Liquidator shall be deemed to refer also to any
such successor or substitute Liquidator appointed in the manner provided herein. Except as expressly
provided in this Article 5, the Liquidator appointed in the manner provided herein shall have and may
exercise. without further authorization or consent of any of the parties hereto, all of the powers conferred
exercise,
                     Patiner under the terms of this Agreement (but subject to all of the applicable
upon the General Partner
limitations, contractual and otherwise, upon the exercise of such powers) to the extent necessary or
desirable in the good faith judgment of the Liquidator to carry out the duties and functions of the
Liquidator hereunder for and during such period of time as shall be reasonably required in the good faith
judgment of the Liquidator to complete the winding up and liquidation of the Partnership as provided
herein. The Liquidator shall liquidate the assets of the Partnership and apply and distribute the proceeds
of such liquidation in the following order of priority, unless otherwise required by mandatory provisions
of applicable law:
               law:



                                                      23

                                                                                                App. 158
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
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                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              161
                                                                               28
                                                                                72of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




                  (a)    To the payment of the expenses of the terminating transactions including, without
 limitation, brokerage commission, legal fees, accounting fees and closing costs;

                  (b)    To the payment of creditors of the Partnership, including Partners, in order of
 priority provided by law;

                    (c)
                    (c)     To the Partners and assignees to the extent of,
                                                                        oC and in proportion to, the positive
 balances in their respective Capital Accounts as provided in Treasury Regulations Section 1.704-
 1(b)(2)(ii)(b)(2);
 1(b)(2)(ii)(b )(2); provided, however, the Liquidator may place in escrow a reserve of cash or other assets
 of the Partnership for contingent liabilities in an amount determined by the Liquidator to be appropriate
 for such purposes; and

                 (d)     To the Partners in proportion
                                            propo1iion to their respective Percentage Interests.

          5.4.    Distribution in Kind.
                                   Kind. Notwithstanding the provisions of Section 5.3 that require the
liquidation of the assets of the Partnership, but subject to the order of priorities set forth therein, if on
dissolution of the Partnership the Liquidator determines that an immediate sale of part or all of the
Partnership's assets would be impractical or would cause undue loss to the Partners and assignees, the
Liquidator may defer for a reasonable time the liquidation of any assets except those necessary to satisfy
liabilities of the Partnership (other than those to Partners) and/or may distribute to the Partners and
assignees, in lieu of cash, as tenants in common and in accordance with the provisions of       Section 5.3,
                                                                                             of===-"'-'-"'-'
undivided interests in such Partnership assets as the Liquidator deems not suitable for liquidation. Any
such distributions in kind shall be subject to such conditions relating to the disposition and management
of such properties as the Liquidator deems reasonable and equitable and to any joint operating agreements
or other agreements governing the operation of such properties
                                                          prope1iies at such time. The Liquidator shall
determine the fair market value of any property distributed in kind using such reasonable method of
valuation as it may adopt.

         5.5.    Cancellation of Certificate of Limited Partnership. Upon the completion of the
distribution of Partnership property as provided in Sections 5.3 and 5.4, the Partnership shall be
terminated, and the Liquidator (or the General Partner and Limited Partners if necessary) shall cause the
cancellation of the Certificate of Limited Partnership in the State of Delaware and of all qualifications and
registrations of the Partnership as a foreign limited partnership in jurisdictions other than the State of
Delaware and shall take such other actions as may be necessary to terminate the Partnership.

        5.6.    Return of Capital. The General Partner
                                                   Pa1iner shall not be personally liable for the return of
the Capital Contributions of Limited Partners, or any portion thereof, it being expressly understood that
any such return shall be made solely from Partnership assets.

        5.7.    Waiver of Partition.       Each Partner hereby waives any rights to partition of the
Partnership property.

                                               ARTICLE 6

                                       GENERAL PROVISIONS

        6.1.     Amendments to Agreement. The General Partner may amend this Agreement without
the consent of any Partner if the General Partner reasonably determines that such amendment is necessary
and appropriate; provided, however, any action taken by the General Partner shall be subject to its
fiduciary duties to the Limited Patiners
                                 Partners under the Delaware Act; provided further that any amendments



                                                     24

                                                                                              App. 159
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
                       68-8Filed
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                                                      08/27/21
                                                       11/05/21
                                                              22:37:03
                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              162
                                                                               29
                                                                                73of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



 that adversely affect
                afl't:ct the Class B Limited Partner or the Class C Limited Pai1ner
                                                                            Partner may only be made with
 the consent of such Partner adversely affected.

          6.2.    Addresses and Notices. Any notice, demand, request, or report required or permitted to
 be given or made to a Partner under this Agreement shall be in writing and shall be deemed given or made
 when
 ,\hen delivered in person or when sent by United States registered or certified
                                                                            ce11ified mail to the Partner at
 his/her/its address as shown on the records of the Partnership,
                                                    Pai1nership, regardless of any claim of any Person who
 may have an interest in any Partnership Interest by reason of an assignment or otherwise.

        6.3.    Titles and Captions. All article and section titles and captions in the Agreement are for
convenience only, shall not be deemed part of this Agreement, and in no way shall define, limit, extend,
or describe the scope or intent of any provisions hereof.
                                                    hereoC Except as specifically provided otherwise,
references to "Articles,"
              "A11icles," "Sections" and "Exhibits" are to "Articles," "Sections" and "Exhibits" of this
Agreement. All Exhibits hereto are incorporated herein by reference.

        6.4.   Pronouns and Plurals. Whenever the context may require, any pronoun used in this
Agreement shall include the corresponding masculine, feminine, or neuter forms, and the singular form of
nouns, pronouns,
       pronouns. and verbs shall include the plural and vice versa.

        6.5.      Further Action. The parties shall execute all documents, provide all information, and
take or refrain from taking all actions as may be necessary or appropriate to achieve the purposes of this
Agreement.

         6.6.    Binding Effect. This Agreement shall be binding upon and inure to the benefit of the
parties
pat1ies hereto and their heirs,
                         heirs. executors, administrators, successors, legal representatives, and permitted
assigns.

         6.7.    Integration. This Agreement constitutes the entire agreement among the parties hereto
pertaining to the subject matter hereof and supersedes all prior agreements and understandings pertaining
thereto.

        6.8.    Creditors. None of the provisions
                                            prov1s1ons of this Agreement shall be for the benefit of or
enforceable by any creditors of the Partnership.

        6.9.    Waiver. No failure by any party to insist upon the strict performance of any covenant,
duty, agreement, or condition of this Agreement or to exercise any right or remedy consequent upon a
breach thereof shall constitute waiver of any such breach or any other covenant, duty, agreement, or
condition.

        6.10. Counterparts. This agreement may be executed in counterparts, all of which together
shall constitute one agreement binding on all the parties hereto, notwithstanding that all such parties are
not signatories to the original or the same counterpart.

        6.11. Applicable Law. This Agreement shall be construed in accordance with and governed
by the laws of the State of Delaware, without regard to the principles of conflicts of law.

         6.12. Invalidity of Provisions. If any provision of this Agreement is declared or found to be
illegal, unenforceable, or void, in whole or in part, then the parties shall be relieved of all obligations
arising under that provision, but only to the extent that it is illegal, unenforceable, or void, it being the
intent and agreement of the parties that this Agreement shall be deemed amended by modifying that
provision to the extent necessary to make it legal and enforceable while preserving its intent or, if that is


                                                     25

                                                                                              App. 160
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Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                                                                          Page
                                                                           Page
                                                                              163
                                                                               30
                                                                                74of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



 not possible, by substituting therefor another provision that is legal and enforceable and achieves the same
 objectives.

           6.13. General Partner Discretion. Whenever the General Partner may use its sole discretion,
       (ieneral Partner may consider any items it deems relevant, including its own
 the General                                                                    mvn interest and that of its
 affiliates.
 affiliates.

          6.14. Mandatory Arbitration. In the event there is an unresolved legal dispute between the
 parties and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
 representatives that involves legal rights or remedies arising from from this Agreement, the parties agree to
 submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
                                                                                                         provided,
 ~~~~,
 however, that the Partnership or such applicable affiliate thereof may pursue a temporary restraining order
 and /or preliminary injunctive relief in connection with any confidentiality covenants or agreements
 binding on the other party, with related expedited discovery for the parties, in a court of law, and
 thereafter, require arbitration of all issues of final relief. The arbitration will be conducted by the
 American Arbitration Association, or another mutually agreeable arbitration service. A panel of three
 arbitrators will preside over the arbitration and will together deliberate, decide and issue the final
                                                                                                     final award.
 The arbitrators shall be duly licensed to practice law in the state of Texas. The discovery process shall be
 limited to the following: Each side shall be permitted no more than (i)  (i) two party depositions of six hours
 each, each deposition to be taken pursuant to the Texas Rules of Civil Procedure; (ii)       (ii) one non-party
                                                                                                        non-paiiy
 deposition of six hours; (iii)                                (iv) twenty-five requests for admissions; (v)
                            (iii) twenty-five interrogatories; (iv)                                        (v) ten
 request for production (in response, the producing party pa11y shall not be obligated to produce in excess of
 5,000 total pages of documents, including electronic documents); and (vi)      (vi) one request for disclosure
pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in this
                           patiies or non-parties, shall not be permitted. The arbitrators shall be required to
paragraph, whether to parties
 state in a written opinion all facts and conclusions of law relied upon to support any decision rendered.
The arbitrators will not have the authority to render a decision that contains an outcome based on error of
 state or federal            fashion a cause of action or remedy not otherwise provided for under applicable
          federal law or to fashion
          federal law. Any dispute over whether the arbitrators have failed
 state or federal                                                          failed to comply with the foregoing
                                                                                                        foregoing
 will be resolved by summary judgment in a court
 ,,ill                                           comi of law. In all other respects, the arbitration process will
be conducted in accordance with the American Arbitration Association's dispute resolution rules or other
 mutually agreeable arbitration services rules. All proceedings shall be conducted in Dallas, Texas or
another mutually agreeable site. Each party shall bear its own attorneys fees,        fees, costs and expenses,
including any costs of experts, witnesses and /or travel, subject to a final arbitration award on who should
bear costs and fees. The duty to arbitrate described above shall survive the termination of this
 Agreement. Except as otherwise provided above, the parties hereby waive trial in a court of law or by
                  rights, remedies, statutes of limitation and defenses applicable to claims asserted in a court
jury. All other rights,
of law will apply in the arbitration.




                                                       26

                                                                                                  App. 161
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Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                                                                           Page
                                                                              164
                                                                               31
                                                                                75of
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                                                                                     37
                                                                                      83




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      21-03006-sgjDoc
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                   Doc139
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                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              165
                                                                               32
                                                                                76of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




              IN WITNESS WHEREOF. the parties hereto have entered into this Agreement as of the date and
              IN
     year first written above.

                                                              PARTNER:
                                                      GENERAL PART:'IER:

                                                      ST          VISORS, INC.,
                                                      a ► aware co ratio

                                                      By:
                                                                    es i  ondero,
                                                                 resident


                                                      LIMITED PARTNERS:

                                                      THE DUGABOY INVESTMENT TRUST


                                                      By:
                                                      Name: N cy M. Dondero
                                                      Its:  Trus ee

                                                                              OK,\DA FAMILY
                                                      THE MARK AND PAMELA OKADA
                                                      TRUST -— EXEMPT TRUST
                                                                      TRt;ST #1
                                                                             #1


                                                      By:
                                                      Name:
                                                      -:-Jame: Lawrence Tonomura
                                                      Its:
                                                      Its:     Trustee


                                                                                FA.MILY
                                                      THE MARK AND PAMELA OKADA FAMILY
                                                            - EXEMPT TRUST #2
                                                      TRUST —


                                                      By:
                                                      Name: Lawrence Tonomura
                                                      Its:
                                                      Its:  Trustee


                                                          MARK K.



                                                          Mark K. Okada




      Signature Page to Fourth Amended and  @d Restated
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                                                                                           App. 163
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
                  Doc
                   Doc139
                      109-3
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                                                              22:37:03
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              166
                                                                               33
                                                                                77of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




           IN WITNESS WHEREOF, the parties hereto have entered into this Agreement as of the date and
  year first written above.

                                                   GENERAL PARTNER:

                                                   STRAND ADVISORS, INC.,
                                                   a Delaware corporation

                                                   By:
                                                          James D. Dondero,
                                                          President


                                                   LIMITED PARTNERS:

                                                   THE DUGABOY INVESTMENT TRUST


                                                   By:
                                                   Name: Nancy M. Dondero
                                                   Its:  Trustee

                                                   THE MARK AND PAMELA OKADA FAMILY
                                                   TRUST -— EXEMPT TRUST #1
                                                                         #1


                                                   By:
                                                   Na e: Law nce Tonom a
                                                   Its   T  ee


                                                   THE MARK AND PAMELA OKADA FAMILY
                                                   TRUST — EXEMPT TRUST #2


                                                   By:
                                                   Na     a     ence Tonom ra
                                                   Its:       stee


                                                   MARK K. OKADA



                                                   Mark K. Okada




   Signature Page to Fourth Amended and Restated
   Agreement ofLimited Partnership

                                                                                         App. 164
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Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              167
                                                                               34
                                                                                78of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




                                                  HUNTER MOUNT • . INVESTMENT
                                                                      INVESTMl(NT TRUST
                                                  By: Beacon Mou m 1 .C
                                                                      C, Administrator


                                                  By:
                                                  By
                                                  Name: John llot
                                                  Its:   Pre id




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Case
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     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              168
                                                                               35
                                                                                79of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83




                                         EXHIBIT A


                                                                   Percentage Interest
 CLASS A PARTNERS                                                By Class   Effective %

   GENERAL PARTNER:

      Strand Advisors                                              0.5573%       0.2508%

  LIMITED PARTNERS:

      The Dugaboy Investment Trust                                74.4426%
                                                                  74.4426%       0.1866%

      Mark K. Okada                                               19.4268%       0.0487%

      The Mark and Pamela Okada Family Trust
                                       Trust-- Exempt Trust #1
                                                            #1     3.9013%       0.0098%

      The Mark and Pamela Okada Family Trust - Exempt Trust #2     1.6720%       0.0042%

 Total Class A Percentage Interest                               100.0000%        0.500%

 CLASS B LIMITED PARTNERS

      Hunter Mountain Investment Trust                           100.0000%      55.0000%

 CLASS C LIMITED PARTNERS

      Hunter Mountain Investment Trust                           100.0000%      44.500%

 PROFIT AND LOSS AMONG CLASSES

      Class A Partners                                            0.5000%

      Class B Partners                                           55.0000%

      Class C Partners                                           44.5000%




                                                                             App. 166
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
                      109-3
                       68-8Filed
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                                                               17:34:12
                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              169
                                                                               36
                                                                                80of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



                                                  EXHIBIT B

                               ADDENDUM
                                TO THE
      FOURTH AMENDED AND RESTATED AGREEMENT OF LIMITED PARTNERSHIP
                                   OF
                   HIGHLAND CAPITAL MANAGEMENT, L.P.

         THIS ADDENDUM (this "Addendum")
                                       ·'Addendum") to that certain Fourth Amended and Restated
 Agreement of Limited Partnership of Highland Capital Management, L.P., dated December 24, 2015, to
 be effective as of December 24, 2015, as amended from time to time (the "Agreement"), is made and
 entered into as of the       day of           , 20_,
                                                 20_, by and between Strand Advisors, Inc., as the sole
 General Partner (the "General Partner") of Highland Capital Management, L.P. (the "Partnership") and
 - - - - - - ("  ("         ") (except as otherwise provided herein, all capitalized terms used herein shall
                       forth in the Agreement).
 have the meanings set forth

                                                  RECITALS:

         WHEREAS, the General Partner, in its sole and unfettered discretion, and without the consent of
                Pa1iner, has the authority under (i) Section 4.4 of the Agreement to admit Additional Limited
 any Limited Partner,
           (ii) Section 4.6 of the Agreement to admit Substitute Limited Partners and (iii)
 Partners, (ii)                                                                         (iii) Section 6.1
                                                                                                      6. J of the
 Agreement to amend the Agreement;

       WHEREAS, the General Partner desires to admit                     as a Class
                                                                              Class_ Limited Partner holding
 aa_% Percentage Interest in the Partnership as of the date hereof;

        WHEREAS, - - - -desires to become a Class                 Limited Partner
                                                                          Pminer and be bound by the terms
 and conditions of the Agreement; and

          WHEREAS, the General Partner desires to amend the Agreement to add ______ as a
 party thereto.

                                                AGREEMENT:

        RESOLVED, as a condition to receiving a Partnership Interest in the Partnership, _ _ _ _ __
        RESOLVED,
                                         (i) has received and read a copy of the Agreement, (ii)
 acknowledges and agrees that he/she/it (i)                                                    (ii) shall be
 bound by the terms and conditions of the Agreement; and (iii)
                                                           (iii) shall promptly execute an addendum to the
 Second Amended Buy-Sell and Redemption Agreement; and be it

                    RESOLVED, the General Partner hereby amends the Agreement to add
       FURTHER RESOLVED,
               as a Limited Partner, and the General Partner shall attach this Addendum to the
 Agreement and make it a part thereof; and be it

         FURTHER RESOLVED, this Addendum may be executed in any number of counterparts, all of
 which together shall constitute one Addendum binding on all the parties hereto, notwithstanding that all
 such parties are not signatories to the original or the same counterpart.




                                                                                                 App. 167
Case
Case
 Case21-03076-sgj
     21-03003-sgj
      21-03006-sgjDoc
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                   Doc139
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                                                                20:06:11 Page
                                                                          Page
                                                                           Page
                                                                              170
                                                                               37
                                                                                81of
                                                                                  of
                                                                                   of170
                                                                                     37
                                                                                      83



        IN WITNESS WHEREOF, the undersigned have executed this Addendum as of the day and year
 above written.

                                                  GENERAL PARTNER:

                                                  STRAND ADVISORS, INC.

                                                  By:
                                                          Name: _ _ _ _ _ _ _ _ _ _ __
                                                          Title:


                                                  NEW LIMITED PARTNER:



 AGREED AND ACCEPTED:

 In consideration of the terms of this Addendum and the Agreement, in consideration of the Partnership's
 allowing the above signed Person to become a Limited Partner
                                                        Pa1tner of the Partnership, and for other good and
 valuable consideration receipt of which is hereby acknowledged, the undersigned shall be bound by the
 terms and conditions of the Agreement as though a party thereto.

 SPOUSE OF NEW LIMITED PARTNER:
 ___________]




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